Case 4:24-cv-00461-O        Document 76        Filed 09/06/24       Page 1 of 290       PageID 3648


 likely to feel distracted (24% compared to 31%); and less likely to feel exhausted (20%
 compared to 25%). Similar results were found when looking at the impact of domestic partner
 benefits policies. For example, a 2007 study based on a national survey of LGB employees found
 that those who were offered domestic partner benefits through their employer reported
 significantly more organization-based self-esteem (Ragins & Cornwell, 2007). A 2000 study of
 lesbians and gay men in the Midwest found lower rates of work-home conflict among lesbian
 and gay employees whose workplaces had nondiscrimination policies in place (Day &
 Schoenrade, 2000). The study also found less job stress among employees who were covered by
 a nondiscrimination policy than those who were not, however the difference was not statistically
 significant.

        LGIJT -su portive workplace climate ° Improved health and wellbeing outcomes

 Other studies have found that LGB people who perceive their workplaces to be generally
 supportive of LGBT people are psychologically healthier than employees who work in
 unsupportive workplace climates (Driscoll, Kelley, & Fassinger, 1996; Waldo, 1999). A 2005
 study based on a survey of lesbians and gay men found that the supportiveness of LGBT people
 in workplace climates was significantly related to lower job stress, however, this relationship
 was eliminated when taking into account perceived discrimination (Munoz, 2005). Other results
 from this study indicated that LGBT-supportive workplace climates had significant and positive
 effects on job-related variables such as turnover intentions, which suggests an overall beneficial
 effect of LGBT-supportive workplace climates on the well-being of LGBT employees.

        Increased openness about being LGBT 4 Improved health and well-being? outcomes

 Generally, research has shown that LGBT employees who are out at work also report being
 psychologically healthier than those who conceal their sexual orientation or gender identity. For
 example, the Human Rights Campaign (2009) survey found that employees who were out in the
 workplace were less likely to feel depressed than those who were not out (26% compared to
 44%); less likely to feel distracted (25% compared to 31%); less likely to feel exhausted (12%
 compared to 30%); and less likely to avoid social events (18% compared to 29%). Other studies
 show similar differences between employees who are out at work and those who are not,
 including less anxiousness and higher self-esteem reported by those who are out (Griffith &
 Hebl, 2002; Jordan & Deluty, 1998; Smith & Ingram, 2004). A 2006 study of Dutch lesbians
 and gay men found similar results for gay men (Sandford, Bos, & Vet, 2006).

 Qualitative studies also suggest that LGB employees who are out at work are psychologically
 healthier. For example, an analysis of responses to a 1995 survey of Harvard Business School
 alumni found that employees who were not out at work reported higher stress, more discomfort
 with socializing, and lower self-esteem (Friskopp & Silverstein, 1996). Similar experiences have
 been described in other qualitative studies (Boatwright, Gilbert, Forrest, & Ketzenberger, 1996).

 Two national studies, Driscoll, Kelley, and Fassinger (1996) and Ragins, Singh, and Cornwell
 (2007), indicate that being out in the workplace is not directly related to psychological well-
 being. However, other findings from these studies support the theoretical relationship between
 disclosure and improved health and well-being. Ragins et al. (2007) show that concealment of
 sexual orientation was associated with greater psychological distress, indicating that the inability

                                                 10




                                                                                                    AR_292991
Case 4:24-cv-00461-O            Document 76        Filed 09/06/24        Page 2 of 290          PageID 3649


 to disclose one's sexual orientation in the workplace is associated with negative outcomes. This
 suggests that policies which support disclosure, thus reducing the need to conceal, may lower the
 risk of experiencing this distress. Driscoll and colleagues show a significant positive relationship
 between disclosure and lesbian employees' perceptions of a supportive work environment,
 suggesting that disclosure has an indirect and positive effect on stress levels through workplace
 climate. Thus overall, these studies suggest that supporting disclosure of sexual orientation in
 the workplace has the net effect of improving the health and well-being of LGBT employees.

        Less discrimination          Improved health and wellbeing outcomes

 Research also shows that experiencing discrimination can affect an individual's mental and
 physical health (Williams, 2003). Munoz (2005) found that greater perceived workplace
 discrimination was associated with higher job-related stress among gay men and lesbians,
 whereas LGBT-supportive workplace climates were linked to lower job-related stress. Similarly,
 Waldo (1999) found poorer health outcomes among employees who had experienced direct
 heterosexism.

 Other research shows that employees need not have experienced discrimination to feel similar
 negative effects. Those who work in environments that cause them to fear discrimination also
 report negative health outcomes (Ragins, Singh, & Cornwell, 2007; Sandfort, Bos, & Vet, 2006;
 Smith & Ingram, 2004).

 (d) Increased job satisfaction

        Figure 6: Number of studies showing relationship between LGBT-supportive policies or
        workplace climates and job satisfaction



            Policy/climate -
        increased job satisfaction

          Less discrimination -
        increased job satisfaction

            More openness -*
        increased job satisfaction

                                                                   Positive business relationship
                                                                   No business relationship
                                                                   Negative business relationship

        LGBT-supportive policies         Increased job sariisfi :t:ion

 Studies have found that LGB employees who are covered by a nondiscrimination policy are
 more satisfied with their jobs than employees who are not covered by a policy. For example,
 Day and Schoenrade (2000) found that job satisfaction was significantly higher among
 employees working for organizations that had LGBT nondiscrimination policies in place.


                                                      11



                                                                                                         AR_292992
Case 4:24-cv-00461-O       Document 76        Filed 09/06/24      Page 3 of 290      PageID 3650


 Similarly, Tejeda (2006) found that employees who were covered by a nondiscrimination policy
 reported significantly higher levels of job satisfaction than those who were not covered.

        L BT-supportive workplace climate ? Increased.job satisfaction

 Research has also found that LGB people who perceive their workplace climates to be supportive
 of LGBT employees are more likely to have positive attitudes about their jobs than people who
 see their workplaces as unsupportive. For example, Munoz (2005) found that LGBT-supportive
 workplace climates were associated with higher levels of career satisfaction. Additionally,
 Waldo (1999) found that employees who perceived their work environment to be heterosexist
 were significantly less satisfied with their jobs.

 Some studies have indicated that overall supportiveness of LGBT people in the workplace may
 be more relevant to job satisfaction than just the presence of an LGBT-supportive policy. For
 example, a 2008 study of LGB employees found that informal types of general support from
 supervisors and work colleagues (rather than organization-level support) predicted job
 satisfaction and life satisfaction (Huffman, Watrous-Rodriguez, & King, 2008). Similarly,
 Griffith and Hebl (2002) found that the presence of a written workplace nondiscrimination policy
 was unrelated to job satisfaction once the researchers accounted for LGBT social support within
 the organization.

        Increased openness about being LGRT4.tncreased job satisfaction

 We were able to find only one study that showed that employees who are open about their sexual
 orientation are more satisfied with their jobs than employees who are not open. A nationally
 representative survey of heterosexual and LGBT white-collar employees found that out
 employees were 31% less likely to feel stalled in their careers and 25% more likely to be
 satisfied with their rate of advancement or promotion (64% compared to 48%; Hewlett &
 Sumberg, 2011). The study also found that senior management positions held by LGBT people
 were much more likely to be held by an out LGBT person (71% compared to 28%).

 Conversely, at least three studies have found that disclosure of sexual orientation is not
 predictive of job satisfaction (Day & Schoenrade, 2000; Driscoll, Kelley, & Fassinger, 1996;
 Tejeda, 2006). It may be the case that LGBT employees do not evaluate their job satisfaction
 based on whether or not they have disclosed their sexual orientation. In the context of other
 findings that link LGBT-supportive policies and workplace climates to increased job satisfaction,
 it is likely that perceptions of the workplace climate are more significantly related to an LGBT
 employee's satisfaction on the job than to his or her personal decision to come out.

        Less discrimination 4 Increased job satisfaction

 Research has found that LGB employees who have not experienced discrimination are more
 satisfied with their jobs. For example, Button (2001) found that employees who did not
 experience discriminatory treatment were significantly more satisfied with their jobs than those
 who had. Similarly, Munoz (2005) found that those respondents who perceived more workplace
 discrimination were significantly less satisfied with their jobs and careers. Ragins, Singh, and
 Cornwell (2007) also found less job satisfaction and less satisfaction with opportunities for

                                                12




                                                                                                 AR_292993
Case 4:24-cv-00461-O          Document 76         Filed 09/06/24          Page 4 of 290   PageID 3651


 promotion among those employees who were not out and who feared discrimination. Research
 out of Australia and the Netherlands has reached similar conclusions (Sandford, Bos, & Vet,
 2006; Trau & Hartel, 2007).

 However, Tejeda (2006) found that workplace hostility was unrelated to satisfaction with work.
 This sample only included 65 gay men who on average reported few incidents of workplace
 hostility and thus analyses may not have been able to detect relationships among these variables.

 (e) Improved relationships with do-workers and supervisors

        Figure 7: Number of studies showing relationship between LGBT-supportive policies or
        workplace climates and relationships with co-workers and supervisors



              Policy/climate -
            improved relationships

              More openness 4
            improved relationships

         Improved relationships -
           increased productivity
                                                  ■Positive business relationship
                                                     No business relationship
                                                  a: Negative business relationship


        LGBTsupportive policies -Irnpe oved relationships with co-workers and supervisors

 Research has shown that LGB employees who are covered by LGBT-supportive policies are
 more likely to be socially and altruistically engaged in the workplace. For example, studies
 show that gay and lesbian employees who are covered by nondiscrimination policies report
 higher levels of organizational citizenship behaviors (OCBs) than employees who are not
 covered (Brenner, Lyons, & Fassinger, 2010; Tejeda, 2006). These behaviors relate directly to
 relationships with coworkers and supervisors. OCBs are "Good Samaritan" behaviors that are
 not necessarily part of an employee's job duties, but nevertheless positively contribute to the
 workplace environment (Organ, Podsakoff, & MacKenzie, 2006). Researchers who study OCBs
 look at the extent to which employees exhibit behaviors that benefit other employees or the
 company, such as altruism, courtesy, conscientiousness, civic virtue, sportsmanship,
 peacekeeping, cheerleading, helping, and loyalty, among others (Podsakoff, Whiting, Podsakoff,
 & Blume, 2009).

        Increased openness about              LGBT 4.lmproved relationships with co-workers and
                                     beiiuj
               supervisors

 One additional factor that has been shown to be associated with improved interpersonal
 engagement in the workplace is disclosure of sexual orientation. Ragins, Singh, and Cornwell
 (2007) reported that greater disclosure was associated with greater participation with others in


                                                    13




                                                                                                    AR_292994
Case 4:24-cv-00461-O        Document 76        Filed 09/06/24       Page 5 of 290       PageID 3652


 the work environment. To our knowledge, this is the only study linking disclosure to workplace
 engagement or improved interpersonal relationships, and thus additional research is necessary to
 test the validity of this finding.

        Improved relationships with co-workers and supervisors 9 Greater commitment and
              other positive behaviors and attitudes

 Research has also shown that higher levels of OCBs are related to lower degrees of turnover
 intentions and lower actual turnover rates. Researchers have hypothesized that turnover is less
 likely in organizations where employees report high levels of OCBs because helping and
 supporting behaviors, measured by OCBs, are likely to boost the attractiveness of the job. For
 example, a 2009 meta-analysis of 168 studies of employee OCBs, a majority of which asked
 about job withdrawal behaviors, found that employees who exhibited higher levels of OCBs
 were less likely to say they intended to leave their job, and were less likely to actually have left
 jobs (Podsakoff, Whiting, Podsakoff, & Blume, 2009). This finding will require replication
 among a sample of LGBT employees to assess whether the relationship between these variables
 exists within this population.

        Improved relationships with co-workers and supervisors Increased productivity

 Research has shown that employees who exhibit higher levels of OCBs are more productive in
 the workplace. Podsakoff et al.'s (2009) meta-analysis included seven studies which specifically
 measured productivity and found that workplaces whose employees exhibited higher levels of
 OCBs were significantly more productive than workplaces characterized by lower levels of
 OCBs. Higher organization-level OBCs were also significantly related to increased workplace
 efficiency and reduced costs. In addition, individual level OBCs were positively related to
 managers' evaluations of their employees' job performance. Using a sample of gay and lesbian
 employees, Brenner, Lyons, and Fassinger (2010) found that OCBs were reported to have a
 strong relationship with organizational performance, accounting for 18% to 38% of the variance
 in organizational performance.

 Additionally, Podsakoff et al. (2009) looked at 199 studies that measured employee engagement
 using a different model than the OCB model, and those studies also found that employee
 engagement was related to business performance outcomes. The study found small but
 significant correlations between levels of employee engagement and the main outcome variables
 — customer loyalty, profitability, productivity, turnover, safety incidents, absenteeism, lost
 merchandise, patient safety incidents, and product quality. As is the case with the relationship
 between OCBs and turnover intentions, these studies will need to be replicated using additional
 samples of LGBT employees.




                                                  14



                                                                                                    AR_292995
Case 4:24-cv-00461-O         Document 76      Filed 09/06/24       Page 6 of 290          PageID 3653



  fl Greater commitment and other posftive
                                  positive workplace behaviors and attitudes

        Figure 8: Number of studies showing relationship between LGBT-supportive policies or
        workplace climates and job commitment and other positive workplace behaviors and attitudes


            Policy/climate --)
         greater job commitment
          Less discrimination --)
         greater job commitment
            More openness --~
         greater job commitment
        Improved relationships -
         greater job commitment
                                                                Positive business relationship
                                                                No business relationship
                                                                Negative business relationship

        LGBTsupportive policies Greater co mit gent and other positive workplace
             behaviors and attitudes

 Studies have found that LGBT employees are more loyal to employers that have LGBT-
 supportive policies. For example, Ragins and Cornwell (2001) found that gay and lesbian
 employees who were covered by LGBT-supportive policies were significantly more committed
 to their employers and their careers, and significantly less likely to report that they planned to
 leave their jobs, than those who were not covered by a policy. This pattern of relationships was
 found regardless of whether employees had disclosed their sexual orientation, indicating that
 these policies can have a positive impact on all gay and lesbian employees. Further, the
 relationship between organizational policies and an employee's organizational commitment and
 turnover intentions was shown to occur independently of perceived workplace discrimination,
 again suggesting that the positive impact of these policies extends to all gay and lesbian
 employees, not only individuals who might have used the policies.

 Other surveys of LGBT employees have found that employees who were covered by LGBT-
 supportive policies report higher emotional commitment to their employers (Day & Schoenrade,
 2000), less intent to leave their jobs (Ragins & Cornwell, 2007), and are less likely to have
 searched for a new job within the past year (Human Rights Campaign, 2009), than those
 employees who were not covered.

 However, at least one study suggests that a nondiscrimination policy may not have an effect on
 retention of gay male employees. Tejeda (2006) found that employees who were covered by a
 nondiscrimination policy were as likely to report turnover intentions as those who were not
 covered by a nondiscrimination policy. Given the small sample size of this study, there is
 presently greater empirical support for the existence of a relationship between LGBT-supportive
 workplace policies and organizational commitment.




                                                 15




                                                                                                     AR_292996
Case 4:24-cv-00461-O        Document 76        Filed 09/06/24       Page 7 of 290       PageID 3654


        LGBT-supportive workplace climate 4 treater commitment and other positive
             workplace behaviors and attitudes

 Research has also found that LGB people who perceive their workplace climates to be LGBT-
 supportive are more likely to have positive attitudes about their jobs than LGB people who see
 their workplaces as unsupportive. For example, Munoz (2005) found that LGBT-supportive
 organizational climates were significantly related to higher organizational commitment and
 lower turnover intentions. At least one other quantitative study (Driscoll, Kelley & Fassinger,
 1996) has also found a positive relationship between LGBT-supportive climates and turnover
 intentions or job commitment. Individual employee responses in a qualitative analysis from the
 U.K. indicated that the employees felt a sense of loyalty to their employers when they perceived
 their workplace climates to be LGBT-supportive (Guasp & Balfour, 2008).

        Increased openness about being LGBT-) Greater commitment and other positive
               workplace behaviors and attitudes

 Studies have also found that LGBT employees who are open about their sexual orientation in the
 workplace report fewer turnover intentions than those who are not open. Hewlett and Sumburg
 (2011) found that out employees were more likely to be satisfied with their rate of advancement
 or promotion compared to employees who had not disclosed their sexual orientation (64%
 compared to 48%). Those who were unsatisfied were at least three times more likely to plan to
 leave their companies within the next year. Similarly, Day and Schoenrade (2000) found that out
 employees reported more commitment to their employers.

 Published qualitative evidence supports these statistics. For example, a qualitative analysis of
 responses to a 1995 survey of Harvard Business School alumni found that employees who had
 not disclosed their sexual orientation at work reported reservations about their long-term
 prospects with the company and less loyalty than employees who had disclosed. A few of the
 alumni reported that they had left a job, or were thinking about leaving a job, in order to work for
 a company where they felt comfortable being out (Friskopp & Silverstein, 1996).

 Only one paper we identified presents data suggesting the opposite conclusion— that disclosure
 in the workplace is related to greater turnover. In a sample of gay men, Tejeda (2006) found that
 employees who were open about their sexual orientation reported greater turnover intentions than
 employees who were not open. It may be that disclosing one's sexual orientation or gender
 identity in the workplace increases the vulnerability of an LGBT employee to discrimination, and
 experiencing these acts may increase turnover intentions. In this case, policies that lessen the
 occurrence of discrimination (as in Button, 2001; Human Rights Campaign, 2009), and provide
 employees with recourse in the event of discrimination, provide a remedy that may also reduce
 the desire to leave one's company.




                                                 16



                                                                                                    AR_292997
Case 4:24-cv-00461-O        Document 76        Filed 09/06/24      Page 8 of 290       PageID 3655


        Less discrimination 4 Greater commitment and other positive workplace behaviors and
               attitudes

 Additionally, research has shown that employees who do not fear discrimination or have not
 experienced discrimination report fewer turnover intentions and higher levels of commitment to
 their employers. For example, a 2007 nationally representative survey of people who had quit or
 been laid off within the five years prior to the survey found that gay and lesbian employees said
 they left a job only because of workplace unfairness almost twice as often as heterosexual
 Caucasian men (5.6% compared to 3.0%; Level Playing Field Institute, 2007). Almost half of
 those gay and lesbian employees said they would have stayed at their job had their employer
 offered more or better benefits. Additionally, Munoz (2005) found that those respondents who
 perceived more workplace discrimination reported significantly lower levels of job commitment
 and significantly higher levels of turnover intentions. Button (2001), Ragins, Singh, and
 Cornwell (2007), and Trau and Hartel (2007) found a similar relationship between discrimination
 and job commitment or turnover intentions.

 Similarly, a review of literature related to the vocational decision-making of lesbians, highlights
 that the career decisions of lesbian women may be highly influenced by the perception of the
 safety of a work environment. The belief that she may be more likely to face discrimination in a
 certain occupation or be unsupported by the management of an individual company, may cause a
 lesbian woman to choose alternate career paths or work less hard toward promotions or salary
 increases in order to shield herself from negative repercussions of being out at work (Hook &
 Bowman, 2008).

 INDIVIDUAL EFFECTS: TRANSGENDER RESPONDENTS
 Only four of the 36 research studies discussed in this report included transgender people in their
 study samples.      Two of those studies, Hewlett and Sumburg (2011) and Harris
 Interactive/Witeck-Combs Communication (2006), did not report the number of transgender
 people included in their samples. Hewlett and Sumburg (2011) did note, however, that they
 could not separately analyze the responses of transgender people because there were too few of
 them. Two studies, Law et al. (2011) and Human Rights Campaign (2009), separately analyzed
 responses of transgender employees. These studies suggest that LGBT-supportive policies and
 workplace climates might have the same effects on transgender employees that they have on
 LGB employees, which, in turn, have a positive impact on workplace-related outcomes.

        IGBTsupportive workplace climate 4lncreased job satis, action; Greater commitment
             & other positive behaviors & attitudes, Improved health and well-being
             outcomes

 In a survey of 88 transgender employees, Law et al. (2011) found that transgender respondents
 who reported more workplace support were more satisfied with their jobs, reported higher levels
 of affective and normative commitment, and reported lower levels of job anxiety (although this
 finding was not significant). Workplace support, however, was not related to turnover
 intentions.



                                                 17




                                                                                                   AR_292998
Case 4:24-cv-00461-O          Document 76      Filed 09/06/24        Page 9 of 290      PageID 3656


 Affective commitment refers to an employee's desire to stay with an organization because he or
 she likes working there. Normative commitment refers to an employee's desire to stay at a job
 due to feelings of obligation to the organization.

        Figure 9: Number of studies focused on transgender employees showing relationship between
        LGBT-supportive policies or workplace climates and economic outcomes



              Policy/climate -
          increased job satisfaction

              Policy/climate
           greater job commitment

             Policy/climate -
         improved health outcomes
                                                      Positive business relationship
                                                      No business relationship
                                                      Negative business relationship


        Increased openness about beiing LGBT ° Increased job satisfaction; Greater
               commitment & other positive behaviors & attitudes; improved health and well-
               being outcomes

 Law et al. (2011) found that transgender respondents who had disclosed their transgender status
 at work were more satisfied with their jobs and reported higher levels of affective commitment
 than those who had not disclosed. The study also found that transgender respondents who had
 disclosed their gender identity at work experienced less job anxiety. Disclosure was not found to
 be related to normative commitment.

        Figure 10: Number of studies focused on transgender employees showing relationship between
        more openness about being transgender and economic outcomes



              More openness
          increased job satisfaction

              More openness              »»>
           greater job commitment

             More openness -
         improved health outcomes
                                                       Positive business relationship
                                                       No business relationship
                                                       Negative business relationship

 Additionally, in a survey of LGBT people that included 23 transgender employees, the Human
 Rights Campaign (2009) found that many transgender respondents concealed their transgender

                                                 18




                                                                                                     AR_292999
Case 4:24-cv-00461-O        Document 76       Filed 09/06/24       Page 10 of 290       PageID 3657


  status at work out of safety concerns or fear of being fired. Forty-percent of transgender
  respondents reported that fear was the reason they were not out at work, compared to 20% of gay
  men (the next more likely group to report fear as the reason they were not out at work).
  Transgender people were also more likely to fear that they would be fired if they were open
  about their LGBT-identity at work (42% of transgender people compared to 22% of gay men, the
  next most likely group to report this fear). As described above, fear of discrimination can have a
  negative impact on employees' health and well-being, job satisfaction, job commitment, and
  other workplace attitudes and behaviors.

  INDIVIDUAL. EFFECTS: BISEXUAL RESPONDENTS
  Research specifically about the workplace attitudes of bisexual people is also lacking. Only 11 of
  the 36 studies we reviewed included bisexual respondents, and only the Human Rights Campaign
  (2009) study provided any information about just bisexual respondents. The Human Rights
  Campaign study does not provide enough information about bisexual respondents to show a
  relationship between the impact of LGBT-supportive policies or workplace climates on bisexual
  employees, specifically, and workplace-related outcomes. However, the study indicates that
  bisexual employees might experience discrimination or fear discrimination at higher levels than
  gay and lesbian employees. As described above, experiences of discrimination and fear of
  discrimination can have a negative impact on employees' health and well-being, job satisfaction,
  job commitment, and other workplace attitudes and behaviors.

  Specifically, the Human Rights Campaign (2009) study found that bisexual respondents were
  less likely than gay and lesbian respondents to have co-workers acknowledge their sexual
  orientation in a positive way (7% of bisexual respondents, compared to 27% of gay men and
  31% of lesbians). Bisexual respondents were also less likely than gay and lesbian respondents to
  report that they would disclose their sexual orientation on an anonymous, confidential human
  resources survey (59% compared to 79% of gay men and 77% of lesbians). They were also less
  likely than gay and lesbian respondents to report that they would feel comfortable providing
  feedback about the LGBT workplace climate to human resources (59% of bisexuals compared to
  83% of gay men and 80% of lesbians).

  Among all of the 36 studies we reviewed for this report, the studies described above are the only
  ones that included bisexual and transgender people's responses. The lack of data on transgender
  and bisexual employees is a significant limitation of the current research on the impact of LGBT-
  supportive workplace policies.

  EFFECTS ON ORGANIZATIONAL OUTCOMES
  In previous sections, we reviewed evidence that LGBT-supportive policies and workplace
  climates are associated with positive changes for LGBT employees, including increased job
  satisfaction, better psychological health, and greater engagement with coworkers. We next
  consider the impact of these policies on higher-level organizational change. It is important to
  note that little research exists directly relating LGBT-supportive policies to macro-level
  organizational change. However, in an effort to provide a more comprehensive review of the


                                                 19




                                                                                                   AR_293000
Case 4:24-cv-00461-O             Document 76            Filed 09/06/24          Page 11 of 290            PageID 3658


  potential costs and benefits of adopting such policies, we outline several proposed theoretical
  relationships.

  (g) Changes in health insurance costs (through (c) above, and direct changes)

  Extending benefits to the same-sex partners of LGBT employees, such as health insurance
  coverage, will likely result in higher health insurance costs for companies enacting these
  policies, but that effect is relatively small. Domestic partner benefits for same-sex partners
  would raise health care costs by well under 1% for the typical firm (Ash & Badgett, 2006). An
  estimate of the cost of extending healthcare coverage to same-sex spouses suggested that 96% of
  U.S. firms would see no additional costs, and that approximately 190,000 out of 5 million U.S.
  firms would have only one new spouse covered by its health benefit programs (Badgett & Gates,
  2006).

  Where realized, this increase in healthcare expenditures is likely to be at least partially offset by
  savings in overall healthcare costs and increased productivity resulting from the improved health
  of LGBT employees, as mentioned earlier. In the general population, lack of health insurance is
  associated with decreased utilization of preventative services and delays in care among those
  with chronic poor health, which can lead to an increased likelihood of premature death, poorer
  quality of life, and greater functional impairment, including reduced work productivity (Institute
  of Medicine, 2009). As increased coverage can yield improvements in the health of an LGBT
  employee or their same-sex partner, LGBT employees may show more engagement in the
  workplace and higher levels of productivity. These direct physical health benefits can be
  coupled with the psychological benefits of reducing discrimination in the workplace, reviewed
  earlier, including possible reduction of the use of sick days (Huebner & Davis, 2007).

  As part of a set of policies to enhance and support a diverse workforce, employers may provide
  health benefits that cover transition-related care. Transition-related care includes medically
  necessary treatments or procedures for an individual to transition to a gender different from the
  one assigned to that individual at birth.' As the transgender population in the United States is
  quite small (Gates, 2011), the number of transgender employees seeking this type of coverage is
  also likely to be small. One known estimate comes from the City and County of San Francisco,
  which reported that over the course of five years (2001-2006), 37 employees filed claims for
  transition-related care, out of a total of 80,000 insurance plan members (Harmon, 2006). The
  total expenditures ($383,000) were significantly less than had been anticipated (Harmon, 2006).
  Emerging social science research suggests that transition-related care results in significant
  improvements in the mental health of transgender persons (e.g. Ainsworth & Spigel, 2010;
  Dhejne, Lichtenstein, Boman, et al., 2011; Monstrey et al., 2007; Murad, Elamin, Garcia, et al.,
  2010), which may reduce healthcare costs associated with not providing these types of benefits.




  ' Transition-related healthcare encompasses a number of procedures and interventions that are deemed medically
  necessary in order to treat gender dysphoria and help transgender and gender non-conforming people achieve
  "lasting personal comfort with their gendered selves, in order to maximize their overall health, psychological well-
  being, and self-fulfillment" (Coleman et al., 2011, p. 166).

                                                           20




                                                                                                                         AR_293001
Case 4:24-cv-00461-O        Document 76        Filed 09/06/24      Page 12 of 290       PageID 3659


  (b) Lower legal costs from litigation related to discrimination (through (a), above)

  The implementation of LGBT-supportive policies may serve to bring a company in-line with
  existing federal or state regulations or local ordinances. In doing so, a company may shield itself
  from legal costs associated with compliance lawsuits, an issue of concern to many employers.
  However, estimating the costs of addressing compliance issues is challenging and we were
  unable to find data or studies related to sexual orientation and gender identity.

  (1) Greater access to new customers, such as public sector entities that require
         contractors to have nondiscrimination policies or domestic partner benefits

  A number of states and localities require employers to adopt LGBT-supportive policies in order
  to bid on government contracts. A 2011 study identified 68 local governments that have laws
  requiring their contractors to have LGBT-supportive nondiscrimination policies, affirmative
  action policies, or to offer equal benefits to employees' domestic partners (Mallory & Sears,
  2011). Some states have adopted similar laws (e.g. Cal. Pub. Cont. Code § 10295.3(a)(l),
  (e)(1)). By adopting LGBT-supportive policies, employers can qualify for potentially lucrative
  government contracts with these public sector entities. However, no studies have looked directly
  at the extent to which having the policies increases the likelihood of securing government
  contracts.

  (j) More business from individual consumers who want to do business with socially
        responsible companies

  A possible outcome of adopting LGBT-supportive workplace policies is a change in the way a
  company is viewed by thosc external to the organization, most notably customers and potential
  new employees. To the extent that state and local governments require contractors to have
  i..GBT-inclusive nondiscrimination polices or to offer domestic partnership benefits, enacting
  LGBT-supportive policies may provide a company with greater access to new customers. An
  organization's customer base may also expand due to consumer preferences for supporting
  companies that value diversity. For example, an experimental study by Tuten (2005) evaluated
  consumers' reactions to a company that was described as having "gay-friendly" policies, and to a
  company that was described as lacking "gay-friendly" policies. Both LGBT and heterosexual
  participants had significantly more positive reactions to the "gay-friendly" company than to the
  non-gay friendly company (Tuten, 2005). This finding is complicated, however, by the
  concurrent result that heterosexual participants reported significantly higher brand commitment
  to the non-"gay friendly" company than to the "gay-friendly" company. Taken together, these
  findings suggest that LGBT-supportive policies are only one of a number of factors contributing
  to customer assessments of existing brands, but also that LGBT-supportive companies are
  viewed positively by some potential customers.

  In addition to directly changing the external perceptions of a given company, LGBT-supportive
  policies might also indirectly lead to improved customer satisfaction through increased employee
  engagement. For example, Walz and Niehoff (2000) found that restaurants where employees
  exhibited higher levels of OCBs (a form of employee engagement) were rated higher in customer
  satisfaction and received fewer customer complaints. Recent meta-analyses support this


                                                  21




                                                                                                    AR_293002
Case 4:24-cv-00461-O        Document 76        Filed 09/06/24       Page 13 of 290       PageID 3660


  contention, demonstrating a significant correlation between employee engagement and customer
  loyalty and satisfaction (Harter, Schmidt, Killham, & Agrawal, 2009; Podsakoff, Whiting,
  Podsakoff, & Blume, 2009).

  (k) More effective recruiting of LGBT and non-LGBT employees who want to work for
        an employer that values diversity

         LGBT supportive policies     More effective recruiting of LGBT and non-LGBT employees

  Survey data from opinion polls suggest the importance of LGBT-supportive policies to LGBT
  people when they are considering where to work. Results from a 2006 national poll conducted
  by Harris Interactive/Witeck-Combs Communication indicated that 89% of LGBT respondents
  said it was important that they work for a company that has a written nondiscrimination policy
  that includes race, ethnicity, sex, religion, age, sexual orientation and disability (Out & Equal,
  Harris Interactive, & Witeck Combs Communications, 2006). An even greater percentage of
  LGBT respondents (91%) said it was important that they work for a company that offers equal
  benefits. Research conducted among LGB employees in the United Kingdom reports similar
  findings, with respondents seeking out LGB-inclusive organizations for employment
  opportunities while steering away from companies they believed were not supportive of the LGB
  community (Guasp & Balfour, 2008). Company policies such as nondiscrimination protections
  and domestic partnership benefits were signals to LGB employees that they would be supported
  in the workplace.

  Having LGBT-supportive policies may have a similarly positive impact on the recruitment of
  non-LGBT employees. In the 2006 Harris poll, 72% of non-LGBT respondents said that, when
  deciding where to work, it was important that an employer have an LGBT-inclusive
  nondiscrimination policy, and 79% said that it was important that an employer offer equal
  benefits (Out & Equal, Harris Interactive, & Witeck Combs Communications, 2006).

                                                  citing of LGBT employees
         Less discrimination ° More effective recruiting

  Other research suggests another recruitment-related business concern arising from
  discrimination—that employers limit their available talent pool by discriminating against
  qualified applicants because of their sexual orientation. For example, a 2011 study that sent out
  "matched resumes" of two equally qualified job applicants to employers, with the only difference
  being that one applicant was identifiably gay, found that employers were 40% more likely to
  callback the heterosexual applicant. Though the difference in callback rates varied by
  geographic region, gay men were less likely than non-gay men to be called back in every state
  included in the study, but discrimination was less in cities and states with nondiscrimination laws
  (Tilcsik, 2011). If this finding extends to voluntarily adopted company-level nondiscrimination
  policies, then employers who have rejected highly qualified LGBT applicants in the past might
  reduce their rejection of qualified applicants.




                                                  22




                                                                                                    AR_293003
Case 4:24-cv-00461-O        Document 76       Filed 09/06/24      Page 14 of 290       PageID 3661


  (1) Increased creativity among employees that could lead to better ideas and
         innovations

  Though conclusions about the impact of a diverse workforce on business outcomes are varied
  and the challenges of conducting research in this area complex, there is some evidence to suggest
  that diversity in the workplace is related to increased innovation (Kochan et al., 2003). We
  located one qualitative study of LGB employees from 21 public and private sector companies in
  the U.K. that addressed a related question (Guasp & Balfour, 2008). Employees indicated that
  having to conceal their sexual orientation at work reduced their levels of creativity and
  innovation, while being out at work increased their confidence in sharing new ideas (Guasp &
  Balfour, 2008).

  (m) Greater demand for company stock because of expected benefits of diversity
        policies

  Based on our review, two published studies have looked at whether implementing LGBT-
  supportive policies affects stock prices. A 2008 study examined stock prices of 203 companies
  before and after the release of the Human Rights Campaign's Corporate Equality Index (CEI) to
  determine if perceptions of LGBT-friendliness would boost companies' stock market
  performance. (The CEI rates companies on their LGBT-friendliness, including whether they
  have nondiscrimination and domestic partner benefits policies.) The study found an initial
  increase in firm value on the day the CEI was released but no net impact over the three-day
  analysis period (Johnson & Malina 2008). A later study found that the more robust a company's
  LGBT-friendly policies, the better its stock performed over the course of four years (2002-2006),
  compared to other companies in the same industry over the same period of time (Wang &
  Schwarz, 2010). The construction of the stock price variable in that study does not allow for
  assessing the amount of change in the actual stock price, however.

  I   t
                          IJ ffi1 t

  In a previous review of literature related to the vocational behavior of gay men, lesbians, and
  bisexual men and women, Croteau (1996) outlined methodological limitations among empirical
  articles published on the topic between 1980 and 1995. He noted that across the nine studies, all
  used convenience samples of predominantly white, well-educated, self-identified sexual
  minorities recruited through connections with the LGBT community. These studies also used
  measurement tools that had not been previously validated and conducted largely descriptive
  analyses of the survey data. Though research published since then has improved in the use of
  validated instruments, such as the Lesbian, Gay, Bisexual, and Transgendered Climate Inventory
  (Liddle, Luzzo, Hauenstein, & Schuck, 2004), and the use of more complex statistical analyses,
  such as path analyses, the limitations related to study design, methodology, and sampling remain
  largely the same.

  The majority of studies reviewed in this report are cross-sectional studies using convenience
  samples of gay men and lesbians, with a smaller number of studies that are inclusive of bisexual
  men and women and transgender men and women. No study identified in this review presented
  longitudinal data to assess whether adding supportive policies in one period is associated with

                                                 23




                                                                                                  AR_293004
Case 4:24-cv-00461-O         Document 76        Filed 09/06/24       Page 15 of 290       PageID 3662


  better outcomes in later periods, which would provide stronger evidence that there is a causal
  relationship between policies and outcomes. In addition, samples were predominantly white and
  well-educated, and had higher incomes than the general population, limiting the generalizability
  of reported findings.

  Effect sizes found among the current set of studies were generally small and the presence of
  LGBT-supportive policies accounted for only a limited amount of the variance in outcome
  measures. This indicates that there are likely other factors impacting employee attitudes,
  employee behaviors, and a company's bottom line, and that LGBT-supportive policies such as
  nondiscrimination and benefits policies are only part of what influences the work experiences of
  LGBT employees.

  The challenges of sampling LGBT populations have been reviewed elsewhere and as has been
  previously noted in the literature, the studies reviewed here used samples predominantly
  recruited from LGBT-related organizations, including member lists of LGBT rights
  organizations (e.g. Day & Schoerade, 2000) and LGBT affinity groups (e.g. Sandfort, Bos, &
  Vet, 2006). This sampling strategy has implications for the conclusions that can be drawn from
  existing studies, in that what is largely known about LGBT employees is a set of findings about a
  specific subsample of LGBT people— those who are connected to the LGBT community and
  willing to self-identify as such. One set of studies identified in this review used a stratified
  sampling technique to obtain equal numbers of men and women from the same geographic
  regions (Ragins & Cornwell, 2001; Ragins & Cornwell, 2007; Ragins, Singh, & Cornwell,
  2007), however, these participants were recruited from the membership of national LGBT rights
  organizations. This again limits the findings to a description of LGBT people who may be more
  likely to have disclosed their sexual orientation at work, who may be more likely to seek out
  employers who provide domestic partnership benefits or offer protections from discrimination, or
  other characteristics of individuals who actively affiliate with LGBT political or advocacy
  organizations.

  Another limitation among the studies reviewed for this report is the use of self-report
  questionnaires as the most frequently used method of assessment. While the use of self-report
  questionnaires is common to much of social science research and may adequately measure
  constructs such as work-related attitudes, research on LGBT-supportive workplace policies using
  this type of methodology relies on participants' accurate knowledge of the presence of these
  policies. Importantly, between 9.1% and 18% of participants in studies assessing the presence of
  nondiscrimination policies and/or domestic partnership benefits either did not know or were not
  sure of whether such policies existed at their organization, a finding which calls into question the
  reliability of some of the data collected. In addition, this result suggests that for some proportion
  of LGBT employees, there is no relationship between the presence of LGBT-supportive
  workplace policies and employee-level outcomes simply because these individuals are unaware
  that such policies even exist.

  Finally, the studies outlined in this review measure a wide variety of constructs, which provides
  greater breadth than depth of the findings. Among the challenges faced by researchers exploring
  workplace outcomes is the selection not only of the variables of interest, but of variables which
  may confound results or better explain the relationships between LGBT-supportive policies,


                                                   24




                                                                                                      AR_293005
Case 4:24-cv-00461-O        Document 76        Filed 09/06/24       Page 16 of 290       PageID 3663


  employee attitudes and behaviors, and company productivity. For example, studies that assess
  the degree to which an organizational climate is supportive of LGBT individuals may also wish
  to include assessments of an organization's general support for diversity in order to understand
  the unique contribution of LGBT-affirmative company environments on LGBT workers.
  Similarly, a limitation of the published studies is that none have taken into account other types of
  diversity, such as age, race/ethnicity, or gender, when examining the relationship between
  workplace policies and outcomes. There may be meaningful differences among LGBT workers
  who face discrimination based on multiple factors; for example, among lesbian employees who
  already experience wage discrimination based on their gender. The interaction of different
  dimensions of diversity will be an important area for further research.

  RESEARCH RECOMMENDATIONS
  Based on the present review, there are number of ways in which research on the effects of
  LGBT-supportive policies could be expanded and improved. As noted in the limitations section,
  future work in this area would benefit from recruiting more diverse samples of LGBT people.
  Literature published to-date represents a small subsample of this population and additional
  research is needed on LGBT people of different racial and ethnic backgrounds, educational
  attainment, and occupations. Studying the interaction of these different dimensions of diversity
  will be an important area for future research. Further, the existing literature base predominantly
  reports on the experiences and beliefs of lesbian and gay employees, and special attention should
  be paid to recruiting larger samples of bisexual men and women and transgender employees.
  Care should also be taken to consider the effects of workplace policies related to sexual
  orientation separate from policies related to gender identity or expression. This is particularly
  true since a greater number of U.S. states protect employees from discrimination based on sexual
  orientation than protect them from discrimination based on gender identity (National Gay and
  Lesbian Task Force, 2012).

  In addition to diversifying the characteristics of study participants, future research should employ
  a greater number of sampling methods and research designs, particularly so that firmer
  conclusions can be drawn about the relationship between the presence of LGBT-supportive
  policies and business outcomes. The use of probability samples would allow for greater
  generalization of study findings, and using time-series, quasi-experimental, and experimental
  designs would allow researchers to test hypotheses about causal relationships among workplace
  policies, organizational climate, and outcomes of interest. For example, larger companies with
  businesses across multiple states provide an opportunity to conduct natural experiments that test
  the impact of local laws and social climates on LGBT employees, as well as more downstream
  targets like productivity, customer base, and profitability. It will also be important to include
  comparison and control groups to assess whether changes in diversity-respecting workplace
  practices differentially affect subsets of employees. Companies that have existing methods of
  collecting data on their employees and workplace outcomes, such job satisfaction and work-life
  balance, already have the infrastructure to support asking specific questions about diversity
  practices that are supportive of LGBT people. Doing so would allow for greater control of firm-
  level factors that might confound the results of these earlier studies, such as organization size,
  climate, and existing diversity practices. Researchers and company officials should collaborate
  to fully utilize such data and to make findings available to policymakcrs and the public.

                                                  25




                                                                                                     AR_293006
Case 4:24-cv-00461-O        Document 76        Filed 09/06/24       Page 17 of 290       PageID 3664




  Finally, future research should use additional and more direct measures of business outcomes,
  such as productivity and profit measures. As shown in this report, a number of factors appear to
  mediate the relationship between the existence of LGBT-supportive policies and business
  outcomes, such as disclosure of sexual orientation in the workplace, office climate, and job
  satisfaction and engagement, and more work needs to be done to connect these mediating factors
  to organization-level costs and benefits.

  SUMMARY AND CONCLUSIONS
  On a qualitative level, we find support in the social science research for links between LGBT-
  supportive policies and outcomes that will benefit employers. Although the number of available
  studies was small, we are able to draw some tentative conclusions:
      • Having LGBT-supportive policies in the workplace is associated with reduced incidence
          of discrimination, and less discrimination is associated with better psychological health
          and increased job satisfaction among LGBT employees.
      • A supportive workplace climate — which includes both LGBT-supportive policies and
          more broad support from co-workers and supervisory staff— is associated with a greater
          likelihood that LGBT employees will feel comfortable disclosing their sexual orientation
          at work. In turn, increased disclosure of sexual orientation is related to improved
          psychological health outcomes among LGBT employees.
      • LGBT employees report more satisfaction with their jobs when covered by LGBT-
          supportive policies and working in positive climates.
      • The presence of LGBT-supportive policies and workplace climates are associated with
          improved relationships among LGBT employees and their co-workers and supervisors.
          In addition, LGBT employees are more engaged in the workplace, are more likely to go
          above-and-beyond their job description to contribute to the work environment, and report
          greater commitment to their jobs.
      • Although there may be initial costs to enacting LGBT-supportive policies, such as
          extending health benefits to same-sex partners of LGBT employees, we find that these
          costs are likely negligible and could be offset by cost savings in other areas. Healthier,
          more committed LGBT employees are likely to make greater contributions to the
          workplace.
      • Among consumers and job-seekers who value LGBT-inclusive diversity practices,
          businesses with LGBT-supportive policies may be seen as better companies from which
          to buy products or for whom to work, thereby increasing their customer base and pool of
          prospective employees.

  Most research in this area supports the contention that in the workplace context, feeling
  comfortable disclosing one's sexual orientation or gender identity and being shielded from
  discrimination based on those characteristics are two mediating factors for the other relationships
  reported in the literature. These may be important mechanisms to explain how LGBT-supportive
  policies result in better business outcomes. Thus current research suggests that companies who
  wish to leverage their commitment to diversity to improve their bottom line ought to consider
  ways in which they can create and sustain LGBT-inclusive workplace climates and foster the
  safety and wellbeing of their LGBT employees.

                                                  26




                                                                                                        AR_293007
Case 4:24-cv-00461-O        Document 76        Filed 09/06/24      Page 18 of 290       PageID 3665



  REFERENCES
  Ainsworth, T.A., & Spigel, J.H. (2010). Quality of life of individuals with and without facial
        feminization surgery or gender reassignment surgery. Quality of Life Research, 19, 1019-
        1024

  Ash, M. A. & Badgett, M. V. L. (2006). Separate and Unequal: The Effect of Unequal Access
        to Employment-Based Health Insurance on Same-sex and Unmarried Different-Sex
        Couples. Contemporary Economic Policy, 24, 582-599.

  Badgett, M.V.L., & Gates, G.J. (2006). The effect of marriage equality and domestic partnership
         on business and the economy. Retrieved from The Williams Institute website:
         http://www.law.ucla.edu/williamsinstitute/publications/MarriageEqualityontheEconomy.
         pdf

  Badgett, M. V. L. (2001). Money, myths, and change: The economic lives of lesbians and gay
         men. Chicago: University of Chicago Press.

  Boatwright, K.J., Gilbert, M.S., Forrest, L., & Ketzenberger, K. (1996). Impact of identity
        development upon career trajectory: Listening to the voices of lesbian women. Journal of
         Vocational Behavior, 48, 210-228.

  Bowling, N. A. (2007). Is the job satisfaction job performance relationship spurious? A meta-
        analytic examination. Journal of Vocational Behavior, 71, 167-185.

  Brenner, B.R., Lyons, H.Z., & Fassinger, R.E. (2010). Can heterosexism harm organizations?
        Predicting the perceived organizational citizenship behaviors of gay and lesbian
        employees. The Career Development Quarterly, 58, 321-335.

  Button, S.B. (2001). Organizational efforts to affirm sexual diversity: A cross-level examination.
         Journal of Applied Psychology, 86, 17-28.

  Cole, S. W., Kemeny, M. E., Taylor, S. E., & Visscher, B. R. (1996). Elevated physical health
         risk among gay men who conceal their homosexual identity. Health Psychology, 15,
         243-251.

  Cole, S. W., Kemeny, M. E., Taylor, S. E., Visscher, B. R., & Fahey, J. L. (1996). Accelerated
         course of human immunodeficiency virus infection in gay men who conceal their
         homosexual identity. Psychosomatic Medicine, 58, 219-231.

  Coleman, E. Bockting, W., Botzer, M., Cohen-Kettenis, P., DeCuypere, G., Feldman, J., ...
        Zucker, K (2011). Standards of care for the health of transsexual, transgender, and
        gender-nonconforming people, version 7. International Journal of Transgenderism, 13,
        165-232.




                                                  27




                                                                                                       AR_293008
Case 4:24-cv-00461-O        Document 76        Filed 09/06/24       Page 19 of 290       PageID 3666




  Croteau, J.M. (1996). Research on the work experiences of lesbian, gay, and bisexual people: An
         integrative review of methodology and findings. Journal of Vocational Behavior, 48,
         195-209.

  Crow, S.M., Fok, L.Y., & Hartman, S.J. (1988). Who is at greatest risk of work-related
        discrimination—women, blacks, or homosexuals? Employee Responsibilities and Rights
        Journal, 11, 15-26.

  Currie, J., Madrian, B.C., (1999). Health, health insurance and the labor market. In: O.
          Ashenfelter, & D. Card (Eds.), Handbook of a Labor Economics, Vol. 3 (pp. 3309-3407).
          Amsterdam: Elsevier.

  Day, N.E. & Schoenrade, P. (2000). The relationship among reported disclosure of sexual
         orientation, anti-discrimination policies, top management support and work attitudes of
         gay and lesbian employees. Personnel Review, 29, 346-363.

  Dhejne, C., Lichtenstein, P., Boman, M., Johansson, A.L.V., Langstrom, N., et al., (2011). Long-
        term follow-up of transsexual persons undergoing sex reassignment surgery: Cohort
        study in Sweden. PLoS ONE, 6, e16885-e16885.

  Driscoll, J.M., Kelley, F.A., & Fassinger, R.E. (1996). Lesbian identity and disclosure in the
         workplace: Relation to occupational stress and satisfaction. Journal of Vocational
         Behavior, 48, 229-242.

  Friskopp, A., & Silverstein, S. (1996). Straight jobs, gay lives: Gay and lesbian professionals,
         the Harvard Business School, and the American workplace. New York: Touchstone.

  Gates, G. J. (2011). How many people are lesbian, gay, bisexual, and transgender? Retrieved
         from The Williams Institute website: http://williamsinstitute.law.ucla.edu/wp-
         content/uploads/Gates-How-Many-People-LGBT-Apr-2011.pdf.

  Goldberg, Ramos, & Badgett, M.V.L. (2008). The fiscal impact of extending federal benefits to
        same-sex domestic partners. Retrieved from The Williams Institute website
        http://wil liamsinstitute.law.ucla.edu/wp-content/uploads/Badgett-Goldberg-Ramos-
        S2521FiscalAnalysis-Sept-2008.pdf

  Griffith, K.H., & Hebl, M.R. (2002). The disclosure dilemma for gay men and lesbians: "Coming
          out" at work. Journal of Applied Psychology, 87, 1191-1199.

  Guasp, A., & Balfour, J. (2008). Peak performance: Gay people and productivity. Retrived from
         Stonewall website: http://www.stonewall.org.uk/documents/peak_performance.pdf.

  Harmon, V. (2006). San Francisco city and county transgender health benefits. San Francisco:
       Human Rights Commission.



                                                  28



                                                                                                     AR_293009
Case 4:24-cv-00461-O        Document 76       Filed 09/06/24       Page 20 of 290      PageID 3667


  Harter, J.K, Schmidt, F.L., Asplund, J.W., Killham, E.A., Agrawal, S. (2010). Causal impact of
          employee work perceptions on the bottom line of organizations. Perspectives on
          Psychological Science, 5, 378-389.

  Harter, J.K., Schmidt, F.L., Killham, E.A., & Agrawal, S. (2009). Q12 meta-analysis: The
          relationship between engagement at work and organizational outcomes (Technical paper).
          Omaha, NE: Gallup.

  Hebl, M.R., Foster, J.B., Mannix, L.M., & Dovidio, J.F. (2002). Formal and interpersonal
         discrimination: A field study of bias toward homosexual applicants. Personality and
         Social Psychology Bulletin, 28, 815-825.

  Hewlett, S.A., & Sumberg, K. (2011, June). The power of out. Center for Work-Life Policy.

  Huebner, D.M., & Davis, M.C. (2007). Perceived antigay discrimination and physical health
        outcomes. Health Psychology, 26, 627-634.

  Hook, M.K., & Bowman, S. (2008). Working for a living: The vocational decision making of
        lesbians. Journal of Lesbian Studies, 12, 85-95.

  Horvath, M., & Ryan, A.M. (2003). Antecedents and potential moderators of the relationship
        between attitudes and hiring discrimination on the basis of sexual orientation. Sex Roles,
         48, 115-130.

  Huffman, A. H., Watrous-Rodrigucz, K. M., & King, E. B. (2008). Supporting a diverse
        workforce: What type of support is most meaningful for lesbian and gay employees?
        Human Resource Management, 47, 237-253.

  Human Rights Campaign (2009). Degrees of equality: A national study examining workplace
       climatefor LGBT employees. Retrieved from Human Rights Campaign Web site:
       http://www.hrc.org/files/assets/resources/DegreesOfEquality_2009.pdf.

  Human Rights Campaign (1999). State of the Workplacefor Lesbian, Gay, Bisexual and
       Transgendered Americans. Retrieved from http://www.hrc.org/documents/sotwl999.pdf.

  Iaffaldano, M.T., & Muchinsky, P.M. (1985). Job satisfaction and job performance: A meta-
          analysis. Psychological Bulletin, 97, 251-273.

  IOM (Institute of Medicine). (2009). America's Uninsured Crisis: Consequencesfor Health and
        Health Care. Washington, DC: The National Academies Press.

  Jackson, S.E., Joshi, A., & Erhardt, N.L. (2003). Recent research on team and organizational
         diversity: SWOT analysis and implications. Journal of Management, 29, 801-830.

  Johnston, D., & Malina, M.A. (2008). Managing sexual orientation diversity: The impact on firm
         value. Group and Organization Management, 33, 602-625.


                                                 29



                                                                                                     AR_293010
Case 4:24-cv-00461-O        Document 76        Filed 09/06/24      Page 21 of 290       PageID 3668




  Jordan, K.M., & Deluty, R.H. (2008). Coming out for lesbian women. Journal of Homosexuality,
         35, 41-63.

  Kelly, E., & Dobbin, F. (1998). How affirmative action became diversity management:
         Employer response to antidiscrimination law, 1961 to 1996. American Behavioral
         Scientist, 41, 960-984.

  Kochan, T., Bezrukova, K., Ely, R., Jackson, S., Joshi, A., Jehn, K., Leonard, J., Levine, D., &
        Thomas, D. (2003). The effects of diversity on business performance: Report of the
        Diversity Research Network. Human Resource Management, 42, 3-21.

  Law, C.L., Martinez, L.R., Ruggs, E.N., Hebl, M.R., Akers, E. (2011). Trans-parency in the
        workplace: How the experiences of transsexual employees can be improved. Journal of
         Vocational Behavior, 79, 710-723.

  Level Playing Field Institute (2007). The cost of employee turnover due solely to unfairness in
         the workplace. Retrieved from Level Playing Field Institute website:
         http://www.lpfi.org/sites/default/files/corporate-leavers-survey.pdf.

  Liddle, B.J., Luzzo, D.A., Hauenstein, A.L., & Schuck, K. (2004). Construction and validation of
         the lesbian, gay, bisexual, and transgendered climate inventory. Journal of Career
         Assessment, 12, 33-50.

  Mallory, C., & Scars, B. (2011). An evaluation of local laws requiring government contractors to
        adopt LGBT-related workplace policies. Albany Government Law Review, 5, 478-551.

  Monstrey, S., De Cuypere, G., & Ettner, R. (2004). Surgery: General principles. Principles of
        Transgender Medicine and Surgery (pp. 89-104). The Haworth Press.

  Munoz, C.S. (2005). A multi-level examination of career barriers for sexual minority employees.
        Unpublished doctoral dissertation.

  Murad, M. H., Elamin, M. B., Garcia, M. Z., Mullan, R. J., Murad, A., Erwin, P. J. and Montori,
        V. M. (2010). Hormonal therapy and sex reassignment: a systematic review and meta-
        analysis of quality of life and psychosocial outcomes. Clinical Endocrinology, 72, 214-
        231.

  National Gay and Lesbian Task Force (2012, January). Nondiscrimination laws map. Retrieved
         from The National Gay and Lesbian Task Force website:
         http://www.thetaskforce.org/downloads/reports/issue_maps/non_discrimination_1_12_co
         lor.pdf.

  Organ, D.W., Podsakoff, P.M., & MacKenzie, S.B. (2006). Organizational citizenship behavior:
         Its nature, antecedents, and consequences. Thousand Oaks, CA: Sage.



                                                  30



                                                                                                     AR_293011
Case 4:24-cv-00461-O        Document 76       Filed 09/06/24       Page 22 of 290      PageID 3669


  Out & Equal, Harris Interactive, & Witeck Combs Communications (2006). Majority of
        Americans: Companies not government should decide benefits offered to same-sex
        employees (Press release). Retrieved from Out & Equal website:
        http://outandequal.org/documents/2006_Workplace_SurveyO52306.pdf

  Pachankis, J. E. (2007). The psychological implications of concealing a stigma: A cognitive-
        affective-behavioral model. Psychological Bulletin, 133, 328-345.

  Podsakoff, N.P., Whiting, S.W., Podsakoff, P.M., & Blume, B.D. Individual- and organizational-
        level consequences of organizational citizenship behaviors: A meta-analysis. Journal of
        Applied Psychology, 94, 122-141.

  Raeburn, N.C. (2004). Changing corporate America from inside out: Lesbian and gay workplace
        rights. Minneapolis: University of Minnesota Press.

  Ragins, B.R., & Cornwell, J.M. (2001). Pink triangles: Antecedents and consequences of
         perceived workplace discrimination against gay and lesbian employees. Journal of
         Applied Psychology, 86, 1244-1261.

  Ragins, B.R., & Cornwell, J.M. (2007). We are family: The influence of gay family-friendly
         policies on gay, lesbian, and bisexual employees. In M.V.L. Badgett & J. Frank (Eds.)
         Sexual Orientation Discrimination: An International Perspective (pp. 105-117). New
         York: Routledge.

  Ragins, B.R, Singh, R., & Cornwell, J.M. (2007). Making the invisible visible: Fear and
         disclosure of sexual orientation at work. Journal of Applied Psychology, 92, 1103-1118.

  Rostosky, S.S., & Riggle, E.D.B. (2002). out at work: The relations of actor and partner
         workplace policy and internalized homophobia to disclosure status. Journal of
         Counseling Psychology, 49, 411-419.

  Samir Luther. (Sept. 21, 2009). How Fortune-ranked companies stack up on LGBT workplace
         policies [Web log post]. Retrieved from http://www.hrcbackstory.org/2009/09/how-
         fortune-ranked-companies-stack-up-on-lgbt-workplace-policies/

  Sandfort, T.G.M., Bos, H., & Vet, R. (2006). Lesbians and gay men at work: Consequences of
         being out. In A.M. Omoto & H.S. Kurtzman (Eds.) Sexual Orientation and Mental
        Health: Examining Identity and Development in Lesbian, Gay, and Bisexual People (pp.
        225-244). Washington, D.C.: American Psychological Association.

  Sears, B., & Mallory, C. (2011). Economic motives for adopting LGBT-related workplace
          policies. Retrived from The Williams Institute website:
          http://williamsinstitute.law.ucla.edu/wp-content/uploads/Mallory-Sears-Corp-Statements-
         Oct2011.pdf.




                                                 31



                                                                                                    AR_293012
Case 4:24-cv-00461-O        Document 76       Filed 09/06/24      Page 23 of 290       PageID 3670


  Smith, N.G., & Ingram, K.M. (2004). Workplace heterosexism and adjustment among lesbian,
         gay, and bisexual individuals: The role of unsupportive social interactions. Journal of
         Counseling Psychology, 51, 57-67.

  Tejeda, M.J. (2006). Nondiscrimination policies and sexual identity disclosure: Do they make a
         difference in employee outcomes? Employee Responsibilities and Rights Journal, 18, 45-
         59.

  Tilscik, A. (2011). Pride and prejudice: Employment discrimination against openly gay men in
          the United States. Journal of Sociology, 117, 586-626.

  Trau, R.N.C., & Hartel, C.E.J. (2007). Contextual factors affecting quality of work life and
         career attitudes of gay men. Employee Responsibilities and Rights Journal, 19, 207-219.

  Tuten, T.L. (2005). The effect of gay-friendly and non-gay-friendly cues on brand attitudes: A
         comparison of heterosexual and gay/lesbian reactions. Journal of Marketing
         Management, 21,441-461.

  Walz, S.M., & Niehoff, B.P. (2000). Organizational citizenship behaviors: Their relationship to
         organizational effectiveness. Journal of Hospitality and Tourism Research, 24, 301-319.

  Waldo, C.R. (1999). Working in a majority context: A structural model of heterosexism as
        minority stress in the workplace. Journal of Counseling Psychology, 46, 218-232.

  Wang, P., & Schwarz, J.L. (2010). Stock price reactions to GLBT nondiscrimination policies.
        Human Resource Management, 49, 195— 216.

  Williams, D.R., Neighbors, H.W., & Jackson, J.S. (2003). Racial/ethnic discrimination and
         health: Findings from community studies. American Journal of Public Health, 93, 200-
         2008.




                                                 32




                                                                                                    AR_293013
Case 4:24-cv-00461-O        Document 76       Filed 09/06/24       Page 24 of 290      PageID 3671




  M.V. Lee Badgett is the Research Director at the Williams Institute, UCLA School of Law, and
  Director of the Center for Public Policy and Administration & Professor of Economics at the
  University of Massachusetts Amherst.

  Laura E. Durso is a Public Policy Fellow at the Williams Institute, UCLA School of Law.

  Angeliki Kastanis is a Public Policy Fellow at the Williams Institute, UCLA School of Law.

  Christy Mallory is the Reid Rasmussen Fellow of Law & Policy at the Williams Institute,
  UCLA School of Law.




  The Williams Institute on Sexual Orientation and Gender Identity Law and Public Policy at
  UCLA School of Law advances law and public policy through rigorous, independent research
  and scholarship, and disseminates its work through a variety of education programs and media to
  judges, legislators, lawyers, other policymakers and the public. These studies can be accessed at
  the Williams Institute website.




                                   FOR MORE INFORMATION

                           The Williams Institute, UCLA School of Law
                                           Box 951476
                                  Los Angeles, CA 90095-1476
                                         (310)267-4382
                                will iamsinstitute( law.ucla.edu
                               www.law.ucla.edu/williamsinstitute




                                                 33



                                                                                                      AR_293014
Case 4:24-cv-00461-O        Document 76         Filed 09/06/24      Page 25 of 290        PageID 3672




  Methodology

  Studies included in our analysis were identified using several methods. First, we collected
  relevant materials that were cited in previous Williams Institute reports on this topic, including
  Documented Evidence of Employment Discrimination & Its Effects on LGBT People (Sears &
  Mallory, 2011) and internal memos (on file with the author). Second, we gathered all of the
  scholarship cited in those materials. Third, we conducted computerized searches between
  January 16, 2012 and April 1, 2013 using Google Scholar and the UCLA Library article search
  function which gathers relevant scholarship from several databases including EBSCOhost,
  JSTOR, and LexisNexis, among others. We searched these sources using systematic
  combinations of the following words:

  Sexual orientation, gender identity, LGBT, LGB, gay, lesbian, bisexual, transgender,
  transsexual, homosexual, domestic partner, same-sex partner, benefits, discrimination,
  discriminate, discriminated, employ, employee, employer, employed, employment, work, works,
  worked, workplace, worker, company, corporate, business, anti-discrimination,
  nondiscrimination, discrimination, policy, policies, environment, climate, out, outness, disclose,
  disclosure, OCBs, organizational citizenship behaviors, health, well-being, stress, meta-analysis,
  recruit, recruitment, retain, retains, retained, retention, quit, quitting, satisfied, satisfaction,
  creative, creativity, innovate, innovation, innovations, idea, ideas, customer, customers,
  customer service, customer satisfaction, productive, productivity, better, performance, contract,
  contractor, ordinance, morale, profit, profitability, bottom line, benefit, economic.

  Fourth, we gathered relevant scholarship cited in the materials identified in the database search.
  Finally, we used systematic combinations of the terms above to search the Internet (using the
  Google search engine) for relevant materials produced by research organizations and non-profits
  focused on LGBT issues or workplace issues. Our research method yielded 33 relevant
  published articles, books, book chapters, and other written materials produced by research and
  non-profit organizations that are included in this report.

  In addition to compiling relevant written materials, we singled out a set of study characteristics
  that helped us determine the overall methodological strength of each paper included in this
  report. Although we did not use a formal rating system, the findings reported in this document
  were done so in a manner that considered overall study strength. The set of study characteristics
  included in our detailed review (Table 1) are as follows: 1) sample size 2) LGBT populations
  included 3) gender 4) race/ethnicity of participants 5) education level of participants 6) response
  rate 7) recruitment strategy 8) use of validated measures.




                                                  34




                                                                                                         AR_293015
                        Case 4:24-cv-00461-O       Document 76       Filed 09/06/24          Page 26 of 290      PageID 3673

Fable I..       Study Characteristics for LGBT Employee Outcomes
                                                                                              Qualitative     Validated    Sample        Validated
                      Sample              %       %        %       Response    Recruitment                                Reliability    Disclosure
  Author (Year)                LGBT                      College                                  or          Outcome
                       Size             Female   White               Rate       Strategy
                                                         Degree                               Quantitative    Measures    Coefficients   Measure
 Boatwright et al.     10        L      100%     90%      70%      100%        Convenience
                                                                                                                 +             +             +
                                                                                               Qualitative
     (1996)                                                                      Sample

 Brenner, Lyons &
                                                                               Convenience
     Fassinger         606      L,G     55%      89%      75%         -          Sample       Quantitative      Yes          Yes           Yes
      (2010)
                                                                               Convenience
           on
      (2 t 1)
                       537      L,G     34%      90%       -        42%         SnSowbe,l
                                                                                              Quantitative      Yes          Yes             +
                                                                                Sampling
Day & Schoenrade       744                                                     Convenience
                                                                                                                                            No
     (2000)
                                L,G
                                 '
                                        35%        -       -         29%         Sample
                                                                                              Quantitative      Yes           No

 Driscoll, Kelley &                                                            Convenience
                                                                                 Sample,
     Fassinger         123       L      100%     85%       -         69%        Snowball      Quantitative      Yes          Yes            No
      (1996)                                                                    Sampling
  Griffith & Hebl
                       379      L,G     42%      82%      69%         -        Convenience
                                                                                 Sample       Quantitative      Yes          Yes           Yes
      (2002)
 Guasp & Balfour
                       107     L,G,B      -        -       -          -             -          Qualitative       +             +             +
     (2008)

Hewlett & Sumberg              L,G,B,                                            Random       Quantitative,
     (2011)
                      2,593                              100o/o       -          Sample       Qualitative
                                                                                                                No            No            No
                                T,H*      -        -
 Horvath & Ryan        236                                 -          -        Convenience    Quantitative      Yes          Yes             +
     (2003)
                                 -      77%      85%                             Sample
Huffman, Watrous-
                                                                               Coampl
          & King       99      L,G,B    38%      84%      79%       90%          Samplenee
                                                                                 S            Quantitative      Yes          Yes           Yes
     (2008)
  Human Rights                                                                   Random
                                                                               Sample from    Qualitative,
    Campaign           831     LGBT     46o/0    63%     37%          -           Panel,      Quantitative
                                                                                                                No            No            No
     (2009)                                                                     Outreach
                                                                               Convenience
 Jordan & Deluty       499       L      100%     83%      95%                    Sample'
     (1998)                                                         33%         Snowball      Quantitative      Yes           No           Yes
                                                                                Sampling
                                                                          35




                                                                                                                                            AR_293016
                               Case 4:24-cv-00461-O                      Document 76                Filed 09/06/24                  Page 27 of 290     PageID 3674

                                                                                                                                     Qualitative    Validated    Sample        Validated
                             Sample                     %             %             %           Response       Recruitment
   Author (Year)              Sire       LGBT                                     College                                                or         Outcome     Reliability    Disclosure
                                                      Female         White                        Rate          Strategy
                                                                                  Degree                                             Quantitative   Measures    Coefficients   Measure
                                                                                                               Convenience
      Law, et. al.                                                       t,                                      Sample,
                              114            T        54 / u          81 u/           -              -          Snowball             Quantitative     Yes          Yes           Yes
        (2011)
                                                                                                                Sampling
 Level Playing Field          1780
                                                                                                               Random Digit
      Institute               (100         L,G            -             -             -           88%            Dialing             Quantitative     No            No            No
       (2007)                 L,G)
                                                                                                               Convenience
        M00oz5)               346        L,G,H         34%           89%            90%              -                               Quantitative     Yes          Yes            No




                                                                                                                 Snowbe,l
                                                                                                                Sampling
                              2,501
     Out & Equal                         L,G,B,                                                                Convenience
                              (270        T H                                                                                        Quantitative       -            -             -
       (2006)                                             -             -             -              -           Sample
                             LGBT)         '
 Ragins & Cornwell            534        L                                                                     Convenience
                                                                                                                                     Quantitative     Yes          Yes           Yes
      (2001)
                                             GB        32%           68%            85%           30%            Sample
 Ragins & Cornwell             *             *            *             *
                                                                                    same            as                      above
      (2007)
  Ra ' s, Sin h &
  Cornwell (2007)              *             *            *             *           same            as                      above
 Rostosky & Riggle            261            -          54%           86%           60%           68%          Convenience
                                                                                                                                     Quantitative     Yes          Yes            No
      (2002)                                                                                                     Sample
                                                                                                                Network,
Sandfort, Bos & Vet
                              320        LGB            52%             -           60%           24%            Random
                                                                                                               Sample from
                                                                                                                                     Quantitative     Yes           No            No
      (2006)
                                                                                                                  Panel
                                                                                                               Convenience
   Smith & Ingram             97         L                                                                       Sample,             Quantitative     Yes           No            No
       (2004)                              ' G' B      41%           82%            66%              -          Snowball
                                                                                                                Sampling
        Tejeda                65             G          0%           100%           81%           36%          Convenience
        (2006)                                                                                                   Sample              Quantitative     Yes          Yes            No
    Trau & Haste!                                                                                              Convenience
       (2007)
                              581            G          0%              -           55%              -           Sample              Quantitative     Yes          Yes           Yes
        Waldo
                              287        L' G' B       41%            91%           More
                                                                                  than half       55%          Convenience
                                                                                                                 Sample
                                                                                                                                     Quantitative     Yes          Yes           Yes
        (1999)
* H. Heterosexual                   + Not Applicable
  Information not provided         + + 54% transwoolen, 24% transmen, 22% did not identify a gender identity


                                                                                                         36




                                                                                                                                                                                   AR_293017
    Case 4:24-cv-00461-O           Document 76        Filed 09/06/24       Page 28 of 290       PageID 3675

                              CHSAA Transgender Inclusion Bylaw & Policy

Bylaw 300.                                 EQUITY CODE

       1.       The Colorado High School Activities Association is committed to ensuring that all students have
                equal access and opportunities to participate in CHSAA sponsored activities and athletics.

       2.       Member schools shall ensure that all students have equal access and opportunities to
                participate in activities and athletics without unlawful discrimination based on disability, race,
                creed, color, gender, sexual orientation, religion, age, national origin, or ancestry.

       3.       The Colorado High School Activities Association recognizes the right of transgender student-
                athletes to participate in interscholastic activities free from unlawful discrimination based on
                sexual orientation. In order to insure appropriate gender assignment for purposes of athletic
                eligibility, a transgender student-athlete's home school will perform a confidential evaluation to
                determine the gender assignment for the prospective student-athlete. The CHSAA will review
                athletic eligibility decisions based on gender assignment of transgender student-athletes in
                accordance with its approved policies and appeals procedures.


            CHSAA INCLUSION POLICY & OCR DEAR COLLEAGUE LETTER ON TRANSGENDER STUDENTS


The Colorado High School Activities Association (CHSAA) Board of Directors approved this policy and process to
address the eligibility of transgender/transitioned/student-participants in CHSAA sanctioned activities/athletics.

For the purposes of this policy, the following definitions will apply:

   1. The term "sexual orientation" means a person's orientation toward heterosexuality, homosexuality,
      bisexuality, transgender status or another person's perception thereof.
   2. The term "gender identity" means an individual's internal sense of gender.
   3. The term "sex assigned at birth" refers to the sex designation recorded on an infant's birth certificate
      should such a record be provided at birth.
   4. The term "transgender" describes those whose gender identity is different from the sex they were
      assigned at birth.
   5. The term "gender expression" means external appearance, characteristics or behaviors typically
      associated with a specific gender.
   6. The term "gender fluid" means denoting or relating to a person who does not identify themselves as
      having a fixed gender.
   7. The term "detransition" means the cessation or reversal of a transgender identification or gender
      transition, whether by social, legal or medical means.
   8. The term "covered entity" means any person, business, or institution required to comply with the
      antidiscrimination provisions of the law.




                                                                                                            AR_293018
    Case 4:24-cv-00461-O          Document 76        Filed 09/06/24       Page 29 of 290        PageID 3676

   9. Unlawful harassment includes severe or pervasive conduct that creates an environment that is
      subjectively and objectively hostile, intimidating, or offensive on the basis of gender identity, gender
      expression, or sexual orientation. Prohibited conduct includes, but is not limited to, the following:
             a. Asking unwelcome personal questions about an individual's gender identity;
             b. Intentionally causing distress to an individual by disclosing to others the individual's sexual
                 orientation or transgender status;
             c. Using offensive names or terminology regarding an individual's gender identity, gender
                 expression, or sexual orientation; or
             d. Deliberately misusing an individual's preferred name, form of address, or gender-related
                 pronoun.

Policy Privacy:
All discussions and documentation in each level of the process either by a member school and/or CHSAA shall
be kept confidential unless the student and family make a specific request.

Procedures:
The student's member school will be the first point of contact for determining the student's eligibility to
participate in CHSAA sanctioned event(s). The student and parent(s)/guardian must notify the school in writing
that the student has a consistent gender identity different than the student's gender assigned at birth and list
the sanctioned event(s) in which the student would like to participate. The consistent gender identity as stated
in the school letter will be the gender recognized for the entirety of the students participation in CHSAA
athletics/activities. (See Detransition Policy) A transgender student shall participate in accordance with their
gender identity, and CHSAA Bylaw 2850.3 shall still apply.

The school may use the following criteria to determine participation:
   • Current transcript and school registration information
   • A written statement from the student affirming their gender identity.

The school may consider but may not require the following information, if it is voluntarily provided by the
student or their parent/guardian:
   • Documentation from individuals such as, but not limited to, parents, friends, and/or teacher, which
      affirm that the actions, attitudes, dress and manner demonstrate the student's gender identity.
   • Written verification from an appropriate health-care professional (doctor, psychiatrist, psychologist) of
      the student's gender identity.
   • Medical documentation (hormonal therapy, sexual re-assignment surgery, counseling, medical
      personnel, etc.)

Gender Fluid:
Students that want to participate in CHSAA athletics and activities, must select one gender to participate. The
process for gender identification and notification to the school is the same as stated above. Any subsequent
detransition by a gender fluid student must also follow the detransition policy as stated below.

Detransition Poli
Students that detransition after competing in their consistent gender identity at the high school level, must
notify the school in writing of their intent to detransition and apply via written request to the school for further
eligibility. The decision to approve the request will be made at the local level.




                                                                                                            AR_293019
   Case 4:24-cv-00461-O        Document 76       Filed 09/06/24     Page 30 of 290      PageID 3677


   •   Have a plan in place and be proactive.
   •   Use correct names/pronouns according to the student's self-identification, and permit the student to
       dress according to gender identity and or expression.
   •   Allow restroom and locker room access consistent to gender identity.
   •   Educate teachers, counselors, coaches, administrators, parents and students on transgender inclusion
       and awareness.

Resources:
   • CHSAA Contact:
      Bethany Brookens, Assistant Commissioner
      14855 E. Second Avenue — Aurora, CO 80011
      Office Phone: 303-344-5050
      Office E-mail: bbrookens@chsaa.org




                                                                                                   AR_293020
 Case 4:24-cv-00461-O    Document 76    Filed 09/06/24   Page 31 of 290   PageID 3678

               FRAMINGHAM HIGH SCHOOL
                                  ATHLETIC DEPARTMENT
                               115 A Street, Framingham, MA 01701
                             Phone: 508-782-7510 Fax: 508-788-0630
                                Website: www.flyerathletics.com



           2022-2023 FRAMINGHAM HIGH SCHOOL

                            ATHLETIC HANDBOOK

                        For Student-Athletes, Coaches, and Parents




            "Success is peace of mind which is a direct result of
               self-satisfaction in knowing you did your best to
                become the best you are capable of becoming."
                                       ---- John Wooden




Paul Spear                                        Ashley Paulsen
Athletic Director                                 Assistant Athletic Director
508-782-7650                                      508-782-7510




                                                                                  AR_293021
  Case 4:24-cv-00461-O   Document 76    Filed 09/06/24   Page 32 of 290   PageID 3679

                FRAMINGHAM HIGH SCHOOL
                                  ATHLETIC DEPARTMENT
                               115 A Street, Framingham, MA 01701
                             Phone: 508-782-7510 Fax: 508-788-0630
                                Website: www.flyerathletics.com




                         TABLE OF CONTENTS

Statement of Athletic Philosophy............................Page 1

Expectations for Student-Athletes............................Page 2

MIAA Bona Fide Team Rule..................................Page 3

Athletic and Co-Curricular Eligibility.......................Page 4

Registration, Transportation, Varsity Letters.............Page 5

Expectations for Team Captains..............................Page 6

Expectations for Parents/Spectators..........................Page 7

Communication for Athletic Concerns.......................Page 8

Expectations for Coaches....................................... Page 9

Perspectives on College Scholarships.........................Page 10

Student-Athlete, Coach, Parent Contract..................... Page 11

MIAA Chemical Health Rule..................................Appendix A
State Law Regarding Hazing...................................Appendix B
Wellness Center Policies and Procedures...... . .............Appendix C
Expectations of Athletic Trainer..............................Appendix D



                                                                                  AR_293022
Case 4:24-cv-00461-O   Document 76   Filed 09/06/24   Page 33 of 290   PageID 3680




                                                                               AR_293023
  Case 4:24-cv-00461-O       Document 76      Filed 09/06/24    Page 34 of 290      PageID 3681

                   FRAMINGHAM HIGH SCHOOL
                                       ATHLETIC DEPARTMENT
                                    115 A Street, Framingham, MA 01701
                                  Phone: 508-782-7510 Fax: 508-788-0630
                                     Website: www.flyerathletics.com




                 STATEMENT OF ATHLETIC PHILOSOPHY

Framingham High School Athletics mission is to support our students as they represent our
city in interscholastic athletics. It is our gopal to develop their skills and passion for athletics
so they will have a lifelong love of sport. Students will learn self-discipline and habits of
mind that foster success in all areas of life.

Athletes will serve through community service, accept a role on a team, and serve a purpose
larger than themselves.

Athletics teaches wellness. Athletes should learn good habits in the areas of nutrition and
exercise. Likewise, athletes learn time management as well as how to balance competition
and fatigue.

Athletics teaches the growth mindset. Athletes get better through focused, purposeful
practice. Skills and development of a team will be fostered through time dedicated to
practice.

Finally, athletics teaches fun. Every athlete should be playing because they love their sport.
Every athletic event is an opportunity to create memories and lifelong friendships.

We will not be outcome driven in determining the success of our teams. We will be driven by
effort and it will be our effort, commitment to community service, wellness, and growth by
which we judge ourselves.




                                                                                              AR_293024
  Case 4:24-cv-00461-O      Document 76     Filed 09/06/24    Page 35 of 290    PageID 3682

                   FRAMINGHAM HIGH SCHOOL
                                     ATHLETIC DEPARTMENT
                                  115 A Street, Framingham, MA 01701
                                Phone: 508-782-7510 Fax: 508-788-0630
                                   Website: www.flyerathletics.com



            EXPECTATIONS FOR STUDENT-ATHLETES


As members of their team, a student athlete serves as a role model. They are admired and
respected by many, including younger athletes, and their behavior and actions often have a
significant impact on others. The student athlete plays an essential role in the promotion of
sportsmanship and they must accept the responsibility to always display high standards of
sportsmanship.

     1. Accept the responsibility and privilege that a student-athlete has in representing their
        school and community by learning and showing teamwork, sportsmanship, and
        discipline in all aspects of the game.

    2. Demonstrate respect for self, coach, teammates, opponents, officials and spectators
       by exhibiting good character and conducting themselves as a positive role model.

    3. Win and lose graciously.

     4. Abide by all rules of the game as well as relevant school and MIAA policies.

    5. Work for the good of the team at all times.

    6. Cheer for your team, not against your opponent.

     7. Congratulate opponents in a sincere manner following either victory or defeat.

    8. Refrain from the use of illegal or unhealthy substances to gain an unfair

      advantage.

    9. Leave locker rooms (home and away), buses, and playing facilities clean and in good
       repair.
                                                                      2




                                                                                           AR_293025
  Case 4:24-cv-00461-O      Document 76      Filed 09/06/24    Page 36 of 290     PageID 3683



          MIAA BONA FIDE TEAM MEMBER RULE

A bona fide member of the school team is a student who is consistently present for, and
actively participates in, all high school team sessions (e.g. practices, tryouts, competitions).
Bona fide members of a school team are precluded from missing a high school practice or
competition in order to participate in a non-school athletic activity/event in any sport
recognized by the MIAA. Students cannot be given special treatment (late arrival, early
dismissal, etc.) for non-school athletic programs.
   First Offense: Student-athlete is suspended for 25% of season
    Second Offense: Suspension for an additional 25% of the season and
   Ineligible for tournament play immediately upon confirmation of violation

A student-athlete must be a team member for 50% of the regular season schedule for that
sport to participate in any MIAA Tournament competition.

If ineligible, cannot be in uniform. Attendance at event to be determined by High School
Principal.

A student-athlete shall participate in only one MIAA interscholastic sport in any defined
MIAA sport season (Fall, Winter, or Spring), including tournaments or championships in that
season. For the purposes of this rule only, a student-athlete officially becomes a member of
his/her team for the sport season on the date of that school's first regular season contest in
that sport.
   Exception: If a licensed physician recommends that an athlete terminate
   participation in a sport for medical reasons after the first contest, the
   athlete will be permitted to join another team if he/she receives the
   written approval of a licensed physician.
   Exception: A school may approve a varsity or sub-varsity request to join
   a second varsity or sub-varsity team after terminating his/her member-
   ship with the first varsity or sub-varsity team, providing written approval
   is received from the principal, athletic director, and both coaches
   involved with the change, and it happens within the first V2 of the
   season.

PENALTIES: If a student-athlete violates this rule, he/she will be ineligible
For that season, and all contests in which he/she participated in both sports must be forfeit.
                                                                                             3




                                                                                             AR_293026
  Case 4:24-cv-00461-O      Document 76      Filed 09/06/24    Page 37 of 290     PageID 3684
• Framingham Inclusive Sports Participation Policy
Definitions of words used within this policy: The following definitions intend to create a
common vocabulary, understanding that the administrators, school staff, volunteers, students
and others who interact with students must be respectful of the ways in which individual
people ask to be identified and in general employ the terms that students use to describe
themselves. 1. Sexual orientation means a person's romantic or sexual attraction to people of
the same sex, different sex or any sex. Transgender and gender expansive people may have
any sexual orientation. 2. Gender identity is an individual's sincerely held core belief
regarding their gender, whether that individual identifies as male, female, both, neither or in
some other way (for example, students who identify in some other way such as nonbinary,
queer, genderqueer or gender fluid). 3. Gender expression means an individual's external
expression of their gender, through such means as clothing, hairstyling, accessories, voice,
behavior and mannerisms. 4. Transgender is an umbrella term for people whose gender
identity is different from that traditionally associated with their assigned sex at birth. 5.
Gender expansive is an umbrella term used to describe people who expand notions of gender
expression and identity beyond what is perceived as the expected gender norms for their
society or context. Some gender-expansive people identify with being either male or female,
some identify as neither, and others identify as a mix of both. Gender-expansive people
include those with transgender and nonbinary identities as well as those whose gender in
some way is seen to be stretching society's notions of gender. PHILOSOPHY OF GENDER
IDENTITY PARTICIPATION Framingham Public Schools believes that interscholastic
athletic and co-curricular participation are valuable to students' physical, intellectual, social,
and/or character development and accordingly, we value inclusion. Guided by this value and
in compliance with all applicable laws, our policy ensures that students can participate in
athletics and co-curricular activities in a manner consistent with their gender identity.
POLICY REGARDING GENDER IDENTITY-BASED PARTICIPATION All students shall
have the opportunity to participate in Framingham Public Schools athletics and/or
co-curricular activities in a manner that is consistent with their gender identity, irrespective of
the gender listed on a student's records and without prior medical or mental health care.
Eligibility to participate. A student has the right to participate in athletics and co-curricular
activities in a manner consistent with the gender listed on their school records. A student
whose gender identity is different than the gender listed on the student's registration records
shall have the right to participate in a manner consistent with their gender identity. For
students whose school records indicate "non-binary" the student has the right to participate in
sports team of either gender; however, pursuant to MIAA policy, students are not permitted to
try out simultaneously for MIAA sports teams of both genders. ADDITIONAL POLICIES


                                                                                             AR_293027
  Case 4:24-cv-00461-O      Document 76      Filed 09/06/24    Page 38 of 290    PageID 3685
FOR INCLUSION IN ATHLETICS The Framingham Public Schools endorse the following
policies to ensure the full inclusion of students participating in Framingham Public Schools'
athletics. 1. Changing Areas, Toilets, and Showers. Student-athletes shall be able to use the
locker room, shower, and toilet facilities consistent with the student's gender identity. Every
student-athlete has the right to access a private enclosed changing area, shower, and toilet. No
student-athlete shall be required to use separate facilities. 2. Hotel Rooms. Student-athletes
shall be assigned to share hotel rooms based on their gender identity, with a recognition that
any student who needs extra privacy should be accommodated whenever possible. 3.
Language: Affirmed Names and Pronouns. A student may have a name and pronouns that are
different from what may be indicated by the student's school records. Coaches,
administrators, and officials shall use the student's affirmed name and pronouns and shall
ensure that the student's name and pronouns are respected by others including teammates,
opponents, fans, volunteers, announcers, etc. 4. Dress codes and team uniforms. All team
members shall have access to uniforms that are appropriate for their sport and that they feel
comfortable wearing provided it maintains compliance with MIAA and National Federation
sport specific uniform regulations. No student shall be required to wear a gendered uniform
that conflicts with the student's gender identity. Dress codes for athletic teams when traveling
or during a game day at school shall be gender-neutral. (Instead of requiring a girls' or
women's team to wear dresses or skirts, for example, ask that team members wear dresses or
slacks that are clean, neat, well cared for and appropriately "dressy" for representing their
school and team.) 5. Competition at another School. When discussing competitions and
student expectations, decisions shall be made in consultation with the student and without
violating a student's confidentiality or privacy. If requested by the student, school leaders,
athletic directors, and coaches should communicate with their counterparts at other schools
prior to competitions in which a transgender or gender expansive athlete is participating about
expectations for treatment of student-athletes on and off the field, including to ensure access
to appropriate changing, showering, or bathroom facilities, and to request the use of affirmed
names and pronouns by coaches, opponents, officials, announcers, fans, and media. 6.
Training and Education: The District shall provide culturally-competent training regarding
this policy to all staff, including but not limited to athletic department staff and coaches, and
to all student-athletes, including captains, on an annual basis as well as at the start of each
athletic season for the student-athletes.. This policy shall be distributed to all staff, students
and parents and posted on the District's website. References: FPS Policy JBD - Gender
Identity Support Policy MIAA policy 28.3 and policy clarification
http://www.doe.mass.edu/ssce/Genderldentity.pdf An Act Relative to Gender Identity
(Chapter 199 of the Acts of 2011) MGL c.4



                                                                                            AR_293028
  Case 4:24-cv-00461-O         Document 76        Filed 09/06/24      Page 39 of 290       PageID 3686

                    FRAMINGHAM HIGH SCHOOL
                                          ATHLETIC DEPARTMENT
                                       115 A Street, Framingham, MA 01701
                                     Phone: 508-782-7510 Fax: 508-788-0630
                                        Website: www.flyerathletics.com



ATHLETIC AND CO-CURRICULAR ELIGIBILITY Student Eligibility: Academic Requirements
58.1 A student must secure during the last marking period preceding the contest (e.g. second quarter
marks and not semester grades determine third quarter eligibility) a passing grade, and full credit, in
the equivalent of four traditional year-long major English courses. A transfer student may not gain
academic eligibility if student was not, or would not be, eligible at the sending school, unless transfer
was necessitated by a move of parents and then eligibility would be determined by receiving schools
eligibility standards (see Rule 57.7.1). 58.2 A student cannot at any time represent a school unless that
student is taking courses which would provide Carnegie Units equivalent to four traditional year-long
major English courses. 58.3 To be eligible for the fall marking period, students are required to have
passed and received full credits for the previous academic year the equivalent of four traditional
year-long major English courses. 58.4 Academic eligibility of all students shall be considered as official
and determined on the published date when the report cards for that ranking period are to be issued to
the parents of all students within a particular class. 58.4.1 Senior student-athlete academic eligibility
following the third-quarter report cards being issued, will carry through to the conclusion of the
spring sport season. Fourth quarter grades can't then render a senior academically eligible.

(MIAA Chemical Health Policy (see Appendix A).

State Law on Hazing (see Appendix B)

Framingham Public Schools Anti-Bullying Information ( see FHS Student Handbook- page 28)

Use of Internet and Social Media: The Athletic Office encourages safe and responsible behavior with regard
to internet use and social media. We highly recommend our students avoid inappropriate use of public
websites such as Twitter, Instagram, Snap Chat, Facebook, etc. Any identifiable image, photo, video, or
posted on-line conversation which implicates a student-athlete in a violation of our Alcohol and Drug Policy
or our Core Values may be investigated by the administration.

                                                                                                         n




                                                                                                      AR_293029
  Case 4:24-cv-00461-O      Document 76      Filed 09/06/24    Page 40 of 290     PageID 3687

                  FRAMINGHAM HIGH SCHOOL
                                      ATHLETIC DEPARTMENT
                                   115 A Street, Framingham, MA 01701
                                 Phone: 508-782-7510 Fax: 508-788-0630
                                    Website: www.flyerathletics.com


Registration for a sport: All registrations are conducted on-line through flyerathletics.com.
The process must be completed prior to the start of the season. In addition, proof of a
physical must be submitted to the athletic office. Students are expected to adhere to the
deadlines established. Failure to do so will result in the inability to try out for a sport.
Registrations will not be allowed after cuts have been made during the initial week of
practice.

Transportation: The athletic office works with the Transportation Department to arrange
buses for away games and practices. Unfortunately, there have been occasions when events
have been postponed due to the inability to find a bus or driver. Students are expected to be
respectful of the wishes of the driver and leave the bus clean. We encourage teams to travel
together. Parents who wish to transport their child home after an event must obtain prior
approval from the coach and athletic director.

Varsity Letter: A varsity letter and pin are earned through satisfactory participation at the
varsity level for the first time during a particular year. If an athlete letters in more than one
sport per year, he/she will be awarded a pin to designate the sport, but not an additional letter.
If an athlete letters in the same sport, he/she will receive an additional sport pin indicating
years of service at the varsity level in that sport. Coaches will recommend the awarding of
letters based on the following criteria:
A) attend practice and games on a consistent basis
B) display a cooperative spirit with the coach, teammates, and opponents
C) display respect for others on and off the playing surface
D) observe all rules and regulations as outlined in this handbook
E) be an actual participant in varsity contests.
F) End the season in good standing
The coach and athletic director will have the prerogative to award varsity status to a senior
who has not met the seasonal requirements. A student manager who has successfully met all
of his/her responsibilities may be awarded a letter at the discretion of the coach.




                                                                         5




                                                                                            AR_293030
  Case 4:24-cv-00461-O     Document 76      Filed 09/06/24   Page 41 of 290    PageID 3688

                          FRAMINGHAM HIGH SCHOOL

                                     ATHLETIC DEPARTMENT
                                  115 A Street, Framingham, MA 01701
                                Phone: 508-782-7510 Fax: 508-788-0630
                                   Website: www.flyerathletics.com


EXPECTATIONS FOR TEA 11 CAPTAINS AT FRAMINGHAM HIGH SCHOOL,

The role of team captain is one of honor and privilege, and brings with it a great deal of
responsibility. The leadership necessary to be a successful team captain can be difficult and
will be supported by the FHS Administration.

Team Captains will be expected to exhibit the following qualities:

   •     Honest, strong focus on academics, dedicated, leads by example
   •     Hard working, selfless, recognizes and values team needs over individual
         accomplishments
   •     Respectful, appropriate behavior and conduct in and out of school
   •     Enthusiastic, dependable, positive outlook

Team Captains will attend Leadership Academy at 6:55am each Thursday morning during
their season.

Failure to meet the above leadership expectations may subject a student athlete to lose the
privilege of being a "Captain".

The method by which captains are chosen shall be determined by each coach.



                                                                                              31




                                                                                          AR_293031
  Case 4:24-cv-00461-O      Document 76      Filed 09/06/24    Page 42 of 290    PageID 3689

                  FRAMINGHAM HIGH SCHOOL
                                      ATHLETIC DEPARTMENT
                                   115 A Street, Framingham, MA 01701
                                 Phone: 508-782-7510 Fax: 508-788-0630
                                    Website: www.flyerathletics.com


          EXPECTATIONS FOR PARENTS/SPECTATORS


As your child's first "coach" in life, we ask for your help in making our athletic program of
the highest quality. High School athletics, when done the right way, is a thing of beauty.
While winning will always be important as long as a scoreboard exists, we all know that there
are more important and enduring lessons to be learned from participation in athletics. In the
long run, your child's high school career will not be measured by wins and losses but by how
they conduct themselves on the field, court, or track. Together, let us strive to model the
virtues of honor, integrity, respect, and character. Specifically, I ask you to keep each sporting
event or activity in perspective and pledge that you will:

   • Use positive encouragement
   • Be respectful of all players, coaches, game officials, and other spectators.
   • Never target anyone for abuse- physical, verbal, or emotional.
   •  Refrain from taunting, harassment, obscene language, or other acts of
     disrespect.
   • Recognize and show appreciation for sportsmanship and fair play by either team
   • Respect the judgment of the coach and do not openly criticize players
   • Trust that our coaches and administrators have the best interests of your child in mind

                                                                                               7




                                                                                            AR_293032
  Case 4:24-cv-00461-O           Document 76        Filed 09/06/24       Page 43 of 290       PageID 3690

                      FRAMINGHAM HIGH SCHOOL
                                           ATHLETIC DEPARTMENT
                                        115 A Street, Framingham, MA 01701
                                      Phone: 508-782-7510 Fax: 508-788-0630
                                         Website: www.flyerathletics.com

COMMUNICATION PLAN FOR ATHLETIC CONCERNS

Good communication is critical in athletics, on and off the field. A communication plan is in place to assist
and to improve communication between parents, coaches and administrators, ultimately for the benefit of the
student. Involvement in athletics and activities will allow the students to experience some of the most
rewarding times of their lives. However, there will likely be times when things don't go their way or they
disagree with a coach. It is important that students and parents realize these difficult situations are as much a
part of the learning experience as are the good times. The coaches work hard to do the best they can for all of
their athletes, and we ask the students and parents to respect the fact that their decisions are often extremely
difficult, and are made based on factors of which students and parents may not be aware. The student, not
the parent, is strongly encouraged to talk to the coach about any issues or problems that arise during
the season. This is not only the most direct and productive means of communication, but also a valuable
method of teaching responsibility.

The following protocol will be used for registering concerns:

   1.   The student-athlete meets with the coach.
   2.   The parent contacts the coach to set up a meeting with the student-athlete present.
   3.   If the issue is not resolved, call and set up an appointment with the Athletic Director (508-782-7650).
   4.   After this step, an additional meeting may be held with the parent, coach, athlete, and AD.

IMPORTANT: PLEASE DO NOT...

   1. Confront a coach before, during, or after a practice or contest. These can be emotional times for both
      parties. Meetings of this nature do not promote resolution.
   2. Discuss the following issues with coaches: playing time, play calling, team strategy, other team
      members. This will only undermine the coach's ability to help your child improve and to develop team
      harmony and constructive team play.

The intent of this communication plan is to help make the experience in the Framingham High School
Athletic program more enjoyable and productive for all athletes, coaches, parents and fans.




                                                                                                          AR_293033
  Case 4:24-cv-00461-O          Document 76         Filed 09/06/24       Page 44 of 290       PageID 3691

                     FRAMINGHAM HIGH SCHOOL
                                           ATHLETIC DEPARTMENT
                                        115 A Street, Framingham, MA 01701
                                      Phone: 508-782-7510 Fax: 508-788-0630
                                         Website: www.flyerathletics.com

                       EXPECTATIONS FOR COACHES

                              THE IMPACT OF A COACH
        I have come to a frightening conclusion.
        I am the decisive element at the field, court, or track.
        It is my personal approach that creates the climate.
        It is my daily mood that makes the weather.
        I possess tremendous power to make an athlete's life miserable or joyous.
        I can be the tool of torture or an instrument of inspiration.
        I can humiliate or humor, hurt or heal.
        In all situations, it is my response that decides whether a crisis will be escalated or
        De-escalated, and an athlete humanized or dehumanized.
              (An Adaptation of Haim Ginott, published by the Washington State Coaches Assoc.)


                               COACHING PHILOSOPHY
The profession of coaching is a profession of teaching. In addition to teaching the mental and

physical dimensions of their sport, coaches shall through words and example, strive to build the

character of their student athletes by teaching them to be trustworthy, respectful, responsible,

and fair. Success in the classroom is the first priority of any student-athlete. This message should

be consistently delivered to student-athletes and their parents throughout the season. Coaches must

model respectful behavior and demand that their athletes refrain from verbally abusing opponents

and officials, profane and belligerent trash-talking, and taunting or inappropriate celebrations.




ADMINISTRATORS' GUIDE FOR INTERPRETING AND ENFORCING


                                                                                                       AR_293034
   Case 4:24-cv-00461-O                     Document 76   Filed 09/06/24       Page 45 of 290         PageID 3692
MIAA HANDBOOK RULE #62

Student (and Coach) Eligibility: Chemical Health/Alcohol/Drugs/Tobacco
This policy has been developed to assist school administrators in the implementation and
administration of the MIAA Chemical Health Rule, (MIAA Handbook Part IVRules Affecting an
Individual Student Athlete or Coach, Rule #62—Student
(and Coach) Eligibility: Chemical Health/Alcohol/Drugs/Tobacco. Hopefully, it will be of some help
when you have to deal with the sometimes difficult task of determining whether or not a student is in
violation of the Chemical Health Rule.

PART I — CHEMICAL HEALTH RULE
RULE 62: Student (and Coach) Eligibility: Chemical Health/Alcohol/Drugs/Tobacco
62.1 From the earliest fall practice date, to the conclusion of the academic year or final athletic event
(whichever is latest), a student shall not, regardless of the quantity, use, consume, possess, buy/sell, or
give away any beverage containing alcohol; any tobacco product (including e-cigarettes); marijuana;
steroids; or any controlled substance. This policy includes products such as "NA or near beer". It is not a
violation for a student to be in possession of a defined drug specifically prescribed for the student's own
use by his/her doctor.
This MIAA statewide minimum standard is not intended to render "guilt by association", e.g. many
student athletes might be present at a party where only a few violate this standard. This rule represents
only a minimum standard upon which schools may develop more stringent requirements.
If a student in violation of this rule is unable to participate in interscholastic sports due to injury or
academics, the penalty will not take effect until that student is able to participate again.

FIRST VIOLATION MINIMUM PENALTIES*:
When the Principal confirms, following an opportunityfor the student to be heard, that a violation
occurred, the student shall lose eligibilityfor the next consecutive interscholastic contests totaling 25% of
all interscholastic contests in that sport. For the student, penalties will be determined by the current or
next season ofparticipation. No exception is permittedfor a student who becomes a participant in a
treatment program. It is recommended that the student be allowed to remain at practicefor the purpose
of rehabilitation. Anyfractional part of an event will be dropped when calculating the 25% of the season.
# of Events/Season # of Events/Penalty
1-7 1
8-112
12-15 3
16-19 4
20 or over 5
 Also see rule 32.8 — Ineligible Students




                                                                                                                AR_293035
   Case 4:24-cv-00461-O            Document 76          Filed 09/06/24         Page 46 of 290         PageID 3693
SECOND & SUBSEQUENT VIOLATIONS AND MINIMUM PENALTIES:
When the Principal confirms, following an opportunityfor the student to be heard, that a violation
occurred, the student shall lose eligibilityfor the next consecutive interscholastic contests totaling 60% of
all interscholastic contests in that sport. For the student, penalties will be determined by the current or
next season ofparticipation. Anyfractional part of an event will be dropped when calculating the 60% of
the season.

# of Events/Season # of Events/Penalty
1-3 1
42
5-6 3
7-8 4
95
10-11 6
12-137
148
15-169
17-1810
1911
20 or over 12
If after the second or subsequent violations the student of his/her own volition becomes a participant in
an approved chemical dependency program or treatment program, the student may be certifiedfor
reinstatement in MIAA activities after a minimum of 40% of events provided the student wasfully
engaged in the program throughout that penalty period. The high school principal in collaboration with
a Chemical Dependency Program or Treatment Program must certify that student is attending or issue a
certificate of completion. Ifstudent does not complete program, penalty reverts back to 60•% of the
season. All decimal part of'an event will be truncated i.e. Allfractional part of'an event will be dropped
when calculating the 40% of the season.

# of Events/Season # of Events/Penalty
1-41
5-7 2
8-9 3
10-124
13-14 5
15-17 6
18-19 7
20 or over 8
Penalties shall be cumulative each academic year, but serving the penalty could carry overfor one year.
Or, if the penalty period is not completed during the season of violation, the penalty shall carry over to
the student next season of actual participation, which may affect the eligibility status of the student
during the next academic year. (e.g. A student plays onlyfootball: he violates the rule in winter and/or
the spring ofsame academic year: he would serve the penalty(ies) during thefall season of the next
academic year.)




                                                                                 Appendix A




                                                                                                                AR_293036
  Case 4:24-cv-00461-O      Document 76      Filed 09/06/24    Page 47 of 290    PageID 3694


Hazing
Section 17. Whoever is a principal organizer or participant in the crime of hazing, as defined

herein, shall be punished by a fine of not more than three thousand dollars or by

imprisonment in a house of correction for not more than one year, or both such fine and

imprisonment.


The term "hazing" as used in this section and in sections eighteen and nineteen, shall mean

any conduct or method of initiation into any student organization, whether on public or

private property, which willfully or recklessly endangers the physical or mental health of any

student or other person. Such conduct shall include whipping, beating, branding, forced

calisthenics, exposure to the weather, forced consumption of any food, liquor, beverage, drug

or other substance, or any other brutal treatment or forced physical activity which is likely to

adversely affect the physical health or safety of any such student or other person, or which

subjects such student or other person to extreme mental stress, including extended

deprivation of sleep or rest or extended isolation.


Notwithstanding any other provisions of this section to the contrary, consent shall not be

available as a defense to any prosecution under this action.




                                                                                             AR_293037
Case 4:24-cv-00461-O   Document 76   Filed 09/06/24   Page 48 of 290   PageID 3695




                                                                               AR_293038
Case 4:24-cv-00461-O     Document 76      Filed 09/06/24    Page 49 of 290    PageID 3696




Title
Gender Identity Nondiscrimination Laws in Public Accommodations: a Review of Evidence
Regarding Safety and Privacy in Public Restrooms, Locker Rooms, and Changing Rooms

Permalink
htt s: escholarshi .or uc item 4rs4n6h

Authors
Hasenbush, Amira
Flores, Andrew R
Herman, Jody L

Publication Date
2018-07-23

DOI
10.1007/s13178-018-0335-z

Data Availability
The data associated with this publication are not available for this reason: Licensing
Restrictions

Peer reviewed




                                                                                         AR_293039
Case 4:24-cv-00461-O                  Document 76              Filed 09/06/24           Page 50 of 290             PageID 3697


Gender Identity Nondiscrimination Laws in Public Accommodations: a
Review of Evidence Regarding Safety and Privacy in Public Restrooms, Locker
Rooms, and Changing Rooms
:•lmira I lasenbushI & Andrew R. Flores',2 & Jody L. Herman'



Introduction
North Carolina's Public Facilities Privacy & Security Act, also known as H.B. 2, introduced much of the United States to a debate
regarding the use of public restrooms that had previously largely gone unnoticed. In an emergency session. the North Carolina
legislature passed H.B. 2 in one day, legally requiring sex-segregated restrooms and changing facilities to be limited to use based
on the sex on a person's birth certificate (Philipps, 2016). While this law would have no legal impact on restroom use among
cisgender (i.e., nontransgender) people, it meant that transgender people who bad transitioned from their sex assigned at birth to a
different gender would be required to use the restroom of their sex assigned at birth unless they had legally changed their birth
certificate. The new law also opened up the possibility of increased harassment and policing, both social and actual, of gender
nonconforming people in public restrooms, whether they were transgender or not. H.B. 2 was passed as a direct reaction to a
local nondiscrimination ordinance that the City of Charlotte passed that included gender identity as one of the protected
classifications in public accommodations, legally codifying the rights of individuals to use the public restroom that corresponded to
their gender identity, even if that did not match their sex assigned at birth (Philipps, 2016). The primary argument levied against the
passage of public accommodations nondiscrimination policies that protect trans- gender people is that the policy creates a
loophole for sexual predators to access women's public restrooms and locker rooms, thus decreasing women's and girls'
safety and privacy in such spaces. For example, at a floor hearing on H.B. 2, Senator E. S. "Buck" Newton stated:

   [T]he City Council of Charlotte lost their mind, and decided to embark upon a very radical course ... of radical
   political correctness. And in so doing, created a real public safety risk ... would allow men into the locker rooms and
   the bathrooms of females — of our daughters, of our wives ... And that common sense tells us that men don't belong in
   the ladies' bathroom. It's a matter of public safety. Under this ordinance that they've put forward, anyone, quite
   frankly, with — with that intent, could use this Charlotte ordinance as an excuse to be somewhere that we all know they
   don't belong." (House Bill 2: Senate Floor Session, 2016).

   On the other hand, there were those who argued that such nondiscrimination laws had already been enacted in localities across
the United States with no noticeable change in criminal activity in public accommodations. For example, Representative Rodney
Moore stated in the H.B. 2 House floor debate:

   [W]hat you have here is — you have fear-stoking. The LGB — I've done the research. This ordinance is in over 200 cities,
   as it was referenced before, and there has not, to my knowledge, been any catastrophic incident of as- saults, of rapes in
   these bathrooms or anything, and so the argument that this is such a grave challenge or a grave issue of public safety,
   just doesn't — just doesn't mesh; doesn't — doesn't pan out based upon the data." (House Bill 2: House Floor Debate,
   2016).

   While H.B. 2 was partially repealed in 2017, the debates, legislation, and litigation about restroom access and safety continue.
For example, the Commonwealth of Massachusetts is now facing a ballot measure in the 2018 elections asking its citizens to
decide whether to repeal a recently passed statewide public accommodations nondiscrimination law that is inclusive of gender
identity. It is important to evaluate the empirical validity of the underlying claims to assess whether nondiscrimination laws are
actually related to privacy and safety in restrooms, evidence of which has yet to be provided. We sought to empirically assess such
claims through the analysis of police records of safety and privacy crimes in public restrooms, locker rooms, and changing rooms.




t UCLA School of Law, The Williams Institute, Box 951476, Los Angeles, CA 90095-1476, USA
2 Department of Public Policy & Political Science, Mills College, Oakland, CA, USA



                                                                                                                                AR_293040
  Case 4:24-cv-00461-O                        Document 76                  Filed 09/06/24                 Page 51 of 290                 PageID 3698

  Legal Background
  State and local employment and public accommodations non- discrimination statutes and ordinances have included gender identity
  for over 20 years. In 1993, Minnesota passed the first statewide nondiscrimination law that included gender identity (Minn. Stat.,
  1993). Currently, 20 states and over 200 towns, cities, boroughs, and counties have nondiscrimination laws and ordinances that are
  inclusive of gender identity (Movement Advancement Project, 2017; Human Rights Campaign, 2016). In theory, employment
  nondiscrimination laws that include gen- der identity would apply to restroom use in the workplace, and public accommodations
  nondiscrimination laws that include gender identity would apply to public restrooms; however, the specific language,
  interpretation, and implementation of such laws and ordinances have varied throughout the country.
     There is no federal law that prohibits discrimination in employment or public accommodations based on gender identity.
  However, some federal agencies and courts3 have interpreted laws that prohibit discrimination based on sex to include gender
  identity. For example, the Equal Employment Opportunity Commission held that Title VII's prohibition on sex discrimination
  in employment also prohibits discrimination based on gender identity in employment, including by requiring that employers allow
  employees to use restrooms in the workplace that are consistent with their gender identity (Lusardi v. Dep't of the Army, 2015).
  The Department of Housing and Urban Development has issued regulations to ensure equal access to shelter housing and
  restrooms without discrimination based on gender identity (Department of Housing and Urban Development, 2016),4
  and the Occupational Safety and Health Administration has issued guidance instructing employers to allow employees to
  have access to restrooms based on their gender identity (Occupational Safety and Health Administration, 2015). In 2016, the
  Civil Rights Divisions of the Department of Education and the Department of Justice issued guidance that students should have
  access to restrooms that correspond to students' self-identified gender identity (U.S. Department of Justice & U.S. Department of
  Education, 2016). That guidance was repealed less than a year later (U.S. Department of Justice & U.S. Department of
  Education, 2017). In June of 2017, an instructional letter was sent to Department of Education Civil Rights Office regional
  directors stating that sex discrimination complaints from transgender stu- dents should be evaluated based on Title IX and its
  implementing regulations, as interpreted in decisions of federal courts and other Office for Civil Rights guidance documents, but
  specifically excluding the repealed guidance (Jackson, 2017). By February of 2018, a Department of Education
  spokesperson asserted that the department would no longer accept discrimination complaints from transgender students
  who are blocked access to restrooms in accordance with their gender identity (Holden, 2018).
     The 2015-2016 state legislative sessions across the country saw increases in proposed legislation seeking to prohibit access to
  public restrooms based on gender identity (Kralik, 2017). Some of these policies sought to roll back protections granted by
  municipal governments (Fausset, 2017; Kralik, 2017). In addition, some localities such as Anchorage, Alaska and Houston, Texas
  sought repeal of protective policies through public ballot measures (Fernandez & Smith, 2015; Kelly, 2016). Additionally, some
  states that did not have any statewide laws related to public accommodations access, such as North Carolina, sought to pro- actively
  prohibit any future enactment of gender identity nondiscrimination laws at the state or local level that would allow transgender
  people to access restrooms that correspond with their gender identity (Kralik, 2017).
     At the same time, litigation across the country has sought to determine the extent of state, local, and federal powers to either
  prohibit or mandate restroom access based on gender identity. For example, after the Departments of Education and Justice issued
  the initial federal school bathroom guidance in 2016, states and representatives from Texas and 12 other states filed a lawsuit
  against the federal government. The District Court granted a preliminary injunction against implementation of the guidance in
  2016, and in 2017, the federal government withdrew its initial appeal (Texas v. U.S., 2016, 2017). At the same time, a transgender
  student has been engaged in litigation against his local school board for access to school restrooms in accordance with his gender
  identity. That case had been accepted to be heard by the Supreme Court but was remanded to the Fourth Circuit Court for
  reevaluation in response to the repeal of the federal school restroom guidance (G. G. v. Gloucester County School Board, 2017).
  After the student graduated from high school with- out having a final court decision, he amended his complaint to request a
  declaration that the school board violated his rights under Title IX and the Equal Protection Clause and to allow him to use male
  restrooms when he returned to school grounds for alumni activities (American Civil Liberties Union, 2017). Nebraska and nine
  other states filed a case similar to the Texas case that was stayed pending a ruling in the G.G. case and later was voluntarily
  dismissed by the plaintiffs without prejudice, in other words, with the right to reinstate the case later (Nebraska v. U.S., 2016, 2017).
  Several other lawsuits specific to transgender student restroom access are currently winding their way through state and federal courts.
  Concerns about restroom privacy and/or safety have been considered in all of these cases (G.G. v. Gloucester County School
  Board, 2015; Nebraska v. U.S. First Amended Complaint, 2016; Texas v. U.S., 2016).



3 See, e.g., EEOC v. Harris Funeral Homes, 2018, which affirmed the Sixth Circuit's previous holdings that discrimination against a transgender individual is
illegal sex discrimination under Title VII. In that case, a funeral home director was fired after she told her employer that she was transgender and planned to
transition and begin wearing women's work clothing on the job. The court also stated that religious beliefs and the Religious Freedom Restoration Act do not
overrule the nondiscrimination requirements of Title VII. The last paragraph in this section discusses court cases that directly address sex discrimination as it
applies to transgender individuals in the context of restroom access.
4 The Department of Housing and Urban Development has slowed support for this Equal Access Rule in the last year. Online training materials meant to
support homeless shelters in the implementation of the rule were ordered removed from the department's website (MacGitlis, 2017).

                                                                                                                                                         AR_293041
Case 4:24-cv-00461-O                 Document 76              Filed 09/06/24            Page 52 of 290             PageID 3699


Literature Review

Using new policy proposals continues to be a central strategy between the LGBT rights social movement and
countermovement. Stone (2012) describes different forms of tactical innovation the Religious Right has taken on sexual
orientation and gender identity public policy. These innovations vary in terms of venue (e.g., local, statewide, or national), strategy
(e.g., legislative, direct initiative, or referendum), and issue (e.g., gay teachers, same-sex marriage, transgender inclusion in public
accommodations). As such, the Religious Right has played a large role in controlling the issue agenda of the LGBT rights
movement (Fetner, 2008). The present case of carving out gender identity protections in public accommodations policies may be
seen as another form of tactical innovation. As is the case of other issues of LGBT rights, many times these policies are seen as
seeking solutions to problems that may not really exist, which may be linked to social perceptions of sexual and gender minorities
as deviants (Fejes, 2008). For example, Anita Bryant's campaign and the Briggs Initiative to prohibit gay and lesbian school
teachers are key moments when public policy and the general public were targeted for policy advancement against the rights of
LGBT people.
   The movement counter to the advancement of LGBT rights has increased its focus on transgender people (Andersen, 2017).
The discursive strategy on transgender rights remains similar to gay rights discourses with a focus on the harms gender identity
inclusive policies pose primarily to children. A social constructionist framework of social policy (Shneider and Ingram, 1993)
would consider both the political power and social favorability of transgender people in the consideration of the types of policies
getting passed. As Westbrook and Schilt (2014) identify, issues involving sex- segregated spaces become overly focused on
biologic sex and anatomy, which increases the "gender panic" people experience relating to transgender people. By focusing on
public accommodations, the discourses focus on sex-segregated spaces in ways that exacerbate "gender panics" which would
further lower the social valence of transgender people (see also Miller et al., 2017). Thus, arguments against the inclusion of
gender identity protections in such sex-segregated spaces are likely motivated by such social constructions of a politically
powerless and negative valence group.
   Critiques of anti-LGBT policies are abounding. Fogg Davis (2017), for example, argues for the abolishment of using sex as a
criterion for separating facilities. In other LGBT policy areas, scholars have marshaled evidence that the claims made by those
advocating against LGBT rights are unfounded in the arenas of marriage and family (Herek, 1991, 2006) and in employment
(Badgett, 2001; Herek, 1991). The arguments used to justify anti-LGBT policies tend to be emotionally stirring, though of. ten
lack empirical validity.
   Given the recently targeted focus on transgender rights, it is important to understand and evaluate both the motivations for
policy, as well as its negative externalities. The asserted motivations for proscribing transgender inclusion in public ac-
commodations are the perceived negative externalities of in- creased harassment and victimization in public spaces such as
bathrooms and locker rooms. The current project examines the policy motivation portion. In essence, we ask: "Are inclusive
transgender public accommodations laws associated with these negative externalities?" If not, then public policy may be
seeking a policy solution to solve a problem that does not exist or that would exist even if policieschanged.
    Some research has suggested that states with more supportive gay rights policies overall correlate with lower sexual
orientation hate crimes and discrimination (Levy & Levy, 2017; Hasenbush, Flores, Kastanis, Sears, & Gates, 2014). Local
gender identity accommodation protections may be one of many indicators that may, counter to arguments against such laws,
reduce victimization rates with respect to sexual and gender minorities, which could make a discernable reduction in overall
victimization rates. Given this research we propose three hypotheses:

    HO: The passage ofgender identity accommodations policies will have no effect on victimizationrates.
    H1: The passage ofgender identity accommodations policies will reduce victimization rates.
    112: The passage ofgenderidentityaccommodationspolicies will increase victimization rates.

   HO is motivated both by previous scholarship dispelling myths in other areas of LGBT rights as well as the insufficiency of
single policies to lead to vast changes in victimization. H1 is motivated by Levy and Levy (2017) who note that inclusive
policies in localities indicate supportive environments where victimizations are lower. H3 is motivated by the standard
arguments made by opponents to gender identity inclusive nondiscrimination policies.
Methods

We sought to empirically assess whether reports of safety or privacy violations in public restrooms, locker rooms, and dressing
rooms change in frequency in localities that have gender identity inclusive public accommodations nondiscrimination
ordinances (GIPANDOs) as compared to matched localities without GIPANDOs. Massachusetts was selected as a case
study for this analysis, because, for a period of time, Massachusetts had a statewide nondiscrimination law that was inclusive
of gender identity in employment and housing, but not public accommodations. Thus, these conditions created an optimal context
in which to compare rates of public restroom privacy and safety incidents in localities that had passed local GIPANDOs with
matched localities that had not. All data col- lection, analysis, and results are inclusive of criminal incidents in public restrooms,

                                                                                                                                 AR_293042
Case 4:24-cv-00461-O                       Document 76                 Filed 09/06/24                 Page 53 of 290    PageID 3700
public locker rooms, and public changing rooms. For simplicity's sake, authors may refer to only "restrooms" when describing
the results of this study.
   Victimization rates can fluctuate both over time and place. Using matched pairs and difference-in-differences analysis allows a
comparison between different locations over time in order to determine whether any changes can be attributed to nominal
fluctuations over time or whether the changes can be attributed to some distinct difference in one location versus the other (see e.g.,
Dimick & Ryan, 2014; Raifinan, Moscoe, Austin, & McConnell, 2017). A difference-in-difference analysis was used in this study to
compare similarly-situated localities in MA to determine whether differences in restroom crime rates over time can be attributed to
the introduction of a GIPANDO.
   Unlike some trends over time, crime rates do not consistently increase or decrease. Small fluctuations in crime rates over time
may be based on random variability and may not be attributable to any one specific policy change. Using a matched pairs
analysis allows timewise comparisons across policy con- texts to seek out differences that appear to be due to more than just
small random fluctuations. The matched pairs analysis ensures that the localities being compared to each other in the difference-
in-difference analysis are similar enough to make appropriate comparisons. For example, Fig. 1 shows the violent crime rates
across five New England states as documented by the U.S. Department of Justice. The matched pairs design of this study
accounts for such temporal instability in crime rates by finding localities that have the most similar trends. In Fig. 1, it would be
more appropriate to draw comparisons between Massachusetts and Connecticut because they follow a similar trend, and it would
be inappropriate to compare Massachusetts to New Hampshire because they do not. Likewise, the selection of comparison
localities was designed in a way to minimize differences to draw accurate comparisons.
   Selection of Localities The Commonwealth of Massachusetts has had a broad nondiscrimination policy protecting against
sexual orientation discrimination since 1989 (Mass. Gen. Laws, 1989). Massachusetts also passed a law in November 2011
extending nondiscrimination protections for transgender people in employment, housing, credit, and services (Gender Identity
Act, 2011). However, that extension of the law did not contain any explicit protections for transgender people in public
accommodations. Sonic individual localities within Massachusetts expanded upon state law by incorporating explicit gender
identity protections in public accommodations laws, which includes protections in public restrooms, locker rooms, and changing
rooms. This allowed for a between- localities study, comparing localities that passed GIPANDOs with matched localities within
the state that did not have GIPANDOs, but otherwise had gender identity nondiscrimination protections in employment, housing,
credit, and services.5 The matched pairs strategy means that the distinguishing factor between these localities is the existence or
absence of a public accommodations-specific nondiscrimination law that applied to gender identity.




5 Boston and Cambridge both had a GIPANDO prior to the 2011 state law. Neither locality is included in this analysis.



                                                                                                                                AR_293043
  Case 4:24-cv-00461-O                        Document 76                    Filed 09/06/24                    Page 54 of 290            PageID 3701
  Fig. 1 Violent crime rate across                       5 ()
  New England states, 2005 to                        e
  2014. Source: Uniform Crime                        2
  Reporting Statistics, FBI, U.S.
  Department of Justice
                                                     a 400
                                                     0
                                                     0
                                                     0
                                                                                _....       -   ..~..
                                                         300           ~~-




                                                         100
                                                                2005   2006      2007           2008    2009    2010    2011   2012      2013     2014
                                                                               ....... CT       — MA      ••••• ME     —NH     ...- VT

     Table 1 reports the localities within Massachusetts that have ordinances that contain language that includes gender
  identity protections and the date when those ordinances went into effect. There were seven localities that had identifiable
  nondiscrimination ordinances relating to gender identity protections in public accommodations. Two other localities in close
  geographic proximity to the GIPANDO localities were also identified as having some gender identity protections, though
  their coverage was not as extensive as the seven other localities. Cambridge includes gender identity protections in public
  accommodations except for restroom access, which is of primary concern to this study. Brookline law contains a gender
  identity resolution, but it is unclear the extent to which this resolution resulted in actionable changes or any enforcement
  mechanism within the locality.
     In October 2016, a new Massachusetts state law went into effect to provide for protection against discrimination in public
  accommodations based on gender identity (Transgender Anti- Discrimination Act, 2016). However, results of the public re- cords
  requests in this study did not overlap with the time that Massachusetts had this statewide gender identity inclusive public
  accommodations nondiscrimination law in effect, and thus, enable this study to focus on the period when localities introduced
  GIPANDOs in the absence of statewide protections.
     Notably, after the law went into effect, enough signatures were gathered to put a repeal measure on the 2018 ballot to allow
  Massachusetts residents to vote on whether to repeal the non- discrimination law (Young, 2016).
  Matched Pairs Design After identifying the localities with GIPANDOs, we used quantitative models to identify localities within
  Massachusetts to match for comparison. Matched localities were in the same geographic regions of Massachusetts as the
  GIPANDO localities and were matched on demographic and other characteristics that may relate to the likelihood that locations
  would pass a GIPANDO as well as characteristics that may be predictive of criminal incidents (or a lack thereof) in public restrooms.
  We started the matched pair locality selection by identifying a full list of localities within Massachusetts that did not have
  GIPANDOs and that were in the same regions of Massachusetts as the localities with GIPANDOs.6 We then collected pre-
  policy introduction information about both the GIPANDO localities and the candidate pool of potential matched localities.
  These covariates included: population size, the percent of the population over the age of 65, the percent of population that is non-
  Hispanic white, the percent of population earning more than $200,000, median income, the percent of the population living below
  the poverty line, the percent of the population that identifies as Born Again, percentage of the vote for Barak Obama in the 2012
  presidential election, and a composite crime score based on numerous indices.' Since all of the metrics of crime were highly
  intercorrelated, a composite score was created based on a factor analysis. The researchers then used a covariate balancing approach to
  create a propensity score to identify the most fitting matched localities for each of the GIPANDO localities (Imai & Ratkovic,
  2014). The fitted propensity score was extracted and used in addition to the covariates in a genetic matching procedure
  (Diamond & Sckhon, 2013; Sckhon, 2011). The genetic matching procedure identifies appropriate comparison localities by
  examining the full distribution of covariates, which may improve the matching procedure that other matching processes may
  worsen.



6 The initial design also planned to identify contiguous localities, treating boundary lines as regression discontinuities (Keele & Titiunik, 2015). However
since the occurrence of the crimes sought was rare, there was insufficient analytical power to utilize geographic variation to the full extent possible. Instead,
the researchers opted for simpler analytical methods relying on data preprocessing and case selection to reduce analytical assumptions. However, the matched
localities were limited to localities that had a shared
boundary with at least one of the GIPANDO localities.
7
  The indices were: the Neighborhood Scout Crime Index (retrieved from https://www.neighborhoodscout.com/ma/crimet), violent crimes per 1000 residents
and property crimes per 1000 residents, the USA.com Crime Index (retrieved from http://ww%v.usa.com/massachusetts-statecrime-and-crimerate.htm), and
the City Data.com 2012 Index (retrieved from http://www.city-data.comicrimeccrime-Massachusetts.html).

                                                                                                                                                         AR_293044
Case 4:24-cv-00461-O                  Document 76               Filed 09/06/24               Page 55 of 290                 PageID 3702
Table 1 Localities within MA
that contain GIPANDOs             Locality        GIPANDO                       Date in effect          Statute

                                  Boston          Yes                           October 30, 2002        Bos., Mass., Code § 12-9.7 (2002).
                                  Medford         Yes                           December 16, 2014       Medford, Mass., Rev. Ordinances
                                                                                                         part 1, ch. 50, div. 2, § 50-61 (2014).
                                   Melrose         Yes                          December 17, 2014       Melrose, Mass., Code ch. 15, art.
                                                                                                          X, § 15-50 (2014).
                                  Newton          Yes                           October 14, 2014        Newton, Mass., Ordinances ch.
                                                                                                          12, art. V, § 12-50 (2014).
                                  Salem           Yes                           February 27, 2014       Salem, Mass., Code part III, ch.
                                                                                                          2, art. XVI, §2-2056 (2014).
                                  Somerville      Yes                           May 29, 2014            Somerville, Mass., Code ch. 2,
                                                                                                         art. V, div. 6, § 2-237 (2014).

                                  Swampscott      Yes'                          February, 18, 2015      Swampscott, Mass.
                                                                                                          Nondiscrimination Policy
                                                                                                          (Feb. 18, 2015).
                                  Cambridge       Yes, but contains a           February 24, 1997       Cambridge, Mass., Code tit.
                                                    restroom exception                                    2, ch. 2.76, §§ 2.76.030;
                                                                                                          2.76.120 (1997).
                                  Brookline       Unclear, a gender identity    November 18, 2014       Brookline, Mass. Code, part
                                                    aresolutionA exists                                   111, art. 3.9 § 3.9.2 (2014).

                                  Note:
                                  "Swampscott was identified as a locality with a GIPANDO for these analyses. Record requests failed because the
                                  Swampscott Police Department records division lacked sufficient staff and capacity to perform the requested
                                  search. Therefore, public records requests were not sent to their matched localities (Marblehead and Milton)



   While Cambridge and Brookline were categorized as limited GIPANDO localities and selected because of their geographic
proximity to the clear GIPANDO localities, a few other localities in the state that were not in close geographic proximity to the clear
GIPANDO localities also had gender identity ordinances that were unclear or limited as related to restroom access. These were:
Northampton. Amherst, and Worcester, and they were not included in this analysis, since it was originally designed to include a
boundary regression discontinuity that would have required localities to share physical borders. Northampton, Massachusetts has
a Human Rights Commission with a voluntary advisory committee that does not have any investigative or enforcement authority. It
is also unclear whether their Human Rights Commission prohibits discrimination based on gender identity (Simmons, 2015).
Amherst, Massachusetts prohibits
the denial of "any rights" based on gender identity (Human Rights Bylaw, 2009). However, the town's director of human resources
and human rights, who investigates complaints of discrimination, was unable to confirm whether such rights included access to
public accommodations and/or public restrooms (Radway, 2015). Worcester, Massachusetts has a local ordinance that states that its
policy is "to assure that every individual shall have equal access to and benefit from all public services, accommodations and
employment opportunities to protect every individual ..." and that. "behavior which denies equal treatment to any of our citizens as a
result of their ... gender identity ...undermines civil order and deprives persons of the benefits of a free and open society."
(Worcester, Mass., Rev. Ordinances §9(c), 2014). However, the local human rights commission only has explicit authority to
investigate complaints of discrimination "based on race, color, religious creed, national origin, gender, age, ancestry, marital status,
parental status, sexual orientation, disability or source of income." (Worcester, Mass.. Rev. Ordinances §18(cxl), 2014).
Matched localities were selected for all of the localities with clear GIPANDOs that applied to public restrooms. The final
GIPANDO localities and their matched localities for two different analyses are listed in Table 2.


Data
Public Record Requests Through a thorough reading of municipal ordinances and consultation with local human rights
commissions, town and city clerks, and attorneys, we ascertained an exhaustive list of all of the localities in
Massachusetts with GIPANDOs. Localities with GIPANDOs and matched localities received two sets of public records
requests from the investigators. In July 2015, a first set of requests under the Massachusetts Public Records Law
(M.G.L.A. c. 66, § 10, 2016) was sent to target localities. These letters requested, "All records documenting complaints made
to [the local police] agency and records of crimes alleged or committed or incidents ... that took place in a public bathroom,
public restroom, public locker room, or public changing room."




                                                                                                                                          AR_293045
Case 4:24-cv-00461-O                 Document 76                Filed 09/06/24                Page 56 of 290                PageID 3703
Table 2 Localities with
GIPANDOs and matched              GIPANDO Locality                                    Matched locality (1)                   Matchedlocality(2)
localities
                                  Boston                                              Cambridge°                             Chelsea`
                                  Medford                                             Beverly                                Watertown
                                  Melrose                                             Beverly                                Beverly
                                  Newton                                              Brookline                              Arlington
                                  Salem                                               Revere"                                Waltham
                                  Somerville                                          Cambridge°                             Waltham
                                  Swampscott'                                         Marblehead'                            Milton'
                                  Brookline (unclear enforceability)                                                         Arlington
                                  Cambridge° (restroom exclusion)                                                            Everett
                                 Notes:
                                 'Swampscott was identifiedasa localitywith aGIPANDOfor theseanalyses. Record requests failed because they
                                 lacked sufficient staff and capacity to perform the requested search. Therefore, public records requests were not
                                 sent to their matched localities
                                 bCambridge and Revere were unable to supply results of the public records requests after repeated attempts over
                                 the course ofnine months. Therefore, data from their matched localities, Salem, Somerville, Boston, and Everett
                                 were excluded from analyses that required the missing data
                                 `Chelsea's results were excluded due to an incomplete response to the request


The request covered a one- to two-year timespan before and after the gender identity inclusive public accommodations
nondiscrimination law had gone into effect in the localities that had such an ordinance and the same time period for the
localities that were matched localities. In some cases, the local ordinance had been passed less than one or two years prior to
the public records request. In those instances, records were requested "through the present." If matched localities were
matched to more than one GIPANDO locality, the matched locality records request would cover the matching timespan
for both of the GIPANDO localities to which they were matched. The total timespan covered (either two or four years) was
selected based on the size and crime rate of the locality; smaller localities or those likely to have fewer incidents were given
longer timespans to search, and larger localities or those in which more incidents were likely to occur were given shorter
timespans. The investigators requested information on the type of crime/incident alleged, the gender of the victim(s) and the
perpetrator(s) (as applicable), the date of the incident, and the address of the public bathroom, restroom, locker room, or
changing room in which the alleged incident took place.
    After mailing public records requests, follow-up emails and phone calls were placed with all of the records custodians to
facilitate the process of data collection. Some larger localities were able to comply with the requests relatively quickly and
easily, while others did not have the tools necessary to perform a key word search that would make such a request possible or
feasible. Several record clerks noted that the cost to pay for staff time to complete a search by hand would be prohibitively
expensive. After assessing the initial completed responses, the investigators noted that the majority of incidents occurring in
restrooms were not related to the types of crimes that are the subject of concern related to public accommodations
nondiscrimination ordinances. In other words, the fears projected as potential problems related to such ordinances are related
to violations of safety and privacy, but most incidents were related to vandalism and drug use in public restrooms and theft in
locker rooms.
    Given the mismatching scope between the search and the crimes of concern and the challenges for smaller localities to
respond to the public records requests, the researchers completed a second round of public records requests with a narrower
scope in February 2016. In the second round of requests, the investigators requested, "All records documenting complaints
    made to [the local police] agency and records of crimes alleged or committed or incidents ... involving conduct that took
place in a public bathroom, public restroom, public locker room, or public changing room" regarding criminal codes related
to: murder, manslaughter and attempts; assault or assault and battery and attempts; theft involving assault or battery and
kidnap- ping; rape, stalking, harassment, indecent exposure, public sex and voyeurism; and solicitation. The individual
Massachusetts General Law sections were cited in the request. The full updated request was sent to all police departments that
had not fully responded to the first round of public records requests. For those who had responded, but for whom the timespan was
still continuing until "the present," a modified request was sent for any new records that may have arisen since the first round of
requests.
    Follow-up phone calls and emails were again used to assist in the facilitation of data collection until all of the localities had
either responded with the results of their search or made it clear that they were unable to complete the search. By the end of the
second round of data collection, two localities were unable to complete the search at all, and one locality provided an
incomplete response. Records were then organized and reviewed to ensure only inclusion of incidents under the narrower
scope related to assault, sexual assault, rape, voyeur- ism, public sex (including sex work), lewd behavior, and in- decent
exposure.



                                                                                                                                           AR_293046
Case 4:24-cv-00461-O                Document 76             Filed 09/06/24            Page 57 of 290            PageID 3704
  As a result of the data collection, we received public re- cords of incidents occurring within our selected municipalities.
The unit of analysis in this collection is an incident. Consistent with previous research, we transformed these incidents to
average annual incident rates per 100,000 individuals. This normalizes our measure accounting for varying size of
municipalities and time period.


Analysis and Results

The first round of analysis was a simple comparison of the average annual number of incidents before and after the pas- sage
of GIPANDOs in the localities with such nondiscrimination ordinances and their comparable matched localities. This
comparison was made to determine whether the rate of reported incidents in public restrooms and locker rooms over the
timespan in which the GIPANDOs were passed was different between the places with the ordinances and their matched
localities. Since we use matched pairs for our analyses, we did not employ additional controls, and since time frames were
equal between the GIPANDO localities and their matched localities, time is also controlled by design. The results are
shown in Table 3. When a matched locality had missing results, the GIPANI)O locality's results were excluded from the
count.
   Table 3 provides a contingency table showing the average number of incidents per year. There were fewer average annual
incidents in the localities with clear GIPANDOs when compared to their matched localities. The differences in incident rates
over time (comparing before and after GIPANDO passage) were not statistically significant in the GIPANDO localities or
among the matched localities. Most importantly, a Fisher's exact test of the difference in crime rates between places with and
without GIPANDOs before and after GIPANDOs were passed indicates no statistically significant relationship (at a one-
sided alpha level of 0.10) between GIPANDO policy passage and victimization. A comparison of the change in the number of
criminal incidents after passage of public accommodations protections between GIPANDO localities and their matched
localities also showed no statistically significant difference. In these comparisons, there does not appear to be a relationship
between passage of GIPANDOs and criminal incidents in restrooms between localities.
   A finding of no difference between the GIPANDO localities and the matched localities may be driven by the small
number of localities included in the analysis. However, we are able to assess whether our finding of no difference was a
result of our small sample size. A power analysis shows that we would likely still find no statistically significant difference
between the GIPANDO localities and matched localities even with a larger sample size. If there was a sample with 50
matched pairs with observed effect size at 90% power, then a one-tailed alpha would be 0.108, suggesting that there is no
difference between the GIPANDO localities and the matched localities. By increasing the number of matched pairs, the
inference with the observed effect size would increase the probability that GIPANDO localities have lower annual crime
rates than their matched localities, though this inference would barely satisfy less stringent accounts of statistical significance.
Beyond before-and-after differences, we can also assess trends in crime rates in public bathrooms between these localities.
This way, it can be assessed whether trends in crime rates increase in GIPANDO localities compared to their matched
localities. Figure 2 provides the timeframe from 24 months before to 24 months after the passage of the local GIPANDOs. A
24-month window was chosen because all localities in this analysis were asked to provide incidents within a four-year
timeframe. Unlike a change in the annual incident rate before and after the introduction of GIPANDOs, this model com-
pared the change in the average monthly incident rates in GIPANDO and matched localities. If the argument about
GIPANDOs negatively impacting safety and privacy in restrooms is correct, then an increase in reported incidents
among localities with GIPANDOs, above and beyond any increase in localities without GIPANDOs, would be expected
after the introduction of such policies.
   In Fig. 2, the model included the difference between localities with clear enforceable GIPANDOs that applied to
restrooms and their matched localities. As can be seen in the graph, the rates over time showed no significant increases in
victimization rates in GIPANDO localities compared to matched localities. To the contrary, localities introducing
GIPANDOs had slightly, yet significantly, lower rates of criminal incidents than their matched localities at the time these
ordinances were introduced. About 10 to 20 months after GIPANDO passage, the difference appeared to increase; during
that time, the average monthly proportion of criminal incidents remained rather stable in GIPANDO localities but slightly
increased among matched pairs. By 24 months after GIPANDO passage, rates between the two sets of localities appeared to
have little difference.




                                                                                                                             AR_293047
  Case 4:24-cv-00461-O                       Document 76                 Filed 09/06/24                Page 58 of 290                 PageID 3705
  Table 3 Average number of incidents per year documented by police departments by localities with clear GIPANDOS and matched pairs before and
  after policy passage
                           Localities vithclearGlPANDOs               Matched localities without                  Difference per 100,000
                                                                      GIPANDOs                                    (clear-matched)

  Before passage           0 (0 per 100,000)                          3.5 (2.54 per 100,000)                      - 2.54 per 100,000
                           [0 per 100,000, 0 per 100,000]             [2.53 per 100,000, 2.55 per 100,000]        [- 2.55 per 100,000, - 2.53 per 100,000]
  After passage            0.5 (0.62 per 100,000)                     5.5 (4.50 per 100,000)                      - 3.88 per 100,00
                           [-0.49 per 100,000,1.73 per 100,000]       [1.22 per 100,00, 7.78 per 100,00]          [- 7.34 per 100,000, - 0.42 per 100,000]
  Change per 100,000       0.62 per 100,000                           1.96 per 100,000                            - 1.35 per 100,000
  (After - before)         [-0.49 per 100,00,                         [-1.32 per 100,000, 5.24 per 100,000]       [- 4.30 per 100,00, 1.60 per 100,000]
                           1.73 per 100,000]
  Total annual average     0.25 (0.31 per 100,000)                    4.5 (3.52 per 100,000)
                           [-0.25 per 100,000, 0.86 per 100,000]      [1.86 per 100,000, 5.19 per 100,000]

  Notes: Average annual crime rate in incidents per 100,000 people are in the parentheses; 90% confidence intervals are in the brackets;
  xi % 0:62; p % 0t43; Fishers exact % 1t00; one-sided Fisher's exact = 0.632.; difference-in-difference = - 1.35 bootstrapped S.E. = 1.80, p = 0.454


  Discussion

  Opponents of gender identity nondiscrimination laws and policies have cited fears of attacks and privacy violations against
  women and children in restrooms as one of their main reasons for resistance to them, while proponents have asserted that such
  laws are necessary to protect transgender people and cause no increase in these kinds of crimes. However, no study, to our
  knowledge, has examined crime report data to assess changes in rates of crime before and after the introduction of
  GIPANDOs. This is the first study to do so. While this analysis initially chose Massachusetts as a case study because of its
  unique legal paradigm, it has taken on more direct importance in that state, because over the course of the data collection and
  analysis, Massachusetts passed a statewide public accommodations law that includes gender identity and that law is now up
  for repeal on the November 2018 ballot. By using public records and statistical modeling, we found no evidence that
  privacy and safety in public restrooms change as a result of the passage of GIPANDOs.8
     The inclusion of GIPANDOs may signal a more inclusive context and thus relate to lower victimization rates, which we
  propose in H 1. Based on previous empirical work on dispel- ling the myths to oppose LGBT rights in marriage, family, and
  employment, we suspected in II0 that GIPANDOs would have no relationship with victimization rates. We find greater
  support for HO. The inclusion of GIPANDOs had little relationship with victimization rates. Complimentary to research on
  hate crimes policies, sometimes, policy-specific provisions have little relationship to victimization. The cumulative addition of
  legal inclusion of marginalized groups may, however, reduce victimization rates (Levy & Levy, 2017).

  Limitations Limitations of this study include issues inherent with the data source. For example, the data used to represent
  safety and privacy violations in public restrooms were police records ofcriminal incidents. While these records should have a
  relatively high level of reliability in their objective accuracy in recording the existence of such incidents, they fail to include
  any incidents that were not reported to local law enforcement. For example, it is estimated that only 30 to 35% ofrapcs and
  sexual assaults are reported to the police (Truman & Langton, 2014). Nevertheless, by assessing trends over time and using a
  matched pairs analysis, the authors sought to control for any issues related to unreported incidents. There is no reason to
  assume that incidents are more or less likely to be reported in a locality with a GIPANDO than in a matched locality.
      The crime reports also were not recorded in a way that allows a reviewer to distinguish between incidents involving
  cisgender people and transgender people. Police departments generally do not distinguish between sex assigned at birth and
  gender identity. Therefore, there is no way to identify if there were any incidents that involved transgender people being
  attacked in public restrooms because of their externally perceived gender. A 2008 survey of 93 transgender people in the
  Washington, DC metropolitan area found that 9% reported experiencing physical assault in a public restroom (Herman,
  2013). There was also no way to identify if there were incidents of transgender people or people pretending to be trans-
  gender accessing restrooms with intent to harm others. Among the incidents that had notes attached providing more detail,
  there was no evidence of transgender people being either victims or perpetrators of crimes or of people pretending to be
  transgender in order to harm others in public restrooms.




8 We conducted a second analysis using a matching procedure that included localities with clear GIPANDOs, localities with limited GIPANDOs, and matched
localities that clearly did not have a GIPANDO. This second analysis found similar results to the analysis presented above. See Appendix fora description and
results of this second analysis

                                                                                                                                                     AR_293048
Case 4:24-cv-00461-O                   Document
                                           IS   76                 Filed 09/06/24         Page 59 of 290              PageID 3706
Fig. 2 Difference in the average
monthly rate ofcriminal incidents
inpublicrestrooms,lockerrooms,          o
and changing rooms between
localities with clear GIPANDOs
and matched localities. Note:                                                                                             i
Dashed lines represent 90%                    o     _          '
confidence intervals; negative
values show lower rates of                          y✓ /             _                  .1•••                —-
victimization in GIPANDO                ~   —.5
localities compared to matched                           i~
localities before, during, and after    C           i                                                ...                 i~
                                                                                                                     /
policy introduction                          —1 •


                                            —1S
                                                        20 months        10 months      Policy      10 months       20 months
                                                          before           before    Introduced        after           after

                                                        -- 90% Confidence Interval     — Difference in victimization rates


    It is also important to note that violent and other privacy- related crimes in public restrooms, locker rooms, and
changing rooms are exceedingly rare. As a point of comparison, our findings indicated that reports of privacy or safety
violations in these public spaces occurred annually at most at a rate of 4.5 per 100,000 population in the jurisdictions we
studied; in the Commonwealth of Massachusetts in 2015, violent crimes were reported at a rate of 390.1 per 100,000
population, and rapes were reported at a rate of 32.6 per 100,000 (Federal Bureau of Investigation, 2016). While this may
be comforting to those who have safety and privacy related concerns about those spaces, the rarity of such incidents may
act as a limitation to this analysis. Nevertheless, the matched pairs design was used intentionally to compensate for limited
data. The data were requested from 15 different police departments of different sizes and geographies. Each had its own
individual record keeping system, policy for responding to public records requests, and records clerks. Some departments
responded by sending extra data and allowing the researchers to search through to find the relevant incidents, while others
sent tables with dates and criminal codes. Some appeared to have the ability to search electronically while others had to
search manually. Therefore, we are unable to determine whether every single search was equally thorough and turned up
every single incident that matched the researchers' search criteria. For example, the locality that showed the highest
limitation to this analysis. Nevertheless, the matched pairs design was used intentionally to compensate for limited data.
The data were requested from 15 different police departments of different sizes and geographies. Each had its own
individual record keeping system, policy for responding to public records requests, and records clerks. Some departments
responded by sending extra data and allowing the researchers to search through to find the relevant incidents, while others
sent tables with dates and criminal codes. Some appeared to have the ability to search electronically while others had to
search manually. Therefore, we are unable to determine whether every single search was equally thorough and turned up
every single incident that matched the researchers' search criteria. For example, the locality that showed the highest
number of restroom incidents was the locality in which the police department sent their full criminal logs to the re-
searchers and allowed the researchers to review the records to find incidents that met their search criteria. The higher
number of incidents might be more likely to indicate that the researchers performed a more detailed and exhaustive search
than the other searches performed within police departments, rather than that there were actually more incidents in that
locality. That locality was a matched pair locality, so this may have contributed to the greater number of incidents re-
ported in matched pair localities, as compared to GIPANDO localities. However, the difference-in-difference approach
would account for any such bias because we do not rely on the numbers of individual incidents reported for the analyses, but
instead rely on the differences within jurisdictions before and after passage of GIPANDOs. We can assume that data
collection efforts were consistent within each jurisdiction, and therefore, our calculations produce differences that are
comparable across jurisdictions.




                                                                                                                                AR_293049
Case 4:24-cv-00461-O                     Document 76                    Filed 09/06/24                 Page 60 of 290                     PageID 3707
Table 4 Average number of incidents per year as documented by police departments by localities with clear GIPANDOs, limited GIPANDOs and
matched localities before-and-after policy passage

                           Localities with                   Localities with                   Matched localities                   Difference per 100,000
                           clear GIPANDOs                    limited GIPANDOs                  without GIPANDOs                     (clear-matched)

Before passage             1.0 (0.26 per 100,000)            1.5 (2.55 per 100,000)            2.5 (1.07 per 100,000)               - 0.81 per 100,000
                           [-0.91 per 100,000,               [-0.07 per 100,000, 5.18          [-0.00 per 100,000, 2.15               [- 2.40 per 100,000, 0.78
                              1.44 per 100,000]                 per 100,000]                      per 100,000]                        per 100,000]
After passage              1.5 (0.63 per 100,000)            0.5 (0.85 per 100,000)            3 (1.32 per 100,000)                 - 0.68 per 100,000
                           [- 0.54 per 100,000, 1.81         [- 1.78 per 100,000, 3.48         [0.24 per 100,000, 2.39                [- 2.27 per 100,000, 0.91
                              per 100,000]                      per 100,000]                      per 100,000]                        per 100,000]
Change per 100,000         0.37 per 100,000                  - 1.70 per 100,00                 0.24 per 100,000                     0.13 per 100,000
(after-before)             [- 1.29 per 100,000, 2.03         [- 5.42 per 100,000, 2.01         [-1.27 per 100,000, 1.76               [-2.12 per 100,000, 2.38
                              per 100,000]                      per 100,000]                      per 100,000]                        per 100,000]
Total annual average       1.25 (0.45 per 100,000)           1.0 (1.70 per 100,000)            2.75 (1.19 per 100,000)
                           [0.05 per 100,000, 0.85           [0.24 per 100,000, 3.16           [0.29 per 100,000, 2.10
                              per 100,000]                      per 100,000]                      per 100,000]

Notes: Average annual crime rate in incidents per 100,000 people are in the parentheses; 90% confidence intervals are in the brackets;
X~2 %a 1:42; p %a 0:49; Fishers exact %a 0658. Difference-in-difference'- 0.41, bootstrapped S.E. = 1.05, p = 0.699



   Finally, though all of the requests were worded and followed up upon in the same manner, the depth of the results may have
varied. Three localities were unable to provide complete incident data, which may decrease the internal validity of the current
study. Cases where there was missing data from a matched locality led to the exclusion of the locality with a GIPANDO
from the analysis because of the lack of comparable data, which may impact the external validity ofthe current study.
   Despite these limitations, this study is able to empirically assess the relationship between nondiscrimination laws that are
inclusive of gender identity in public accommodations and safety and privacy in public restrooms. While criminal incidents
do, in fact, rarely occur in such spaces, these findings suggest that concerns over the safety in those spaces should be more
generally related to community safety and policing, and not related to nondiscrimination laws.




Fig. 3 Differences in theaverage
monthly rate of criminal incidents
in public restrooms, lockerrooms
and changing rooms among
localities with clear GIPANDOs             a   ar                                                             - -
and limited GIPANDOs                                                                      ._
compared to matched localities
without GIPANDOs. Notes: 90%                                       '"
confidence intervals represented           S 0                -                       -
by dashed lines; negative values                                              w
show lowerratesofvictimizations                                   ;;    ..        w                                                         \    ~• .
inGIPANDOlocalitiescompared                c                                                                          r       -
to matched localities before,              ~                                                    "•.,, ,, _,     -
during, and after policy
introduction.


                                               51
                                                           10 months         5 months             Policy            5 months           10 months
                                                             before           before           Introduced             after               after

                                                       -     90% Confidence Interval      -. Limited GIPANDOs             -       Clear GIPANDOs




                                                                                                                                                        AR_293050
Case 4:24-cv-00461-O                     Document 76                Filed 09/06/24                Page 61 of 290                PageID 3708

Conclusion
Opponents of gender identity nondiscrimination laws in public accommodations have largely cited fear of safety and privacy
violations in public restrooms, locker rooms, and changing rooms if such laws are passed, while proponents have argued that
the laws do not increase danger or harm in such spaces. To date, no evidence has been gathered to empirically test the
hypothesized effect of these laws. This is the first study to collect public records and analytically compare the safety of public
restrooms, locker rooms, and changing rooms in localities that have gender identity inclusive nondiscrimination laws that
apply to public restrooms and matched localities that do not have such laws. The results show that the passage of such
nondiscrimination laws is not related to the number or frequency of criminal incidents in such public spaces.
Additionally, the results show that reports of privacy and safe- ty violations in public restrooms, locker rooms, and changing
rooms were exceedingly rare and much lower than statewide rates of reporting violent crimes more generally. This study
provides evidence that fears of increased safety and privacy violations as a result of nondiscrimination laws are not
empirically grounded.

Acknowledgements The authors would like to thank Kerith Conron and Brad Sears for their extensive feedback on analytical approaches and
presentation of findings. The authors would also like to thank the records keepers at the police departments throughout Massachusetts who assisted in
responding to the public records requests that were a necessary part of the data collection for this project. The authors would also like to thank
Chrissy Reinard and Joseph Rocha, who provided assistance in executing one round of public records requests. Thanks also go to Taylor Brown,
who provided research assistance on crime rates tluoughout New England, and Fernanda Miramontes, who copy edited this paper. Finally, thank
you to the editor and anonymous reviewers for their feed- back and publication assistance.

Compliance with Ethical Standards

Ethical Approval This article does not contain any studies with human participants or animals performed by any of the authors. An IRB exemption
was obtained by the authors for use of do
                                        -identified criminal record data (IRB#15-001060).

Conflict of Interest Amira Hasenbush declares that she has no conflict of interest. Andrew Flores declares that he has no conflict of interest. Jody
Herman declares that she has no conflict ofinterest.


Appendix: Placebo Matched Pairs Analysis
The analysis was re-conducted using a second matching procedure. Localities with clear GIPANDOs were matched to
localities that clearly did not have a GIPANDO, and localities with limited GIPANDOs (i.e., Brookline and Cambridge) were
also matched to localities that clearly did not have a GIPANDO (see Table 2). The limited GIPANDOs offer a type of placebo
comparison, where a policy was introduced but not clearly inclusive of the protections that are afforded in localities with clear
GIPANDOs.
   Table 4 provides a contingency table showing the average annual number of incidents, similar to the analysis in the re-
port. For this analysis, there were three levels of treatment: a group of localities with clear GIPANDOs, a limited
GIPANDO group that introduced a gender identity policy, but made exceptions or lacked clarity on restrooms, and the
matched localities group without GIPANDOs. There were fewer overall incidents in the group with clear GIPANDOs when
compared to the matched localities, but there were no apparent patterns of an increase in victimization in the timeframe
after passage. These differences were also not significantly different from one another. A Fisher's exact test indicated that
there was no significant relationship between GIPANDOs and restroom crimes. An estimate of the before- and-after
changes between the localities with clear GIPANDOs and their matched pairs of the average proportion of monthly
incidents in locations also showed no statistically significant difference. There does not appear to be a relation- ship between
policy introduction and restroom incidents. Again, here, even if there were many more localities, a statistical power analysis
found that it is unlikely that there would be a statistically significant difference between GIPANDO localities and matched
localities. If there was a sample with 50 matched pairs with observed effect size at 90% power, then a one-tailed alpha would
be 0.85, suggesting that the null hypothesis of no difference would also fail to be rejected with a greater number of matched
pairs.




                                                                                                                                              AR_293051
Case 4:24-cv-00461-O                     Document 76                Filed 09/06/24               Page 62 of 290                PageID 3709
   Similar to before, we assessed trends in crime rates be- tween these localities. This way, it could be assessed whether
trends in crime rates increased in clear GIPANDO localities and limited GIPANDO localities, as compared to their
matched localities. The figure limits the timeframe to 12 months before and 12 months after the passage of the local
GIPANDOs. A 12-month window was chosen because some localities in this analysis were asked to provide incidents with- in
a two-year timeframe, so we restrict the plot to the timeframe common to all localities.
   In Fig. 3, the model included differences between localities with clear enforceable GIPANDOs that applied to restrooms
and their matched localities (black line), and differences be- tween the limited GIPANDOs with unclear enforceability or
restroom exceptions and their matched localities (gray line). The local regressions showed a lot of overlap between and
across these three groups. As opposed to the analysis in the body of the report, which showed slightly lower crime rates in the
GIPANDO localities as compared to their matched pairs after policy introduction, there was no statistically significant
difference in the average monthly proportion ofcriminal incidents in restrooms both over time and across contexts.
   These results indicate that changes in the average rate of criminal incidents are not related to the passage of
GIPANDOs. The limited GIPANDOs provide another source of comparison, and these additional comparisons indicate that clear
GIPANDOs are not uniquely related to increases inaver- age rates of criminal incidents.


References
American Civil Liberties Union. (2017). G.G. v. Gloucester County School Board. Retrieved March 16, 2018, from https://www.aclu.
    org/cases/gg-v-gloucester-county-school-board.
Andersen, E. A. (2017). Transformative events in the LGBTQ rights movement. Indiana Journal ofLaw and Social Equality, 5(2), 441-475.
Badgett, M. V. L. (2001). Money, myths and change: Economic lives of lesbians and gay men. Chicago: University of Chicago Press.
Department of Housing and Urban Development (2016, September 20). HUD issues final rule to ensure equal access to housing and services
    regardless of gender identity. Retrieved May 25, 2017, from https:// portal.hud.gov/hudportallHUD?src=/press/press_releases_media_
    advisories/2016MUDNo_16-137
Diamond, A., & Sekhon, J. S. (2013). Genetic matching for estimating causal effects: A general multivariate matching method for achiev- ing
    balance in observational studies. The Review ofEconomics and Statistics, 95(3), 932-945.
Dimick, J. B., & Ryan, A. M. (2014). Methods for evaluating changes in health care policy: The difference-in-differences approach. Journal of the
    American Medical Association, 312(22), 2401-2402.
Equal Employment Opportunity Commission v. Harris Funeral Homes, 884 F.3d 560 (6th Cir. 2018)
Fausset, R. (2017, March 29). Retrieved May 2, 2017, from https.//www. nytimes.coin/2017/03/29/us/ north-carolina-lawmakers-reach-deal., to-repeal-so-
     called-bathroom-bill.html.
Federal Bureau of Investigation. (2016). Crime in the United States by region, geographic division, and state, 2014-201. Retrieved February 2,
     2017, from https://ucr.fbi.gov/crime-in-the-u.s/2015/ crime-in-the-u.s.2015/tahles/table-4.
Fejes, F. (2008). Gay rights and moral panic: The origins ofAmerica's debate on homosexuality. New York: Palgrave Macmillan.
Fernandez, M., & Smith, M. (2015, November 3). Retrieved May 2, 2017, from http://www.nytimes.com/2015/11/04lus/houston- voters-repeal-
     anti-bias-measure.html?_r=0.
Fetner, T. (2008). How the religious right shaped lesbian and gay activism. Minneapolis: University of Minnesota Press.
Fogg Davis, H. (2017). Why the rrtransgenderA bathroom controversy should make us rethink sex-segregated public bathrooms. Politics, Groups,
     and Identities, 1-18. https://doi.orgl10.1080/21565503.2017.1338971.
G. G. v. Gloucester County School Board, 137 S. Ct. 1239 (2017).
G.G. v. Gloucester CountySchool Board, 132 F. Supp. 3d736, 750 (E.D. Va. 2015)
Gender Identity Act, H.B. 3810, 187th Gen. Court (Mass. 2011). Hasenbush, A., Flores, A. R., Kastanis, A., Sears, B., & Gates, G. J.
     (2014). The LGBT divide: A data portrait of LGBT people in the Midwestern, Mountain & Southern states. The Williams Institute. Available
     from https:!/williamsinstitute.law.ucla.edu/wp-content/ uploads/LGBTdivide-Dec-2014.pdf.
Herek, G. M. (1991). Myths about sexual orientation: A lawyers guide to social science research.1.aw & Sexuality, 1(133), 133-172.
Herek, G. M. (2006). Legal recognition of same-sex relationships in the United States: A social science perspective. American Psychologist, 61(6),
     607-621.
Herman, J. L. (2013). Gendered restrooms and minority stress: The public regulation of gender and its impact on transgender people's lives. Journal
     of Public Management and Social Policy, 65-80.
Holden, D. (2018, February 12). Retrieved March 16, 2018, from https:!/ www.buzzfeed.com/dominicholden:'edu-dept-trans-student-
      bathrooms?utm_tcrm=.mvmwQx3mb#.bwlgp5QlV.
House Bill 2: House Floor Debate on H.B. 2, 2015-2016 Gen. Assemb., 2016 Extra Sess. 2 43 (2016) (testimony of Rodney W. Moore).
HouseBill 2: Senate Floor Session on H.B. 2,2015-2016Gen.Assemb., 2016 Extra Sess. 2 14--16 (2016) (testimony of E. S. aBuck^ Newton).
Human Rights Bylaw, Amherst, Mass., Gen. Bylaws Art. 1 (2009).
human Rights Campaign. (2016). Cities and counties with non- discrimination ordinances that include gender identity. Retrieved May 24, 2017,
      from http:/!www.hrc.org/resources/cities-and- counties-with-non-discrimination-ordinances-that-include-gender.
Imai, K., & Ratkovic, M. (2014). Covariate balancing propensity score.
     .Journal of the Royal Statistical Society, 76(1), 243-263.
Jackson, C. (2017, June 6). OCR instructions to thefield re complaints involving transgender students [memorandum]. Washington, DC: Office for
     Civil Rights, Department of Education Retrieved July 11, 2017, from https://assets.documentcloud.org/documents! 3866816/OCR-
     Instructions-to-the-Field-Re-Transgender.pdf
Keele, L., & Titiunik, R. (2015). Geographic boundaries as regression discontinuities. Political Analysis, 23(1), 127-155.
Kelly, D. (2016, March 28). Anchorage LGBT rights law opponents seek amendments through initiative. Alaska Dispatch News. Retrieved May 2, 2017,
     from https://www.adn.com/alaska-news/article/ opponent,-anchoragge-equal-riglns-law-seek-amendments/2016/03/29/.
Kralik, J. (2017, April 12). uBathroom billA legislative tracking. Retrieved May 2, 2017, from http:/!www.ncsi.org!researci / education/-
     bathroom-bil l-legislative-tracking635951130.aspx.


                                                                                                                                              AR_293052
Case     4:24-cv-00461-O
Levy, B. L.,                            Document
             & Levy, D. L. (2017). When love              76relation-
                                             meets hate: The      Filed     09/06/24
                                                                      ship between state policiesPage     63lesbian
                                                                                                  on gay and  of 290rights andPageID      3710
                                                                                                                              hate crime incidence.
     Social Science Research, 61, 142-159.
Lusardi v. Dep't of the Army, E EOC Appeal No. 0120133395, 2015 WL 1607756 (Mar. 27, 2015).
MacGillis, A. (2017, August 22). Is anybody home at HUD? New York Magazine. Available from http://nymag.com/daily/intelligencer/
     2017/08/ben-Carson-hud-secretary.html.
Mass. Gen. Laws ch. 151B § 4 (1989). Mass. Gen. Laws. ch. 66, §10 (2016).
Miller, P. R., Flores, A. R., Haider-Markel, D. P., Lewis, D. C., Tadlock,
     B. L., & Taylor, J. K. (2017). Transgender politics as body politics: Effects of disgust sensitivity and authoritarianism on transgender rights
     attitudes. Politics, Groups, and Identities, 5(1),4-24.
Minn. Stat. § 363A.11 (1993).
Movement Advancement Project. (2017). Non-discrimination laws. Retrieved May 24, 2017, from http://www.lgbtmap.org/equaliiy-
     maps/non_discrimination_laws.
Nebraska v. U.S., No. 4:16-CV-03117, first amended complaint for de- claratory and injunctive relief (U.S.D. Neb. Oct. 21, 2016).
Nebraska v. U.S., No. 4:16-cv-03117-JMG-CRZ (U.S.D. Neb. Mar. 16, 2017).
Nebraska v. U.S., No. 4:16CV3117 (U.S.D. Neb. Nov. 23, 2016).
Occupational Safety and Health Administration. (2015). Best practices: A guide to restroom access for transgender workers. Retrieved May 25,
     2017, from https://www.osha.gov/Publications/ OSHA3795.pdf.
Philipps, D. (2016, March 23). Retrieved May 25, 2017, from lttips:// www.nytimes.com/2016/03/24/us/north-carolina-to-limit- bathroom-use-
     by-birth-gender.html.
Radway, D. B., Town of Amherst, Mass. Director of Human Resources & Human Rights. (2015 April 23). [E-mail correspondence]. On file with the
     author.
Raifman, J., Moscoe, E., Austin, S. B., & McConnell, M. (2017). Difference-in-differences analysis of the association between state same-sex
     marriage policies and adolescent suicide attempts. Journal ofthe American Medical Association Pediatrics, 171(4), 350-356.
Schneider, A., & Ingram, H. (1993). Social construction of target popu- lation: Implications for politics and policy. American Political Science
     Review, 87(2), 334-347.
Sekhon, J. S. (2011). Multivariate and propensity score matching soft- ware with automated balance optimization: The matching package for R.
     Journal ofStatistical Software, 42(7),1-52.
Simmons, L. N., Chief of Staff, City of Northampton, Mass. Office of the Mayor. (2015, April 23-May 12). [E-mail correspondence]. On file with the
     author.
Stone, A. L. (2012). Gay rights at the ballot box. Minneapolis: University of Minnesota Press.
Texas v. U.S., 201 F. Supp. 3d 810 (N.D. Tex. Aug. 21, 2016).
Texas v. U.S., No. 16-11534, defendants-aAppellants' nNotice of wWithdrawal of mMotion for pPartial sStay pPending aAppeal and jJoint
     mMotion to cCancel oOral aArgument (2017).
TransgenderAnti-Discrimination Act, Mass. Gen. Laws ch. 272 §§ 92A, 98 (2016).
Truman, J. L., & Langton, L. (2014). Criminal victimization, 2013. Retrieved from Bureau of Justice Statistics website May 2, 2017,
     http://www.bjs.gov/contentJpub/pdt/cv13.pdf
U.S. Department of Justice & U.S. Department of Education. (2016). . Retrieved May 2, 2017, from htip:/../www2.ed.gov/about/offiees/list/
     ocr/letters/colleague-201605-title-ix-transgender.pdf.
U.S. Department of Justice & U.S. Department of Education. (2017). . Retrieved May 2, 2017, from https:I/www.justice.gov/crtlpage/file/
     942021/download.
Westbrook, L., & Schilt, K. (2014). Doing gender, determining gender: Transgender people, gender panics, and the maintenance of the sex/
     gender/sexualitysystem. Gender and Society, 28(1), 32-57.
Worcester, Mass., Rev. Ordinances part 2, art. 10 §18(cx1) (2014). Worcester, Mass., Rev. Ordinances Part 2, art. 10 §9(c) (2014).
Young, C. A. (2016, October 11). Question to repeal transgender accom- modations law qualifies for 2018 ballot. Retrieved May 2, 2017, from
http://www.wbur.org/news/2016/10/11 /ballot-question- transgender-accommodations-law.




                                                                                                                                             AR_293053
Case 4:24-cv-00461-O   Document 76   Filed 09/06/24   Page 64 of 290   PageID 3711




                                                                               AR_293056
Case 4:24-cv-00461-O   Document 76   Filed 09/06/24   Page 65 of 290   PageID 3712




                                                                               AR_293057
Case 4:24-cv-00461-O   Document 76   Filed 09/06/24   Page 66 of 290   PageID 3713




                                 Shut Out
           Restrictions on Bathroom and Locker Room Access for
                     Transgender Youth in US Schools




                                                                               AR_293058
Case 4:24-cv-00461-O         Document 76       Filed 09/06/24     Page 67 of 290       PageID 3714



     Copyright O 2016 Human Rights Watch
     All rights reserved.
     Printed in the United States of America
     ISBN: 978-1-6231-34037
     Cover design by Rafael Jimenez




     Human Rights Watch defends the rights of people worldwide. We scrupulously investigate
     abuses, expose the facts widely, and pressure those with power to respect rights and
     secure justice. Human Rights Watch is an independent, international organization that
     works as part of a vibrant movement to uphold human dignity and advance the cause of
     human rights for all.




                                                                                               AR_293059
Case 4:24-cv-00461-O                    Document 76                    Filed 09/06/24                   Page 68 of 290                     PageID 3715




     SEPTEMBER 2016                                                                                               ISBN: 978-1-6231-34037



                                                                   Shut Out
                                     Restrictions on Bathroom and Locker Room
                                    Access for Transgender Youth in US Schools
     Glossary.............................................................................................................................. I

     Summary ...........................................................................................................................1

     Recommendations.............................................................................................................. 3
        To the US Congress...................................................................................................................3
          To State Legislatures ................................................................................................................3
          To School Administrators ..........................................................................................................3

     Methodology...................................................................................................................... 5

     Background........................................................................................................................6

     I. Students at Risk ..............................................................................................................9
          Safety...................................................................................................................................... 9
          Health ....................................................................................................................................10
          Privacy ...................................................................................................................................12
          Education...............................................................................................................................14

      I. Discipline ......................................................................................................................17

     III. All-Gender Options ...................................................................................................... 18

     IV. Human Rights Analysis................................................................................................20

     Acknowledgments ............................................................................................................ 23




                                                                                                                                                           AR_293060
Case 4:24-cv-00461-O   Document 76   Filed 09/06/24   Page 69 of 290   PageID 3716




                                                                               AR_293061
Case 4:24-cv-00461-O        Document 76        Filed 09/06/24       Page 70 of 290        PageID 3717




                                            Glossary

     Agender: A descriptor used by people who do not identify with any gender.


     Cisgender: The gender identity of people whose sex assigned at birth conforms to their
     identified or lived gender.


     Genderfluid: A gender identity in which one's gender fluctuates and may differ over time.


     Gender Identity: A person's internal, deeply felt sense of being female or male, neither,
     both, or something other than female and male. A person's gender identity does not
     necessarily correspond to their sex assigned at birth.


     Gender Non-Conforming: A descriptor for people who do not conform to stereotypical
     appearances, behaviors, or traits associated with their sex assigned at birth.


     LGBT: The umbrella term to describe those who are lesbian, gay, bisexual, ortransgender.


     Non-Binary: The gender identity of people who identify as neither male nor female.


     Sexual Orientation: A person's sense of attraction to, or sexual desire for, individuals of
     the same sex, another sex, both, or neither.


     Transgender: The gender identity of people whose sex assigned at birth does not conform
     to their identified or lived gender.




                                                                HUMAN RIGHTS WATCH I SEPTEMBER 2016




                                                                                                      AR_293062
Case 4:24-cv-00461-O   Document 76   Filed 09/06/24   Page 71 of 290   PageID 3718




                                                                               AR_293063
Case 4:24-cv-00461-O        Document 76         Filed 09/06/24        Page 72 of 290        PageID 3719




                                             Summary

     Over the past year, transgender individuals' access to bathrooms, locker rooms, and other
     facilities has erupted as a divisive and sensationalized issue in political debates,
     statehouses, courts, and communities across the United States. Efforts to limit
     transgender people's access to facilities that correspond with their gender identity have
     had a particular focus on public schools and universities, typically under the guise of
     protecting children.


     To date in 2016, at least 18 state legislatures considered bills that would have restricted
     transgender students' access to bathrooms, locker rooms, and other facilities not in
     accordance with their gender identity. When the state of North Carolina enacted a set of
     sweeping restrictions, the federal Department of justice and Department of Education
     issued guidance clarifying that treating transgender students differently from other
     students constitutes sex discrimination under Title IX of the Education Amendments of
     1972. A number of states and state officials subsequently sued to challenge the
     Departments' interpretation of Title IX, and state officials and school administrators in
     many places signaled they would not require schools to allow transgender students to
     access facilities in accordance with their gender identity. On August 21, 2016, a federal
     judge in Texas issued a preliminary injunction blocking the federal guidance from taking
     effect nationwide while the lawsuit proceeds.


     As these battles play out, transgender youth are struggling to meet basic physical needs in
     their school environments. For these students, being barred from facilities is not an
     abstract legal question, but a daily source of frustration and isolation. In an interview with
     Human Rights Watch in Texas, Tanya H., the mother of a nine-year-old transgender boy
     named Elijah, recalled: "A year ago at this time, he was having a really hard time, and he'd
     go into the girl's bathroom and girls would yell, `There's a boy in here!' and he couldn't go
     to the boys' bathroom, and so he stopped going to the bathroom. There were a lot of
     meltdowns." When Elijah mentioned suicide and was briefly hospitalized, his mother
     spoke to administrators to ensure that he would be treated as a boy when he started at a
     new school in the fall. Tanya recalled: "He was kind of worried about going to a new
     school, and he said, 'If I can go as a boy, okay.' He's just fallen into it, and he's so much
     happier.... He's making friends who know him as a boy." For Elijah and other transgender

                                                                  HUMAN RIGHTS WATCH I SEPTEMBER 2016




                                                                                                        AR_293064
Case 4:24-cv-00461-O         Document 76        Filed 09/06/24       Page 73 of 290          PageID 3720



     youth, access to bathrooms and locker rooms is an urgent issue that affects their safety,
     health, privacy, and ability to learn.


     This report documents how restrictions on access to shared facilities directly affect
     transgender youth. From November 2015 to May 2016, researchers interviewed 74 current
     or former transgender students in Alabama, Pennsylvania, South Dakota, Texas, and Utah
     as part of a larger project on LGBT issues in US schools. The five states examined have not
     enacted sweeping restrictions like those of North Carolina. Yet in the absence of clear and
     inclusive nondiscrimination laws, policies at the school and school district level, and
     training for teachers and administrators, transgender students face access issues in these
     states as well.


     The results of this research illustrate why restricting transgender students' access to
     shared spaces is not only unnecessary, but discriminatory and dangerous. Barring
     transgender students from facilities that are safe, comfortable, and gender affirming is
     discriminatory, and that discrimination causes real harm. It places transgender students at
     heightened risk of harassment, assault, and bullying, impedes their ability to secure an
     education and participate fully in the life of their schools, and can cause damage to their
     physical and emotional health. Conversely, there is no evidence that allowing transgender
     students to choose bathroom or locker room facilities that correspond to their gender
     identity puts other students at risk. As the new school year begins, it is imperative that
     schools and school districts implement measures that advance the rights of all their
     students, regardless of their gender identity or expression.




     SHUT OUT                                      2




                                                                                                     AR_293065
Case 4:24-cv-00461-O       Document 76         Filed 09/06/24       Page 74 of 290        PageID 3721




                                    Recommendations

     To the US Congress
        •   Enact the Equality Act or similar legislation to prohibit discrimination on the basis
            of sexual orientation and gender identity in education, employment, and
            public accommodations;
        •   Enact the Student Non-Discrimination Act or similar legislation to prohibit
            discrimination on the basis of sexual orientation and gender identity in
            public schools.


     To State Legislatures
        •   Ensure that state nondiscrimination laws include explicit protections from
            discrimination on the basis of sexual orientation and gender identity, particularly
            in education, employment, and public accommodations;
        •   Require schools and school districts to allow transgender students to access
            bathrooms, locker rooms, and othergender-segregated facilities in accordance
            with their gender identity;
        •   Ease any building regulations that require particular numbers or percentages of
            gendered bathrooms in public or commercial buildings to permit the designation of
            alt-gender bathrooms.


     To School Administrators
        •   Ensure that students are able to access bathrooms, locker rooms, and other
            gender-segregated facilities in accordance with their gender identity;
        •   Train staff on accessibility issues related to transgender students, emphasizing
            that staff should not question or discipline students who choose to use all-gender
            bathrooms or other facilities made available to them—for example, nurse or faculty
            bathrooms—and should recognize that such facilities may be distant from
            classrooms and require extra time;
        •   Consider erecting stalls, barriers, and privacy curtains to maximize student privacy
            in bathrooms, locker rooms, and shared facilities;


                                                              HUMAN RIGHTS WATCH I SEPTEMBER 2016




                                                                                                    AR_293066
Case 4:24-cv-00461-O       Document 76        Filed 09/06/24      Page 75 of 290      PageID 3722



        •   Designate all-gender bathrooms in easily accessible locations throughout the
            school wherever feasible, particularly in instances where single-user bathrooms
            are currently gendered;


            planned renovations or any construction of new facilities.




                                                 4




                                                                                              AR_293067
Case 4:24-cv-00461-O                Document 76                Filed 09/06/24               Page 76 of 290                PageID 3723




                                                      Methodology

     Human Rights Watch conducted the research for this report between November 2015 and
     May 2016 in five US states: Alabama, Pennsylvania, South Dakota, Texas, and Utah.
     Human Rights Watch contacted potential interviewees through nongovernmental
     organizations, LGBT organizations in high schools and middle schools, and LGBT
     organizations in postsecondary institutions where recent graduates reflected on their high
     school experiences. Researchers spoke about accessibility issues in schools with 74
     transgender students or recent graduates, as well as with more than 5o teachers,
     administrators, parents, service providers, and advocates for transgender youth.,


     All interviews were conducted in English. No compensation was paid to interviewees.
     Whenever possible, interviews were conducted one-on-one in a private setting.
     Researchers also spoke with interviewees in pairs, trios, or small groups when students
     asked to meet together or when time and space constraints required meeting with
     members of student organizations simultaneously. Researchers obtained oral informed
     consent from interviewees, and notified interviewees why Human Rights Watch was
     conducting the research and how it would use their accounts, that they did not need to
     answer any questions they preferred not to answer, and that they could stop the interview
     at any time. When students were interviewed in groups, those who were present but did
     not actively participate and volunteer information were not recorded or counted in our final
     pool of interviewees.


     In this report, pseudonyms are used for interviewees who are students, teachers, or
     administrators in schools. Pseudonyms are not used for individuals and organizations who
     work in a public capacity on the issues discussed in this report.




     t Here, the umbrella term "transgender" is used to broadly encompass students who identify as transgender boys or

     transgender girls as well as those who identified as agender, genderfluid, non-binary, or other gender identities that differ
     from their sex assigned at birth.



                                                                                    HUMAN RIGHTS WATCH I SEPTEMBER 2016




                                                                                                                                     AR_293068
Case 4:24-cv-00461-O                Document 76                Filed 09/06/24               Page 77 of 290                PageID 3724




                                                        Background

     In 2016, legislatures in at least 18 states considered bills that would have prohibited
     transgender students from accessing bathrooms and locker rooms consistent with their
     gender identity.2 The majority of these bills were withdrawn, were defeated or stalled in
     committee, or otherwise failed to garner legislative approval, with the exceptions of bills in
     South Dakota and North Carolina. In South Dakota, legislators approved a bill restricting
     access for transgender youth in schools, but it was vetoed by Governor Dennis Daugaard
     and did not become law.3 In North Carolina, legislators convened for a special, daylong
     session on March 23, 2016, where they introduced, debated, and passed a sweeping law
     restricting access to facilities and repealing local ordinances that prohibited
     discrimination on the basis of sexual orientation and gender identity. The same evening,
     Governor Pat McCrory signed the law, which took immediate effect.4


     The passage of North Carolina's law put the state's regulation of shared facilities in conflict
     with the positions of the federal Department of Justice and Department of Education. In
     enforcement actions, both agencies had taken the position that Title IX of the Education
     Amendments of 1972, which prohibits sex discrimination in educational programs or
     activities that receive federal funding, encompasses discrimination on the basis of gender
     identity. On May 9, 2016, the Department of Justice sued North Carolina, arguing the
     state's law constituted discrimination on the basis of sex under Title IX, Title VII of the Civil
     Rights Act of 1964, and provisions of the Violence Against Women Reauthorization Act of
     2013.5 The same day, officials in North Carolina sued the Department of Justice in a federal




     2 Bills restricting access to shared facilities were introduced in Illinois, Indiana, Kansas, Kentucky, Massachusetts, Michigan,

     Minnesota, Mississippi, Missouri, New York, North Carolina, Oklahoma, South Carolina, South Dakota, Tennessee, Virginia,
     Washington, and Wisconsin. See National Center for Transgender Equality, "Action Center,"
     http://www.transequality.org/action-center (accessed August 22, 2016).
     3 Office of Gov. David Daugaard, "Gov. Daugaard Vetoes HB 1008," March 1, 2016,
     http://news.sd.gov/newsitem.aspx?id=19926 (accessed August 15, 2016).
     4 Michael Gordon, Mark S. Price, and Katie Peralta, "Understanding HB2: North Carolina's Law Solidifies State's Role in
     Defining Discrimination," Charlotte Observer, March 26, 2016, http://www.charlotteobserver.com/news/politics-
     government/article684o1147.html (accessed August 27, 2016); General Assembly of North Carolina, "House Bill 2,"
     http://ncleg.net/Sessions/2o15E2/Bills/House/PDF/H2v4.pdf (accessed August 27, 2016).
     5 Complaint in United States v. North Carolina, https://www.iustice.gov/opa/file /849946/download (accessed August 27,
     2016).



     SHUT OUT                                                       6




                                                                                                                                        AR_293069
Case 4:24-cv-00461-O                Document 76               Filed 09/06/24              Page 78 of 290               PageID 3725



     court in North Carolina, challenging its interpretation of sex discrimination under the
     federal statutes.'


     On May 13, 2016, the Department of Justice and Department of Education jointly issued
     guidance for all schools that receive federal assistance, affirming that:


                 The Departments interpret Title IX to require that when a student or the
                 student's parent or guardian, as appropriate, notifies the school
                 administration that the student will assert a gender identity that differs
                 from previous representations or records, the school will begin treating the
                 student consistent with the student's gender identity.?


     The guidance addressed bathrooms and locker rooms, and specified that, "[w]hen a
     school provides sex-segregated activities and facilities, transgender students must be
     allowed to participate in such activities and access such facilities consistent with their
     gender identity."8


     In the days that followed, officials in at least six states instructed schools and school
     officials to disregard the federal guidance.9 On May 25, 2016, a group composed of nine
     state governments and several other state and local authorities sued the US Department of
     Justice, Department of Education, Department of Labor, and Equal Employment Opportunity
     Commission in a federal court in Texas, challenging the agencies' interpretation of Title IXto


     6 Complaint in McQaryv. United States, http://www.newsobserver.com/rews/politics-government/state-
     politics/article76561707.ece!BINARY/Complaint%2oMcCrory%2oV%2oUSA (accessed August 27, 2oi6); Complaint in Berger
     v. United States, http://media2.newsobserver.com/content/media/2016/5/9/1=Complaint.pdf (accessed August 27, 2016).
     7 US Department of Justice & US Department of Education, "Dear Colleague Letter on Transgender Students," May 13, 2oi6,
     http://www2.ed.gov/about/offices/list/ocr/letters/colleague-201605-title-ix-transgender.pdf (accessed September 1, 2016).
     8
         Ibid.
     9 Officials in North Carolina, Texas, Mississippi, Kentucky, Utah, and Arkansas all indicated that schools were not bound by
     or should reject the guidance shortly after it was issued. "States Push Back on Transgender Bathroom Use," CBS News, May
     13, 2016, http://www.cbsnews.com/news/states-push-back-on-transgender-bathroom-use (accessed August 27, 2016);
     Daphne Chen, "Herbert Slams Obama `Bathroom' Directive as Federal Overreach," DeseretNews, May 13, 2016,
     http://www.deseretnews.com/article/86565426o/Herbert-slams-Obama-bathroom-directive-as-federal-
     overreach.html?pg=all (accessed August 27, 2016); Emanuella Grinberg, "Feds Issue Guidance on Transgender Access to
     School Bathrooms," CNN, May 14, 2016, http://www.cnn.com/2ol6/o5/12/politics/transgender-bathrooms-obama-
     administration (accessed August 27, 2016); "Bevin: Schools Should Disregard `Unlawful' Transgender Bathroom Guidance
     from White House," WDRBNews, May 31, 2016, http://www.wdrb.com/story/32105292/bevin-schools-should-d isregard-
     unlawful-transgender-bathroom-guidance-from-white-house (accessed August 27, 2016); Greg Gordon and Colin Campbell,
     "McCrory Says Obama Policy Upends Bathroom Etiquette," McClatchy, May 13, 2016,
     http://www.mcclatchydc.com/news/politics-government/article77539102.html (accessed August 27, 2016).



                                                                                  HUMAN RIGHTS WATCH I SEPTEMBER 2016




                                                                                                                                    AR_293070
Case 4:24-cv-00461-O                Document 76               Filed 09/06/24              Page 79 of 290               PageID 3726



     prohibit discrimination on the basis of gender identity.10 Days later, Kentucky and
     Mississippi joined the suit. On July 8, 2016, io additional states brought a similar suit
     regarding Title IX in a federal court in Nebraska.11 On August 21, 2016, a federal judge issued
     a preliminary injunction blocking federal agencies from enforcing their interpretation of Title
     IX nationwide while the case is under consideration.12 On August 26, 2016, another federal
     judge gave credence to the federal guidance, and issued a preliminary injunction blocking
     North Carolina's law from being applied to three transgender plaintiffs at the University of
     North Carolina.13 As these cases about the scope of Title IX proceed through the judicial
     system, transgender students who need access to bathrooms, locker rooms, and other
     shared facilities are returning to school across the United States.




     10 The states are Alabama, Georgia, Louisiana, Oklahoma, Tennessee, Texas, Utah, West Virginia, and Wisconsin. Arizona's
     Department of Education, Governor Paul LePage of Maine, and school districts in Arizona and Texas were also plaintiffs in the
     suit.
     11 The states are Arkansas, Kansas, Michigan, Montana, Nebraska, North Dakota, Ohio, South Carolina, South Dakota, and
     Wyoming.
     12 Texas v. United States, No.7:16-cv-00054-0 (N.D.Tex. Aug. 21, 2016).

     ~3 Mark Berman, "Federal Judge Says UNC Can't Enforce North Carolina's Transgender Bathroom Restrictions," Washington
     Post, August 26, 2016, https://www.washingtonpost.com/news/post-nation/wp/2016/o8/26/federal-judge-says-unc-cant-
     enforce-restroom-restrictions-in-north-carolinas-bathroom-bill/?utm_term=.bb3b9ecebco3 (accessed Septembers, 2oi6).



     SHUT OUT                                                     8




                                                                                                                                     AR_293071
Case 4:24-cv-00461-O               Document 76              Filed 09/06/24             Page 80 of 290              PageID 3727




                                              I. Students at Risk

     Safety
     One of the most pressing concerns for transgender students is safety in bathrooms and
     locker rooms. Although proponents of bathroom and locker room restrictions cite student
     safety as a reason to require students to use facilities according to their sex assigned at
     birth, the reality is that transgender individuals face high rates of verbal harassment and
     even physical assault in bathrooms.~4 Because bathrooms and locker rooms are not
     monitored by teachers, students are often at heightened risk for bullying and harassment
     in these spaces. When schools require transgender girls to use the men's room or force
     transgender boys to use the women's room, they put them at risk of physical, verbal, or
     sexual assault from other students or adults.


     Transgender students interviewed by Human Rights Watch said that being made to use
     facilities that did not correspond to their gender identity made them feel unsafe at school
     or exposed them to verbal and physical assault. Willow K., a 14-year-old transgender girl in
     Texas, recalled of her required eighth grade gym class: "I had to strip down into my girly
     underwear in front of a bunch of guys who would call me these rude names, and I couldn't
     go to the bathroom [or girls' locker room] to change ... and it made me so uncomfortable."15
     The previous year, Willow had been assaulted by a group of football players in the locker
     room, making the requirement that she use the male locker room particularly difficult.
     Alexis J., a self-described genderfluid 19-year-old in Texas, recalled a gym class where "I
     had to strip down to girly underwear in front of a bunch of dudes. And they're like, `faggot.'
     And this was freshman year, so they're just vicious."16


     Transgender students expressed particular concern about physical assault and
     harassment in boys' bathrooms and locker rooms, but described harassment in girls'
     bathrooms and locker rooms as well. Kevin I., a 17-year-old transgender boy in Utah, noted



     14 Jeff Brady, "When a Transgender Person Uses a Public Bathroom, Who is at Risk?" NPR Weekend Edition, May 15, 2016,
     http://www.npr.org/2016/05/15/477954537/when-a-transgender-person-uses-a-public-bathroom-who-is-at-risl< (accessed
     August 27, 2016).
     ~5 Human Rights Watch interview with Willow K. (pseudonym), Texas, November 10, 2015.
     16 Human Rights Watch interview with Alexis J. (pseudonym), Texas, November 10, 2015.




                                                                                HUMAN RIGHTS WATCH I SEPTEMBER 2016




                                                                                                                             AR_293072
Case 4:24-cv-00461-O                Document 76               Filed 09/06/24              Page 81 of 290           PageID 3728



     "It was hard for me to be in a female locker room. People would ask if I was a lesbian, or
     was going to have sex with anyone in the locker room, and it was just very
     uncomfortable."tl And while many of the transgender students we interviewed identified
     strongly as boys or girls and wanted to use the corresponding facilities, many others said
     they did not feel safe in either space and felt their only option was to forego bathrooms,
     gym classes, and gendered extracurricular activities with their peers altogether.


     Health
     Bathrooms, locker rooms, and other shared facilities are necessary to perform bodily
     functions or maintain physical hygiene when students are confined to the school
     environment for significant portions of the day. Restricting access to these facilities
     negatively affects the physical and mental health of transgender youth.


     As noted above, many transgender students told us that when they lacked a safe or
     accessible bathroom or locker room in school, their standard strategy was to avoid all
     school bathrooms and locker rooms. Sans N., a 15-year-old transgender boy in Utah,
     explained: "I just don't go to the bathroom at school. It's just so awkward. I just look at the
     signs and I'm like, I can't go in the ladies' because it makes it me uncomfortable, and I
     can't go in the boys' because I'm going to get yelled at."i8 Paisley E., a 15-year-old
     transgender boy in Texas, found that his school's limited all-gender options were often
     inaccessible or unavailable: "There's one gender neutral bathroom in the janitor's closet,
     and they finally put one in the nurse's office. And then there's one in the special needs
     classroom, and I didn't always feel comfortable walking in when they were doing the
     lessons. So for about one-and-a-half months I did not go to the bathroom at school."19


     Avoiding the bathroom for the duration of the school day can have negative repercussions
     for students' physical and mental health. Research indicates that avoiding bathroom use
     for extended periods of time is linked to dehydration, urinary tract infections, and kidney
     problems.'° Cassidy R., a self-described agender 18-year-old in Utah, recalled: "I know a



     17 Human
                Rights Watch telephone interview with Kevin I. (pseudonym), Utah, January 9, 2016.
     1R Human Rights Watch interview with Sans N. (pseudonym), Utah, December 7, 2015.

     19 Human Rights Watch interview with Paisley E. (pseudonym), Texas, November 15. 2015.
     2° Jody L. Herman, "Gendered Restrooms and Minority Stress: The Public Regulation of Gender and its Impact on Transgender

     Peoples' Lives," journal ofPublic Management and SocialPolicy, Vol. 19 (2013), p. 75-76.



     SHUT OUT                                                     10




                                                                                                                                 AR_293073
Case 4:24-cv-00461-O                Document 76               Filed 09/06/24              Page 82 of 290               PageID 3729



     lot of my friends just didn't go to the bathroom and suffered a lot of infections and health
     problems because of that."21 Daniel N., a 17-year-old transgender boy in Texas, described
     the planning it required to take advantage of the sole all-gender bathroom in his school in
     the face of administrative indifference: "I talked to people at the school and they said I
     had to use the bathroom in the clinic. It's three minutes to walkto the bathroom, and then
     I have to pee, and then I have to go back. The teacher is like, where were you, and why
     were you in the clinic bathroom, and it's awkward. I don't pee during school, which is a
     very bad habit. Because I don't drink [water] at school, and I'm dehydrated."22


     In addition to physical health issues, students underscored the mental health
     repercussions of being denied access to the spaces their peers used because they were
     transgender, including anxiety and feelings of gender dysphoria.23 Acanthus R., a 17-year-
     old transgender student in Utah, pointed out: "If you're assigned female at birth now, you
     go to the women's room, and it's just a reminder about what you hate most about yourself.
     And if you go the men's bathroom, it's, 'Am I going to get jumped,' 'Am I going to get
     suspended,' 'Is someone going to call me a tranny?"~4


     Parents of transgender youth observed the repercussions of that dilemma, particularly in
     elementary schoolers and middle schoolers. Tanya H. noted that Elijah, the transgender boy
     whose case is described in the summary of this report, vocalized thoughts of suicide when
     he was treated as a girl at his former school but was happier and healthier when recognized
     as a boy by teachers and peers at his new school. Ingrid A., the parent of a transgender girl in
     Pennsylvania, recalled a similar shift when her daughter transitioned at school: "She was a
     darker child, prior. When she would be angry, her tantrums would go to a dark place: 'I want
     to die,' 'God made a mistake,' 'I'm not supposed to be a boy.'... But that year of transition,
     she just became comfortable with herself and you just saw this kid blossom."25




     21 Human Rights Watch interview with Cassidy R. (pseudonym), Utah, December 2, 2015.
     22 Human Rights Watch interviewwith Daniel N. (pseudonym), Texas, November 10, 2015.
     ~3 The American Psychiatric Association has explained that gender dysphoria occurs when there is "a marked difference
     between the individual's expressed/experienced gender and the gender others would assign him or her," which "causes
     clinically significant distress or impairment in social, occupational, or other important areas of functioning." American
     Psychiatric Association, "Gender Dysphoria," 2013,
     http://www.dsm5.org/documents/gender%2odysphoria%2ofact%20sheet.pdf.
     ~4 Human Rights Watch interview with Acanthus R. (pseudonym), Utah, December 7, 2015.
     ~5 Human Rights Watch interview with Ingrid A. (pseudonym), Pennsylvania, May 5, 2016.



                                                                11                 HUMAN RIGHTS WATCH I SEPTEMBER 2016




                                                                                                                                 AR_293074
Case 4:24-cv-00461-O                Document 76                Filed 09/06/24              Page 83 of 290                PageID 3730



     The health problems associated with restricting transgender students' bathroom use are
     not limited to high schoolers, and may occur before parents and teachers are aware that
     the student is questioning their gender or identifying as transgender and struggling to find
     safe and accessible options. Jillian Hill, the Director of Operations at the Inclusion Center
     for Community and Justice in Utah, recounted meeting an elementary school student who
     avoided the bathroom for the duration of the school day.z6 Susanna K., the mother of a
     transgender boy in Utah, recalled that when her son came out as transgender: "[H]e told us
     about junior high and not going to the bathroom all day. He was getting bladder infections
     and we didn't know why. [He] said if he went into the boys' bathroom, he would have
     gotten beaten up, and if he went into the girls' bathroom, he would have been teased, and
     maybe been beaten up."27 Susanna's son eventually switched to a local charter school,
     where he was able to use bathrooms consistent with his gender identity. As she recalled,
     that decision "ended up being the best thing for him. He made a lot of friends and was
     able to be authentic there."28


     Privacy
     Proponents of restrictions on bathroom and locker room access often cite privacy as a
     justification for excluding transgender youth. In this telling, the presence of transgender
     students in bathrooms that correspond to their gender identity compromises the privacy of
     cisgender students using the same facilities, and exposes them to feelings of discomfort
     or insecurity. However, as described above, these concerns are far outweighed by the
     harmful and potentially dangerous impact on transgender students of policies that deny
     them the use of facilities that correspond to their gender identity. Such discrimination can
     also undermine transgender students' right to privacy, by effectively outing them as
     transgender to peers and school staff.


     Some schools have allowed transgender students to use alternative facilities, including
     faculty bathrooms normally off-limits to students, as an alternative to giving them free
     access to facilities that correspond with their gender identity. This is not an adequate
     compromise. Several transgender students told us that requesting or using gender neutral


     i6 Human Rights Watch interview with Jillian Hill, Director of Operations at the Inclusion Center for Community and Justice,
     Salt Lake City, Utah, November 25, 2015.
     27
          Human Rights Watch interview with Susanna K. (pseudonym), Utah, December 8, 2015.
     28
          Human Rights Watch interview with Susanna K. (pseudonym), Utah, December 8, 2015.



     SHUT OUT                                                      12




                                                                                                                                    AR_293075
Case 4:24-cv-00461-O                 Document 76              Filed 09/06/24             Page 84 of 290      PageID 3731



     options served to convey theirtransgender status to faculty, staff, and peers as well. Julian
     L., a 15-year-old transgender boy in South Dakota, noted: "I talked to my counselors and
     they told me to use the staff bathroom. I once saw three students there and they were like,
     'Why are you here? You're a student,' and I told them and they understood. And it would be
     nice to not have to explain it to them."29 Silas G., a 15-year-old transgender boy in South
     Dakota, had a similar experience: "My teacher would grill me, 'Why are you going to the
     nurse?' 'Why are you going to the nurse?' 'Why are you going to the nurse?' And I got yelled
     at for using the faculty bathroom."3O Teagan W., a 16-year-old transgender boy in Texas,
     noted that, when using the faculty bathroom, "I get a lot of weird looks from teachers. I'll
     wait until teachers go in so they're not like, 'What are you doing?"31


     On the other hand, some transgender students prefer the use of all-gender facilities
     because they do not feel comfortable in bathrooms that correspond to either gender. In
     these situations, schools should take steps to minimize the degree of unwanted scrutiny
     this generates, including by instructing teachers to refrain from interrogating students' use
     of alternative facilities.


     Many transgender students' fear of being "outed" extends beyond the school environment
     to their own families. Many students who are transgender or are exploring their gender
     identity are not out to their families, fearing hostility or negative repercussions at home. In
     some instances, students who have sought accommodations from their schools have been
     outed to family, classmates, and others without their consent. Henry C., a 16-year-old
     transgender boy in Pennsylvania, warned: "You can get a staff key for the faculty
     bathroom, but the last kid I know who asked to do that was outed to their parents by the
     office staff."32 For students who feared strong disapprobation, violence, or being kicked
     out of their house if their transgender status was disclosed to their parents, the threat of
     disclosure can discourage them from talking with school officials about bathroom access,
     including discussions of all-gender alternatives.


     Privacy is indeed lacking in many school bathroom and locker room facilities. Some
     schools have removed stall doors from bathrooms in an effort to deter drug use and other

     29 Human Rights Watch interview with Julian L. (pseudonym), South Dakota, February 14, 2016.
     30
          Human Rights Watch interview with Silas G. (pseudonym), South Dakota, February 12, 2016.
     31 Human Rights Watch interview with Teagan W. (pseudonym), Texas, November 13, 2015.
     32 Human Rights Watch interview with Henry C. (pseudonym), Pennsylvania, April 15, 2016.




                                                                13                HUMAN RIGHTS WATCH I SEPTEMBER 2016




                                                                                                                        AR_293076
Case 4:24-cv-00461-O               Document 76              Filed 09/06/24              Page 85 of 290   PageID 3732



     prohibited behavior. And many if not most school locker rooms require students to change
     clothes and/or shower in a shared, communal space without curtains or other barriers.
     Rather than bar transgender students from accessing bathrooms and locker rooms that
     correspond to their gender identities out of concern for student privacy, school
     administrators should consider steps to increase the level of privacy enjoyed by all
     students when using these facilities. Many transgender students told Human Rights Watch
     that they wished their schools would adopt such measures.


     Some schools have successfully taken these steps. As Harley A., an administrator who has
     overseen the implementation of such a policy in Pennsylvania, noted: "One of the first
     things I did when I started this was to go to facilities and say, go around to every bathroom
     and locker room and make sure there are doors on the stalls."33 With the inclusive policy in
     place, they added, "there's a couple kids changing for gym in the locker room of their
     gender identity, and that's worked fine."34


     Education
     Restrictions on bathroom usage compromise transgender students' education and their
     ability to participate fully in the school community on an equal footing with others. Like all
     students, transgender and gender non-conforming students are in school to learn. When
     students are preoccupied with the unavailability of safe places to relieve themselves, forego
     participation in gym classes, or suffer other negative impacts resulting from discriminatory
     restrictions, they are less able to learn and participate fully in the school community.


     Some students noted they had compromised their participation in gym to avoid having to
     change with their peers. Ursula P., a 16-year-old transgender girl in Alabama, recalled:


                They refused to put me in girls' PE last year, and I was scared to go in the
                locker room and [change clothes] and wouldn't participate, and so I failed. I
                requested to do girls' PE and it's been over a month; I don't think they're
                making the decision. And I need a whole year of PE to graduate. I'm worried
                about physical bullying and verbal bullying in the locker room, and



     33 Human Rights Watch interview with Harley A. (pseudonym), Pennsylvania, April 13, 2016.

     34 Ibid.




     SHUT OUT                                                   14




                                                                                                                 AR_293077
Case 4:24-cv-00461-O               Document 76              Filed 09/06/24             Page 86 of 290      PageID 3733



               harassment; I've experienced harassment every time I went in there, and
               finally I just couldn't do it anymore.35


     Silas G., a 15-year-old transgender boy in South Dakota, described a similar problem:


              I have to use the female locker room or go in the health teacher's room,
               which is in the female locker room. When I had health, I was able to change
               in [the health teacher's] office, but it had a huge window so I'd have to
               change in the tiny bathroom or in an actual closet. I just stopped changing
               and I'd get points marked off.;6


     In some instances, students who had been offered the use of all-gender bathrooms noted
     that these were inconveniently located. Because of the way that schools are designed, alt-
     gender options near the office, nurse, auditorium, or theater were often distant from the
     classroom wing of the building, and far less prevalent than gendered options. Zack T., a
     16-year-old transgender boy in Texas, noted: "I've been trying to get gender-neutral
     bathrooms this year. I have a problem holding it or having to go to the counselor's
     restroom or the office's bathroom. It takes probably three minutes to get there, three
     minutes to use the restroom, three minutes to get back, like ten minutes. And that's out of
     an hour of classroom time, and is cutting into my learning time. But the nearest guy's room
     is just down the hallway."37 Brook E., an 18-year-old agender student in Utah, recalled:
     "[T]here are technically teacher bathrooms that are single stall and gender neutral, but
     they're alt locked. And I was like, can I just have a key for those bathrooms? And that didn't
     work, they said no, just walk down to the nurse's office.... I just want to go to the bathroom,
     not hike across the school."38


     The unavailability of safe and accessible bathrooms and locker rooms also compromises
     participation in the school community more generally. Lucas K., an 18-year-old transgender
     boy in South Dakota, requested access to the single-stall staff bathroom as an alt-gender
     option at the school. When the principal refused the request, he devised an alternative to


     35 Human Rights Watch interview with Ursula P. (pseudonym), Alabama, January 28, 2016.
     36 Human Rights Watch interview with Silas G. (pseudonym), South Dakota, February 12, 2016.
     37 Human Rights Watch interview with Zack T. (pseudonym), Texas, November 8, 2015.
     38 Human Rights Watch interview with Brook E. (pseudonym), Utah, November 27, 2015,

                                                              15                HUMAN RIGHTS WATCH I SEPTEMBER 2016




                                                                                                                      AR_293078
Case 4:24-cv-00461-O              Document 76              Filed 09/06/24             Page 87 of 290   PageID 3734



     avoid having to use the women's bathroom: "I go home for lunch and use the bathroom
     there. And I don't go for the rest of the day."39 Other students described similar strategies
     of leaving the campus entirely to find a bathroom at a gas station, fast food restaurant, or
     other establishment that they could use safely and comfortably, and, as a result, missing
     out on opportunities to eat lunch or socialize with peers. Students also explained that they
     did not participate in extracurricular activities—primarily sports, but also activities like
     choir—because they expected they would have to participate as their sex assigned at birth
     in the activity and any associated use of locker rooms or bathrooms for out of town trips.




     39 Human Rights Watch interview with Lucas K. (pseudonym), South Dakota, February 13, 2016.




     SHUT OUT                                                  16




                                                                                                               AR_293079
Case 4:24-cv-00461-O              Document 76              Filed 09/06/24             Page 88 of 290            PageID 3735




                                                   II. Discipline

     Strictly regulating transgender students' access to shared facilities also puts those
     students at risk of disciplinary action. When students feel there was no bathroom they
     could safely, privately, and conveniently use, they often break the rules. Willow K., a 14-
     year-old transgender girl in Texas, recalled: "I've tried going to the girl's bathroom; there's
     a girl who doesn't like me and she told one of the teachers and I got in trouble and got
     written up. I talked to the principal and said, 'Hey, I'm this way, and it makes me really
     uncomfortable,' and he said, 'No, you're a boy."4o


     A number of students shared stories of being reprimanded by teachers or administrators,
     despite the fact that no incidents occurred as a result of their use of the bathroom that
     matched their gender identity. In one incident, a student in Alabama was dragged from the
     bathroom by the school principal, and, in many others, students were told they had to stop
     using the bathroom immediately."




     4° Human Rights Watch interview with Willow K. (pseudonym), Texas, November io. 2015.

     41 Human Rights Watch interview with Lucia Hermo, Outreach Paralegal, ACLU of Alabama, Montgomery, Alabama, January

     26, 2016; Human Rights Watch interview with Lacey Kennedy, Youth Advocacy Organizer at AIDS Alabama, Birmingham,
     Alabama, January 29, 2016.



                                                             17                HUMAN RIGHTS WATCH I SEPTEMBER 2016




                                                                                                                           AR_293080
Case 4:24-cv-00461-O               Document 76              Filed 09/06/24              Page 89 of 290   PageID 3736




                                          III. All-Gender Options

     Some students told Human Rights Watch that all-gender facilities, introduced as an option
     available to all students, would be their preferred solution, and lessen the stress of gender
     policing by peers and teachers. Schools should consider doing so where possible.


     Cassidy R., an 18-year-old agender student in Utah, recalled:


               I would just not go to the bathroom at school. It was just an overall sense of
               discomfort, and I personally just don't feel that using the women's or the
               men's bathroom is accurate for who I am, and don't feel comfortable using
               either. If you go to the men's bathroom, you risk being assaulted, and if you
               go to the women's bathroom, you get, 'Why are you here?'42


     Logan J., an 18-year-old student in Utah, similarly noted: "I identify as non-binary and it's
     difficult to even use a restroom in public. I'm stuck here for eight hours and I don't feel
     comfortable going to the bathroom because I have to make a choice there, and I'm not
     comfortable in either and there's no gender neutral option."43


     Cassidy's and Logan's dilemmas were not uncommon for students who were agender,
     genderfluid, or non-binary, and even some transgender boys and girls found gendered
     bathrooms intimidating. As Dominic I., a 13-year-old transgender boy in Pennsylvania,
     noted: "I've been yelled at in both the men's bathrooms and the women's bathrooms in
     my school."44


     In interviews, students lauded a range of approaches that some schools have adopted to
     expand all-gender options. Some schools simply redesignated gendered, single-stall
     bathrooms as all-gender bathrooms, and opened them for use by anyone who needs them.
     As other schools were built or remodeled, they added more single-stall bathrooms, often in
     the form of family bathrooms or accessible bathrooms that serve the needs of families and


     42 Human Rights Watch interview with Cassidy R. (pseudonym), Utah, December 2, 2015.
     43 Human Rights Watch telephone interview with Logan J. (pseudonym), Utah, January 9, 2016.
     44 Human Rights Watch interview with Dominic J. (pseudonym), Pennsylvania, April 15, 2016.




     SHUT OUT                                                   18




                                                                                                                 AR_293081
Case 4:24-cv-00461-O        Document 76         Filed 09/06/24        Page 90 of 290        PageID 3737



     people with disabilities as well as transgender individuals. A third option--increasingly
     common in colleges and in LGBT spaces—is to designate certain multi-stall bathrooms as
     all-gender, often by outfitting them to maximize privacy for all patrons with dividers or
     stalls. Although students should not be forced to use all-gender options and should be
     able to access facilities according to their gender identity, the provision of additional
     options provides an alternative to anyone who is uncomfortable in gendered facilities.




                                                                                                    AR_293082
Case 4:24-cv-00461-O                Document 76               Filed 09/06/24               Page 91 of 290               PageID 3738




                                       IV. Human Rights Analysis

     As the 2016/2017 school year begins, legal challenges to the federal guidance interpreting
     Title IX are still working their way through the courts, leaving the obligations of state
     governments and school districts under US federal law unsettled. However, the steps
     needed to protect and uphold the human rights obligations of transgender students are
     clear, regardless of the precise scope of federal regulatory power in this space.


     State governments are obliged under international human rights law to refrain from
     discriminating against transgender students. North Carolina's law is an act of affirmative
     and deliberate discrimination that is in violation of international human rights law; other
     states should not emulate it. They should instead take steps to encourage school
     administrations to facilitate transgender students' access to facilities that correspond with
     their gender identities and, where appropriate, to all-gender facilities they can use safely
     and comfortably. Such steps are necessary to ensure transgender students' ability to
     access education on an equal footing with others in an environment that is safe and free of
     discrimination and fear, and also to protect their health. For its part, the US federal
     government should continue to take steps to both mandate and encourage state
     governments to undertake these actions, to the extent possible given the limits of federal
     legislative and regulatory authority.


     The International Covenant on Civil and Political Rights (ICCPR), which the United States
     has ratified, obliges all levels of the US government45 to respect and uphold the rights of
     transgender people to be free from discrimination, to recognition as a person before the
     law, and to privacy, as well as the right of children to special measures of protection. 46 The
     Human Rights Committee, the treaty body that monitors and provides guidance to


     45 The provisions of the ICCPR "extend to all parts of federal States without any limitations or exceptions." ICCPR, art. 50.
     46 ICCPR arts. 16,17, 24, 26. The Human Rights Committee, the expert body that guides states in their implementation of the
     ICCPR, has affirmed that article 24 requires states to adopt "special measures to protect children." Human Rights Committee,
     "General Comment No. 17: Rights of the Child," April 7,1989, http://www.refworid.org/docid/45139b464.htm1, para 1-2. The
     United States has also signed the Convention on the Rights of the Child (CRC). Although it has not ratified the treaty, as a
     signatory it is bound to avoid actions that contravene the purpose of the treaty. The Committee on the Rights of the Child, the
     UN treaty body that interprets and applies the Convention or. the Rights of the Child, has concluded that the treaty's
     prohibited grounds for discrimination "also include sexual orientation, gender identity, and health status." Committee on
     the Rights of the Child, "General Comment No. 15 (2013) on the Right of the Child to the Enjoyment of the Highest Attainable
     Standard of Health (Art. 24)," U.N. Doc. CRC/C/GC/15, April 17, 2013, para. 8.



     SHUT OUT                                                      20




                                                                                                                                       AR_293083
Case 4:24-cv-00461-O               Document 76               Filed 09/06/24              Page 92 of 290               PageID 3739



     governments on implementation of the ICCPR, has expressed concern about discrimination
     on the basis of gender identity and lauded states that have taken steps to recognize the
     gender identity of transgender people.47


     The right to education under international law is elaborated by the Universal Declaration
     on Human Rights, the Convention on the Rights of the Child (CRC), and the International
     Covenant on Economic, Social and Cultural Rights (ICESCR). The United States has signed,
     but not ratified, both the CRC and the ICESCR, meaning that it is not bound by either treaty
     but is obliged to act consistently with their object and purpose. The Committee on the
     Rights of the Child, which guides states in their implementation of the CRC and is an
     authoritative voice on the rights of children, has rightly explained that the process of
     fulfilling the right to education must take account of "the environment within which
     education takes place," and that governments should ensure schools are safe for all
     students.48 As this report has explained, the failure of authorities at all levels to enact
     reasonable accommodations for transgender students creates an environment that
     negatively impacts their ability to participate fully in the experience of schooling and
     education, places their health at risk, and places them at heightened risk of violence,
     harassment, and bullying.


     In districts across the US, many schools have recognized that they have or will have
     transgender students in their care, and have taken proactive steps to ensure their rights
     are respected.49 At least eight of the schools or school districts visited by Human Rights
     Watch have developed policies and proposals to ensure that transgender students are
     able to access facilities according to their gender identity, and officials or parents of
     transgender youth told us that those policies have been implemented without incident.5°

     47 See Concluding Observations of the Human Rights Committee on Ireland, U.N. Doc. CCPR/C/IRL/CO/3,July 30, 2008, para.
     8; Concluding Observations of the Human Rights Committee on the United Kingdom of Great Britain and Northern Ireland,
     U.N. Doc. CCPR/C/GBR/CO/6, July 30, 2008, para. 5. The Committee has also indicated that transgender individuals who
     have undergone gender reassignment procedures have a right under the ICCPR to be issued identity documents that
     correspond with their gender identity. Concluding Observations on Ireland, para. 8.
     48 UN Committee on the Rights of the Child, "General Comment No. 1, The Aims of Education (Article 29)," U.N. Doc.
     CRC/GC/2oo1/1, April17, 2001, para. 8. The United States has signed, but not ratified, the CRC.
     49 Nearly every school visited by Human Rights Watch had at least one student who identified as transgender, agender,
     genderfluid, or non-binary. Data on the number of transgender youth are scarce, but a number of teachers and administrators
     interviewed by Human Rights Watch suggested that policy concerns related to gender identity in schools are arising with
     greater frequency as awareness increases and merit proactive attention.
     5° Human Rights Watch interview with Tanya H. (pseudonym), Texas, November 14, 2015; Human Rights Watch interview with
     Susanna K. (pseudonym), Utah, December 8, 2015; Human Rights Watch interview with Pam A. and Chuck A. (pseudonyms),
     Alabama, January 21, 2016; Human Rights Watch interview with Kent D. (pseudonym), Alabama, January 22, 2016; Human



                                                               21                 HUMAN RIGHTS WATCH I SEPTEMBER 2016




                                                                                                                                   AR_293084
Case 4:24-cv-00461-O               Document 76              Filed 09/06/24              Page 93 of 290              PageID 3740



     Schools around the United States should take similar steps to ensure that all students are
     able to use facilities without discrimination and are equally able to participate and learn.




     Rights Watch interview with FlarleyA. (pseudonym), Pennsylvania, April 13, 2016; Human Rights Watch interview with
     Vanessa M. (pseudonym), Pennsylvania, May 3, 2016; Human Rights Watch interview with Ingrid A. (pseudonym),
     Pennsylvania, May 5, 2016; Human Rights Watch interview with Lillian D. (pseudonym), Pennsylvania, May 6, 2016.



     SHUT OUT                                                    22




                                                                                                                            AR_293085
Case 4:24-cv-00461-O         Document 76          Filed 09/06/24       Page 94 of 290        PageID 3741




                                      Acknowledgments

     This report was written and primarily researched by Ryan Thoreson, the Yale Law School
     Robert L. Bernstein International Human Rights Fellow in the LGBT Rights Program at
     Human Rights Watch. Additional interviews were conducted by Michael Bochenek, senior
     counsel in the Children's Rights Division.


     The report was reviewed by Boris Dittrich, advocacy director of the LGBT Rights Program;
     Michael Bochenek, senior counsel in the Children's Rights Division; Megan McLemore,
     senior researcher in the Health and Human Rights Division; Antonio Ginatta, US
     advocacy director; Chris Albin-Lackey, senior legal advisor; and Joseph Saunders, deputy
     program director.


     Human Rights Watch would like to thank the experts and organizations that assisted us in
     reaching out to potential interviewees, especially Youth First in Dallas, TX; LGBTQ Saves in
     Fort Worth, TX; Hatch Youth in Houston, TX; Out Youth in Austin, TX; the Utah Pride Center
     in Salt Lake City, UT; Equality Utah in Salt Lake City, UT; the ACLU of South Dakota in Sioux
     Falls, SD; the Center for Equality in Sioux Falls, SD; the Black Hills Center for Equality in
     Rapid City, SD; the Magic City Acceptance Project in Birmingham, AL; the Alabama Alliance
     for Healthy Youth in Birmingham, AL; the Alabama Safe Schools Coalition in Birmingham,
     AL; Montgomery Pride United in Montgomery, AL; Free2Be in Huntsville, AL; the ACLU of
     Pennsylvania in Philadelphia, PA; the Mazzoni Center in Philadelphia, PA; the LGBT Center
     of Central Pennsylvania in Harrisburg, PA; the Bradbury-Sullivan LGBT Community Center in
     Allentown, PA; and the NEPA Rainbow Alliance in Pittston, PA.




                                                   23             HUMAN RIGHTS WATCH I SEPTEMBER 2016




                                                                                                        AR_293086
Case 4:24-cv-00461-O                 Document 76   Filed 09/06/24       Page 95 of 290   PageID 3742




                                                      VAM11:1
                   j
                             o
                                 t
                                     i
                                                                    :
                       x:a
                                                                                                 AR_293087
Case 4:24-cv-00461-O             Document 76            Filed 09/06/24           Page 96 of 290           PageID 3743



     Gendered Restrooms and Minority
      Stress: The Public Regulation of
    Gender and its Impact on Transgender
               People's Lives

                                                                                          Jody L. Herman
                                                                                     The Williams Institute
                                                                                      UCLA School of Law

    The designers of our built environment have created public facilities that are segregated by
    gender, such as public restrooms, locker rooms, jails, and shelters. Reliance upon gender
    segregation in our public spaces harms transgender and gender non-conforming people.
    This paper employs a minority stress framework to discuss findings from an original
    survey of transgender and gender non-conforming people in Washington, DC about their
    experiences in gendered public restrooms. Seventy percent of survey respondents reported
    being denied access, verbally harassed, or physically assaulted in public restrooms. These
    experiences impacted respondents' education, employment, health, and participation in
    public life. This paper concludes with a discussion of how public policy and public
    administration can begin to address these problems by pointing to innovative regulatory
    language and implementation efforts in Washington, DC and suggests other policies
    informed by the survey findings.


   T  he concept of two separate and opposing genders — men and women — is entrenched in
   our society and reflected in our built environment. Public spaces throughout the United
   States are constructed with gender-segregated facilities, which serve to determine who is and
   is not allowed to use a particular space. Gender segregation is commonly found in public
   restrooms, locker rooms, dressing rooms, homeless shelters, jails, and prisons and is
   intended to provide safety, order, modesty, and security in these facilities. However, the
   concept of gender that underlies the design of these facilities ignores people who do not fit
   into a binary gender scheme, particularly transgender and gender non-conforming people.
   Traditional beliefs about gender are being challenged now more than ever and we must
   address the inadequacies of our built environment to meet the needs of all people regardless
   of gender.'
             Restrooms in particular are an integral and necessary part of the built environment
   for our daily lives. All people share the real human need for safe restroom facilities when we
   go to work, go to school, and participate in public life. Since the need is universal, one


   1 For the purposes of this paper, "transgender" and "gender non-conforming" describe people whose gender identity or

   expression is different from those traditionally associated with their assigned sex at birth.
                                                         - 65 -


                                                                                                         A R_2 93089
Case 4:24-cv-00461-O        Document 76       Filed 09/06/24       Page 97 of 290            PageID 3744
   Herman                                                            Gendered Restrooms and Minority Stress

   would think that it would be a priority of our society to make sure restrooms are safe and
   available for all people. Yet, the way gendered public restrooms are designed and
   constructed harms transgender and gender non-conforming people, some of whom may not
   conform to reified expectations of how men and women will look and act.
             One way to conceptualize this harm is through a minority stress model. Minority
   stress develops by experiencing major stressors, such as when one is fired from a job, but
   can also develop through everyday experiences of disrespect and disparate treatment (Meyer
   2003). Research on minority stress has found that it negatively impacts the mental health
   and social well-being of lesbian, gay, and bisexual people (Meyer 1995; Meyer 2003;
   Kertzner et al. 2009). Furthermore, lesbian, gay, and bisexual people may suffer minority
   stress as the result of prejudice and discrimination based on their gender non-conformity in
   addition to their sexual orientation (Gordon and Meyer 2007). Though these studies did not
   include transgender-identified participants, the findings on minority stress related to gender
   non-conformity suggest that minority stress models are appropriate to measure the impacts
   of prejudice and stigma experienced by transgender and gender non-conforming people.
             This paper will utilize a minority stress framework to describe the experiences of
   transgender and gender non-conforming people when accessing and using gendered public
   restrooms. Data for this paper come from an original survey of transgender and gender non-
   conforming residents of Washington, DC, conducted in 2008 and follow-up interviews with
   selected survey participants. This survey collected data from 93 respondents on their
   experiences in gendered public restrooms in the DC metropolitan area, including
   experiences of denial of access, verbal harassment, and physical assault, and how those
   experiences impacted their education, employment, health, and participation in public life.
   Analysis of the survey data also will outline differences in these experiences based on race,
   income, and gender. Public restrooms fall under the purview of public policies that govern
   their design, construction, maintenance, and use. Public policy and public administration,
   therefore, can address problems that gender segregation creates. This paper will conclude by
   pointing to innovative public policy and public administration solutions that have created
   and implemented protections for transgender and gender non-conforming people and by
   taking a forward look at the role of gender segregation in urban planning and the built
   environment.

   Gender Segregation and Minority Stress
             Ilan Meyer (2003) outlined processes of minority stress as they relate to lesbian,
   gay, and bisexual (LGB) people. Meyer (2003) locates minority stressors on a range from
   distal to proximal. Distal minority stressors are those that are based on events external to the
   individual and unrelated to the individual's self-perception or identity. These could be acute
   events, such as experiencing an incident of violence or job loss due to being perceived as
   LGB, or chronic events, such as homelessness due to family rejection. Proximal minority
   stressors are those that are based in an individual's self-perception and identity. Meyer
   explains, "Minority identity is linked to a variety of stress processes; some LGB people, for
   example, may be vigilant in interactions with others (expectations of rejection), hide their
   identity for fear of harm (concealment), or internalize stigma (internalized homophobia)"
   (2003, 676).
             Meyer has modeled and tested the relationship between these processes of minority
   stress and mental health outcomes for gay and bisexual people, finding that minority stress is
   associated with negative outcomes in social well-being and mental health (Meyer 1995;
   Meyer 2003; Kertzner, Meyer, Frost, and Stirratt 2009). Though Gordon and Meyer (2007)
                                                - 66 -



                                                                                             A R_2 930 9 0
Case 4:24-cv-00461-O              Document 76    Filed 09/06/24   Page 98 of 290    PageID 3745
   Journal ofPublic Management & Social Policy                                      Spring 2013


   found that LGB people suffer from prejudice, discrimination, and violence due to gender
   non-conformity, very little research has applied minority stress models directly to the
   experiences and health outcomes of transgender individuals and none have focused on
   gender segregation as a cause of minority stress (see, for example, Effrig, Bieschke, and
   Locke 2011; Garofalo, Emerson, and Mustanski 2010; Vilain and Sanchez 2009; Kelleher
   2009). Without question, transgender and gender non-conforming individuals experience
   violence, stigmatization, and discrimination (see, for example, Grant et al. 2011; Stotzer
   2009, and Lombardi et al. 2001). In the largest survey of trans people to date, transgender
   and gender non-conforming people reported being fired due to anti-transgender bias (26%),
   being harassed (78%) and physically assaulted (35%) at school, suffering double the rate of
   unemployment, and attempting suicide at alarming rates (41%) (Grant et al. 2011).
   Transgender and gender non-conforming people across the United States certainly are
   suffering the negative impacts and consequences of distal and proximal minority stressors.
   Furthermore, as a matter of tradition and policy, we have built minority stressors for
   transgender and gender non-conforming people into our very environment due to our
   reliance on gender segregation in public facilities.
             The impact of gender segregation in transgender and gender non-conforming
   people's lives has received little attention or study in scholarly research and, as of this
   writing, no studies have been published in the fields of Public Policy and Public
   Administration on this topic. However, research in Sociology and by transgender
   organizations has provided descriptions of the experiences of transgender and gender non-
   conforming people in public restrooms. In Queering Bathrooms: Gender, Sexuality, and the
   Hygienic Imagination, sociologist Sheila Cavanagh presents findings from 100 interviews
   with lesbian, gay, bisexual, transgender, and intersex (LGBTI) people on their thoughts and
   experiences regarding public restrooms (2010). While Cavanagh's study is mainly a
   theoretical mapping of how public restrooms reinforce gender and sexuality norms and why
   LGBTI people are harmed in these spaces, she relates narratives from interview participants
   that describe instances of harassment, humiliation, arrest, and physical violence in public
   restrooms.
             Organizations that serve the trans community have also conducted research on
   transgender and gender non-conforming people's experiences in public restrooms. The
   Transgender Law Center (TLC), in cooperation with the National Center for Lesbian Rights
   (NCLR), found in a survey of transgender people in San Francisco that 63 percent of 75
   respondents to questions regarding experiences in public accommodations experienced
   denial of access and/or harassment at least once while using public restrooms (Minter and
   Daley 2003). In a separate, more qualitative survey of transgender people in San Francisco,
   Dylan Vade found that "out of 116 responses from those who did not identify as male or
   female, 48 people took the time to write out specific bathroom experiences, all negative.
   These experiences ranged from harassment to violence to getting fired" (Vade 2002, 2).
   Respondents reported being physically abused, verbally harassed, fired, arrested, and made
   ill from avoiding restrooms altogether. A 2007 study in Virginia found that public restroom
   facilities served as a barrier to health care for some respondents (Xavier, Honnold, and
   Bradford 2007). Out of the sample of 350 Virginians self-identified as transgender, 37
   respondents (11 percent) reported that a "lack of appropriate restroom facilities" had
   prevented them from seeing a doctor or getting health care (Xavier, Honnold, and Bradford
   2007, 17).


                                                  - 67 -



                                                                                   AR_293091
Case 4:24-cv-00461-O                 Document 76               Filed 09/06/24              Page 99 of 290               PageID 3746
   Herman                                                                                    Gendered Restrooms and Minority Stress

            Original analysis of the two data sets from the San Francisco surveys revealed that
   respondents experienced problems differently and at differing rates based on race and
   ethnicity, gender identity, and income. People of color reported problems using restrooms at
   a much higher rate than white respondents.' People who were transitioning from female-to-
   male reported problems at a much higher rate than people who were transitioning from
   male-to-female. Lower income groups reported more restroom problems than higher income
   groups, though this difference was not significant when tested. These differences suggest
   that discrimination based on race and ethnicity, class, and gender is intertwined with and
   may exacerbate experiences of prejudice in gender-segregated spaces. The survey
   conducted for this study improves on these prior surveys by focusing specifically on
   gendered restrooms, collecting more detailed quantitative data on a wider range of
   experiences, while also providing a more nuanced understanding of the impact of problems
   in gendered restrooms though qualitative data collection.

   Survey Method and Analysis
             Washington, DC served as the site for this survey, which was targeted to
   transgender and gender non-conforming people who work, live, and/or attend school in the
   District.3 As a "hard-to-reach" population, usual sampling techniques for randomization,
   such as random-digit dialing, were not feasible for this survey. This survey utilized a
   convenience sampling method designed to reach as many members of the target community
   as possible. The survey was open for four months beginning November 2008 and advertised
   and/or distributed directly through seven community organizations, one online community,
   and two local listserves, all of which serve the LGBT community in Washington, DC.
   Advertisements for the survey encouraged respondents to forward news of the survey on to
   others they think are part of the target respondent group. The survey was offered online, in
   print, and via one-on-one interview in order to be as accessible as possible for people
   without internet access or low literacy. An incentive to participate was included in the form
   of a lottery for one of four $50 cash prizes. Follow-up interviews were conducted with six
   survey participants: two young transgender men, one young and two older transgender
   women, and one male crossdresser.
             Analysis of the survey data was conducted using descriptive statistics, cross
   tabulations, and where appropriate, Pearson's chi-square and Fisher's exact tests.4 As noted
   above, prior research suggests that transgender and gender non-conforming people
   experience problems at different rates based on race, income, and gender, so analyses of
   those differences are presented. The survey contained open-ended questions that generated
   qualitative data, which, along with follow-up interview data, was coded and analyzed.
   Follow-up interviews conducted for this study offer more detailed qualitative data that



     Original analysis was conducted by the author. Pearson's chi-square tests were conducted in this prior research. Unless
   otherwise noted, the findings reported here were found to be significant (p < 0.05).
   3 Data collection activities were originally conducted for the author's doctoral dissertation in cooperation with the DC
   Trans Coalition and received final approval from the George Washington University Institutional Review Board under IRB
   #080708, and all approval memos and approved documents are on file with the GWU IRB and the author.
   4 Pearson's chi-square tests and Fisher's exact tests are only generalizable with random samples. With a non-random
   sample, not only is the test not generalizable, but the test's ability to find statistical significance may be limited. Yet the test
   can be used to crudely measure a statistical relationship between two variables within the sample and provide hypotheses
   for future research. Chi-square tests of independence were performed when the expected value of each cell was 5 or higher.
   The Fisher's exact test, a test designed for use with thin cells, was used when any cell had an expected value of 4 or below.
   Test statistics and p-values are reported and will indicate which test was used.
                                                                 - 68 -



                                                                                                                        AR_293092
Case 4:24-cv-00461-O              Document 76             Filed 09/06/24            Page 100 of 290             PageID 3747
    Journal ofPublic Management & Social Policy                                                                 Spring 2013

    allowed for better understanding of how people's experiences have impacted their lives by
    tracing and linking specific events to any subsequent impacts.

    Survey Sample Demographics
             The target population for the survey was transgender and gender non-conforming
    people who live, work, or have spent significant time in Washington, DC. Approximately 50
    percent (n=47) of survey respondents lived in Washington, DC. DC-resident respondents
    came from all four quadrants of the city, with the majority living in the northwest quadrant.
    Only 3 of the 93 respondents lived in zip codes outside the Washington, DC metropolitan
    area, which includes northern Virginia and the Maryland suburbs.
             Table 1 shows the racial/ethnic and age composition of the full survey sample and
    how it compares to the District of Columbia. Though nearly half of the survey respondents
    reside outside of Washington, DC, in Virginia or Maryland, this comparison gives a rough
    idea of how the survey sample differs from the general DC population. In the survey
    sample, 67 percent of respondents identified as white only, 17 percent identified as Black or
    African American. only, and 12 percent reported two or more races. This sample appears
    skewed in favor of white respondents. The survey sample is composed mainly of individuals
    44 years old and younger. Compared to the DC population, the survey sample seems much
    younger overall.

    Table 1. Race and Age of the Survey Sample and the District of Columbia
                                                Survey Sample                  DC
                                                           Percent of       Percent of
                Demographic              Frequency
                                                            Sample          Population
                                     Race/Ethnicity (n=93)
     Black/African-American alone            16               17%              54%
     Hispanic/Latin alone6                   2                 2%              9%
     Native American/American Indian alone                    0                     0%                        <1%
     Asian/Pacific Islander alone                 2                 2%                    2%
     White/Caucasian alone                       62                67%                    34%
     Two or more races                           11                12%                     1%
                                              Age (n=93)
     18-24                                       34                37%                    14%
     25-34                                       30                32%                    24%
     35-44                                       15                16%                    18%
     45-54                                        8                 9%                    16%
     55-64                                        5                 5%                    14%
     65 and older                                 1                 1%                    14%
    Source for DC Data: U.S. Census Bureau, Current Population Survey, Annual Social and Economic
    Supplement, 2008.


    5 An analysis ofjust the DC-resident respondents did not show any impact on the trends observed in Table 1 except in the
    case of race. DC residents in the sample seemed slightly less skewed from the DC population than the sample as a whole:
    60 percent identified as white only, 29 percent identified as Black or African American only, and 13 percent reported two
    or more races. Yet, regardless of the residency of the respondents, this sample appears skewed in favor of white
    respondents.
    6 The use of "@" in the word "Latin@" is sometimes used in written Spanish to make the word gender-neutral in a concise
    manner.


                                                             - 69 -



                                                                                                               A R_2 930 93
Case 4:24-cv-00461-O       Document 76        Filed 09/06/24      Page 101 of 290            PageID 3748
    Herman                                                          Gendered Restrooms and Minority Stress

             Table 2 presents the income and educational attainment of the survey sample and
    the District of Columbia. Nearly half of the survey sample and the population of the District
    of Columbia had annual individual incomes of $19,999 or less — 46 percent and 48 percent,
    respectively. While the third and fourth income quintiles seem slightly larger in the survey
    sample, DC appears to have a larger share in the highest income category, at 9 percent
    versus 5 percent in the survey sample. While there appears to not be a large difference in
    income, survey respondents in the survey sample report higher educational attainment than
    the DC population. The survey sample had fewer people in the three lowest categories of
    educational attainment, and markedly higher percentages for those who had some college
    (no degree) and those who completed a bachelor's degree.

   Table 2. Income and Educational Attainment of the Survey Sample and the District of
   Columbia
                                                      Survey Sample                    DC
                                                                Percent of         Percent of
    Demographic                                 Frequency
                                                                  Sample           Population
                                           Income (n=92)
    $0-$19,999                                      42             46%                48%
    $20,000-$39,999                                 17             18%                20%
    $40,000-$59,999                                 15             16%                12%
    $60,000-$99,999                                 13             14%                11%
    $100,000+                                        5              5%                 9%
                                   Educational Attainment (n=93)
    8th grade or less                                0              0%                 4%
    Some high school (no diploma)                    6              6%                 9%
    High school/GED                                  9             10%                18%
    Some college (no degree)                        19             20%                12%
    Associate's degree                               4              4%                 3%
    Bachelor's degree                               26             28%                19%
    Graduate/professional degree                    17             18%                19%
   Source for DC Data: U.S. Census Bureau, Current Population Survey, .Annual Social and Economic
   Supplement, 2008. Percentages in each category may not add to 100% due to rounding.

             Table 3 describes the gender identity of the survey respondents in four categories,
    arranged by respondents' sex assigned at birth and gender identity today. Sixty respondents
    (65 percent) were assigned female at birth. Thirty-seven of those respondents identified as a
    man, transgender, transsexual, and/or female-to-male (FTM). Twenty-three respondents
    assigned female at birth did not identify as transgender in any way, but identified themselves
    as gender non-conforming and/or genderqueer. Thirty-three respondents (35 percent) were
    assigned male at birth. Twenty-nine of these respondents identified as a woman,
    transgender, transsexual, and/or male-to-female (MTF). Four respondents assigned male at
    birth did not identify as transgender in any way, but identified themselves as gender non-
    conforming and/or genderqueer.




                                                - 70 -



                                                                                            AR_293094
Case 4:24-cv-00461-O              Document 76          Filed 09/06/24       Page 102 of 290    PageID 3749
    Journal ofPublic Management & Social Policy                                                Spring 2013


    Table 3. Self-Identified Gender and Transition Status of the Survey Sample
                                   Gender Identity (n=93)          Has had any medical
                                                                     transition (11=49)
       Gender Identity Today     Frequency      % of Sample      Frequency         Row %
                                Assigned Female at Birth (n=60)
     Man / Transgender /
                                     37              40%            24              65%
     Transsexual / FTM

     Gender Non-Conforming /
                                                  23          25%                0            0%
     Genderqueer
     (not trans identified)
                                            Assigned Male at Birth (n=33)
     Woman / Transgender,''
                                                  29          31%               24            83%
     Transsexual / MTF

     Gender Non-Conforming /
                                                  4               4%             1            25%
     Genderqueer
     (not trans identified)

              Table 3 above also shows medical transition status by each gender category.
    Overall, 49 respondents (53 percent) have had medical transition of some sort. Sixty-five
    percent of those transitioning from female-to-male (FTM) and 83 percent of those
    transitioning from male-to-female (MTF) have had some form of medical transition, which
    may include hormone treatment, surgery, and other medical treatments or procedures for
    purposes of gender transition. The most common medical treatment respondents reported
    was hormone treatment. Forty-five respondents reported having had hormone treatment;
    these 45 respondents comprise 48 percent of the sample and 92 percent of those who have
    had any medical transition.

    Survey Respondents' Experiences with Gendered Public Restrooms
             The survey assessed people's experiences accessing or using gender-segregated
    public restrooms by asking specifically about denial of access to facilities, verbal
    harassment, and physical assault. Overall, 65 respondents (70 percent) reported experiencing
    one or more of these problems. Eighteen percent of respondents have been denied access to
    a gender-segregated public restroom, while 68 percent have experienced some sort of verbal
    harassment and 9 percent have experienced some form of physical assault when accessing or
    using gender-segregated public restrooms. This section reviews the results of questions
    about denied access, verbal harassment, and physical assault provided through the survey
    and follow-up interviews and provides an analysis of each based on gender, race/ethnicity,
    and income.

    Denied Access
              Eighteen percent of respondents have been denied access to at least one gender-
    segregated public restroom in Washington, DC. Table 4 describes the income, race/ethnicity,
    and gender of those denied access to gender-segregated public bathrooms. Comparing the
    rates of those denied access in each of the lowest three income quintiles shows very little
    difference, at 21 percent, 24 percent, and 20 percent. Twenty-five percent of all Black or
    African American respondents were denied access to gendered public bathrooms, which is

                                                         - 71 -



                                                                                              A R_2 930 95
Case 4:24-cv-00461-O       Document 76       Filed 09/06/24      Page 103 of 290            PageID 3750
    Herman                                                         Gendered Restrooms and Minority Stress

    slightly higher than the share of white respondents (18 percent) and respondents of two or
    more races (18 percent). Twenty-six percent of all female-to-genderqueer respondents were
    denied access, which is about 10 points higher than the other two gender categories
    reporting denied access. There appears to be no significant relationship between being
    denied access to public restrooms and income (Fisher's exact = 0.377), race/ethnicity ( _
    0.36, p = 0.85), or gender ( = 0.4073, p = 0.816).

    Table 4. Denied Access to Gender-Segregated Public Restrooms by Income,
    Race/Ethnicity, and Gender
                                                            Denied Access (n=17)
     Demographic                                  Frequency                 % of row category
                                            Income (n=92)
     $0-$19,999 (n=42)                                 9                           21%
     $20,000-$39,999 (n=17)                            4                           24%
     $40,000-$59,999 (n=15)                            3                           20%
     $60,000-$99,999 (n=13)                            1                           8%
     $100,000+ (n=5)                                   0                           0%
                                         Race/Ethnicity (n=93)
     Black/African-American alone (n=16)               4                           25%
     Hispanic/Latin@ alone (n=2)                       0                           0%
     Asian/Pacific Islander alone (n=2)                0                           0%
     White/Caucasian alone (n=62)                     11                           18%
     Two or more races (n=11)                          2                           18%
                                            Gender (n=93)
     Transgender Female-to-Male (n=37)                 6                           16%
     Transgender Male-to-Female (n=29)                 5                          17%
     Female-to-Genderqueer (n=23)                      6                           26%
     Male-to-Genderqueer (n=4)                         0                            0%

    Verbal Harassment
              Sixty-eight percent of respondents reported experiencing at least one instance of
    verbal harassment in gender-segregated public restrooms. For purposes of this survey,
    "verbal harassment" was defined very broadly. These experiences could include, but were
    not limited to, having been told they were in the wrong facility (n=39), told to leave the
    facility (n=12), questioned about their gender (n=34), ridiculed or made fun of (n=19),
    verbally threatened (n=8), and stared at or given strange looks (n=56). Respondents also
    reported in qualitative responses having had the police called, having been confronted while
    using urinals, and being followed after using a facility.
              Table 5 describes respondents' verbal harassment experiences by income,
    race/ethnicity, and gender. Eighty-two percent of those in the second income quintile
    ($20,000-$39,000) have experienced verbal harassment, which is the highest rate by income
    category in this sample. Black or African-American respondents reported the second-highest
    rate of verbal harassment (87 percent) and 64 percent of those reporting two or more races
    experienced verbal harassment. The percent of those who identified as gender non-
    conforming or genderqueer who have experienced verbal harassment is 78 percent for those
    assigned female at birth and 75 percent for those assigned male at birth. The rate of verbal
    harassment is relatively lower for those who identify as transgender female-to-male (68
    percent) or transgender male-to-female (59 percent).

                                               - 72 -



                                                                                           AR_293096
Case 4:24-cv-00461-O              Document 76     Filed 09/06/24   Page 104 of 290    PageID 3751
    Journal ofPublic Management & Social Policy                                       Spring 2013


    Table 5. Verbal Harassment in Gender-Segregated Public Restrooms by Income, Race,
    and Gender
                                                           Verbal Harassment (n=63)
     Demographic                                   Frequency                 % of row category
                                            Income (n=92)
     $0-$19,999 (n=42)                                 29                           69%
     $20,000-$39,999 (n=17)                            14                           82%
     $40,000-$59,999 (n=15)                            11                           73%
     $60,000-$99,999 (n=13)                             7                           54%
     $100,000+ (n=5)                                    1                           20%
                                         Race/Ethnicity (n=93)
     Black/African-American alone (n=16)               14                           87%
     Hispanic/Latin@ alone (n=2)                        2                          100%
     Asian/Pacific Islander alone (n=2)                 1                           50%
     White/Caucasian alone (n-62)                      39                           63%
     Two or more races (n=11)                           7                           64%
                                            Gender (n=93)
     Transgender Female-to-Male (n=37)                 25                           68%
     Transgender Male-to-Female (n=29)                 17                           59%
     Female-to-Genderqueer (n=23)                      18                           78%
     Male-to-Genderqueer (n=4)                          3                           75%


             There seems to be no significant relationship between experiencing verbal
    harassment and one's race/ethnicity (Fisher's exact = 0.269) or gender (Fisher's exact =
    0.517). However, experiencing verbal harassment is related to one's income (j = 4.396, p =
    0.036). Survey respondents who made $49,999 or less annually are more likely to
    experience verbal harassment than survey respondents who made $50,000 or more annually.

    Physical Assault
              Eight respondents (9 percent) reported experiencing at least one instance of
    physical assault in gender-segregated public restrooms. Like the term "verbal harassment"
    discussed above, "physical assault" was defined very broadly in this survey to capture a
    range of experiences respondents had where an altercation involving physical contact with
    others occurred. These experiences could include, but were not limited to, having been
    physically removed from the facility (n=4), hit or kicked (n=2), physically intimidated
    and/or cornered (n=6), and slapped (n=1). One transgender male-to-female respondent
    reported having been sexually assaulted while using the men's room.
              Table 6 describes the distribution of experiences of physical assault by income,
    race./ethnicity, and gender. In this sample, there is a marginal relationship between
    race./ethnicity and experiences of physical assault (Fisher's exact = 0.078). This suggests
    that people of color in this sample were more likely than white respondents to experience
    physical assault. There is also a marginal relationship between income and physical assault
    in this sample (Fisher's exact = 0.056). Respondents making less than $50,000 annually in
    this sample were more likely to experience physical assault than respondents making
    $50,000 or above. There seems to be no relationship between gender and physical assault in
    this sample (Fisher's exact = 0.530).


                                                   - 73 -



                                                                                     A R_2 930 9 7
Case 4:24-cv-00461-O       Document 76        Filed 09/06/24      Page 105 of 290             PageID 3752
    Herman                                                           Gendered Restrooms and Minority Stress

    Table 6 Physical Assault in Gender-Segregated Public Restrooms by Income, Race,
    and Gender
                                                             Physical Assault (n=8)
     Demographic                                   Frequency                   % of row category
                                            Income (n=92)
     0 to $19,999 (n=42)                                5                             12%
     $20,000-$39,999 (n=17)                             2                             12%
     $40,000-$59,999 (n=15)                             1                             7%
     $60,000-$99,999 (n=13)                             0                             0%
     $100,000+ (n=5)                                    0                              0%
                                         Race/Ethnicity (n=93)
     Black/African-American alone (n=16)                3                             19%
     Hispanic/Latin@ alone (n=2)                        0                             0%
     Asian/Pacific Islander alone (n=2)                 0                             0%
     White/Caucasian alone (n=62)                       3                              5%
     Two or more races (n=11)                           2                             18%
                                            Gender (n=93)
     Female-to-Male (n=37)                              2                              5%
     Male-to-Female (n=29)                              4                             14%
     Female-to-Genderqueer (n=23)                       2                             9%
     Male-to-Genderqueer (n=4)                          0                              0%

    Impact of Gendered Restrooms in Education, Employment, Health and Public Life
              A single experience of denied access, verbal harassment, or physical assault is
    certainly a problem in its own right. These experiences, however, can have far-reaching
    effects that impact people's lives. Experiences of discrimination can impact people's lives in
    many ways, even leading to poverty or to negative health consequences (Grant et al. 2011).
    This survey sought to assess the impact on people's lives in four areas: education,
    employment, health, and participation in public life.

    Education
              Thirty-one respondents currently attend or have attended school in Washington,
    DC. Forty-two percent of these respondents reported being denied access to and/or verbally
    harassed in restrooms at their school in DC. Ten percent of the 31 respondents reported that
    incidents of denied access to and/or verbal harassment in restrooms negatively impacted
    their education in some way. One respondent had excessive absences due to problems with
    using restroom facilities. Another respondent reported that problems with restrooms caused
    poor performance as well as excessive absences. One former DC student reported that she
    had performed poorly in school and had to change schools; she finally dropped out of school
    due to problems with restrooms.
              Although other respondents reported that problems using these facilities at school
    did not affect their education, some reported that accessing and using restrooms was
    disruptive to their daily life at school. For example, students reported avoiding going to the
    restroom at school when they needed to or having to find restrooms that had very little
    traffic. In a follow-up interview, a young transgender man described the situation at his
    school where school administration required him to use the restroom in the guidance office
    instead of the regular men's restrooms. He explains:
            The ones in the guidance office are supposed to be unisex, but they're
            still marked men/women, so I don't feel comfortable using the one
                                                - 74 -



                                                                                             A R_2 930 98
Case 4:24-cv-00461-O              Document 76     Filed 09/06/24   Page 106 of 290       PageID 3753
    Journal ofPublic Management & Social Policy                                          Spring 2013


            marked women and then I have to wait an hour before I can try going
            there again. . . There's not always a line, but we only have ten minutes
            between classes, so if the bathroom is occupied, I don't have any time to
            wait. It's also not easy to leave during class, which means I would have to
            go back at the end of class.
    This situation distracted him in class both because of his need to remain continent in the face
    of physical discomfort and his anxiety about finding an available restroom at the end of the
    class period.

   Employment
            Sixty survey respondents have worked in Washington, DC. Twenty-seven percent
   of these respondents reported being denied access and/or verbally harassed while using
   restrooms at their place of employment in DC. Thirteen percent reported that problems of
   denied access to and/or verbal harassment in restrooms at work affected their employment in
   some way. Four of these respondents changed jobs or quit their job. Four respondents
   reported that problems using these facilities contributed to poor job performance, excessive
   absences, and excessive tardiness.
            Other respondents discussed how problems with gender-segregated restrooms at
   work caused them other kinds of complications. One respondent described having to deal
   with co-worker resentment, "When I transitioned at work, some of the other women
   complained behind my back because they didn't want me to use the women's room along
   with them, and at least one of them started going to the women's room on a different floor of
   the building just to shun me." Another respondent explained how he carefully planned for
   restroom use:
          I felt forced to make sure I used the bathroom before I left the house and
          did not use the public restroom unless I was 100% [sure] there was no
          one in there or [I would] go to a different floor that I didn't work on
          where I was less likely to encounter the same jerks, or I waited until I got
          home to use the bathroom [because] I usually didn't feel safe at all using
          the restrooms in public.
   Another respondent reported that problems using the restroom caused him to plan out what
   time he would use the restroom so he could avoid confrontations.

    Health
              Fifty-four percent of respondents reported having some sort of physical problem
    from trying to avoid using public bathrooms, all of whom reported that they "held it" to
    avoid public restrooms. Health problems that respondents reported due to avoiding using
    public bathrooms include: dehydration (n=9), urinary tract infections (n=7), kidney infection
    (n=2), and other kidney-related problems (n=2). Six percent of respondents have seen a
    doctor for health problems caused by avoiding public restrooms.
              Respondents described additional health problems due to avoiding public
    restrooms. One respondent explained, "I had avoided using public bathrooms for so many
    years and would hold it when I needed to go that now my bladder is weaker." Another
    respondent described how excessive continence might aggravate an existing medical
    condition: "I have kidney problems already. I know it's not good for me to hold it, but the
    alternative could be much worse."


                                                   - 75 -



                                                                                        A R_2 930 99
Case 4:24-cv-00461-O         Document 76        Filed 09/06/24       Page 107 of 290             PageID 3754
    Herman                                                              Gendered Restrooms and Minority Stress

             In addition to the physical problems caused by avoiding public restrooms, some
    respondents have avoided getting health care when they needed it. Nine percent of
    respondents have avoided going to a hospital, healthcare facility, or doctor's office because
    those facilities have gender-segregated restrooms. One respondent avoided going to the
    doctor when he got a urinary tract infection. He explained: "I knew when I had contracted an
    infection from holding it daily and [I] drank a lot of prune juice and used a friend's left over
    prescription to get rid of it. I didn't want to hear the lecture from a medical professional."
    The lecture he did not want to hear was instruction from a doctor not to avoid using the
    restroom when he needed to go.

    Participation in Public Life
               Problems or expectation of problems with gender-segregated public facilities can
    impact a person's participation in public life, causing him or her to refrain from going to
    public places or attending public events. Fifty-eight percent of respondents reported that
    they have avoided going out in public due to a lack of safe restroom facilities. Thirty percent
    of respondents reported not attending a specific event for a variety of reasons related to
    public restrooms. The most common reasons for avoiding an event were that the length of
    the event was too long to avoid using the restroom (n=20) and a lack a familiarity with the
    venue where the event was being held (n=18). Respondents also reported avoiding events
    because the event was not important enough to risk problems with restrooms (n=17),
    restrooms at the event seemed unsafe (n=15), and there would be no friends or people the
    respondent knew at the event who could help navigate the restroom (n=14).
               Thirty-eight percent of respondents reported avoiding particular public places
    because they only have gender-segregated facilities available. The places respondents most
    frequently avoided include shopping malls, retail stores, restaurants, gyms, and bars,
    including gay bars. Conversely, 49 percent reported that they will plan their route through
    certain areas of the city or will go to a specific place because they know there are safe
    restrooms there to use. One respondent described a similar strategy she used as follows:
             Given that the anti-androgen most MTF [transsexual] folks have to take,
             Spiro, causes frequent urination, I quickly learned where all the safe
             bathrooms were when having to go into Washington, DC. Once I found
             safe places, I plotted my travel routes to be near them, and I avoided
             going very much beyond those set routes.
    Respondents offered other strategies they use to navigate gendered public restrooms.
    Common strategies involved finding gender-neutral restrooms, having a friend along for a
    trip to the restroom, using the restroom at home before going out in public, and if necessary,
    swinging by a nearby friend's house to use the restroom. Other suggestions respondents
    offered include using the restroom during "off peak" hours when traffic is low and avoiding
    places where one has previously had problems using the restroom. One respondent uses a
    strategy that combines several elements: "Stay out in DC for short periods of time. Scout
    bathroom options. If men's and women's entrances are very close and the bathrooms are not
    currently in use, I will use them. If there is a line to use the restrooms, I will not. Standing in
    line usually always results in verbal abuse or denial of access."
               Respondents also noted that the ability to "pass" in restrooms is important in
    avoiding problems when using them. As one respondent put it, "There are tricks to passing
    in the bathroom. I have never been `caught." One respondent, who self-identified as a
    butch lesbian, described a strategy that involves singing: "I sing and/or talk to people and
    feminize my walk every time I enter a public bathroom. I do this to help clue people in to
                                                  - 76 -



                                                                                                AR_293100
Case 4:24-cv-00461-O              Document 76     Filed 09/06/24   Page 108 of 290      PageID 3755
    Journal ofPublic Management & Social Policy                                         Spring 2013


    the fact that I am a woman without announcing it. It works under 50% of the time. I am
    often still read as a man."

    Gender Segregation as a Cause of Minority Stress
              Minority stressors created by gender segregation range from the distal to the
    proximal. Seventy percent of survey respondents experienced denied access, verbal
    harassment, and/or physical assault when trying to access or while using gendered public
    restrooms. Respondents experienced these problems in public places, at work, and at school.
    These experiences of distal stressors created expectations of problems in these spaces,
    causing some to hide from public life. These more proximal stressors that survey
    participants reported included absences from work and school, poor performance at work or
    school, choosing to not participate in public life, avoiding particular places or events, and
    having to develop strategies to navigate gendered restrooms. While some specific negative
    impacts on physical health were discussed through the survey, such as bladder infections
    and distress, it is reasonable to assume there is an impact on the mental health of those who
    suffer this type of minority stress (see, for example, Lombardi and Bettcher 2005).
              This survey was not designed to measure mental health outcomes based on the
    minority stress study participants experienced, but many offered narratives that describe
    possible impacts on mental health. Experiencing consistent problems in gender-segregated
    public restrooms can contribute to a sense of stigmatization and ubiquitous discrimination.
    In a follow-up interview, a participant discussed the dangers of constant harassment:
              There have been plenty of times where, for example, in the women's
              bathrooms when women say mean things about me to their friends but
              not to my face, that's really emotionally damaging, and that, to me,
              that's dangerous. . . . I mean, we are talking about someone's gender
              identity, which is something that is so fundamental to who people are.
              People questioning that, and having that questioned on a daily basis can
              and does lead to self-harm and even suicide and all sorts of things.
              Verbal harassment and even non-verbal harassment, people just staring
              at you, can be dangerous.
    No survey respondents reported that problems navigating gendered public facilities directly
    contributed to any self-harm, but several respondents expressed dismay or sadness due to
    other people consistently challenging their gender identity. One respondent remarked, "It's
    depressing to have to often explain my gender identity when others don't have to." Another
    respondent explained, "I just hope I never have to experience these negative experiences,
    though it appears this it is all very possible based upon past happenings. I am sad, about all
    this stuff." One respondent predicted a future threshold where consistent glares would
    finally cause her to avoid using public restrooms altogether. She stated, "I do not really
    avoid any place because I am at the moment not at a limit with the uncomfortable stares and
    glares I get." One respondent offered an apt summary statement to the complexities of
    problems restrooms create when she stated, "Subtlety is the key to cruelty."
              The survey findings presented above describe the minority stressors that result from
    our reliance on gender segregation in our built environment. Certainly individual actors who
    would deny access, harass, or physically assault anyone in public spaces are responsible for
    their actions in those instances, but gender segregation immediately creates a system of
    surveillance and policing of public spaces based on subjective assessments of a person's
    gender and gender expression (Cavanagh 2010). Transgender and gender non-conforming

                                                   - 77 -



                                                                                       AR_293101
Case 4:24-cv-00461-O       Document 76        Filed 09/06/24      Page 109 of 290            PageID 3756
    Herman                                                          Gendered Restrooms and Minority Stress

    people must navigate a public world organized around gender and be subject to this type of
    surveillance when using gendered spaces. Minority stress for these groups of people is
    literally built into our environment. Further research is needed to better understand the
    mental health impacts of gender segregation for transgender and gender non-conforming
    people.

    Limitations
             This study should be viewed as an exploratory study, which provides a definition of
    the problems that gender segregation creates for transgender and gender non-conforming
    people and seeks to establish this problem as one that public policy and public
    administration should address. Continued research on this subject is warranted, both to
    further establish an understanding of the problems related to minority stress for transgender
    and gender non-conforming people, particularly as it pertains to gender segregation, and the
    solutions that public policy and public administration can offer. Future research endeavors
    similar to this study would benefit from improved sampling methods that allow for greater
    generalizability, better representation of the demographics of the underlying population, and
    a more sophisticated accounting of gender transition. In over-representing white
    respondents, the results of this survey are likely biased toward finding fewer reported
    incidents in gender-segregated restrooms, particularly in the area of physical assault. Since
    this survey limited responses to experiences in Washington, DC, rather than over the
    lifetime of the respondents, results may be biased toward fewer reported incidents. Several
    survey respondents remarked that they had moved to Washington, DC after they transitioned
    gender and experienced much fewer problems after having transitioned. Researchers would
    improve upon this study by better accounting for the temporal nature of gender for study
    participants who have transitioned or will transition gender.

    Conclusion
              Transgender and gender non-conforming people can find themselves in danger in
    the gendered spaces in our built environment. Until public policy and public administration
    can meet the challenge to address this problem and rethink our reliance on gender
    segregation in our built environment, the onus will always be on the individual to try to
    navigate these spaces safely. In considering the role gender segregation plays in our
    environment, we should consider whether gender segregation is necessary to organize our
    public spaces. This is something that many legislators, public officials, and administrators
    are currently grappling with as transgender and gender non-conforming people have
    increased their visibility, formed political coalitions in the United States, and organized to
    make known the issues and problems they encounter in our society. While some
    jurisdictions have responded to the call to make changes to their policies and public spaces,
    many have not yet taken on this challenge but undoubtedly must face it in the future.
              There are some models of public policy and public administration initiatives that
    have begun to address the problems gender segregation creates in public restrooms. For
    instance, statutory language that gives transgender and gender non-conforming people legal
    protections in restrooms have been adopted in the state of New Jersey, the cities of Oakland,
    Boston, Denver, and Boulder, and several jurisdictions within the state of Oregon.
    Enforcement regulations, which are drafted and implemented by government agencies,
    provide restroom protections in the cities of San Francisco, New York, and Washington,
    DC. Washington, DC's enforcement regulations contain the strongest language in the

                                                - 78 -



                                                                                            AR_293102
Case 4:24-cv-00461-O              Document 76     Filed 09/06/24    Page 110 of 290        PageID 3757
    Journal ofPublic Management & Social Policy                                            Spring 2013


    country in regard to gender-segregated public facilities and serve as a good model for
    creation of public policy and implementation to address this problem.
              In 2005, the DC Human Rights Act was amended to include "gender identity or
    expression," and enforcement regulations for this amendment were adopted in 2006 that
    cover gender-segregated public facilities. These enforcement regulations for the DC Human
    Rights Act not only protect the rights of people to use the public facility consistent with their
    gender identity, but also mandate the creation of more gender-neutral restrooms in the
    District. Single-occupancy public restrooms in DC are now required to be gender-neutral.
    This requirement makes the enforcement regulations in DC the strongest in the country as of
    this writing. Implementation of the regulations is ongoing, with the DC Office of Human
    Rights working in conjunction with local advocacy groups, like the DC Trans Coalition and
    the DC Center, to identify and educate businesses that are out of compliance.
              In addition to adopting legal protections for transgender and gender non-
    conforming people and creating more gender-neutral restrooms, transition-related health
    care coverage for transgender individuals must be considered as part of any public policy
    solution to the problems transgender people experience in gendered spaces. Participants in
    the survey for this paper suggested that medical gender transition decreases instances of
    denied access, harassment, and physical assault. Indeed in this sample, people who had any
    medical treatments or procedures to transition were less likely to experience harassment than
    those who had not transitioned ( = 5.0107, p = 0.025). People assigned male at birth who
    had undergone electrolysis or laser hair removal for facial hair were less likely to experience
    verbal harassment than those assigned male at birth who had not V = 11.2108, p = 0.001).
    Significant barriers exist to getting medical transition treatments and procedures for those
    who need them. Fifty-two respondents said they wanted to have some (or more) transition-
    related medical treatments or procedures, but 63 percent said they cannot afford it. Eighty-
    five percent of these respondents said they would be more likely to get the medical
    treatments or procedures they want if they had insurance that covered them. Expanding
    access to transition-related health care for transgender people would be an important part
    any public policy initiative to address the problems created by gender segregation.


    Acknowledgements: The author wishes to thank the DC Trans Coalition for their
    collaboration in the research for this paper. The author also wishes to thank Ilan Meyer and
    Brad Sears for their thoughtful reviews.


    Jody L. Herman holds a Ph.D. in Public Policy and Public Administration from The
    George Washington University. She currently serves as the Peter J. Cooper Public Policy
    Fellow and Manager of Transgender Research at the Williams Institute, UCLA School of
    Law. Before joining the Williams Institute, she served as a co-author on the groundbreaking
    report Injustice at Every Turn, based on the National Transgender Discrimination Survey
    conducted by the National Gay and Lesbian Task Force and the National Center for
    Transgender Equality. Her main research interests are the impacts of gender identity-based
    discrimination and issues related to gender regulation in public space and the built
    environment. Email: hermanj@1aw.ucla.edu.



                                                   - 79 -



                                                                                         AR_293103
Case 4:24-cv-00461-O        Document 76       Filed 09/06/24      Page 111 of 290             PageID 3758
    Herman                                                           Gendered Restrooms and Minority Stress

    References
    Cavanagh, Sheila L. 2010. Queering Bathrooms: Gender, Sexuality, and the Hygienic
             Imagination. Toronto: University of Toronto Press.
    Effrig, Jessica C., Kathleen J. Bieschke, and Benjamin D. Locke. 2011. Examining
             victimization and psychological distress in transgender college students. Journal of
             College Counseling, 14 (2): 143-157.
    Gordon, Allegra R. and Ilan H. Meyer. 2007. Gender nonconformity as a target of prejudice,
             discrimination, and violence against LGB individuals. Journal of LGBT Health
             Research, 3(3): 55-71.
    Grant, Jaime M., Lisa A. Mottet, Justin Tanis, Jack Harrison, Jody L. Herman, and Mara
             Keisling. 2011. Injustice at Every Turn: A report of the National Transgender
             Discrimination Survey. Washington, DC: National Center for Transgender Equality
             and National Gay and Lesbian Task Force.
    Kelleher, Cathy. 2009. Minority stress and health: Implications for lesbian, gay, bisexual,
             transgender, and questioning (LGBTQ) young people. Counselling Psychology
             Quarterly, 22(4): 373-379.
    Kertzner, Robert M., Ilan 11. Meyer, David M. Frost, and Michael J. Stirratt. 2009. Social
             and psychological well-being in lesbians, gay men, and bisexuals: the effects of
             race, gender, age, and sexual identity. The American Journal of Orthopsychiatry,
             79(4): 500-510.
    Lombardi, Emilia and Talia Bettcher. 2005. Lesbian, Gay, Bisexual, and
             Transgender/Transsexual Individuals, In Barry S. Levy and Victor W. Sidel (Eds.),
             130-144. Social Injustice and Public Health, New York: Oxford University Press.
    Lombardi, Emilia L., Riki A. Wilchins, Dana Priesing, and Diana Malou£ 2001. Gender
             Violence: Transgender Experiences with Violence and Discrimination. Journal of
             Homosexuality 42(1):89-101.
    Meyer, Ilan H. 1995. Minority stress and mental health in gay men. Journal of Health and
             Social Behavior, 36:38-56.
    Meyer, Ilan H. 2003. Prejudice, social stress, and mental health in lesbian, gay, and bisexual
             populations: conceptual issues and research evidence. Psychological Bulletin,
             129(5): 674-697.
    Minter, S., & Daley, C. 2003. Trans Realities: A Legal Needs Assessment of San Francisco's
             Transgender Communities. San Francisco: National Center for Lesbian Rights and
             Transgender Law Center.
    Mustanski, Brian S., Robert Garofalo, and Erin M. Emerson. 2010. Mental health disorders,
             psychological distress, and suicidality in a diverse sample of lesbian, gay, bisexual,
             and transgender youths. American Journal of Public Health, 100(12): 2426-2432.
    Sanchez, Francisco J. and Eric Vilain. 2009. Collective self-esteem as a coping resource for
             male-to-female transsexuals. Journal of Counseling Psychology 56(1): 202-209
    Stotzer, Rebecca L. 2009. Violence against transgender people: A review of United States
             data. Aggression and Violent Behavior, 14: 170-179.
    Vade, Dylan. 2002. Gender Neutral Bathroom Survey. Unpublished report on file with
             author. Factsheet Accessed August 29, 2012 at http://archive.srlp.org/files/
             documents/toolkit/gnb_survey.pdf
    Xavier, Jessica, Julie A. Honnold, and Judith Bradford. 2007. The Health, Health-related
             Needs, and Lifecourse Experiences of Transgender Virginians. Virginia: Virginia
             HIV Community Planning Committee and Virginia Department of Health.

                                                - 80 -



                                                                                             AR_293104
Case 4:24-cv-00461-O            Document 76          Filed 09/06/24          Page 112 of 290            PageID 3759




         •            iiA        •fI1Pi.iJiiM



  Volume 36      Issue 2                                                                                   Article 9


  2016


  Education Connection: The Importance of Allowing Students to
  Use Bathrooms and Locker Rooms Reflecting Their Gender
  Identity
  Katherine Szczerbinski




  Follow this and additional works at: https://Iawecommons.luc.edu/clrj
  &' Part of the Family Law Commons, and the Juvenile Law Commons


  Recommended Citation
  Katherine Szczerbinski, Education Connection: The Importance of Allowing Students to Use Bathrooms
  and Locker Rooms Reflecting Their Gender Identity, 36 CHILD. LEGAL RTS. J. 153 (2020).
  Available at: https://Iawec::onitiiotis.luc.edu/clrj/vol36/iss2/9


  This Article is brought to you for free and open access by LAW eCommons. It has been accepted for inclusion in
  Children's Legal Rights Journal by an authorized editor of LAW eCommons. For more information, please contact
  .aw
  `: •library@'uc.edu.




                                                                                                                   AR_293105
                        Szczerbinski: Education Connection: The Importance of Allowing Students to Use
      Case 4:24-cv-00461-O          Document 76          Filed 09/06/24         Page 113 of 290          PageID 3760




                                      Education Connection:
                The Importance of Allowing Students to Use Bathrooms and Locker
                            Rooms Reflecting Their Gender Identity
                                                  By: Katherine Szczerbinski

                       Transgender children have recently become more visible and outspoken, which has
              led to a general trend of support in the education system. Calling the child by their preferred
              name and letting them join the sports team of their identified gender have become more
              common practices. Unfortunately, there is still a major issue for schools that is the subject
              of great controversy: whether students should use the bathrooms and locker rooms
              reflecting their gender identity. The split in viewpoints presents a significant issue in
              schools and in the courts as equal protection and privacy concerns are considered.
              Restricting students from using the bathroom reflective of their gender identity can produce
              negative social consequences, and schools should adjust their policies to better serve their
              children.
                      Contemporary media readily discusses transgender issues, and most of this
              attention has been positive. Children can easily find transgender people, both young and
              old, on social media and in popular culture. The Internet is filled with "Tumblrs" and
              YouTube videos chronicling gender transitions, television programs such as "Glee" feature
              transgender youth, and books such as ParrojIsh by Ellen Wittlinger are available. The
              heightened frequency of conversation about the transgender community has affected
              policies and guidelines, leading to a search for the best practices for interactions with
              transgender persons.
                      With the media spotlight on transgender issues, schools have been working to
              establish best practices for their transgender students. Some districts have aimed to support
              their transgender students, believing that restricting full access to the facilities of their
              choosing is denying these children fair and equal treatment. Further, studies have shown
              that without proper caregiving structures and support, transgender children have a
              clinically significant increased risk of anxiety, depression, suicidal ideations, and suicide.
              A school district that supports its transgender students not only attempts to give all students
              fair and equal treatment, but also supports the mental health of these students.
                      Some schools have attempted to achieve a solution by giving transgender students
              access to separate bathrooms or spaces for their private use. Although helpful to students
              who want such treatment, having separate facilities deprives and further stigmatizes
              students who want to be in the same facilities as their classmates, ultimately leading to their
              isolation from their peers.
                     In Illinois, Barrington Community Unit School District 220 has its officials
              working with transgender students and their families to ensure an inclusive environment
              for these students. For example, where a particular transgender middle school student


                                                            153

Published by LAW eCommons, 2020


                                                                                                                 AR_293106
                                      Children's Legal Rights Journal, Vol. 36, Iss. 2 [2020], Art. 9
       Case 4:24-cv-00461-O            Document 76 Filed 09/06/24                        Page 114 of 290   PageID 3761
                                               lhrcation Connection                                          154



               required use of the locker room, that student was given full access to the locker room
               requested, and further provided a student aide to accompany the student and observe in
               case issues or questions arise. Illinois' largest school district, Chicago Public Schools, has
               yet to adopt a comprehensive solution to this issue, instead adopting guidelines for a case-
               by-case determination of locker room and bathroom use. Neither Chicago nor Barrington
               has reported an issue.
                       Although Barrington and Chicago schools have found ways to accommodate
               transgender students, other school districts, including Township High School District 211
               in Illinois ("District 211"), claim they cannot allow full access of facilities reflective of
               transgender students' gender identity due to privacy concerns. District 211's policy allows
               transgender students to play on sports teams of their gender and use the bathrooms of that
               gender, but remains firm that offering these students a private place to change is a proper
               accommodation. When schools have not been as accommodating, students have found
               ways to adapt. A student at Lake Forest High School, also in Illinois, was told to use faculty
               bathrooms that were out of the way, so she chose to use the girls' bathroom stalls to change
               for physical education.
                       A fear raised by those wanting students to use the facility of their gender at birth is
               that allowing students to decide based on their gender identity will lead to children
               pretending to be transgender to allow them unfettered access to the bathroom of their
               choosing. This access will result in the opportunity for those pretending to be transgender
               to commit nefarious acts and that sexual assaults in these places will increase. However,
               the actual numbers show that this fear is unfounded. As of publication of this article, there
               has been only one reported instance of a person abusing this access: this instance occurred
               in Canada, where an already storied sexual predator pretended to be a woman in order to
               have access to female-only spaces.
                         This unfounded concern hurts both transgender students and cisgender students
               (i.e., students who identify with their biological sex). These arguments fail to rely on actual
               data, instead relying on unsubstantiated fears that portray transgender people as sexual
               predators and deviants. Gender-nonconforming students are at risk of being removed from
               bathrooms when their gender expression differs from societal standards. These
               consequences can weigh heavily on these students and not only isolate them from their
               peers, but also be harmful to their mental health.
                       Title IX and its application have a significant impact in regards to transgender
               students' use of bathrooms and locker rooms. The application of Title IX in cases such as
               Grimm v. Gloucester County School Board and Johnston v. University of Pittsburgh held
               that Title IX does not mandate public schools to allow access for transgender students to
               the bathroom or locker room of their preference. This interpretation still stands, shifting
               advocates' focus to determining what mechanisms can be utilized to provide transgender




https://Iawecommons.luc.edu/clrj/vol36/iss2/9                                                                             2


                                                                                                                   AR_293107
                         Szczerbinski: Education Connection: The Importance of Allowing Students to Use
      Case 4:24-cv-00461-O             Document 76 Filed 09/06/24        Page 115 of 290 PageID 3762
              155                         Children's LegalRights Journal           [Vol.36:2 2016]



              students access to bathrooms and locker rooms of their preference. One potential solution
              is to withhold federal funding until public schools comply with this emerging standard.
                       Schools need to make a shift towards better practices that give transgender students
              the same access as their peers to facilities. The social and mental negative consequences of
              restricting these students are too great to ignore and demand change. Being able to support
              transgender students can help break stigmas regarding the transgender community and
              empower children to better accept their peers.
              Sources
              Brynn Tannehill, Debunking Bathroom Myths, HUFF. PosT (Nov. 28, 2015),
              http://www.huffingtonpost.com/brynn-tannehill/debunking-bathroom-myths b_8670438.lttm1.

             Duaa Eldeib & Robert McCoppin, Feds Reject School District 's Plan for Transgender Student, Locker
             Room, CH[. TRIBUNE (Oct. 13, 2015), http://www.chicagotribune.com/news/local/breakingtct-ttansgender-
             student-locker-room-palatine-met-20151012-story.htnnl.

              Eliana T. Baer, Navigating the Murky Waters of Best Interests with a Transgender Child, NEw JERSEY L.J.,
              (June 5, 2014), http://www.foxrothschild.com/publications/navigating-the-murky-waters-of-best-interests-
              with-a-transgender-child/.

              Eric Peterson, Law Professor: Title IX Not Relevant in Dist. 211 Transgender Case, DAILY HERALD (Oct.
              26, 2015), http://www.dailyherald.com/article/20151026/news/151029160/.

              G.G. ex rel. Grimm v. Gloucester Cty. Sch. Bd., No. 4:15CV54, 2015 WL 5560190 (E.D. Va. Sept. 17,
              2015).
              Johnston v. Univ. of Pittsburgh of Corn. Sys. of Higher Educ., 97 F. Supp. 3d 657 (W.D. Pa. 2015).

              Julie Bosman & Motoko Rich, As Transgender Students Make Gains, Schools Hesitate at Bathrooms, N.Y.
              Tint!s (Nov. 3, 2015), http://www.nvtimes.com/2015/11/04/us/as-tansgender-students-make-gains-
              schools-hesitate-at-bathrooms.html? r=0.

              Margaret Talbot, About a Boy: Transgender Surgery at Sixteen, NEw YORKER (Mar. 18, 2013),
              http://www.newyorker.com/magazine/2013/03/1$/about-a-boy-2.




Published by LAW eCommons, 2020


                                                                                                                         AR_293108
Case 4:24-cv-00461-O   Document 76   Filed 09/06/24   Page 116 of 290   PageID 3763




                                     NJSIAA


                               GUIDELINES,


                              POLICIES AND


                              PROCEDURES




                                 2020-2021




                                                                                AR_293140
Case 4:24-cv-00461-O                       Document 76                   Filed 09/06/24                   Page 117 of 290                     PageID 3764


                                                             TABLE OF CONTENTS
  Anonymous Contact Policy .......................................................................................................................... 1
  Alcoholic Beverages/Illegal Substances ....................................................................................................... 1
  Boy/Girl Competition ................................................................................................................................... 2
  Broadcasting Rights ...................................................................................................................................... 2
  Chaperones-Team/Individual ..................................................................................................................... 2-3
  Club Programs ...........................................................................................................................................3-4
  Coaches Certifications & Regulations .......................................................................................................4-5
  Coaches Qualifications ................................................................................................................................. 5
  Commercial Endorsements ........................................................................................................................ 5-6
  Concussion Policy...................................................................................................................................... 6-7
  Controversies and Disputes........................................................................................................................... 7
  Cooperative Sports Programs ..................................................................................................................7-10
  Disqualification of Coaches/Players ......................................................................................................10-13
  Drone Policy ............................................................................................................................................... 13
  Emergency Medical Procedures.............................................................................................................14-15
  Football Open Recruiting Period Guidelines .............................................................................................. 15
  Heat Acclimatization Requirements ......................................................................................................15-17
  Heat Participation Policy/Cold Water Immersion Tub Policy ...............................................................17-21
  Homeschool Guidelines .........................................................................................................................21-22
  Infectious Disease Policy ............................................................................................................................ 22
  Junior High Athletics (9th Grade) ...........................................................................................................22-25
  Labor Disputes ....................................................................................................................................... 25-26
  League/Conference Position Statement .................................................................................................26-28
  Lightning Procedure............................................................................................................................... 28-30
  Paraprofessional Aide Positions ................................................................................................................. 30
  Participation Limitations: School/Coach/Athlete ....................................................................................... 31
  Participation Chart ...................................................................................................................................... 32
  Protests and Forfeits.................................................................................................................................... 33
  Use of a Prosthesis ...................................................................................................................................... 34
  Review of Officials Chapters-----------------------------------------------------------------------------------------------------------------34-35
  Registration of Officials......................................................................................................................... 35-37
  Officials Failure to Arrive/Continue ......................................................................................................37-38
  Sales and Solicitations ................................................................................................................................ 38
  Steroid Testing Procedures ....................................................................................................................38-39
  Student-Athlete Residency Affidavit .......................................................................................................... 40
  Suspended Football Games ......................................................................................................................... 41
  Terminated Game...................................................................................................................................41-42
  Transgender Policy ..................................................................................................................................... 42
  Unified Sports® Guidelines ................................................................................................................... 42-44
  Uniforms — Religious Exemption .............................................................................................................. 45
  Vapor/E-Cigarettes Policy (Interim) ........................................................................................................... 45




                                                                                                                                                                AR_293141
Case 4:24-cv-00461-O            Document 76           Filed 09/06/24         Page 118 of 290          PageID 3765


                             ANONYMOUS CONTACT POLICY STATEMENT

The high school principal, athletic director and coaches are responsible for assuring conformity with NJSIAA
eligibility and other regulations, as evidenced by the eligibility affidavits. The NJSIAA relies on its member
schools to self-report any eligibility or other violations that they may encounter, to avoid penalties in addition to
forfeitures set forth in Article X, Section 1 of the Bylaws. The NJSIAA discourages anonymous complaints against
schools. If anonymous complaints are received, the NJSIAA will convey that complaint to the school in question
to investigate. If the school determines that there is a violation, no penalties will be imposed other than forfeiture.
However, if at a later time it is determined by the NJSIAA that there was a violation based on competent evidence,
then more substantial penalties may be imposed on the school and/or responsible school athletic personnel.


       ALCOHOLIC BEVERACES/ILLECAL SUBSANCES AT INTERSCHOLASTIC EVENTS

Players and coaches involved with alcoholic beverages/illegal substances during or after the game at the game site
or on school property, including chartered busses, shall be suspended from NJSLAA tournament play for one
year and be denied any championship rights.

This action was taken in support of the fact that such actions concerning alcoholic beverages/illegal substances
are in violation of N.J.S.A. 2C:33-15a, N.J.S.A. 2C:33-16, N.J.S.A. 2C:35-7 and N.J.S.A. 2C:35-10 as noted
below.

N.J.S.A. 2C:33-15a:
Any person under the legal age to purchase alcoholic beverages who knowingly possesses without legal authority,
or who knowingly consumes any alcoholic beverage in any school, public conveyance, public place, or place of
public assembly, or motor vehicle, is guilty of a disorderly person's offense and shall be fined not less than
$100.00.

N.J.S.A. 2C:33-16:
Any person of legal age to purchase alcoholic beverages, who knowingly and without the express written
permission of the school board, its delegated authority, or any school Principal, brings or possesses any alcoholic
beverages on any property used for school purposes which is owned by any school or school board, is guilty of a
disorderly persons offense.

N.J.S.A. 2C:35-7:
Any person who violates subsection a. of N.J.S.A. 2C:35-5 by distributing, dispensing or possessing with intent
to distribute a controlled dangerous or controlled substance analog while on any school property used for school
purposes which is owned by any elementary or secondary school or school board, or within 1,000 feet of any
school property or school bus, or while on any school bus, is guilty of a crime of the third degree and shall...

N.J.S.A. 2C:35-10:
It is unlawful for any person, knowingly or purposely to obtain, or to possess, actually or constructively, a
controlled dangerous substance or controlled substance analog, unless the substance was obtained directly or
pursuant to a valid prescription or order form from a practitioner, while acting in the course of his professional
practice, or except as otherwise authorized.




                                                                                                                   AR_293142
Case 4:24-cv-00461-O            Document 76          Filed 09/06/24         Page 119 of 290           PageID 3766


                                          BOY/GIRL COMPETITION

Although the implementation of Title 6 and the final decision on Boy/Girl participation in interscholastic athletics
in New Jersey is the jurisdiction of the Office of Equal Educational Opportunity (OEEO), New Jersey Department
of Education, the NJSIAA Executive Committee has approved the following guidelines for NJSIAA athletic
programs:

    1. Males shall be excluded from female athletic teams although there are no teams for boys in the same sport.

    2. Based on the directives of the Commissioner of Education, girls shall be allowed to participate in any
       boys' sports teams, on an equal basis with boys, provided that the same sports team is not available to
       girls at that school.

    3. Female athletes are not entitled to participate on boys' teams where there are girls' teams in the same
       sport. However, if particular events are not provided to girls' teams in the same sport, then girls must be
       allowed to try out for those events not offered to the female team.


                                          BROADCASTING RIGHTS

The NJSIAA has granted the exclusive rights to create, distribute and license programming in connection with
NJSIAA tournaments (and NJSIAA sporting events to the extent the NJSIAA controls or otherwise has authority
to grant such rights with regard to NJSIAA sporting events) in all media currently existing or yet to be developed.
This includes, without limitation, network and cable television broadcast, pay-per-view television, radio,
webcasting, streaming, podcasting, distribution over wireless telephone networks, optical media including DVD,
and print publications. The foregoing shall not be interpreted to restrict NJSIAA member schools from producing
print publications (i.e. programs or similar) for distribution on school property during the regular season NJSIAA
sports events, or to restrict the NJSIAA from producing print publications (i.e. programs or similar) for distribution
during post-season NJSIAA tournaments.

Any third party seeking to create, distribute or otherwise exploit programming in connection with the NJSIAA
sporting events in any media will be directed to the NJSIAA's designated broadcast partners, as applicable, by the
NJSIAA or the applicable member school. The NJSIAA designated broadcast partners shall have the right to enter
into license arrangements with such third parties.

The NJSIAA designated broadcast partners may create NJSIAA programming for distribution via any media
distribution means owned or controlled by their parent organization.

Notwithstanding anything herein to the contrary, including but not limited to the information above, NJSIAA
member schools may broadcast regular season (but not playoff, post-season tournament, or championship) athletic
contests involving such schools' own teams or athletes, without charging any fee to any viewer or other third
party, on such schools' own commercial-free television networks, their own commercial-free websites, or on
commercial-free public access television channels (provided that any agreement between an NJSIAA member
school and a commercial-free public access television channel does not permit sublicense or other use of the
telecast).


                                                 CHAPERONES

Chaperones are individuals appointed to accompany teams or individuals to NJSIAA Championships.




                                                                                                                  AR_293143
Case 4:24-cv-00461-O            Document 76          Filed 09/06/24         Page 120 of 290          PageID 3767


Member schools are reminded that a team or an individual is not permitted to compete in NJSIAA Championship
events unless a properly appointed "coach" is present, and was present at six (6) practices prior to the event. When
making these assignments, a public school must be aware of the provisions of the New Jersey Administrative
Code, Section 6A:9-5.19, entitled "Athletics Personnel," which mandates the requirements which a board of
education must follow when appointing individuals in a coaching capacity. The practice of having a parent, a
private instructor, or other adults accompany a student-athlete as the coach is a violation of this provision. Your
county superintendent will be able to confirm the certification or lack thereof of the individual you are assigning.
A properly appointed coach will thereafter be subject to the Rules and Regulations, Section 11 Out-of-Season
Practice.

Although non-public schools are not governed by the provisions of the Administrative Code, it is important that
such assignments be made in the best interests of the student-athlete; when a parent, a private instructor, or other
adults are appointed as coaches by the principal to accompany student-athletes, such coach will thereafter be
subject to the Rules and Regulations, Section 11 Out-of-Season Practice.

Gymnastics "spotters" must be approved coaches within this regulation; therefore, tournament directors are
instructed to disqualify any contestant who is accompanied by someone in a coaching/spotting capacity who is
not properly certified by the board of education in public schools or appointed by the principal in non-public
schools.

A principal's signature on the event entry form certifies that the coach/certified faculty member has been
appointed by the board of education within the provisions of the Administrative Code or the rules of the
private school.

If a properly qualified and certified appointment cannot be made, the school should not enter the team or
individual in an NJSIAA event.

Such appointments must be approved by the Board of Education; neither the NJSIAA nor the meet director has
the authority or the responsibility for enforcement of this statute, sole jurisdiction rests with the Department of
Education, and, therefore, a Principal's signature on the entry form certifies that the coach/certified faculty
member has been appointed by the Board of Education within the provisions of Title 6 Education.


                                              CLUB PROGRAMS

The NJSIAA recognizes twenty (20) separate and distinct sports for which the member schools have approved
rules and regulations to govern interscholastic competition. These are listed under Contest Rules, Section 9, Rule
2, Rules and Regulations.

As a pilot program, many member schools have initiated bona fide club programs in a recognized sport to
determine the interest and feasibility of seeking Board of Education approval to conduct the program on an
interscholastic basis. Most often these programs function with limited financial support from the Board; the coach
volunteers his/her services gratis; students, booster clubs, and sometimes the Board provide the equipment;
facilities are made available for the program and before long, this club program matures into a skilled, competitive,
stature seeking program.

In order to establish a firm credibility for the program, at this point the school agrees to schedule scrimmages or
games with schools conducting similar club programs. The misconception is that such scrimmages or games may
take place since the Board of Education condones it, even though they have not formally approved the program,
without relinquishing the title of a club activity. The moment interschool scrimmages or games take place, the




                                                                                                                 AR_293144
Case 4:24-cv-00461-O           Document 76          Filed 09/06/24         Page 121 of 290          PageID 3768


program is no longer a club activity, and member schools must adhere to all NJSIAA rules and regulations
governing the interscholastic program.

The interscholastic status then requires both schools to conduct their programs within the rules and regulations of
the NJSIAA and the State Board of Education; i.e., eligibility forms must be on file, physical examinations are
required, seasonal guidelines observed, course requirements must be met, and all other regulatory provisions
satisfied.

Question:       When does a club program become an interscholastic sport?
Answer:         The day an interschool scrimmage or game takes place.

All member schools sponsoring programs under the "Club" label and competing in interschool scrimmages or
games are reminded they are subject to Executive Committee action within the penalties outlined in the NJSIAA
Bylaws, Article X, Section 1 through 3.


                      NJSIAA COACHING CERTIFICATION AND REGULATIONS

A person shall be eligible to coach in any interscholastic contest, provided the person satisfies all of the
conditions listed below (For the purposes of this section, "coach" shall mean all persons who coach an
interscholastic high school athletic team in any way, whether for pay or as a volunteer at the varsity, junior
varsity and/or freshman level — ninth grade through twelve grade).

In addition to State Department of Education Regulations, the following regulations must be adhered to:

    1. The person's appointment as coach must be approved by the local educational agency responsible for the
       member school at which the person coaches.

    2. All new coaches will have 120 days after being hired to register for the NFHS Fundamentals of Coaching
       (Blended Version) course. Upon completion of the classroom components, coaches will have s sixty (60)
       days to complete the remaining four (4) components. A certificate of course completion must be submitted
       to respective athletic supervisors by June 30th to be eligible to coach at an NJSIAA member school for
       the subsequent school year.

Under no circumstances may a coach take the NFHS Fundamentals of Coaching Course completely on-
line.

    3. All coaches must hold a current certificate in CPR, AED and Basic First Aid. Online CPR/AED training
       courses do not satisfy this requirement.

    4. Beginning with the 2016-2017 school year all coaches must successfully complete a basic first aid course
       when renewing or completing CPR/AED certification.

    5. All coaches must obtain a "Concussion Awareness" certificate or its equivalent, renewed annually.

    6. All coaches must obtain a "Heat Acclimation Awareness and Wellness" certificate or its equivalent,
       renewed annually.
    7. Coaches currently in place, and/or who have experience coaching in an NJSIAA high school prior to the
       2006-2007 school year, will be exempt from provision 2 above. (While experienced coaches will not be




                                                                                                                 AR_293145
Case 4:24-cv-00461-O          Document 76         Filed 09/06/24       Page 122 of 290         PageID 3769


        required to adhere to provision 2 above, it is recommended that all coaches arc encouraged to take the
        fundamentals of coaching period.)

Note: The above regulations do not apply to the coaches appointed by the school to accompany student athletes
to individual events.


    STATE ADMINISTRATIVE CODE REQUIREMENTS FOR QUALIFICATION OF COACHES

The New Jersey Administrative Code sets forth qualifications for the coaching of public school pupils. These
qualifications are found at NJ.A.C. 6A:9-5.16, as follows:

N.J.A.0 6A:9B-5.16 Athletics Personnel
   a. Any teaching staff member employed by a district board of education shall be permitted to organize
       students for purposes of coaching or for conducting games, events, or contests in physical education or
       athletics.

    b. School districts may employ any holder of either a New Jersey teaching certificate or a substitute
       credential pursuant to N.J.A.C. 6A:9B-7 to work in the interscholastic athletic program provided the
       position has been advertised. The 20-day limitation noted in N.J.A.C. 6A:9B-7.4(a) shall not apply to
       such coaching situations.


                                   COMMERCIAL ENDORSEMENTS

The following guidelines have been developed to insure that all commercial endorsements meet goals and
objectives of the Association, and are undertaken for the benefit of the NJSIAA, its member schools, and their
Student-Athletes.

1. All commercial endorsements must have the approval of the Executive Committee on recommendation of the
   Finance Committee.

2. No member of the Executive Committee (including the Finance Committee) or any member of the NJSIAA
   staff will participate or vote on approving any endorsement of a commercial sponsor if they have any direct
   ownership interest in such sponsor.

   In considering any commercial endorsement, the NJSIAA will apply the following criteria:
   a. The relationship of the commercial sponsorship to the goals and objectives of the Association.
   b. The benefits to be derived from the sponsorships or activities by the Association and its member schools.
   c. The quality of the production or program with appropriate evaluation and references.
   d. The time length and extent of commitment required by the activities.
   e. The ultimate educational value of the activities or the beneficial educational effect of conducting the
       activities (e.g. the support of a particular educational program through sponsorships).
   f. The possibility of creating a conflict of interest for the Association.
   g. The clarity of purpose and activities of the program or service to be sponsored.
   h. The positive nature of a sponsor's product or activity.
   i. The effect of the financial activities on the maintenance and improvement of the positive image by the
       Association.
   j. The willingness of a sponsor to enter into a save-harmless agreement with the Association.




                                                                                                           AR_293146
Case 4:24-cv-00461-O            Document 76           Filed 09/06/24         Page 123 of 290          PageID 3770


    k. The necessity of avoiding sponsorships or activities which are in any way connected to productions or
       services of questionable value to or, in fact, detrimental to students (e.g. alcohol and tobacco products,
       medicines, gambling, etc.).
    1. The prohibition on advocating a religion or political party Termination, or temporary suspension, must
       always take place when an electrical storm is imminent. The decision to terminate or suspend a
       game/meet/event when an electrical storm is imminent may be made by either the host school or the
       official.


                                             CONCUSSION POLICY
The NJSIAA Concussion Policy mirrors the state law as it pertains to the development of interscholastic athletic
head injury safety training program, required measures to protect student athletes with concussions, and the
continuing education for athletic trainers.

A student who participates in an interscholastic sports program and who sustains or is suspected of having
sustained a concussion or other head injury while engaged in a sports competition or practice shall be immediately
removed from the sports competition or practice. A student-athlete who is removed from competition or practice
shall not participate in further sports activity until he is evaluated by a physician or other healthcare provider
trained in the evaluation and management of concussions, and receives written clearance from a physician trained
in the evaluation and management of concussions to return to competition or practice.

Written clearance may take place at game site on game day, if so given by trained physician as stated above.
Written release forms, must be present at all practices and competitions. However, once a student-athlete is
removed from competition or a practice, only a physician trained in the evaluation and management of concussions
can sign off on a written clearance that would allow a concussed or suspected concussed athlete to return. NJSIAA
has created a standardized written, RTP, form that will be available on NJSIAA.ORG. When a student athlete is
evaluated by a trained physician and is not cleared to return to play or practice that day/night, the school district's
Return to Play guidelines shall be followed.

Game officials will follow the protocol previously established and disseminated on September 1, 2010, namely
upon observing any signs, symptoms or behaviors that are consistent with a concussion, and the signs, symptoms
or behaviors are a result of an impact or contact of the player with another person, an object or the ground, the
student athlete is immediately removed from play and may not return to play without a written clearance from a
physician trained in the evaluation and management of concussions. The mechanics to enforce the rule are as
follows:

    1. Using sound game management procedures and judgment, upon observing a player who exhibits the signs,
       symptoms or behaviors that are consistent with a concussion, the official shall follow the sport specific
       guidelines for handling an injured player.
    2. When appropriate, call time out. If the player's safety is in jeopardy, call time out immediately.
    3. Beckon the physician/ATC onto the playing surface.
    4. Observe the injured player.
    5. Other game officials keep players/others away from the injured player.
    6. Apprise the physician/ATC of your observations as to the signs, symptoms, behaviors that are consistent
       with a concussion, including any conversation that you had with the injured player (any questions and
       answers that took place prior to the physician/ATC arriving).
    7. Note the game time, score, period or half, player name/number, etc. when injury and removal took place
       (for those sports that officials do not normally keep a game card on their person, begin doing so).




                                                                                                                   AR_293147
Case 4:24-cv-00461-O            Document 76          Filed 09/06/24          Page 124 of 290          PageID 3771


    8. If the prescribed written clearance form is signed by a physician, and the player returns to play that
       day/night, the official in charge must obtain a copy of the signed written clearance form and subsequently
       submit it to the association's keeper of records.

Schools and officials are reminded that NJSIAA is a 100% state, meaning that we follow the playing rules
established by the NFHS. Every NFHS sports rule book contains the following:
   "Any player who exhibits signs, symptoms or behaviors consistent with a concussion (such as loss of
   consciousness, headache, dizziness, confusion or balance problems) shall be immediately removedfrom
   the game and shall not return to play until cleared by an appropriate health-care professional."


             CONTROVERSIES AND DISPUTES BETWEEN OFFICIALS, SCHOOLS AND
                              LEAGUES/CONFERENCES

Prior, during, or after a New Jersey Interscholastic athletic event if an incident occurs between officials, players,
spectators, and/or school personnel and the incident warrants investigation, the following procedures should be
followed:

    1. Immediate attempt should be made to resolve the incident at the local administrative level with building
       Principals. A report with request for review should be forwarded to the school administration.

    2. If there is no successful resolution of the incident at this level, and the aggrieved party is an official, then
       all facts should be presented in written form to the president of the official's chapter who will forward a
       written hearing request to the appropriate league or conference.

    3. If the aggrieved party is a member school, then all facts shall be presented in a written form to the league
       or conference or official's chapter, as the case may be; with a request for a hearing.

    4. At this time, the Executive Director of the NJSIAA shall be notified in writing of the hearing request by
       the aggrieved party's chapter, league or conference.

    5. The NJSIAA will become directly involved in the incident; (1) If, after a hearing, the case is referred to
       the NJSIAA Controversies Committee or (2) If the aggrieved party believes the hearing action to be
       unsatisfactory and requests further review by the NJSIAA Controversies Committee.

    6. Whenever a coach removes a team from the field/court prior to the conclusion of the game, meet or event,
       an official must report this violation to the NJSIAA immediately; and all disqualifications within seven (7)
       days.

                          GUIDELINES — COOPERATIVE SPORTS PROGRAMS

Section 10
Cooperative Sports Programs
    A. The Executive Committee shall approve all Cooperative Sports Programs (CSP) upon the recommendation
       of the Cooperative Sports Committee (CSC) or the Cooperative Sports Appeals Committee (CSAC). Such
       Cooperative Sports Programs will be based upon an agreement between the cooperating schools whereby
       one of the two schools shall have the complete responsibility as the Local Education Agency (LEA) for the
       conduct of the specific sport(s), which will be available to the students at both schools.




                                                                                                                   AR_293148
Case 4:24-cv-00461-O         Document 76          Filed 09/06/24        Page 125 of 290         PageID 3772


      CL 1: Cooperative Sports Program applications should be signed by an officer of the Participating
      League or Conference, and indicate whether the League or Conference endorses or not endorses the
      application. The Participating League or Conference is defined as the entity that schedules the regular
      season gamesfor that particular sport.
      CL 2: This section establishes a process by which Cooperative Sports Program applications are
      processed, reviewed, and appealed. A CSP is an exception to the general requirement that students play
      sports at the school at which they are enrolled. A CSP is not to be used to place students in another
      school's program simply because the student(s) ' school does not offer the particular sport. Both schools
      must demonstrate a needfor and commitment to the CSP.

   B. The purpose of a Cooperative Sports Program is to provide opportunities for participation when none
      would otherwise exist, as for instance when a school lacks a particular program or when a school has
      declining enrollment in a particular program. Under no circumstances is a CSP to be used for purposes of
      creating a stronger or more competitive team, or as an excuse for eliminating an otherwise viable athletic
      program.

       Cooperative Sports Programs should be comprised of schools from the same Participating League or
       Conference or General League or Conference. Crossover to other Leagues or Conferences is only
       permitted after efforts have been exhausted to partner with a school within the same League or
       Conference. If a CSP is comprised of schools from different Leagues and Conferences, then approval
       must be received from all Leagues and Conferences involved.

   C. Schools may enter into a Cooperative Sports Program for any sport and for any Group size. However, the
      following conditions must be met in order for a Cooperative Sports Program application to be considered
      by the CSC:

       1. A public high school can only enter into Cooperative Sports Programs with another public high school
          while non-public high schools can only enter into such programs with another non-public high school.
       2. A member school may enter into Cooperative Sports Programs with more than one other school for
          more than one sport; however, a member school may only enter into one Cooperative Sports Program
          for a particular sport.
       3. In Cooperative Sports Programs involving ice hockey, three public schools or three non-public
          schools may combine to form a tri-school Cooperative Sports Program with a maximum thirty (30)
          student athlete roster, if their respective leagues approve. Public schools may not combine with non-
          public schools.
       4. A Cooperative Sports Program is for a two year period with an automatic two year renewal. Written
          notification of automatic renewal must be submitted by the sports specific deadlines indicated below.

       Completed applications and required written documentation must be submitted to the NJSIAA office by
       the following sports specific deadlines:
           Fall sports — January 15"1; Winter sports — April 15th; Spring sports — September 15'
   D. The total enrollment used for classification purposes of the Cooperative Sports Program will be
      determined based upon the most current year joint pupil enrollment of grades 9, 10, and 11. One hundred
      percent (100%) of the partner school's enrollment shall be added to the LEA's enrollment for the purpose
      of postseason playoff classification. In addition, the Cooperative Sports Committee may place a CSP in
      a more competitive classification if necessary for competitive balance. Such classification of the CSP
      will not affect either school's classification in any other sport.




                                                                                                            AR_293149
Case 4:24-cv-00461-O         Document 76         Filed 09/06/24       Page 126 of 290         PageID 3773



   E. Cooperative Sports Committee (CSC):
      The President of the Executive Committee shall nominate a Cooperative Sports Committee of no less
      than five members and a chairperson, none of whom shall be members of the NJSIAA Executive
      Committee. The CSC will approve or disapprove each Cooperative Sports Program application.
      Approved applications will be presented at the next Executive Committee for final approval.
      The CSC will also make classification determinations at the time of approval of the Cooperative Sports
      Program. The CSC will take into consideration the combined enrollments as well as other factors
      determined by the Committee.
      The LEA, Partner school or Participating League or Conference may appeal any such decision by the
      CSC. Such appeal will be heard by the Cooperative Sports Appeal Committee per Article III, Section
      10.E.
      CL 2: The CSC will meet three times per year and their decisions will be based on written
      documentation submitted to the committee. Such meetings will occur within 45 days after each deadline
      prescribed in Article 111, .Section 10.R. Decisions of the CSC will he communicated to the applying
      schools within 10 business days of the meeting date.
      CL 3: The CSC may change the classification determination previously made. Such change in
      classification will coincide with the automatic renewal period.
   F. Cooperative Sports Appeals Committee (CSAC):
      The President of the Executive Committee shall nominate a Cooperative Sports Appeals Committee of
      no less than five members and a chairperson, all of whom shall be members of the NJSIAA Executive
      Committee. All appeals from initial decisions of the CSC shall be determined by the Cooperative Sports
      Appeals Committee. The CSAC will not hear appeals of the classification determination made by the
      CSC.
      The CSAC shall consider Cooperative Sports Program matters, in accordance with the following
      procedures:
                 i. The CSAC shall decide an appeal on either written submission or at a hearing.

                 ii. The CSAC shall meet to determine any pending appeals on days corresponding with the
                     regularly scheduled meetings of the Executive Committee.

                 iii. Four members of the CSAC shall constitute a quorum. The Chairperson shall be a non-
                      voting member of the Committee except where there is a tie to vote on any appeal. A
                      member shall not vote on any appeal, the outcome of which would affect the schedule of
                      that member's school.
      If the CSAC approves a Cooperative Sports Program application, then they will make the classification
      determination at the time of approval. The CSAC will take into consideration the combined enrollments
      as well as other factors determined by the Committee.
   G. The LEA, Partner school or Participating League or Conference may appeal any such decision of the
      CSAC. Such appeal will be heard by the Executive Committee and such decision will be considered
      final.
   H. Cooperating schools may include all school names on their uniforms; however, the LEA name will be
      used by the NJSIAA for classifications and seeding brackets.
   I. Either the LEA or Partner school may exit a Cooperative Sports Program at any time during the time
      period covered by the approved application. Written notice must be submitted to the NJSIAA and the




                                                                                                          AR_293150
Case 4:24-cv-00461-O            Document 76           Filed 09/06/24          Page 127 of 290           PageID 3774


        other participating school(s). Upon early termination, the participating schools will be reclassified to
        their natural classification as a single school.
    J. A Cooperative Sports Program for a particular sport will cover all levels of competition (i.e. freshman,
       J.V. and varsity). However, either school may establish a stand-alone sub-varsity team while continuing
       in the cooperative program in that same sport.
    K. The Executive Committee shall be authorized to adopt appropriate guidelines, not inconsistent with the
       provisions of this Section, so as to implement the Cooperative Sports Programs.
    L. No Cooperative Sports Program shall be allowed unless approved by the Executive Committee after
       prior approval by the Boards of Education of the cooperating schools.


                               DISQUALIFICATION OF COACHES/PLAYERS

The following guidelines will serve to implement, clarify and interpret the provisions of Note 4: Specific Sport
Regulations.

The rules in many sports are now providing explicit instructions as to the removal of a coach/player from the game
and the designated area to which they are assigned. If there are any specific playing rules which require
disqualification within a sport, the official must be cognizant of these rules as they apply to that specific
sport. These circumstances have necessitated establishing specific guidelines for officials to follow when a
coach/player is disqualified.

Whenever it becomes necessary to disqualify a coach from the game, the official should ascertain the availability
of another coach or qualified faculty member who can assume responsibility for the team, and then employ the
following procedures:

    1. If the administrator or representative is able to designate such a person, the disqualified coach should be
       removed from the immediate area;

    2. If the administrator or representative is not able to make this designation, the disqualified coach should be
       assigned to an area where the coach can visually observe the game and be available to protect the safety and
       welfare of the team. If the disqualified coach uses this privilege to communicate with the team or is again guilty
       of an unsportsmanlike act, the game shall be terminated and the Central Office of the NJSIAA notified in
       writing.

    3. Any coach/player disqualified before, during or after an interscholastic event for unsportsmanlike flagrant
       verbal or physical misconduct will be disqualified from the next two (2) regularly scheduled games/meets,
       with the exception of football which will carry a one (1) game disqualification, at that level of competition
       and all other game(s) meet(s) in the interim at any level in addition to any other penalties which the NJSIAA
       or a league/conference may assess. Such disqualification prevents a coach/player from being present at the
       site.

   CL 1: Definition of not being present at the site means the disqualified player or coach is not to be present
   in the locker room, on the bus, on the sidelines, in the stands or site area before, during or after the
   game/meet.

   Any player/coach in violation of this provision will be causeforforfeiture of those games during the period
   of disqualification.
                                                           10




                                                                                                                     AR_293151
Case 4:24-cv-00461-O            Document 76          Filed 09/06/24         Page 128 of 290          PageID 3775



   CL 2: These NJSIAA procedures will supersede a playing rule which requires a coach or player to leave
   the premises upon disqualification; therefore, a player will be confined to the bench area to remain under
   the supervision of the coach. If said player continues to be disruptive or acts in an unsportsmanlike
   manner, the official may terminate the game/event.

Officials must use discretion in exercising their prerogative as most often these situations call for a high degree
of tact. The unruly coach should be dealt with in a stem but courteous manner the very first time actions prompt
any cautioning by an official. This will usually forestall any punitive measures having to be taken at a later and
more critical time of the game.

Mechanics at Time of Disqualification:

    1. Call time out — stop the action.

    2. Do not hurry — if player is disqualified, request player to accompany you to the coach — go directly to
       coach, if player hesitates — give a direct statement of explanation to the coach/player as to why "player"
       was disqualified — do not debate the issue — be professional, courteous and assertive. If coach is
       disqualified, same procedure applies.

    3. Go to opposing coach, and give exact same statement.

    4. Resume the game.

Upon Conclusion of Game:

    1. If conditions permit, include a brief explanation of reason for disqualification, name and/or number of
       coach/player and offending school in each team's scorebook before signing same, if signature is required.

    2. Any questions relative to period of disqualification should be referred to NJSIAA. The official is not an
       enforcer of the additional game(s) disqualification; however, if the official is aware of the presence of a
       coach/player at a game during the disqualification period, the offending individual should be reported to
       the NJSIAA by the official.

    3. The coach of the offending team (freshman, junior varsity, varsity has a dual responsibility with the official
       to report each disqualification to his/her Athletic Director in person or via phone by noon of the next day.
       Failure of a coach/official to follow the prescribed procedure in reporting the disqualification does not void
       the penalty and, if the official is at fault, it should be reported to the official's Chapter Secretary and the
       NJSIAA.

    4. A disqualification report must be completed online within 48 hours of the disqualification. No other
       reporting process will be accepted. The online form will be electronically sent to the offending school's
       principal, athletic director and the NJSIAA. The official should also notify their chapter of the
       disqualification. Failure to file these reports will result in punitive action by the chapter and the
       NJSIAA.

    5. Any disqualification resulting from harassing verbal or physical related to race, gender, ethnicity,
       disability, sexual orientation or religion at an interscholastic event must be noted on the Disqualification
       Form, with a description of the offending conduct provided.
                                                         11




                                                                                                                  AR_293152
Case 4:24-cv-00461-O             Document 76           Filed 09/06/24          Page 129 of 290           PageID 3776



    6. Disqualifications for Federated/Non-Member Schools will not be reported to the NJSIAA. Officials will
       forward D.Q. forms to the Federated School Ex. Sec. for their records. Any disqualifications for member
       schools     continue to be reported to the NJSIAA regardless of the opponent's status.
                 will
Attention:

    1. Once a coach/player has been disqualified, NO appeals will be honored from the player, coach, official
       or any other party. Disqualification is a judgement call and officials must be certain the act warrants
       disqualification. All complaints against an official must be directed to the official's Chapter Secretary and
       the NJSIAA.

    2. Any coach who is disqualified a second time in single or multiple sports within a 365 day period will be
       required to appear before the Controversies Committee.

Clarifications — Disqualification Rule:

The Cardinal Rule is:
       Officials officiate the game.
       Coaches coach the game.
       Players play the game.
       Concentrate on your area of the game.

   CL 1: Officials are reminded that prudent judgement should be utilized prior to any disqualification. An
   official may not have a "change of'mind" after the disqualification has been enforced; there is no such
   condition as "the act was not serious enough for the player/coach to be disqualified from additional
   game(s). " All disqualification for flagrant, unsportsmanlike conduct will always carry the additional
   game(s) penalty; flagrant, unsportsmanlike conduct is not a `playing rule" violation. The determination
   of disqualification must be made at the time of the violation.

   CL 2: Flagrant is a glaring action by a player or coach which is excessive physical play or unacceptable
   conduct as adjudged by the game/meet official(s).

   CL 3: Regular season, rescheduled or tournament games which are in place prior to the disqualification will
   be used to satisfy the penalty; any games arranged by the school after the disqualification to be played during
   the disqualification period will be added to the penalty. Scrimmages cannot be used to satisfy the disqualification
   rule. The competition must begin in order tofuf ll the requirements of the disqualification rule.

   CL 4: "Not being present at the site" means the disqualified player or coach is not to be present in the
   locker room, on the sidelines, in the stands or site area before, during or after the game/meet. Any
   player/coach in violation of this provision will be causeforforfeiture of those games during the period of
   disqualification.

   CL 5: Ejection or removal of a playerfor a specific sport rule will carry the disqualification penalty only
   when it includes a flagrant unsportsmanlike act.

   CL 6: Seniors who are disqualified from their last game will serve the penalty in a subsequent sports
   season. When seniors are disqualifiedfrom their last game of their high school careers, member schools
   are required to take proper administrative action to discipline the offending student.
                                                           12




                                                                                                                         AR_293153
Case 4:24-cv-00461-O           Document 76          Filed 09/06/24        Page 130 of 290          PageID 3777



   CL 7: Seniors who quit a sport and have notfulfilled their penalty in that sport, must serve it in the new
   sport before beginning playing in the new sport.

   CL 8: Any player/coach disqualified in single or multiple sportsfor a second time will have the penalty
   doubled (i.e., in football -disqualified for two (2) games; all other sports - four (4) games.
   Disqualifications will countfor 365 daysfrom the date of thefirst disqualification.

   CL 9: Any player with two or more disqualifications in the current season, prior to the start ofan NJSIAA
   tournament, will be ineligible to compete in said tournament. A second disqualification for an individual
   in any game/meet/match supersedes NFHS rules in this regard.

   CL 10: Any varsity team accumulating three or more player or coach disqualifications for flagrant
   unsportsmanlike conduct prior to the start of a tournament will not be permitted to participate in same.
   Seeded teams willforfeit their right to compete if a disqualification limit is reached prior to the start of
   the tournamentfor the team.

   CL 11: Single/multiple sports — on the third offense; players disqualified will be suspended indefinitely,
   and must apply, in writing, to the NJSIAA through the office of their Principal for reinstatement.
   Disqualifications will countfor 365 daysfrom the date of thefirst disqualification.

   CL 12: Any coach disqualified a second time in single or multiple sports in a 365 day period from the
   date of thefirst disqualification will be required to appear before the Controversies Committee with the
   Principal and the Athletic Director.

   CL 13: Any coach who is disqualified and/or has three or more players on a team disqualified during the
   course of the preceding school year must complete the NFHS Teaching and Modeling Behavior course. This
   course license must he obtainedfrom the N.ISIAA with the course completion certificate due to the NJSIAA
   within sixty (60) days of initial NJSIAA notification of the disqualification requirement. A disqualified coach
   must also complete the New Jersey component and submit the Course Completion Certificate to the NJSIAA
   within 60 days.

NOTE: Any coach failing to fulfill his/her responsibility as it applies to CL13, would be suspended from coaching
in any capacity at any NJSIAA member school until the successful completion of the NFHS Teaching and
Modeling Behavior and the New Jersey stand-alone component (located on the NFHS Learn.com website).

                                               DRONE POLICY

    1. Except as provided in paragraph 4 below, the use of unmanned aerial systems ("UAS"), commonly
       referred to as "drones", by any NJSIAA member school is permitted during practice and at home events
       in accordance with applicable local, State, and Federal laws and regulations.

    2. Member schools are permitted to use UAS at away events with advance written permission of the host
       school, or, in the event there is no home school, the site manager.

    3. If only one school operates a UAS at an event, the UAS video shall be provided to all other participating
       schools as soon as practicable after the conclusion of the event.

    4. The use of UAS at an NJSIAA tournament event is prohibited.
                                                 13




                                                                                                                  AR_293154
Case 4:24-cv-00461-O           Document 76          Filed 09/06/24         Page 131 of 290          PageID 3778


                                 EMERGENCY MEDICAL PROCEDURES

The NJSIAA and the National Federation recommend that a physician be present at athletic contests and available
(on call) during practice sessions. With many sports activities in progress at any one time, it is often impossible
to have physicians present at all contests. In fact, some small communities in rural areas and inner-city schools
may not have the services of a physician. This makes it mandatory for the school administrators and coaches to
arrange a procedure to obtain medical care and treatment for emergencies to include athletic trainer where
applicable.

Some sources of assistance that may be utilized when physicians are not available are certified athletic trainers,
emergency medical technicians usually on emergency vehicles, ambulance vehicle with trained personnel, rescue
vehicles with trained first-aid personnel and, in some areas, National Guard or Army Reserve medical personnel
assigned to ambulance duty. Schools may also have other school personnel qualified in first-aid, who may be
available for duty during activities

Recommended procedures that may be followed in successful emergency care are:
    1. Immediate, on the spot first-aid by an individual with adequate training.

    2. Communication System. An available, non-pay telephone with an outside line to contact a physician or
       ambulance service. Arrangements should be made in advance to insure availability.

    3. Emergency care facility. Arrangements should be made, in advance, with staff personnel of local hospital
       or clinic to notify, in case of emergency, that emergency service is necessary.

    4. Notification. The facility to which the injured player is being transported should be immediately informed
       of the injured player's status. Necessary personnel and equipment should be available at the facility or
       physicians, on call, could be notified of the emergency.

    5. Transportation. Ambulance, emergency vehicle, first-aid vehicle or rescue vehicle, with appropriate
       equipment and personnel may be parked at the field or game site. If this procedure is not feasible, prior
       arrangements should be made to have equipment on call when an emergency develops. Again, an
       available, non-pay telephone with an outside line should be immediately available.

    6. Communities without physicians, medical clinics or hospital service should complete arrangements with
       medical personnel and hospital facilities in the nearest community where such services are available.

The plan of action specified above should be carefully covered, in advance, with responsibilities of all concerned
— trainer, coach, vehicle personnel, school administrators, local police, deputies, or constables — defined. When
an emergency does occur, everyone involved can function as an informed, effective team.

Local plans of action to meet emergency situations will vary depending on availability of medical personnel and
facilities, the location of the playing field or site and communications. In all cases, the emergency situation plan
is best developed through cooperative action of local school personnel, participating professional medical staff
and allied groups.

When there is a school physician or community health department providing school health services, the medical
people involved should share in the planning. When no such service exists, the school administration should
request medical assistance through the local medical professional groups, the county medical society, the
community hospital staff or personal contact with a physician. Many doctors may be interested in assisting as
                                                        14




                                                                                                                AR_293155
Case 4:24-cv-00461-O           Document 76          Filed 09/06/24         Page 132 of 290          PageID 3779


team physicians but school administrators should initiate the first contact. Ethics of the medical profession
necessitates this procedure.

Understanding is the key to an effective emergency care plan. Everyone involved — school personnel, medical
professionals, allied medical groups, transportation staff, and the like — must know exactly what is going to be
done in an emergency and who will be responsible for carrying out the various tasks involved. When this
procedure has been completed, the players, coaches, administrators, parents, and medical personnel will know
that everything possible has been done to protect the health, safety and welfare of a player who may be injured.

                        FOOTBALL OPEN RECRUITING PERIOD GUIDELINES

The following are guidelines for all member schools to adhere to during the NCAA Open Recruiting Period:

1.      When a college coach is onsite at a NJSIAA-member high school, the high school coach shall be
permitted to administer a football specific evaluation session at the request of a college coach.

2.     High school coaches shall be permitted to attend and assist with any workout observed by the college
coach.

3.       The workouts to be observed by a college coach may include:
         a.     Strength training
         b.     Agility, speed and endurance training
         c.     Position specific skills workouts (see details below)

4.      Position specific skills workouts include, but is not limited to, throwing, blocking, running routes,
kicking/punting, or defensive positioning.

5.     The workouts SHALL NOT resemble any form of organized practice. Therefore, no diagramed plays
may be executed, no individual skills training may occur, and no scrimmaging of any kind regardless of the
number of players participating in the workout.

6.       Each onsite visit/workout may not exceed one hour in length.

7.       No player protective gear may be used. Protective gear includes, but is not limited to, helmets, shoulder
pads, rib pads or thigh/knee pads.

8.     THUD or live contact with another student-athlete is not allowed at any time. The only football-specific
equipment that may be in use are blocking/tackling dummies, blocking/tackling sleds or hand-shields.

A high school coach that violates any part of these guidelines will receive an automatic two-game suspension,
such suspension to be served during the first two regular season games during the immediate next season.

     NATIONAL ATHLETIC TRAINER'S ASSOCIATION PRE-SEASON HEAT ACCLIMATIZATION
                 REQUIREMENTS FOR SECONDARY SCHOOL ATHLETICS

Before participating in the preseason practice period, all student-athletes should undergo a pre-participation
medical examination administered by a physician (MD or DO) or as required/approved by state law. The
examination can identify predisposing factors related to a number of safety concerns, including the identification
of youths at particular risk for exertional heat illness.

                                                        15




                                                                                                                AR_293156
Case 4:24-cv-00461-O            Document 76          Filed 09/06/24         Page 133 of 290           PageID 3780


The heat-acclimatization period is defined as the initial 14 consecutive days of preseason practice for all student-
athletes. The goal of the acclimatization period is to enhance exercise heat tolerance and the ability to exercise
safely and effectively in warm to hot conditions. This period should begin on the first day of practice or
conditioning before the regular season. Any practices or conditioning conducted before this time should not be
considered a part of the heat-acclimatization period. Regardless of the conditioning program and conditioning
status leading up to the first formal practice, all student-athletes (including those who arrive at preseason practice
after the first day of practice) should follow the 14-day heat-acclimatization plan. During the preseason heat
acclimatization period, if practice occurs on 6 consecutive days, student-athletes should have I day of complete
rest (no conditioning, walk-throughs, practices, etc.).
Days on which athletes do not practice due to a scheduled rest day, injury, or illness do not count toward the heat-
acclimatization period. For example, an athlete who sits out the third and fourth days of practice during this time
(eq, Wednesday and Thursday) will resume practice as if on day 3 of the heat-acclimatization period when
returning to play on Friday.

A practice is defined as the period of time a participant engages in a coach-supervised, school-approved, sport- or
conditioning-related physical activity. Each individual practice should last no more than 3 hours. Warm-up,
stretching, and cool-down activities are included as part of the 3-hour practice time. Regardless of ambient
temperature conditions, all conditioning and weight-room activities should be considered part of practice.

A walk-through is defined as a teaching opportunity with the athletes not wearing protective equipment (e.g.,
helmets, shoulder pads, catcher's gear, shin guards) or using other sport-related equipment (e.g., footballs, lacrosse
sticks, blocking sleds, pitching machines, soccer balls, marker cones). The walk-through is not part of the 3-hour
practice period, can last no more than 1 hour per day, and does not include conditioning or weight-room activities.

A recovery period is defined as the time between the end of I practice or walk-through and the beginning of the
next practice or walk-through. During this time, athletes should rest in a cool environment, with no sport- or
conditioning-related activity permitted (e.g., speed or agility drills, strength training, conditioning, or walk-
through). Treatment with the athletic trainer is permissible.

The 14-Day Heat Acclimatization Period — Core Principles:

    1. Days I through 5 of the heat-acclimatization period consist of the first 5 days of formal practice. During
       this time, athletes may not participate in more than 1 practice per day.

    2. If a practice is interrupted by inclement weather or heat restrictions, the practice should recommence once
       conditions are deemed safe. Total practice time should not exceed 3 hours in any I day.

    3. A 1-hour maximum walk-through is permitted during days 1-5 of the heat-acclimatization period.
       However, a 3-hour recovery period should be inserted between the practice and walk -through (or vice
       versa).

    4. During days 1-2 of the heat-acclimatization period, in sports requiring helmets or shoulder pads, a helmet
       should be the only protective equipment permitted (goalies, as in the case of field hockey and related
       sports, should not wear full protective gear or perform activities that would require protective equipment).
       During days 3-5, only helmets and shoulder pads should be worn. Beginning on day 6, all protective
       equipment may be worn and full contact may begin.

            a. Football only: On days 3-5, contact with blocking sleds and tackling dummies may be initiated.
            b. Full-contact sports: 100% live contact drills should begin no earlier than day 6.

                                                         16




                                                                                                                  AR_293157
Case 4:24-cv-00461-O            Document 76          Filed 09/06/24         Page 134 of 290          PageID 3781


    5. Beginning no earlier than day 6 and continuing through day 14, double-practice days must be followed
       by a single-practice day. On single-practice days, I walk-through is permitted, separated from the practice
       by at least 3 hours of continuous rest. When a double practice day is followed by a rest day, another double
       practice day is permitted after the rest day.

    6. On a double-practice day neither practice should exceed 3 hours in duration, and student-athletes should
       not participate in more than 5 total hours of practice. Warm-up, stretching, cool-down, walk-through,
       conditioning, and weight-room activities are included as part of the practice time. The 2 practices should
       be separated by at least 3 continuous hours in a cool environment.

    7. Because the risk of exertional heat illnesses during the preseason heat-acclimatization period is high, we
       strongly recommend that an athletic trainer be on site before, during, and after all practices.

                                      HEAT PARTICIPATION POLICY
Introduction:
 History shows that most exertional heat stroke deaths occur during August; however, athletes will be at risk
 whenever in the presence of elevated ambient temperatures with high humidity. For many years, coaches have
 utilized the Heat Index to determine safe conditions for exercise in a hot environment. Evidence-based
 research, first initiated with the military, proves that Wet Bulb Globe Temperature (WBGT) should be the
 environmental monitoring measure during athletic participation in the heat.
 The Heat Index was developed as a measurement of ambient temperatures and relative humidity while resting
 in the shade. It is intended to provide outdoor restrictions for the elderly and adolescents during times of
 elevated temperatures. It is not relevant to a athletic activity settings. However; the WBGT is a measurement
 of ambient temperature, relative humidity, radiant heat from the sun and wind speed. When outdoor activities
 are conducted in the direct sun, the WBGT is the most pertinent to use. Although read in degrees, the WBGT
 does not reflect degrees of air temperature. A WBGT reading of 92 F may equate to a Heat Index reading of
 104-105 degrees F.
Method:
 The NJSIAA Heat Participation Policy will be utilized in conjunction with the NJSIAA Pre-Season Heat
 Acclimatization Policy. Monitoring the environmental conditions through the WBGT and making the
 appropriate activity modifications is an effective preventative measure in reducing the risk of exertional heat
 stroke. The athletic trainer, certified designee or individual (e.g. coach) appointed by the athletic director must
 use a scientifically-reliable WBGT measuring device and take an on-site reading 30 minutes prior to activity
 and a minimum of every hour during activity. Readings must be recorded on the NJSIAA Heat Participation
 Policy Record Chart. All corresponding modifications must also be recorded on the chart.
References:
       http://ksi.uconn.edu/prevention/wet-bulb-globe-temperature-monitoring/
       http://ksi.uconn.edu/high-school-state-policies/wbgt-policies/
       ttp://ksi.uconn.edu/prevention/heat-acclimatization/

Frequently Asked Questions:
 Is the NJSIAA Heat Participation Policy just for football in the fall prcscason?

 The NJSIAA Heat Participation Policy must be followed by all sports and has no specific ending date. Athletic
 trainers and coaches must follow the policy anytime the Wet Bulb Globe Temperature (WBGT) readings are
                                                         17




                                                                                                                  AR_293158
Case 4:24-cv-00461-O           Document 76         Filed 09/06/24        Page 135 of 290          PageID 3782


 at an elevated level. During this time, practices and games must be held in accordance with the NJSIAA Heat
 Participation Activity Guidelines.

 What does the Wet Bulb Globe Temperature (WBGT) mean and how is this different from the heat index?

 The Heat Index is a measurement of ambient temperatures and relative humidity while resting in the shade. It
 is intended to provide outdoor restrictions for the elderly and adolescents during times of elevated
 temperatures. It is not relevant to an athletic practice setting.
 The Wet Bulb Globe Temperature (WBGT) is a measurement of ambient temperature, relative humidity,
 radiant heat from the sun and wind speed. When outdoor activities are conducted in the direct sun, the WBGT
 is the most pertinent to use. Although read in degrees, it does not reflect degrees of air temperature. A WBGT
 reading of 92 F may equate to a Heat Index reading of 104 —105 degrees F.

 How frequently should WBGT readings be taken duringpractices and games?

 WBGT readings must be taken on the practice and game site a minimum of every hour, beginning 30 minutes
 before the beginning of the practices and games. All readings must be recorded on the NJSIAA Heat
 Participation Policy Record Chart.

 Does the NJSIAA Heat Participation Policy apply to both practices and games?

 The NJSIAA Heat Participation Policy applies to both practices and games. At least 30 minutes prior to the
 start of a game, the officials must be informed of the on-site WBGT reading and the recommended
 modifications if the WBGT reaches an Orange Flag or Red Flag (e.g. built-in water breaks). There have been
 very few documented catastrophic heat-related incidents during a game; likely due to the nature of games
 having built in rest breaks already (e.g. quarters and half-time). Therefore, modifications during games should
 include increased rest breaks, access to fluids, and cooling zones. Protective equipment must be worn during a
 game according to the rule book. However, for sports requiring protective equipment, the equipment must be
 removed and active cooling (e.g. cold towel rotation, misting fans) initiated during the built-in water breaks.
 Keep in mind that scrimmages take place during the preseason acclimatization period and are considered
 practices; therefore, must also follow the Heat Participation Activity Guidelines. If the WBGT reaches a Black
 Flag during the game, the game must be postponed for 30 minutes followed by another WBGT reading (similar
 to the lightning rule). The game must not resume until the WBGT falls below a Black Flag.

 Heat Participation Policy Guidelines:
 Schools must follow this best practice policy when conducting outdoor practices and games in all sports. The
 policy follows modified guidelines of the American College of Sports Medicine, and is specific to New Jersey,
 in regard to:
     1. The scheduling of practices during times of various Wet Bulb Globe Temperature (WBGT) levels
     2. The ratio of workout time to time allotted for rest and hydration during times of various WBGT levels
     3. The WBGT levels which will result in practices and contests being modified or terminated.

 An instrument scientifically approved to measure WBGT must be utilized at each practice and game. WBGT
 readings must be taken on the practice and game site a minimum of every hour, beginning 30 minutes before
 the beginning of practice and game. All readings must be recorded or data logged (e.g. written or electronic


                                                       18




                                                                                                              AR_293159
Case 4:24-cv-00461-O              Document 76         Filed 09/06/24         Page 136 of 290          PageID 3783


 form). In the event that a modification or cancellation was required, documentation using the WBGT NJSIAA
 Heat Participation Policy Record Chart must be completed.




   RE :1D-           Flag;Risk for Heat CTIVIT\ GI_ IDELINES AND REST BREAK GUIDELINE
    lNG      !               Illness,
                              Very      Normal activities — Provide at least three separate rest breaks each
                              Low       hour of minimum duration of 3 minutes each during workout.
  80.0° F —    Yellow         Low       Use discretion for intense or prolonged exercise; watch at-risk
   85.0°F                               players  carefully; Provide at least three separate rest breaks each
                                        hour with a minimum duration of 4 minutes each.
                             Mode ra    Maximum Practice time is 2 hours, For Football, Lacrosse and Field
  85,I"F --    (} •aogee        to      Hockey: All helmets and shoulder pads must be removed for
      tl l<'                            practice and conditioning activities. If the WBGT rises to this level
                                        during practice, football players may continue to work out wearing
                                        football pants without changing into shorts. For All Sports: provide
                                        at least four separate rest breaks each hour with a minimum
                                        duration of 4 minutes each.
                                   High        Maximum length of practice is 1 hour. For Football, Lacrosse and
                                               Field Hockey: No protective equipment may be worn during
                                               practice and there must be no conditioning activities. For All Sports:
                                               there must be no conditioning and there must be 20 minutes of rest
                                               breaks distributed throughout the hour of practice.
    1                              Very        NO OUTDOOR WORKOUTS. Delay practice until a cooler
     itii
                                   High        WBGT level is reached.


 Guidelines for hydration and rest breaks:
    1. Rest time must involve unrestricted access to fluids (e.g. water or electrolyte beverages).
    2. With sports requiring helmets (e.g. football, lacrosse, field hockey), the helmets must be
         removed during rest time.
     3. The site of the rest time must be a in a shaded area.
    4. When the WBGT reading is >85.0°F
              a. Ice towels, spray bottles filled with ice water or equivalent must be available to aid in
                 the cooling process within the shaded area.
 Definitions:
            1. Game: any NJSIAA sanctioned event.
            2. Practice: the period of time that a participant engages in coach-supervised, school-approved
               sport or conditioning-related activity. Practices are timed from the time the players report to the
               field until they leave.
            3. Walk through: this period of time shall last no more than one hour and is not considered to be
               a part of the practice time regulation and may not involve conditioning or weight-room
               activities. Players may not wear protective equipment.



                                                           19




                                                                                                                     AR_293160
Case 4:24-cv-00461-O           Document 76          Filed 09/06/24         Page 137 of 290           PageID 3784


 The aforementioned policy must be carried out by the athletic trainer, certified designee or individual as
 appointed by the athletic director which includes a coach or any individual responsible or sharing duties
 for making decisions concerning the implementation of modifications or cancellation of practices and
 games based on WBGT.
 In accordance with the current school compliance checks, the compliance monitors checklist will include items
 specific to:

     •   Presence of a WBGT device
         Documentation of all practices and games requiring modification on the NJSIAA Heat
         Participation Policy Record Chart
         Proof of written and signed off Heat Participation Policy document


                                COLD WATER IMMERSION TUB POLICY

 All schools participating in interscholastic athletics must have a comprehensive, detailed Emergency Action
 Plan (EAP), including heat injury. When treating a potential Exertional Heat Stroke (EHS), schools must be
 properly prepared and equipped to initiate Cold Water Immersion (CWI) or other approved cooling technique.
 Cooling techniques must be implemented immediately, and concurrently EMS should be contacted. This must
 be followed during all summer conditioning, pre-season practices/contests on school grounds, or when a coach,
 paid or otherwise, is present. This includes the 1st 21 days of fall practice, and any day the temperature is
 greater than 80 F WBGT.
   WBGT                Flag                 COLD WATER IMMERSION TUB GUIDELINES
  READING
                                   Mandatory alternative cooling measures of a cooler with ice and towels
                                   or a tarp (taco/burrito method) must be available at the practice, game
                                   and event site.
  80.0°F —           Yellow        It is required a 150 gallon cold water immersion tub or a tarp (taco,/burrito
   85.0°F                          method) must be filled with water temperature of less than 60 F and
                                   accessible for cooling within 5-10 minutes of the practice/contest site.
                                   Remove external clothing/equipment prior to cooling or immediately
                                   after entering tub. Aggressively stir water during cooling process.

                                   It is required a 150 gallon cold water immersion tub or a tarp (taco/burrito
                                   method) must be filled with water temperature of less than 60 F and
                                   accessible for cooling within 5-10 minutes of the practice/contest site.
                                   Remove external clothing/equipment prior to cooling or immediately
                                   after entering tub. Aggressively stir water during cooling process.

                                   It is required a 150 gallon cold water immersion tub or a tarp
                                   (taco/burrito method) must be filled with water temperature of less
                                   than 60 F and accessible for cooling within 5-10 minutes of the
                                   practice/ contest site. Remove external clothing/equipment prior to
                                   cooling or immediately after entering tub. Aggressively stir water
                                            cooling process.



                                                        20




                                                                                                                   AR_293161
Case 4:24-cv-00461-O            Document 76          Filed 09/06/24         Page 138 of 290          PageID 3785


                                  NO OUTDOOR WORKOUTS. Delay practice until a cooler WBGT
                                  level is reached. If the WBGT rises to this level during practice, it is
                                  required a 150 gallon cold water immersion tub (or a tarp (taco/burrito
                                  method) must be filled with water temperature of less than 60 F and
                                  accessible for cooling within 5-10 minutes of the practice/contest site.
                                  Remove external clothing/equipment prior to cooling or immediately
                                  after entering tub. Aggressively stir water during cooling process.
 Treatment of Extertional Heat Stroke:
 If the athletic trainer/medical staff is onsite, utilize the principle of Cool First, Transport Second. When
 cooling, use CWI or other approved cooling technique, until core temperature is at 103 F. If the athletic
 trainer/medical staff is not onsite, cool immediately until the athlete starts to shiver, or for a minimum of 20
 minutes based upon the known cooling rate of 1 degree per 3 minutes. If athletic trainer/medical staff is not
 present, EMS assumes control of the EHS patient upon arrival and continues cooling for the minimum of 20
 minutes or until rectal temperature is obtained.

                               NEW JERSEY HOMESCHOOL GUIDELINES

A home schooled student is eligible to participate in interscholastic athletics if the following conditions are met:

1. Approval by the local Board of Education. Consistent with Department of Education guidelines a home
   schooled student may participate in interscholastic athletics if the local board of education, in its discretion,
   approves of the participation of home schooled students on the high school teams.

2. Residency. The home schooled student must reside in the school district that serves the high school and must
   meet the residency criteria pursuant to N.J.A.C. 6A:22 and provide proof of residence as required by the local
   school board. In school districts that serve more than more town a home schooled student must be assigned
   to the school of record in the same manner as other students.

3. Notice and request to Principal. The parents of the home schooled student must submit a written request to
   the principal of the member school to try out for an athletic team in interscholastic athletics.

4. Compliance with local requirements. The home schooled student must comply with the same physical
   examination, insurance, age, academic and other requirements for participation as required of all students at
   that high school. The home schooled student must adhere to the same standards of behavior, responsibilities
   and performance as other members of the team.

5. Compliance with local requirements. Home schooled students must meet all eligibility requirements
   established by the NJSIAA, including but not limited to rules relating to amateur status, age, recruitment,
   academic credits, semesters of eligibility and transfers. Home schooled students will be subject to all rulings
   and decisions of the NJSIAA, and may appeal any adverse decision to the Commissioner of Education under
   N.J.A.C. 6A:3-7.1 et seq.

6. Demonstration of equivalent education. The parents of the home schooled student must meet with local school
   officials to demonstrate that the student is receiving an academically equivalent education.

7.   Certification...of..academi.c eligibil . The parents of the home schooled student must submit evidence
     satisfactory to the Principal that the home schooled student has met the requirements of the Academic Credit
     Rule and the requirements of the school's own academic policy.
                                                         21




                                                                                                                 AR_293162
Case 4:24-cv-00461-O            Document 76          Filed 09/06/24       Page 139 of 290          PageID 3786



8. Transfer to a home school program. Any student who withdraws from a public school program to enroll in a
   home school program, and who is ineligible at the time of withdrawal from the public school program due to
   his/her failure to meet academic, behavioral or eligibility standards, shall be ineligible to compete in
   interscholastic athletic competition in the same manner as a student who has transferred from one school to
   another for athletic advantage.

9. The rights, privileges and responsibilities associated with all other student athletes attending NJSIAA member
   schools will apply to home schooled students who have satisfied the requirements above.


                                      INFECTIOUS DISEASE POLICY
                              Presented by the NJSIAA Medical Advisory Committee

Purpose:
The New Jersey State Interscholastic Athletic Association Executive Committee has adopted this policy in an
effort to minimize the possibility of transmission of any infectious disease during a high school athletic practice
or contest.

The policy primarily addresses blood borne pathogens such as Hepatitis B Virus (HBV), Hepatitis C Virus (HCV),
and the Human Immunodeficiency Virus (HIV). However, it also discusses Methicillin Resistant Staphylococcus
Aureus (MRSA) and common sense precautions against the spread of less serious infections such as influenza and
the common cold.

Much of this policy has been written with contact sports such as football, wrestling, and basketball in mind.
However, it is applicable for all sports.

The entire text of this policy is available upon request.

Guidelines for withdrawal of teams from competition upon diagnosis of infectious diseases:
School administrators should rely solely upon the advice of the school's medical inspector in determining the
action to withdraw a team from competition when a member is diagnosed as having an infectious disease.


                                    JUNIOR HS (9tb GRADE) ATHLETICS

Foreword:
The philosophy, objectives and regulations under which Junior High Schools (9th grade) may become members
of the NJSIAA are not intended to influence expansion of existing athletic programs, nor to promote programs
where none exist, nor to exert undue pressures for the establishment of interscholastic athletic programs in the
Junior High Schools (9th grade) of the state.

The recommendations which are made are promulgated toward the establishment of policies and practices for
athletic programs in Junior High Schools (9th grade) of New Jersey.

Philosophy:




                                                            22




                                                                                                               AR_293163
Case 4:24-cv-00461-O           Document 76          Filed 09/06/24         Page 140 of 290          PageID 3787


If athletics are to serve educational ends, they must be wisely guided, developed, and administered as a vital and
effective phase of the educational program. Each school district should develop a philosophy of desirable goals
and values from which a sound athletic curriculum can be built.
Participation in sound athletic programs contributes to individual development, physical skill, health, strength,
self-reliance, emotional maturity, social competencies, and good sportsmanship.

Junior High School (9th grade) athletics shall be an integral part of the Junior High School (9th grade) educational
program and the Junior High School (9th grade) Principal shall be responsible for guiding the school athletic
program in line with the accepted philosophy of the school. Every school should conduct as complete an athletic
program as meets the needs of the Junior High School (9th grade) child. Participation and competition shall be
kept at a "readiness level" with the age and physical development of the early adolescent ever in mind.

The intramural program shall be the foundation of the school athletic program providing opportunity for the total
school population to meet its athletic needs and interests. The interschool athlete program grows out of and in no
way handicaps the intramural program.

In fulfillment of this philosophy member Junior High Schools (9th grade) subscribe to the following:

I. The entire athletic program shall be determined and under the direction of the Principal and faculty of the
   school.
2. The athletic program shall in no way interfere with the academic program, but rather integrated with other
   activities essential to Junior High School (9th grade) youth.
3. Interschool athletic participation offers an opportunity for a select group with a special talent to perform.
4. The interschool athletic program through team competition provides children another opportunity to recognize
   their abilities and limitations.
5. The interschool athletic program provides early opportunities for children to develop and express leadership
   qualities.
6. The interschool athletic program shall not be a farm or feeder system for high school athletic teams. Improved
   articulation between Junior (9th grade) and Senior High Schools and community should always be sought.
7. The interschool athletic program should be financed by the local board of education.
8. The interschool athletic program should be administered through established standards and controls. These
   standards and controls should be established by the schools and administrators or through membership in an
   association composed of representing groups interested in good wholesome athletic programs for the children
   of New Jersey.

Specific regulations to be considered:
Unless otherwise specified in the paragraphs which here follow, the Rules and Regulations of the New Jersey
State Interscholastic Athletic Association for Senior High Schools apply to Junior High School and 9th grade
member schools of this Association.

A. Membership
   1. Membership in the Junior High School Division of the New Jersey State Interscholastic Athletic Association
      is a voluntary one.
   2. Any Junior High School approved by the New Jersey Department of Education as a secondary school shall
      be eligible to apply for membership.
   3. A school shall become a member of the Junior High School Division of NJSIAA when the membership
      request has been properly executed and it is officially accepted by action of the NJSIAA Executive
      Committee.


                                                        23




                                                                                                                AR_293164
Case 4:24-cv-00461-O            Document 76          Filed 09/06/24         Page 141 of 290          PageID 3788


B. Grade Limitation
   Students in 6th, 7th or 8th grades who will reach age nineteen (19) prior to September 1 of their senior year
   while properly enrolled in a member school may request a waiver of the Bylaws, Article V, Section 4.I, Pre-
   High School Student, to have an opportunity to participate in interscholastic athletics for four (4) years prior
   to becoming ineligible.

C. Interpretation
   This is not meant to restrict grades 7 and 8 from participating with other schools in competition at their own
   level.

D. Supervision
   All pupils on Junior High (9th grade) interscholastic teams must be enrolled in the same school and be under
   the supervision of the same administrative head.

E. Classification
   There will be no classification of Junior High Schools on the basis of enrollment.

F. Eligibility
   1. Academic Requirements — The same eligibility requirements for 9th grade pupils will be enforced as applies
      in the high schools.
   2. Age Requirements — An athlete becomes ineligible for Junior High School or 9th grade athletics if he/she
      attains the age of sixteen prior to September 1. However, any athlete attaining age sixteen on or after
      September 1 shall be eligible for the ensuing school year.

G. Semester Attendance
   A pupil becomes ineligible for Junior High School or 9th grade interscholastic athletic competition after he/she
   spends two (2) semesters in the 9th grade.

H. Transfers
   Article V, Section 4.K of the Bylaws applies.

I. Dues
   Each school shall be assessed an annual dues of $60.00 for membership in the Junior High School Division of
   NJSIAA.

J. Officials
   It is urgently suggested that qualified and registered officials be used in all interscholastic games.

K. Safety Measures
   In order to assure Junior High School (9th grade) contestant optimum protection against injury to their bodies
   and their health, the following minimum regulations shall be enforced:

   1. Physical Examination — In each school year before a pupil participates in an organized practice session or
      game of the athletic program, he/she must have a physical examination and present the athletic Participation
      Form properly signed by himself and his parents (or guardian). This form shall be filed with the
      administrative head of the school.

   2. Conditioning Period — To insure good physical condition of participants each athlete should be given
      sufficient days of practice and conditioning before engaging in any interscholastic contest.

                                                         24




                                                                                                               AR_293165
Case 4:24-cv-00461-O            Document 76          Filed 09/06/24         Page 142 of 290          PageID 3789


   3. Equipment — Proper equipment and safety precautions must be stressed, such as properly fitted and
      protective clothing, pads, shoes, helmets, etc.

   4. Facilities — The physical facilities such as playing areas, locker and shower rooms, bleachers, transportation,
      etc., shall be designed and maintained to safeguard the health and safety of all participants and spectators.

L. Competition
   1. It is recommended that schools compete with member schools only or with schools following similar regulations.
   2. In contests between Junior and Senior High Schools on a 9th grade level, the Junior High School regulations
      will be mandatory.

   3. Wrestling weight classes shall be the same as those provided for high schools in the National Federation
      Wrestling Rules with the following exception:
       a. Add a 90-lb. weight class (Wrestler must weigh at least 75 lbs. to compete at this weight class.)

M. Penalties
   The penalty for violation of these Rules and Regulations may be suspension or expulsion.



                                               LABOR DISPUTES

It is the philosophy of the NJSIAA Executive Committee that interscholastic athletes should not be used as a pawn
during professional negotiations between the Board of Education and the Educational Association. Although
athletics is only a part of the total school program, it is obvious that the emotions of people are aroused when
anything seems to disrupt the athletic program or deprive young people of an opportunity to participate.

Therefore, we recommend that boards of education, administrators, coaches, and professional organizations begin
to plan now in advance of any crisis, i.e., withholding of services, work stoppage, so that rational decisions can
be made before serious conflicts and problems develop. Students, advisors, parents, and coaches should know in
advance whether co-curricular programs, including athletics, will continue to be postponed during a professional
labor dispute. If no planning is done, it is likely that students will suffer most, even though they are the innocent
bystanders in the negotiations process.
The NJSIAA Executive Committee has adopted the following guidelines for situations which may arise during a
professional labor dispute:

    The decision whether to continue the athletic program or not must be made at the local level, but the safety
    and well-being of the participants ought to be the primacy factor in reaching that decision. If practices or
    contests are carried on, the local administration ought to be aware of the responsibility for continuous
    competent supervision and limitations on practices, scrimmages, etc.

2. When a contest must be postponed, it may, by mutual agreement between the contesting schools, be
   rescheduled. If a postponed game cannot be rescheduled before the end of the regular season, a forfeit shall
   be declared.

3. In any state tournament, the records of teams at the time of the cut-off date will determine the eligibility of a
   team to participate. Games not played up to the cut-off date for tournament qualification must be forfeited.




                                                         25




                                                                                                                 AR_293166
Case 4:24-cv-00461-O           Document 76          Filed 09/06/24         Page 143 of 290          PageID 3790


4. If a school has already entered a state tournament and is unable to compete in any scheduled game, that game
   shall be declared a forfeit (subject to the procedures listed in 22. Procedure for filing a protest or declaring
   a forfeit) 34 and a win shall be credited to the offended school.

5. Transfer students who are affected by a strike will count those days as if school was in session and games
   being played provided the regular game schedule has begun.

6. We urge all school districts to plan ahead so that everyone is aware of these responsibilities in case of an
   emergency. The NJSIAA will continue to be available for advice and consultation whenever requested.



               EXCERPTS FROM LEAGUE/CONFERENCE POSITION STATEMENT
             Adopted by NJSIAA Executive Committee on April 11, 1983, Amended on June 6, 2002

Guiding Principles:
The Association is charged with establishing statewide standards for the conduct of the interscholastic sports
which cannot be left to local or regional discretion, including the establishment and enforcement of minimum
standards of eligibility of Student-Athletes, as well as the rules and regulations for the various interscholastic
sports, the maintenance of standards of sportsmanship; and the conduct of statewide championships in various
sports. As such, the Association cannot delegate these vital responsibilities to any member school or group of such
schools, whether they be formed as a conference or not. On the other hand, the Executive Committee recognizes
that there must be greater home rule among our conferences so as to foster an improvement in both the quantity
and quality of athletic programs; convenient and reasonable scheduling of sports activities; and the development
of greater sportsmanship and competition. Toward that end, conferences will be given the greatest degree of self-
governance, provided that there is not a violation of the Constitution and Bylaws of the Association, as well as
the standardized rules and regulations for the conduct of interscholastic sports, and the mandate of the
Commissioner of Education that all schools receive an opportunity to have a full schedule of interscholastic sports
for their students. While the respective roles of the parent association and the member conferences is not easily
discernible, the Executive Committee believes that it must set down certain guidelines, which will hereafter be
observed by member schools. In doing so, the Committee wishes to make clear that this statement is intended to
clarify the relationship between the State Association and local conferences. Accordingly, the Executive
Committee reserves all of its rights under the Association's Constitution and Bylaws.

The Role of NJSIAA:
The role of NJSIAA, principally through its Executive Committee, will continue to exercise the following
responsibilities vis a vis various conferences and leagues:

    1. The determination of eligibility for Student-Athletes.

    2. The maintenance of rules and regulations governing the conduct of various interscholastic sports,
       including contest rules, the calendar for the start of practice, and the start of, and conclusion of, regular
       seasons, and the minima and maxima of contests in any sport.

    3. The determination of state champions in the various sports.

    4. Assuring that all students enrolled in member schools, who would otherwise be eligible to participate in
       interscholastic sports, are not precluded from a full opportunity to do so, irrespective of their race, sex,
       religion, or the school that they are attending.

                                                        26




                                                                                                                  AR_293167
Case 4:24-cv-00461-O            Document 76          Filed 09/06/24         Page 144 of 290          PageID 3791



    5. Review of all constitution conferences, pursuant to Article XII, Section 2 of the Association Bylaws, and
       the exercise of other authority granted to it under the Association Constitution and Bylaws.

The Role of Individual Leagues and Conferences:
The Executive Committee strongly believes that our conferences must be strengthened, rather than weakened, if
they are to perform the very important tasks for which they were originally created. Therefore, conferences should
have exclusive authority over certain functions, which will not be appealable to the Association; while at the same
time assuming expanded authority for other responsibilities, with a very limited review by the Association.

    Exclusive Responsibilities:
    In addition to the traditional internal matters which have never been appealable to the Association, such as
    the election of officers and the conduct of meetings, conferences will have the exclusive authority over the
    following functions:
        a. Any academic or recreational activity conducted by a conference outside of the interscholastic sports
            within the jurisdiction or the NJSIAA.
        b. The determination of conference or league championships.
         c. Internal finances and administration of league activities.

2. Responsibilities of Leagues and Conferences Appealable to the NJSIAA:
   The following responsibilities will be vested in conferences, with a limited right to appeal by member schools
   who are challenging league or conference determinations:
      a. The Association will continue to exercise its supervisory role to assure membership by applicant
           schools in appropriate conferences and leagues. However, unless it can be shown that there has been
           a violation of the order of the Commissioner of Education that there be an opportunity for a full
           schedule of interscholastic sports, there will be no appeals from conference and league scheduling.
      b. Many of the larger conferences and leagues have segmented their membership into "divisions,"
           usually on the basis of geography or size. Unless it can be shown that such divisional breakdowns are
           violation of the order of the Commissioner of Education or at variance with the "Conference Criteria"
           established in May, 1981 by the Association, no appeal from such internal divisional alignments will
           be considered by the NJSIAA.* In that vein, the Executive Committee wants to strongly emphasize
           that a school should not have the right to appeal its placement in a division because the school believes
           that it should be given a "weaker" or "stronger" schedule. The ability of member schools to have a
           winning season, or to obtain state or national prominence in its particular sport, is simply not a concern
           of the Association.
      c. To assure full scheduling for all member schools, every member school should be allowed to enter a
           League or Conference appropriate to size and geography and other factors set forth in the "Conference
           Criteria," as approved by the Commissioner of Education.* Any school denied entrance into a League
           or Conference may appeal to the NJSIAA. When a school seeks to transfer membership from one
           conference to another, any appeal from denial by either Conference must be based on substantial
           reasons, recognizing the goal of assuring the stability of Conference structures.
      d. The various conferences are strongly encouraged to adopt disciplinary procedures by which
           infractions of good sportsmanship can be penalized after there has been an observance of appropriate
           due process. Toward that end, all conferences which have not done so should set forth in their
           Constitution and/or Bylaws, specific violations and penalties which may be assessed for such
           violations, as well as a hearing procedure. Pursuant to Article XIII of the NJSIAA Bylaws, any school
           or school official or coach penalized by a conference may appeal to the Executive Committee.
           However, that Committee's role will be limited to determine whether the actions of the conferences
           were arbitrary or capricious or in violation of the NJSIAA Constitution and Bylaws. The NJSIAA and
                                                         27




                                                                                                                 AR_293168
Case 4:24-cv-00461-O           Document 76          Filed 09/06/24         Page 145 of 290           PageID 3792


           its Executive Committee will not substitute its judgement concerning such issues for that of the
           conference.
        e. The conferences are strongly encouraged to maintain appropriate health and safety standards for
           athletic facilities among their member schools, provided that such standards are not being utilized to
           exclude schools, contrary to the order of the Commissioner of Education. Accordingly, the Executive
           Committee's role on appeal will be limited to determine whether the action of the conference is
           arbitrary and capricious or in violation of the order of the Commissioner of Education concerning the
           inclusion of minority and non-public schools. Neither the NJSIAA nor its Executive Committee will
           substitute its judgement on such questions of health and safety for that of the individual conferences.
        f. Article V of the NJSIAA Bylaws incorporates a comprehensive set of minimum eligibility standards
           for student athletes. While the NJSIAA will continue to exercise exclusive authority in determining
           the eligibility of students, member schools and conferences will continue to be the free to adopt higher
           eligibility standards. Neither the NJSIAA nor its Executive Committee will interfere in the adoption
           of such standards, or the enforcement of them by a conference, league or member schools, unless it
           can be shown these standards are arbitrary or capricious or in violation of the NJSIAA Constitution
           and Bylaws.

*The Commissioner of Education mandated that the NJSIAA provide an opportunityfor public schools with high
minority enrollment to join appropriate athletic conferences utilizing Conference Criteria such as enrollment,
geography and the impact on the involved conference.


                              PROCEDURE IN THE EVENT OF LIGHTNING

Termination, or temporary suspension, must always take place when an electrical storm is imminent. The decision
to terminate or suspend a game/meet/event when an electrical storm is imminent may be made by either the host
school or the official.

As noted previously, a chain of command and designated decision-maker should be established for each organized
practice and competition.

Recognition: Coaches, certified athletic trainers, athletes and administrators must be educated regarding the signs
indicating thunderstorm development. Since the average distance between successive lightning flashes is
approximately 2-3 miles, any time that lightning can be seen or thunder heard, the risk is already present. Weather
can be monitored using the following methods:

        1. Monitor Weather Patterns - Be aware of potential thunderstorms by monitoring local weather
           forecasts the day before and morning of the practice or competition, and by scanning the sky for signs
           of potential thunderstorm activity.

        2. National Weather Service (NWS) - Weather can also be monitored using small, portable weather
           radios from the NWS. The NWS uses a system of severe storm watches and warnings. A watch
           indicates conditions are favorable for severe weather to develop in an area; a warning indicates severe
           weather has been reported in an area and for everyone to take proper precautions.

Management:

        Evacuation - If lightning is imminent or a thunderstorm is approaching, all personnel, athletes and
        spectators must evacuate to available safe structures or shelters. A list of the closest safe structures must
        be announced and displayed on placards at all athletic venues.
                                                        28




                                                                                                                 AR_293169
Case 4:24-cv-00461-O            Document 76          Filed 09/06/24         Page 146 of 290          PageID 3793


    2. Thirty-minute rule - Once lightning/thunder has been recognized, it is mandatory to wait at least 30
       minutes after the last flash of lightning is witnessed or thunder is heard. Given the average rates of
       thunderstorm travel, the storm should move 10-12 miles away from the area. This significantly reduces
       the risk of local lightning flashes. Any subsequent lightning or thunder after the beginning of the 30-
       minute count must reset the clock and another count must begin.
    3. When one contest is suspended on a site due to thunder being heard and/or lightning being observed, all
       contests/activities on that site must be suspended.

Education on Lightning Danger:
Coaches, athletic trainers, officials, administrators, as well as athletes, must be educated regarding the signs
indicating nearby thunderstorm development. Generally speaking, it is felt that anytime that lightning can be seen,
or thunder heard, risk is already present.
Criteria for Suspension and Resumption of Activity

Once lightning has been recognized or thunder heard, by an official, a coach, the host site management personnel,
or by a lightning detection system, the game must be suspended immediately with all players, coaches, spectators,
and officials directed to appropriate shelters.

After the suspension, the plan should include strict, documented criteria for the resumption of activities. It is
mandatory to wait at least 30 minutes after the last flash of lightning is witnessed or thunder is heard. Any
subsequent lightning or thunder after the beginning of the 30-minute count must reset the clock and another count
must begin.

Once the contest has been suspended, the 30-minute mandatory suspension in play is in effect. If the lightning
detection system gives an "all clear signal" prior to the end of the 30-minute suspension time, the contest shall not
be resumed until the 30-minute suspension time limit has elapsed, per the NJSIAA and NFHS policy.

However, if a member school has a Board policy that states no play/no activity may resume until the lightning
detection system gives the "all clear signal" even though the 30-minute suspension time has elapsed per
NJSIAA/NFHS rule, that Board policy shall supersede NJSIAA/NFHS policy.

Evacuation Plan:
All personnel, athletes and spectators must be clearly informed of available safe structures or shelters in the event
a thunderstorm approaches. A list of the closest safe structures should be announced and displayed on placards at
all athletic venues when applicable. The person in authority must be aware of the amount of time it takes to get to
each structure and the number of persons each structure can safely hold. For large events, time needed for
evacuation is increased and there must be a method (i.e., announcement over loud speaker) for communicating
the need for evacuation and directing both athletes and spectators to the appropriate safe shelters.

Safe Structures: The most ideal structure is a fully enclosed, substantial building with plumbing, electrical wiring
and telephone service, which aids in grounding the structure. A fully enclosed automobile with a hard metal roof
and rolled up windows is also a reasonable choice. School buses are an excellent lightning shelter that can be
utilized for large groups of people. However, it is important to avoid contact with any metal while inside the
vehicle.

Avoid using shower facilities for safe shelter and do not use showers or plumbing facilities during a thunderstorm
as the current from a local lightning strike can enter the building via the plumbing pipelines or electrical
connections. It is also considered unsafe to stand near utilities, use corded telephones or headsets during a

                                                         29




                                                                                                                 AR_293170
Case 4:24-cv-00461-O           Document 76          Filed 09/06/24        Page 147 of 290          PageID 3794


thunderstorm, due to the danger of electrical current traveling through the telephone line. Cellular and cordless
telephones are considered reasonably safe and can be used to summon help during a thunderstorm.

When caught in a thunderstorm without availability or time to reach safe structures, you can minimize the risk
of lightning-related injury by following a few basic guidelines:
        1. Avoid being the highest object. Seek a thick grove of small trees or bushes surrounded by taller trees
           or a dry ditch.

        2. Avoid contact with anything that would be attractive to lightning. Stay away from freestanding trees,
           poles, antennas, towers, bleachers, and baseball dugouts, metal fences, standing pools of water and
           golf carts.

        3. Crouch down with legs together, the weight on the balls of the feet, arms wrapped around knees, and
           head down with ears covered.


                                 PARAPROFESSIONAL AIDE POSITIONS

Nothing in the rules governing coaching positions would preclude a board of education from creating,
pursuant to N.J.A.C. 6A:32-4.7, paraprofessional aide positions to assist in the supervision of athletic
activities under the direction of a certified coach. However, all such positions must be created and
maintained in full compliance with the provisions of N.J.A.C. 6A:32-4.7, including requirements for written
job descriptions and qualification standards, and approvals by, and annual reporting to, the county
superintendent. As with classroom aides employed to assist certified teachers, athletic paraprofessionals
may only function under the direct supervision of a certified coach, or if not assisting with coaching duties,
under the direct supervision of designated certified staff; they may not independently undertake coaching
duties or any other duties requiring educational certification. Additionally, all persons employed by a district
in a paraprofessional capacity (i.e., not serving on a volunteer basis) are subject to the criminal history
record check law.

If a board contemplates the use of an aide (paid or unpaid), the policies of the local board must be adopted and in
place regarding this type of position, and the rules of the league or conference to which the district belongs must
be followed.

Please contact your county superintendent of schools should you have any questions.




                                                        30




                                                                                                               AR_293171
Case 4:24-cv-00461-O            Document 76          Filed 09/06/24          Page 148 of 290          PageID 3795


       NJSIAA INTERPRETIVE GUIDELINES CONCERNING SCHOOL/COACH/ATHLETE
                           PARTICIPATION LIMITATIONS

The NJSIAA Constitution, Bylaws, Rules and Regulations has for all intent and purposes defined the twelve-
month sequence of participation in the following manner:

(A) In-Season (B) Out-of-Season and (C) Summer Recess

A. In Season:
   The Constitution clearly stipulates this time frame by our Rules and Regulations and causes few problems with
   the exception of early season practice and the length of the seasons. The participation limits and association
   with coaches is clearly established and needs no elaboration here. (Program Regulations, Section 5)

   Athletes in some sections of the State play in out-of-school (non-school sponsored) competition which is not
   prohibited by our rules during the in-season period. This competition is not sponsored by the schools in any way and
   the NJSIAA does not sanction said participation which is a local option in that regard. (Student-Athlete Guidelines,
   Section 8)

B. Out-of-Season:
   During this period athletes may not be involved in intramurals in which they have attained team status. Coaches
   may participate in these programs as long as their players are not involved. (Student-Athlete Guidelines,
   Section 2)

   Open-gym and recreation participation are permitted for players as long as their coaches are not present. In the
   same vein, coaches may be involved but not with their athletes present. (Student-Athlete Guidelines, Section
   4 and 5)

   Camp/clinic participation is permitted for players provided their coaches are not involved. (Student- Athlete
   Guidelines, Section 6)

   While the open-gym programs can be sponsored by the member schools, recreation and camp/clinic
   sponsorship is prohibited. (Student-Athlete Guidelines, Section 4 and 5)

   A Student-Athlete may be involved with a non-school team with the approval of the school in accordance with
   our rule. (Student-Athlete Guidelines, Section 8)

   Camp/clinic participation is permitted for players provided that their coaches are spectators only at such.




                                                         31




                                                                                                                   AR_293172
Case 4:24-cv-00461-O                                                                          Document 76                                                   Filed 09/06/24                                                      Page 149 of 290                                                           PageID 3796


                                                                                                                  Participation Chart (Out-of-Season)
...................................... .......................................... .......................................... .......................................... .......................................... .......................................... .......................................... ............................
                                                                                                                            Athletes                                                                Coaches                                                 School Sponsorship
                                         *                                                                                           No                                                            Yes (w/a)                                                                          Yes
    Intramurals
    Open-Gym                                                                                                               Yes (w/c)                                                               Yes (w/a)                                                                          Yes
    Camps                                                                                                                  Yes (w/c)                                                               Yes (w/a)                                                                            No
    Clinics-'Participatory**                                                                                               Yes (w/c)                                                                       Yes                                                                          No
    Clinics/Non-Participatory                                                                                                       Yes                                                                    Yes                                                                        Yes
    Recreation Programs                                                                                                    Yes (wic)                                                               Yes (w/a)                                                                            No
    Independent Play ***                                                                                                   Yes (wic)                                                               Yes (w/a)                                                                            No

                                                                                        (w/c) — without coach (w/a) — without athletes
*If student has attained team status in the sport being offered. All freshman are considered to have team status

**Coaches may be spectators. See Student-Athlete Guidelines, Section 6.
***An athlete may compete on a non-school team (independent) with approval of the school. See Student-
Athlete Guidelines, Section 8 for Limitations.
C. Summer Recess:
   Participation Limitations Summer Recess — Practice sessions during the summer period are the prerogative of
   the member school within existing regulations.
                  A. coach.team or Student-Athlete may not be sponsored or supported by a school or school-related group (i.e.
                  Booster Club) when team (interscholastic) or individual competition takes place as part of the activity in
                  camps, clinics, recreation programs or independent play.
                                                                                                               Participation Chart (Summer Recess)

                                                                                                                                                                      Athletes                                          Coaches                                 School Sponsorship
                                                                                                                                                        .................................... .......................................... .......................................... .......................................... ......:
                                                                                                                                                                           Yes*                                              Yes*                                                           No
                                                                                                                                                        .................................... .......................................... .......................................... .......................................... .......
                                                                                                                                                                           Yes* ..........................................
                                                                                                                                                        ....................................                                 Yes*                                                           No
                                                                                                                                                                                                                                        .......................................... .......................................... .......
                                                                                                                                                        .................................... .......................................... .......................................... .......................................... ......:
                                                                                                                                                                             Yes ..........................................
                                                                                                                                                        ....................................                                   Yes.......................................... ..........................................
                                                                                                                                                                                                                                                                                       Yes**                                  .......
                                                                                                                                                        .................................... .......................................... .......................................... .......................................... .......
                                                                                                                                                                           Yes* ..........................................
                                                                                                                                                        ....................................                                 Yes*                                                           No
                                                                                                                                                                                                                                        .......................................... .......................................... ......:
                                                                                                                                                        .................................... .......................................... .......................................... .......................................... ......:
                                                                                                                                                                             Yes                                               Yes                                                     Yes**
*Not representing their school.

**Only for that school's athletes/programs involving intra-squad practice.

Please Note: The NJSIAA does not regulate or sanction non-school activity and to that extent member schools, for
their own protection, are encouraged to inform their coaches and athletes of their independent status when involved
in said activities. Information supplied to coaches/athletes should include, but not be limited to, issues dealing with
eligibility, injuries, insurance and potential litigation on the part of participants and use of the school name or
nickname. In addition, coaches/players must be instructed not to use the school name or nickname in any non-school
participation.



                                                                                                                                                                         32




                                                                                                                                                                                                                                                                                                                                        AR_293173
Case 4:24-cv-00461-O           Document 76          Filed 09/06/24         Page 150 of 290          PageID 3797


                            FILING A PROTEST OR DECLARING A FORFEIT

Protest — The NJSIAA Bylaws, Article VII, Section 1 provides that:

Section 1: Protests against alleged violations of contracts, violations of the accepted standards of good
sportsmanship, or of the Constitution and Bylaws of this Association, must be reported in writing and posted by
the Principals of the participating schools or the game officials to the Executive Committee, through the Executive
Director, within one hundred twenty (120) hours of the time of such violation, with a copy to the alleged violator.
Protests based upon an official's judgement or misinterpretation of the playing rules will not be honored.

The one hundred twenty (120) hour provision will be satisfied, if the school's Principal notifies the League or
Conference President, in writing, prior to the expiration of this time period since disputes and controversies
involving League or Conference members must be initially heard at that level.

Note: See CL 1— Article VII, Section 1.

"Protests based upon an official's judgement or misinterpretation (misapplication) of the playing rules will not be
honored" does not preclude a League or Conference from addressing same; however, the NJSIAA will not honor
such protests for non-conference games/meets, neither will the NJSIAA hear appeals to a League or Conference
decision based upon an official's judgement or misinterpretation of the playing rule.

Forfeit — Schools may not mutually agree to a forfeit; only Leagues or Conferences or the NJSIAA may award
forfeits.

When submitting records for tournament qualification, schools listing forfeit wins/losses must attach an
explanation for same.
Coaches must be cautioned not to refuse to play or to complete a game/meet. Such decisions are within the
jurisdiction of the game/meet officials once game/meet has started, or rest with home management and/or
tournament director if the game/meet has not started.

Forfeit — League/Conference — Non-Conference

When a penalty involving a forfeit is assessed against a member school by a League or Conference it is mandatory
that the conference/league Secretary submit, immediately in writing, the action taken, reason why, schools involved,
ate and site of the game/meet/match to the Central Office. This applies to all sports.

If a member school in a non-conference game/meet/match feels a forfeit might be warranted, relevant information
as stated above should be forwarded by the Principal, immediately in writing, to the Central Office for the
Executive Director's decision.

   CL: When forfeits are received, a member school may not compete on the `forfeit day" when such
   competition would put the school in conflict with the number of games permitted per day/week/season
   unless theforfeiture is expungedfrom the record by League or Conference action or by mutual agreement
   of the schools




                                                        33




                                                                                                                AR_293174
Case 4:24-cv-00461-O            Document 76          Filed 09/06/24         Page 151 of 290          PageID 3798


                               USE OF A PROSTHESIS (ARTIFICIAL LIMB)

Federal legislation which prohibits discrimination on the basis of a physical handicap makes it difficult for state
associations to defend the former blanket prohibition of the use of a prosthesis when challenged in the courts.

Many sports now have revised rules to provide "artificial limbs which, in the judgement of the rules administering
officials, are no more dangerous to players than the corresponding human limb and do not place an opponent at a
disadvantage may be permitted." The NJSIAA endorses this policy so long as it is not in conflict with the rules
for a specific sport.


The NJSIAA procedure for approving the wearing of a prosthesis by a Student-Athlete will be as follows:
1. The member school must notify the NJSIAA and arrange for a meeting to determine the legality of the
   prosthesis; present at this meeting must be the school physician, Athletic Director, Principal, coach, a
   representative from NJSIAA, and the player who must be fully equipped as he/she will be when competing;
   an athletic trainer or other school representative may also be present.

2. The criteria recommended as a guideline to follow in determining the legality and suitability of wearing a
   prosthesis in a contact sport are:

        a. The prosthesis should be approved at any Juvenile Amputee Clinic listed in the National Directory.
           Kessler Institute for Rehabilitation, 1199 Pleasant Valley Way, West Orange, New Jersey 07052 is
           the only New Jersey clinic listed.
        b. Prosthesis should be properly padded.
        c. Signed approval by an orthopedic surgeon or physician associated with a juvenile amputee clinic and
           the school physician. Such approval must be represented to the officials before each game for the
           official's final inspection and approval of proper padding.

   CL: A series of photos showing the unpadded, partially padded, and full padding of the approved
   prosthesis should be included.

Note: Member schools are given this advance notice to allay the possibility of having a prosthesis declared
illegal, thereby preventing the player from participating until approval is granted.


                                   NJSIAA MINIMUM REQUIREMENTS
                                 FOR REVIEW OF OFFICIALS CHAPTERS

Certification of an officials' chapter or association is at the discretion of the Executive Committee, which may
consider, among other things, the need for a new chapter or association, the number of new officials in the
membership of the new chapter or association, and whether the new chapter or association was created as a result
of a conflict with an existing chapter or association. In addition, all officials' chapters or associations must meet
the following minimum requirements to be eligible for consideration by the Executive Committee.

    1. The chapter must provide evidence of officiating experience of its membership noting league, conference,
       or levels of competition and years of service.
    2. The chapter must provide a list of its duly elected officers and membership.
    3. The chapter must provide a copy of its Constitution and Bylaws for review by the NJSIAA.
    4. The chapter must agree to grant the NJSIAA the final authority for testing, training, and evaluation

                                                         34




                                                                                                                 AR_293175
Case 4:24-cv-00461-O              Document 76          Filed 09/06/24        Page 152 of 290          PageID 3799


          procedures adopted by the chapter.
       5. The chapter must provide an outline of its testing, training, and evaluating procedures for certification of
          prospective and present members. ALL MEMBERS MUST PASS AN ANNUAL WRITTEN RULES
          EXAMINATION, AS APPROVED BY THE NJSIAA.
       6. The chapter must agree to comply with all provisions of the Constitution, Bylaws, and Rules and
          Regulations of the NJSIAA; decisions of the Executive Committee of the NJSIAA; and the tenets of
          agreements effected by the Officials' Councils and the NJSIAA.


                                      NJSIAA MINIMUM REQUIREMENTS
                                      FOR REGISTRATION OF OFFICIALS

The Executive Committee, at its discretion, may approve the certification or registration of officials and/or official
chapters in all sports, and may establish the minimum requirements for testing, training and evaluating of officials.

  I.       NJSIAA Registration
           a. All officials must be registered with the NJSIAA via the Arbiter to be eligible to officiate ANY level
              of high school contests the NJSIAA governs.
           b. All officials must register for each sport each year.
           c. All officials must have paid the appropriate registration fees based on their current level. All NJSIAA
              payments must be paid through the Arbiter, which includes both the registration and the background
              check fees.
           d. All officials must consent to a yearly background check and pay the background check fee. The
              background check is required once a year not per sport. Inactive officials are not required to have
              background checks.
           e. All background checks will expire in June on the day of the last NJSIAA event regardless of when
              your background check was submitted.
           f. All registered NJSIAA officials are considered independent contractors and not employees of the
              NJSIAA.

 II.       NJSIAA Officials Registration Levels:
           a. Active - An active official is defined as any official that is registered with the NJSIAA and affiliated
              with an NJSIAA approved officials chapter. The active official must have also successfully
              completed all necessary requirements of the chapter to which they are affiliated with. An active
              official is permitted to work all NJSIAA contests at any level. All registered "Active" officials are
              covered by the NFHS Liability Insurance.
           b. Cadet - A cadet is considered an "official in training" and must be registered with the NJSIAA and
              affiliated with an NJSIAA approved officials chapter. A cadet is not permitted to work any NJSIAA
              varsity contest but can work all levels under the varsity level. All NJSIAA approved chapters are
              required to have a cadet training program and will determine the advancement of their cadets within
              a set period of time. All cadet training must be completed within 3 years, meaning that upon
              registering in year 4, the official must be either "active" or "inactive". All registered "Cadets" are
              covered by the NFHS Liability Insurance.
           c. Inactive - An inactive official is defined as any official that is registered with the NJSIAA and may
              or may not be affiliated with an NJSIAA approved officials chapter. The inactive official is not
              permitted to work any NJSIAA contest at any level. An inactive official will continue to be covered
              under the NFHS General Liability and Accident Insurance if they choose to officiate any contest other
              than NJSIAA, Semi-Pro, and Professional levels. In order for an official to become active again, they
              must complete all requirements for an "active official".

                                                           35




                                                                                                                  AR_293176
Case 4:24-cv-00461-O           Document 76          Filed 09/06/24         Page 153 of 290          PageID 3800


 III.   Testing
        a. All candidates and members must pass a National Federation Rules Examination or other
            comprehensive exam approved by the NJSIAA.

 IV.    Training
        a. Candidates must align themselves with an approved chapter of officials within ninety (90) days of
            notification of successfully passing the approved exam.
        b. Chapters must designate a rules interpreter who must attend the NJSIAA Rules Interpretation meeting
            and who must conduct a chapter rules interpretation meeting prior to the opening of the interscholastic
            sport season for that sport. Attendance at any NJSIAA Regional Rules meetings for those sports in
            which NJSIAA conducts such regional meetings shall be mandatory for all members. Chapters are
            encouraged to hold rules interpretation meetings throughout the respective sport season(s).
        c. Chapters shall conduct meetings at which rules, mechanics, and NJSIAA modifications are reviewed
            for the in-service improvement of officiating. A member shall be required to attend a combination of
            a NJSIAA meeting and two-chapter meetings, which totals three required meetings.
        d. Cadet and in-service training programs must be established to insure a high caliber of officiating for
            the member schools. It is highly recommended that officials who are not of legal age (18), even though
            they may have obtained varsity game status, be assigned to games/matches/meets with mentor
            officials who are of legal age (18 or older. Officials who are under the age of 18 may not officiate
            his/her peer group/high school competitions in any sport.

 V.     Evaluation and Certification
        a. Chapters shall develop a means of evaluating their members for continuing their memberships in good
           standing
        b. Chapter secretaries shall furnish the NJSIAA with a list of their members in good standing by the
           NJSIAA designated date.

 VI.    Chapter.Registration
        a. Candidates must provide at least two references attesting to his/her character.
        b. Registration by the chapter will not be issued or renewed for any adult (an adult is defined as any
           person 18 years of age or older):
           I. Convicted, or adjudicated with a finding of fault, guilt or violation, in regard to an offense against
                a minor or any sexual offense unless/until such offense has been reversed by proper authority
                with jurisdiction over the matter; or,
           2. Convicted, or adjudicated with a finding of fault, guilt or violation, in regard to an offense
                involving any illegal/illicit drug or controlled substance as prescribed by federal or state law or
                regulation, prior to five (5) years following the completion of any sentence, parole, or probation
                period imposed for the offense.
        c. Currently Registered Officials
           1. When a currently registered official is indicted or charged with any indictable criminal offense or
                charged with a violation of any statute pertaining to minors, drugs or a controlled substance, such
                license will automatically be suspended, pending resolution of the indictment or charge.
                Conviction or adjudication of fault, guilt or a violation under any such indictment or charge shall
                result in immediate and automatic forfeiture of the officiating license.
           2. Currently registered officials must inform the local chapter of any such indictment or indictable
                criminal charge immediately upon receipt of or upon having knowledge of such indictment or
                charge. Failure to notify the chapter shall itself be a basis for immediate and automatic forfeiture
                of the officiating license.
        d. Reinstatement/Reapplication for Registration. An official whose registration has been forfeited,
           suspended or revoked or an applicant who is denied registration, under the provisions of this policy,
                                                         36




                                                                                                                AR_293177
Case 4:24-cv-00461-O            Document 76           Filed 09/06/24         Page 154 of 290           PageID 3801


             may petition the chapter for reinstatement/reapplication based on the following:
             1. If suspension, revocation or forfeiture of registration is based upon conviction, adjudication or
                finding of guilt as a result of an indictable offense: The official/applicant may petition the chapter
                for registration one (1) year after the completion of the parole/probation period; other than
                conviction of illegal/illicit drugs, controlled substance where a five (5) year probation period is
                used, or immediately upon dismissal or reversal of the charge or conviction (provided the offense
                was NOT involving a minor or a sexual offense.
             2. If suspension, revocation, forfeiture or denial of registration is based upon any conviction,
                adjudication or fmding of guilt involving a minor or sexual offense, reinstatement/reapplication
                will not be permitted, unless/until such offense has been reversed by proper authority having
                jurisdiction over the matter.

                            PROCEDURE WHEN OFFICIALS FAIL TO ARRIVE
                                  OR ARE UNABLE TO CONTINUE

Member schools on a few occasions have been faced with the failure of officials to arrive for a scheduled event.
The NJSIAA would like to reemphasize the absolute necessity for having properly executed contracts, in writing,
with either the individual official or the chapter assignor. The officials have been repeatedly advised to report to
the game site well in advance of the starting time for a pregame meeting and to permit ample time for their pregame
duties relative to facility inspection, equipment approval and instructions to game-related aides. Upon arrival at
an event, an official should immediately report to the athletic director or site director.

Hopeful, that schools will never have the experience of having teams poised for action, with thousands of
spectators awaiting the start of the contest only to discover late arriving or totally absent officials, the following
recommendations are provided as a procedural plan in the event officials fail to arrive for the game.
To reassure yourself, a reminder should be forwarded to officials one week prior to the game. Schools must not
permit contracted officials to assign substitute officials without the approval of the school.

If the officials have failed to arrive within one-half hour of game time, an attempt should be made to contact the
officials or their assignor.

When it becomes apparent that the expected officials will not be present for the game, the following procedure is
recommended:

Contact chapter assignor, chapter secretary or local NJSIAA officials for last minute replacements;

If this fails:
Request via the P.A. system that NJSIAA officials (of the sport in question) report to a central location.
Assignment to be the responsibility of the home athletic director.

Every attempt should be made to play the game, unless it can be clearly established that to do so would not be in
the best interest of the participating schools.

The responsibility for assigning officials and for determining the playing or postponing of a game under these
circumstances rests with the Principal and the Athletic Director of the host school-this is not a coaching staff
decision. When only one (1) official arrives for game to which two (2) officials-umpires are usually assigned, the
game must be played. Same applies when an official is unable to complete the assignment.


                                                          37




                                                                                                                   AR_293178
Case 4:24-cv-00461-O           Document 76          Filed 09/06/24         Page 155 of 290           PageID 3802


Schools withholding their teams from competition under these conditions will be subject to severe punitive action
under Article X of the Bylaws and officials are required to report the violation to the NJSIAA within seven (7)
days.


                                        SALES AND SOLICITATIONS

Only NJSIAA promotional items will be sold at NJSIAA tournaments. No solicitations, sale of publications or
products, or similar activities are permitted without prior authorization from NJSIAA.

The New Jersey State Interscholastic Athletic Association is the sponsoring association for all levels of State
Tournaments/Championships. The NJSIAA reserves all rights in regard to the management of these
Tournaments/Championships and the sale or distribution of clothing, souvenirs or any other items is strictly
prohibited without permission of the NJSIAA.

                                    STEROID TESTING PROCEDURES

In accordance with Executive Order 72, issued by the Governor of the State of New Jersey, Richard J. Codey, on
December 20, 2005, the NJSIAA will test a random selection of student athletes, who have qualified, as
individuals or as members of a team, for state championship competition.

    1. List of banned_substances — A list of banned substances shall be prepared annually by the Medical
       Advisory Committee, and approved by the Executive Committee.

    2. Consent form — Before participating in interscholastic sports, the student-athlete and the student-athlete's
       parent or guardian shall consent, in writing, to random testing in accordance with this policy. Failure to
       sign the consent form renders the student-athlete ineligible.

    3. Selection of athletes to be tested — Tested athletes will be selected randomly from all of those athletes
       participating in championship competition. Testing may occur at any state championship site or at the
       school whose athletes have qualified for championship competition

    4. Administration of tests — Tests shall be administered by a certified laboratory, selected by the Executive
       Director and approved by the Executive Committee.

    5. Testing methodology — The methodology for taking and handling samples shall be in accordance with
       current legal standards.

    6. Sufficiency of results — No test shall be considered a positive result unless the approved laboratory reports
       a positive result, and the NJSIAA's medical review officer confirms that there was no medical reason for
       the positive result. A "B" sample shall be available in the event of an appeal.

        Appeal process — If the certified laboratory reports that a student-athlete's sample has tested positive, and
        the medical review officer confirms that there is no medical reason for a positive result, a penalty shall be
        imposed unless the student-athlete proves, by a preponderance of the evidence, that he or she bears no
        fault or negligence for the violation. Appeals shall be heard by a NJSIAA committee consisting of two
        members of the Executive Committee, the Executive Director/designee, a trainer and a physician. Appeal
        of a decision of the Committee shall be to the Commissioner of Education, for public school athletes, and
        to the superior court, for non-public athletes. Hearings shall be held in accordance with NJSIAA By-
        Laws, Article XIII, and "Hearing Procedure."
                                                        38




                                                                                                                 AR_293179
Case 4:24-cv-00461-O         Document 76          Filed 09/06/24        Page 156 of 290         PageID 3803



   8. Penalties — Any person who tests positively in an NJSIAA administered test, or any person who refuses
      to provide a testing sample, or any person who reports his or her own violation, shall immediately forfeit
      his or her eligibility to participate in NJSIAA competition for a period of one year from the date of the
      test. Any such person shall also forfeit any individual honor earned while in violation. No person who
      tests positive, refuses to provide a test sample, or who reports his or her own violation shall resume
      eligibility until he or she has undergone counseling and produced a negative test result.

   9. Confidentiality — Results of all tests shall be considered confidential and shall only be disclosed to the
      individual, his or her parents and his or her school.

   10. Compilation of results — The Executive Committee shall annually compile and report the results of the
       testing program.

   11. Yearly renewal of the steroid policy — The Executive Committee shall annually determine whether this
       policy shall be renewed or discontinued.




                                                      39




                                                                                                            AR_293180
Case 4:24-cv-00461-O                  Document 76           Filed 09/06/24              Page 157 of 290            PageID 3804




  Print Student's Full Name                             School                                                   Date


 I,                                                                                  , of full age, being duly sworn to law, upon
 my oath depose and say:


     1.       1 am the parent/legal guardian of the above listed student. (circle)
     2.       1 currently reside at:

              I have resided at the above addresssince:

     3.       The above-named student moved with me at my new address on:

     4.       Prior to moving to the new residence address listed above, I resided at the following address:



     5.       Prior to moving to the new address listed in #2 above, the student resided at the following address:



              with named parent/legal guardian
              I hereby authorize the New Jersey State Interscholastic Athletic Association ("NJSIAA") to investigate and
              confirm any and all Statements made by me in this affidavit. I agree to provide any additional information
              that may be requested by the NJSIAA.
     7.       I will notify the present school immediately, in writing, if any of the conditions recited herein are changed.
     8.       This residence may not be associated with, leased, or provided by anyone associated with the school or acting
              at the direction of the school, including but not limited to administration, staff, coaches, students, parents,
              booster clubs, or any organization having a connection with the school.

 I hereby certify that the forgoing statements are true, and I am aware that if any of the foregoing statements
 are willfully false, I am subject to punishment.



                    Parent/Guardian Signature                                                  Print Parent/Guardian Full Name


STATE OF NEW JERSEY, COUNTY OF                       . The above-named affiant appeared before me,
a notary public of the State of New Jersey, on the  day of            , 20   and I made known to
him/her the contents of the above affidavit which was then sworn and subscribed to by said affiant before me on
this date.

Notary Public:
          r
                                                                                                                EC Approved 4/1 /20
                                                                 40




                                                                                                                                    AR_293181
Case 4:24-cv-00461-O           Document 76          Filed 09/06/24         Page 158 of 290          PageID 3805


                                     SUSPENDED FOOTBALL GAMES
Games interrupted/suspended due to reasons beyond anyone's control, e.g., electrical storms, torrential rains and
the like. All games to be continued will be at the site of the interrupted game unless otherwise agreed upon by
competing schools.

    1. If both schools agree, the game will be a completed game or the game will be continued from the point of
       interruption but no later than Tuesday of the following week.

    2. If both schools belong to the same Conference (divisional or inter-divisional game), the Conference must
       have adopted guidelines in the event the schools do not agree to resolve the issue by mutual agreement;
       however, if the game is to be continued from the point of interruption, it must be played no later than
       Tuesday of the following week.

    3. If the game is a non-conference game, and the schools do not agree to resolve the issue, the NJSIAA will
       resolve the issue as follows:

            a. If the point difference is twenty-two (22) points or more, the game shall be a completed game
               regardless of the point of interruption.
            b. If the interrupted game has completed three (3) quarters, the game will be a completed game.
            c. If the game is interrupted after the completion of the first half and the point difference is fifteen
               (15) or more points, the game shall be a completed game.
            d. All other games, except as provided in #5, will be continued from the point of interruption no
               later than Tuesday of the following week. If the schools cannot agree on the date, the game will
               be continued on the Monday following the game at 3:00 p.m.
            e. Whenever it is not considered prudent to complete an interrupted game, the Executive Director
               will have the authority to rule on the status of the game.


                                    BEFORE A GAME IS TERMINATED

The host school management has full responsibility for determining whether or not conditions are such as to
postpone or start a game/meet. Schools must know that once a game/meet/event has started, the official(s) have
jurisdiction for terminating same prematurely.

Termination, once the game has started, is not the prerogative of a coach or school management, and the action
of removing a team from the event prior to the conclusion of the game/meet/event, regardless of the circumstances,
will result in severe punitive actions by the NJSIAA controversies or executive committee.

The following procedure should be implemented before termination of the event by the official(s):

1. Coaches and/or players should be penalized for misconduct as provided for in the playing rules;

2. Continued misconduct should result in the coach(es) of the teams being advised to correct the situation or be
   faced with possible termination of the game;

3. Officials should confer and, if they consider the circumstances warrant, teams should be directed to their
   respective bench areas while the coaches, Athletic Directors, and administrators of the schools discuss, in the
   center of the field or in a private area, an attempt to restore control of their teams and/or spectators;

                                                        41




                                                                                                                AR_293182
Case 4:24-cv-00461-O            Document 76           Filed 09/06/24         Page 159 of 290          PageID 3806


4. When it is apparent to the game official(s) and the host_school_administration that to continue the event would
   present a clear and present danger to the safety and welfare of any party, the game should be terminated and
   the schools' head coaches advised accordingly. This should not be a unilateral decision; however, if the
   responsible parties are unable or unwilling to control their teams and/or spectators, the official(s) must inform
   the head coach (es) of the teams that the game is terminated;

    Officials must not rule on forfeiture of any prematurely terminated events; only conferences and/or the
    NJSIAA have the jurisdiction to determine forfeits. All games terminated due to control problems, will
    require a comprehensive report to the NJSIAA Central Office and the Chapter Secretaries by the officials
    and the Principals of the involved schools. Said report from the officials should be forwarded immediately
    to the NJSIAA with a copy to the principals of the involved schools. The report(s) will be forwarded to the
    League/Conference for a hearing by them prior to any action by the NJSIAA.


                                           TRANSGENDER POLICY

1. A transgender student, defined as a student whose gender identity differs from the student's sex assigned at
   birth, shall be eligible to participate in accordance with either their birth sex or in accordance with their gender
   identity, but not both. Exceptions to this policy shall be subject to appeal to the Eligibility Appeals Committee.

2. In the event of a positive test result under the NJSIAA's "General Prohibition Against Performance Enhancing
    Drugs", a transgender student's use of a banned substance for the purposes of hormone therapy may be
    considered by the NJSIAA medical review officer as a medical reason for the positive result.

3. Any member school may appeal the eligibility of a transgender student on the grounds that the student's
   participation in interscholastic athletics would adversely affect competition or safety. Any appeal under this
   paragraph will be heard by the Eligibility Appeals Committee and shall be confidential. The Eligibility
   Appeals Committee will not consider whether the school has properly determined the student's sex-
   assignment.

4. If a transgender student has not yet declared their transgender status, this policy shall not apply. If a
    transgender student, at some point during their high school career, no longer identifies as a transgender
    student, this policy shall not apply.


                                               UNIFIED SPORTS®
Unified Sports® is a joint effort between the NJSIAA and Special Olympics New Jersey (SONJ) to incorporate
Unified Sports® programs in NJSIAA member schools recognizing and offering opportunities for students with
and without disabilities to compete in NJSIAA sanctioned activity. On June 19, 2014, Governor Christie signed
legislation regarding the inclusion of students with disabilities in athletic activities. This law requires school
districts ensure students with disabilities have equal access and opportunities to participate in athletics.
Unified Sports® was created by Special Olympics International to give individuals with intellectual disabilities
the opportunity to train and compete in sports activities alongside their peers. The vision of the joint
NJSIAA/SONJ effort is to allow high school students with and without intellectual disabilities the opportunity to
represent their high school by participating on Unified Sports® teams, providing the students with a quality
experience of sports training and competition. No person shall, on the basis of gender, race, religion, color or
national origin, be excluded from participation in, be denied the benefits of, or otherwise be subjected to
discrimination under any program or activity of Special Olympics.
                                                       42




                                                                                                                   AR_293183
Case 4:24-cv-00461-O          Document 76          Filed 09/06/24         Page 160 of 290          PageID 3807


Section 1. ATHLETE ELIGIBILITY FOR UNIFIED SPORTS®
       General Statement — A person with an intellectual (ID) or closely related developmental (DD) disability
       that has satisfied one of the following requirements:
         a. An appropriate agency or professional has identified him/her as having an intellectual disability,
             with functional limitations in both general learning and adaptive skills;
         b. (S)he is identified as having a cognitive delay after completing an acceptable standardized test or
             other instrument generally accepted within the professional community as providing a reliable
             measurement. ie, IQ test.
         c. An appropriate agency or professional has identified him/her as having a closely related
             developmental disability (DD), which means having functional limitations in both general learning
             and in adaptive skills (such as recreational, work, independent living, self-direction, or self-care).
             This includes students on the Autism Spectrum.
         d. Individuals whose functional limitations are based solely on a physical, behavioral, or emotional
             disability, or a specific learning or sensory disability, are not eligible to participate as Special
             Olympic athletes, but may be eligible to participate as a Unified partner, coach, manager or
             volunteer.
Section 2. UNIFIED PARTNER ELIGIBILITY
   1. Definition - Unified Sports® is a program that combines approximately equal numbers of Special
      Olympics athletes and athletes without ID (Unified partners) on sports teams for training and competition.
   2. Any student participating in a sport at the varsity level at any time during the season is NOT eligible to
      compete as a Unified partner in the same snort. Appropriate participation for such a student-athlete may
      take place as a manager.
   3. Refer to NJSIAA By-Law Article V, Section 1.
Section 3. AGE
      Unified Student Athlete — A student with ID may participate in Unified Sports® as long as he or she is
      enrolled in the school.
   2. Unified Partner - Refer to NJSIAA By-Law Article V, Section 4, C (Age)
Section 4. CREDITS
   1. Unified Student Athlete - Refer to NJSIAA By-Law Article V, Section 4, F (Handicapped/Classified
      Students)
   2. Unified Partner - Refer to NJSIAA By-Law Article V, Section 4, E (Credits)




                                                       43




                                                                                                               AR_293184
Case 4:24-cv-00461-O          Document 76         Filed 09/06/24         Page 161 of 290         PageID 3808


Section 5. SEMESTERS
      Unified Student Athlete — Students defined by the NJ DOE under IDEA shall be permitted to participate
      as long as they are properly enrolled in school and maintain other eligibility requirements as per his/her
      IEP.
   2. Unified Partner - Refer to NJSIAA By-Law Article V, Section 4, E, J
Section 6. MEDICAL PHYSICAL REQUIREMENTS
   1. Refer to N.J.A.0 6A:16-2.2 — All participants will follow the State administrative code for required health
      services as well as other school requirements for athletic participation.
Section 7. ALIGNMENT OF SPORTS
   1. Unified Sports® shall be aligned in its own division.
   2. Unified Sports® shall be contested as co-ed in both team and individual sports.
Section 8. COOPERATIVE SPORTS PROGRAMS
   1. Refer to NJSIAA By-Laws Article III, Section 10
Section 9. SPORTS SEASON
   1. Refer to NJSIAA Rules and Regulations Section 5 — 8
   2. Practices prior to competition — Although highly recommended, the 6 practice and one day of rest rule is
      waived for Unified Sports.
Section 10. OUT-OF-SEASON GUIDELINES
   1. During the out-of-season period (refer to NJSIAA Rules and Regulations Section 2), coaches ARE
      permitted to work with Unified athletes and Unified partners ONLY when it is being run as a Unified
      Sports® event and/or a SONJ event.
Section 11. CONTEST RULES
   1. Contests played between member schools will be played according to the rules of the NFHS or National
      Governing Body of that sport. Rules and regulations for Unified Sports® will be jointly published by
      NJSIAA and SONJ prior to each season, as approved by the NJSIAA Executive Board.
Section 12. COACH REQUIREMENTS
       Unified Sports® coaches are required to meet all NJSIAA coaching certifications and regulations as
       outlined in the NJSIAA Guidelines, Policies and Procedures. Additionally, Unified Sports coaches must
       obtain a Unified Sports coaching certification by completing the online NFHS Coaching Unified Sports
       course.




                                                      44




                                                                                                             AR_293185
Case 4:24-cv-00461-O            Document 76          Filed 09/06/24         Page 162 of 290          PageID 3809


                                  UNIFORMS — RELIGIOUS EXEMPTION

Participant Uniforms: Schools may modify uniforms for their athletes for religious reasons. The religious group
must file a letter with the school. A copy of the letter must accompany the participant at each event to be available
for the official to review and approve.


                       INTERIM VAPOR/E-CIGARETTES POLICY (under review)

It has come to the attention of NJSIAA that vapor/e-cigarettes maybe/are being used by student athletes and/or
coaches prior to, during, or after interscholastic events. The NFHS rule book(s) state "the use of tobacco products"
results in a flagrant disqualification, but there is no mention of vapor/e-cigarettes. When contacted, the NFHS
replied that vapor/e-cigarettes are to be treated as a traditional cigarette, which is identified as a tobacco/and or
nicotine product, and therefore means any use of the vapor/e-cigarettes shall be enforced as a flagrant
disqualification. The NJSIAA position on this matter is that we will adhere to the ruling stated above. We will
refer this matter to the NJSIAA Medical Advisory Committee for further study and after receiving the Medical
Advisory Committees' recommendation(s), we will develop a permanent policy and will distribute such to the
member schools of NJSIAA.




                                                         45




                                                                                                                 AR_293186
Case 4:24-cv-00461-O   Document 76   Filed 09/06/24   Page 163 of 290   PageID 3810




             s
                                                                                AR_293260
Case 4:24-cv-00461-O             Document 76           Filed 09/06/24           Page 164 of 290            PageID 3811


  U.S. Department of Education
  Office of Elementary and Secondary Education
  Office of Safe and Healthy Students




  Ann Whalen
  Senior Advisor to the Secretary, Delegated the Duties of the Assistant Secretary, Office of Elementary and
  Secondary Education

  David Esquith
  Director, Office of Safe and Healthy Students

  May 2016
  This resource is in the public domain. Authorization to reproduce it in whole or in part is granted. The guide's
  citation should be:
  U.S. Department of Education, Office of Elementary and Secondary Education, Office of Safe and Healthy Students,
  Examples of Policies and Emerging Practices for Supporting Transgender Students (May 2016).

  This guide is also available on the Office of Safe and Healthy Students website at
  www.ed.gov/oese/oshs/emergingpractices.pdf. Any updates to this guide will be available at this website.

  If you need technical assistance, please contact the Office of Safe and Healthy Students at:
  OESE.Info.SupportingTransgenderStudents@ed.gov


  Availability of Alternate Formats
  Requests for documents in alternate formats such as Braille or large print should be submitted to the Alternate
  Format Center by calling 202-260-0852 or by contacting the 504 coordinator via e-mail at om eeos@ed.gov.
  Notice to Limited English Proficient Persons
  If you have difficulty understanding English you may request language assistance services for Department
  information that is available to the public. These language assistance services are available free of charge. If you
  need more information about interpretation or translation services, please call 1-800-USA-LEARN (1-800-872-
  5327) (TTY: 1-800-437-0833), or e-mail us at ED.Language.Assistance@ed.gov. Or write to U.S. Department of
  Education, Information Resource Center, LBJ Education Building, 400 Maryland Ave. SW, Washington, DC 20202.




                                                                                                                         AR_293261
Case 4:24-cv-00461-O             Document 76            Filed 09/06/24           Page 165 of 290            PageID 3812




          Examples of Policies and Emerging Practices for Supporting Transgender Students

  The U.S. Department of Education ("ED") is committed to providing schools with the
  information they need to provide a safe, supportive, and nondiscriminatory learning
  environment for all students. It has come to ED's attention that many transgender students
  (i.e., students whose gender identity is different from the sex they were assigned at birth)
  report feeling unsafe and experiencing verbal and physical harassment or assault in school, and
  that these students may perform worse academically when they are harassed. School
  administrators, educators, students, and parents are asking questions about how to support
  transgender students and have requested clarity from ED. In response, ED developed two
  documents:

      •    ED's Office for Civil Rights and the U.S. Department of Justice's Civil Rights Division
           jointly issued a Dear Colleague Letter ("DCL") about transgender students' rights and
           schools' legal obligations under Title IX of the Education Amendments of 1972.1 Any
           school that has questions related to transgender students or wants to be prepared to
           address such issues if they arise should review the DCL.

      •    ED's Office of Elementary and Secondary Education compiled the attached examples of
           policies2 and emerging practices3 that some schools are already using to support
           transgender students. We share some common questions on topics such as school
           records, privacy, and terminology, and then explain how some state and school district
           policies have answered these questions. We present this information to illustrate how
           states and school districts are supporting transgender students. We also provide
           information about and links to those policies at the end of the document, along with
           other resources that may be helpful as educators develop policies and practices for their
           own schools.




  120 U.S.C. §§ 1681-1688; Dear Colleague Letter: Transgender Students (May 13, 2016),
  www.ed.gov/ocr/letters/colleague-201605-title-ix-transgender.pdf.
  2 In this document, the term policy or policies refers generally to policies, guidance, guidelines, procedures,
  regulations, and resource guides issued by schools, school districts, and state educational agencies.
  3 ED considers emerging practices to be operational activities or initiatives that contribute to successful outcomes
  or enhance agency performance capabilities. Emerging practices are those that have been successfully
  implemented and demonstrate the potential for replication by other agencies. Emerging practices typically have
  not been rigorously evaluated, but still offer ideas that work in specific situations.




                                                                                                                         AR_293262
Case 4:24-cv-00461-O       Document 76       Filed 09/06/24      Page 166 of 290       PageID 3813


  Each person is unique, so the needs of individual transgender students vary. But a school policy
  setting forth general principles for supporting transgender students can help set clear
  expectations for students and staff and avoid unnecessary confusion, invasions of privacy, and
  other harms. The education community continues to develop and revise policies and practices
  to address the rights of transgender students and reflect our evolving understanding and the
  individualized nature of transgender students' needs.

  This document contains information from some schools, school districts, and state and federal
  agencies. Inclusion of this information does not constitute an endorsement by ED of any policy
  or practice, educational product, service, curriculum or pedagogy. In addition, this document
  references websites that provide information created and maintained by other entities. These
  references are for the reader's convenience. ED does not control or guarantee the accuracy,
  relevance, timeliness, or completeness of this outside information. This document does not
  constitute legal advice, create legal obligations, or impose new requirements.




                                                                                                     AR_293263
Case 4:24-cv-00461-O                  Document 76                 Filed 09/06/24                 Page 167 of 290                   PageID 3814



                                                  Table of Contents
  Student Transitions ...............................................................................................................1
     1.       How do schools find out that a student will transition? .................................................1
     2.       How do schools confirm a student's gender identity? ....................................................1
     3.       How do schools communicate with the parents of younger students compared to
              older transgender students? ........................................................................................... 2
  Privacy, Confidentiality, and Student Records ........................................................................4
     4.       How do schools protect a transgender student's privacy regarding the student's
              transgender status? ......................................................................................................... 4
     5.       How do schools ensure that a transgender student is called by the appropriate name
              and pronouns? ................................................................................................................. 5
     6.       How do schools handle requests to change the name or sex designation on a student's
              records? ........................................................................................................................... 6
  Sex-Segregated Activities and Facilities .................................................................................. 7
     7.       How do schools ensure transgender students have access to facilities consistent with
              their gender identity? ...................................................................................................... 7
     8.       How do schools protect the privacy rights of all students in restrooms or locker
              rooms? ............................................................................................................................. 7
     9.       How do schools ensure transgender students have the opportunity to participate in
              physical education and athletics consistent with their gender identity? ....................... 8
     10.      How do schools treat transgender students when they participate in field trips and
              athletic trips that require overnight accommodations? ................................................. 9
  Additional Practices to Support Transgender Students ......................................................... 10
     11.      What can schools do to make transgender students comfortable in the classroom?.. 10
     12.      How do school dress codes apply to transgender students? ........................................ 10
     13.      How do schools address bullying and harassment of transgender students? .............. 11
     14.      How do school psychologists, school counselors, school nurses, and school social
              workers support transgender students? ....................................................................... 11
     15.      How do schools foster respect for transgender students among members of the
              broader school community? .......................................................................................... 12
     16.      What topics do schools address when training staff on issues related to transgender
              students? ....................................................................................................................... 12
     17.      How do schools respond to complaints about the way transgender students are
              treated? ......................................................................................................................... 13




                                                                                                                                                       AR_293264
Case 4:24-cv-00461-O            Document 76             Filed 09/06/24             Page 168 of 290              PageID 3815




     18.   What terms are defined in current school policies on transgender students? ............. 14
     19.   How do schools account for individual preferences and the diverse ways that students
           describe and express their gender?............................................................................... 15




                                                                                                                             I VA




                                                                                                                                  AR_293265
Case 4:24-cv-00461-O       Document 76        Filed 09/06/24       Page 169 of 290        PageID 3816




  Student Transitions

     1. How do schools find out that a student will transition?

  Typically, the student or the student's parent or guardian will tell the school and ask that the
  school start treating the student in a manner consistent with the student's gender identity.
  Some students transition over a school break, such as summer break. Other students may
  undergo a gender transition during the school year, and may ask (or their parents may ask on
  their behalf) teachers and other school employees to respect their identity as they begin
  expressing their gender identity, which may include changes to their dress and appearance.
  Some school district or state policies address how a student or parent might provide the
  relevant notice to the school.

         •   Alaska's Matanuska-Susitna Borough School District issued guidelines ("Mat-Su
             Borough Guidelines") advising that transgender students or their parents or
             guardians should contact the building administrator or the student's guidance
             counselor to schedule a meeting to develop a plan to address the student's
             particular circumstances and needs.

         •   The guidelines issued by Washington's Superintendent of Public Instruction
             ("Washington State Guidelines") offer an example of a student who first attended
             school as a boy and, about midway through a school year, she and her family
             decided that she would transition and begin presenting as a girl. She prefers to
             dress in stereotypically feminine attire such as dresses and skirts. Although she is
             growing her hair out and consistently presents as female at school, her hair is still in
             a rather short, typically boyish haircut. The student, her parents, and school
             administrators asked her friends and teachers to use female pronouns to address
             her.


     2. How do schools confirm a student's gender identity?

  Schools generally rely on students' (or in the case of younger students, their parents' or
  guardians') expression of their gender identity. Although schools sometimes request some
  form of confirmation, they generally accept the student's asserted gender identity. Some
  schools offer additional guidance on this issue.

         •   Los Angeles Unified School District issued a policy ("LAUSD Policy") noting that
             "[t]here is no medical or mental health diagnosis or treatment threshold that




                                                                                                        AR_293266
Case 4:24-cv-00461-O        Document 76        Filed 09/06/24       Page 170 of 290        PageID 3817


             students must meet in order to have their gender identity recognized and
             respected" and that evidence may include an expressed desire to be consistently
             recognized by their gender identity.


         •   The New York State Education Department issued guidance ("NYSED Guidance")
             recommending that "schools accept a student's assertion of his/her/their own
             gender identity" and provides examples of ways to confirm the assertion, such as a
             statement from the student or a letter from an adult familiar with the student's
             situation. The same guidance also offers the following example: "In one middle
             school, a student explained to her guidance counselor that she was a transgender
             girl who had heretofore only been able to express her female gender identity while
             at home. The stress associated with having to hide her female gender identity by
             presenting as male at school was having a negative impact on her mental health, as
             well as on her academic performance. The student and her parents asked if it would
             be okay if she expressed her female gender identity at school. The guidance
             counselor responded favorably to the request. The fact that the student presented
             no documentation to support her gender identity was not a concern since the school
             had no reason to believe the request was based on anything other than a sincerely
             held belief that she had a female gender identity."


         •   Alaska's Anchorage School District developed administrative guidelines ("Anchorage
             Administrative Guidelines") noting that being transgender "involves more than a
             casual declaration of gender identity or expression but does not require proof of a
             formal evaluation and diagnosis. Since individual circumstances, needs, programs,
             facilities and resources may differ; administrators and school staff are expected to
             consider the needs of the individual on a case-by-case basis."


     3. How do schools communicate with the parents of younger students compared to
        older transgender students?

  Parents are often the first to initiate a conversation with the school when their child is
  transgender, particularly when younger children are involved. Parents may play less of a role in
  an older student's transition. Some school policies recommend, with regard to an older
  student, that school staff consult with the student before reaching out to the student's parents.

         •   The District of Columbia Public Schools issued guidance ("DCPS Guidance") noting
             that "students may choose to have their parents participate in the transition
             process, but parental participation is not required." The guidance further



                                                                                                    Fa



                                                                                                      AR_293267
Case 4:24-cv-00461-O      Document 76        Filed 09/06/24      Page 171 of 290       PageID 3818


            recommends different developmentally appropriate protocols depending on grade
            level. The DCPS Guidance suggests that the school work with a young student's
            family to identify appropriate steps to support the student, but recommends
            working closely with older students prior to notification of family. The guidance also
            provides a model planning document with key issues to discuss with the student or
            the student's family.

        •   Similarly, the Massachusetts Department of Elementary and Secondary Education
            issued guidance ("Massachusetts Guidance") that notes: "Some transgender and
            gender nonconforming students are not openly so at home for reasons such as
            safety concerns or lack of acceptance. School personnel should speak with the
            student first before discussing a student's gender nonconformity or transgender
            status with the student's parent or guardian. For the same reasons, school
            personnel should discuss with the student how the school should refer to the
            student, e.g., appropriate pronoun use, in written communication to the student's
            parent or guardian."

        •   Chicago Public Schools' guidelines ("Chicago Guidelines") provide: "When speaking
            with other staff members, parents, guardians, or third parties, school staff should
            not disclose a student's preferred name, pronoun, or other confidential information
            pertaining to the student's transgender or gender nonconforming status without the
            student's permission, unless authorized to do so by the Law Department."

            Oregon's Department of Education issued guidance stating, "In a case where a
            student is not yet able to self-advocate, the request to respect and affirm a student's
            identity will likely come from the student's parent. However, in other cases,
            transgender students may not want their parents to know about their transgender
            identity. These situations should be addressed on a case-by-case basis and school
            districts should balance the goal of supporting the student with the requirement
            that parents be kept informed about their children. The paramount consideration in
            such situations should be the health and safety of the student, while also making
            sure that the student's gender identity is affirmed in a manner that maintains
            privacy and confidentiality."




                                                                                                 3



                                                                                                      AR_293268
Case 4:24-cv-00461-O       Document 76        Filed 09/06/24      Page 172 of 290       PageID 3819


  Privacy, Confidentiality, and Student Records

     4. How do schools protect a transgender student's privacy regarding the student's
        transgender status?

  There are a number of ways schools protect transgender students' interests in keeping their
  transgender status private, including taking steps to prepare staff to consistently use the
  appropriate name and pronouns. Using transgender students' birth names or pronouns that do
  not match their gender identity risks disclosing a student's transgender status. Some state and
  school district policies also address how federal and state privacy laws apply to transgender
  students and how to keep information about a student's transgender status confidential.

             California's El Rancho Unified School District issued a regulation ("El Rancho
             Regulation") that provides that students have the right to openly discuss and express
             their gender identity, but also reminds school personnel to be "mindful of the
             confidentiality and privacy rights of [transgender] students when contacting
             parents/legal guardians so as not to reveal, imply, or refer to a student's actual or
             perceived sexual orientation, gender identity, or gender expression."

         •   The Chicago Guidelines provide that the school should convene an administrative
             support team to work with transgender students and/or their parents or guardians
             to address each student's individual needs and supports. To protect the student's
             privacy, this team is limited to "the school principal, the student, individuals the
             student identifies as trusted adults, and individuals the principal determines may
             have a legitimate interest in the safety and healthy development of the student."

         •   The Mat-Su Borough Guidelines state: "In some cases, a student may want school
             staff and students to know, and in other cases the student may not want this
             information to be widely known. School staff should take care to follow the
             student's plan and not to inadvertently disclose information that is intended to be
             kept private or that is protected from disclosure (such as confidential medical
             information)."

         •   The Massachusetts Guidance advises schools "to collect or maintain information
             about students' gender only when necessary" and offers an example: "One school
             reviewed the documentation requests it sent out to families and noticed that field
             trip permission forms included a line to fill in indicating the student's gender. Upon
             consideration, the school determined that the requested information was irrelevant
             to the field trip activities and deleted the line with the gender marker request."



                                                                                                    4



                                                                                                      AR_293269
Case 4:24-cv-00461-O       Document 76        Filed 09/06/24      Page 173 of 290       PageID 3820


     5. How do schools ensure that a transgender student is called by the appropriate name
        and pronouns?

  One of the first issues that school officials may address when a student notifies them of a
  gender transition is determining which name and pronouns the student prefers. Some schools
  have adopted policies to prepare all school staff and students to use a student's newly adopted
  name, if any, and pronouns that are consistent with a student's gender identity.

         •   A regulation issued by Nevada's Washoe County School District ("Washoe County
             Regulation") provides that: "Students have the right to be addressed by the names
             and pronouns that correspond to their gender identity. Using the student's
             preferred name and pronoun promotes the safety and wellbeing of the student.
             When possible, the requested name shall be included in the District's electronic
             database in addition to the student's legal name, in order to inform faculty and staff
             of the name and pronoun to use when addressing the student."

         •   A procedure issued by Kansas City Public Schools in Missouri ("Kansas City
             Procedure") notes that: "The intentional or persistent refusal to respect the gender
             identity of an employee or student after notification of the preferred pronoun/name
             used by the employee or student is a violation of this procedure."

         •   The NYSED Guidance provides: "As with most other issues involved with creating a
             safe and supportive environment for transgender students, the best course is to
             engage the student, and possibly the parent, with respect to name and pronoun use,
             and agree on a plan to reflect the individual needs of each student to initiate that
             name and pronoun use within the school. The plan also could include when and
             how this is communicated to students and their parents."

         •   The DCPS Guidance includes a school planning guide for principals to review with
             transgender students as they plan how to ensure the school environment is safe and
             supportive. The school planning guide allows the student to identify the student's
             gender identity and preferred name, key contacts at home and at school, as well as
             develop plans for access to restrooms, locker rooms, and other school activities.




                                                                                                  I1



                                                                                                      AR_293270
Case 4:24-cv-00461-O        Document 76        Filed 09/06/24       Page 174 of 290       PageID 3821


     6. How do schools handle requests to change the name or sex designation on a student's
        records?

  Some transgender students may legally change their names. However, transgender students
  often are unable to obtain identification documents that reflect their gender identity (e.g., due
  to financial limitations or legal restrictions imposed by state or local law). Some school district
  policies specify that they will use the name a student identifies as consistent with the student's
  gender identity regardless of whether the student has completed a legal name change.

         •   The NYSED Guidance provides that school records, including attendance records,
             transcripts, and Individualized Education Programs, be updated with the student's
             chosen name and offers an example: "One school administrator dealt with
             information in the student's file by starting a new file with the student's chosen
             name, entered previous academic records under the student's chosen name, and
             created a separate, confidential folder that contained the student's past information
             and birth name."

         •   The DCPS Guidance notes: "A court-ordered name or gender change is not required,
             and the student does not need to change their official records. If a student wishes
             to go by another name, the school's registrar can enter that name into the
             'Preferred First' name field of [the school's] database."

         •   The Kansas City Procedure recognizes that there are certain situations where school
             staff or administrators may need to report a transgender student's legal name or
             gender. The procedure notes that in these situations, "school staff and
             administrators shall adopt practices to avoid the inadvertent disclosure of such
             confidential information."

         •   The Chicago Guidelines state: "Students are not required to obtain a court order
             and/or gender change or to change their official records as a prerequisite to being
             addressed by the name and pronoun that corresponds to their gender identity."

         •   The Massachusetts Guidance also addresses requests to amend records after
             graduation: "Transgender students who transition after having completed high
             school may ask their previous schools to amend school records or a diploma or
             transcript that include the student's birth name and gender. When requested, and
             when satisfied with the gender identity information provided, schools should amend
             the student's record."




                                                                                                        AR_293271
Case 4:24-cv-00461-O         Document 76         Filed 09/06/24      Page 175 of 290        PageID 3822


  Sex-Segregated Activities and Facilities

      7. How do schools ensure transgender students have access to facilities consistent with
          their gender identity?

  Schools often segregate restrooms and locker rooms by sex, but some schools have policies
  that students must be permitted to access facilities consistent with their gender identity and
  not be required to use facilities inconsistent with their gender identity or alternative facilities.

          •   The Washington State Guidelines provide: "School districts should allow students to
              use the restroom that is consistent with their gender identity consistently asserted
              at school." In addition, no student "should be required to use an alternative
              restroom because they are transgender or gender nonconforming."


          •   The Washoe County Regulation provides: "Students shall have access to use
              facilities that correspond to their gender identity as expressed by the student and
              asserted at school, irrespective of the gender listed on the student's records,
              including but not limited to locker rooms."


          •   The Anchorage Administrative Guidelines emphasize the following provision:
              "However, staff should not require a transgender or gender nonconforming
              student/employee to use a separate, nonintegrated space unless requested by the
              individual student/employee."


      8. How do schools protect the privacy rights of all students in restrooms or locker
          rooms?

  Many students seek additional privacy in school restrooms and locker rooms. Some schools
  have provided students increased privacy by making adjustments to sex-segregated facilities or
   providing all students with access to alternative facilities.

          •   The Washington State Guidelines provide that any student who wants increased
              privacy should be provided access to an alternative restroom or changing area. The
              guidelines explain: "This allows students who may feel uncomfortable sharing the
              facility with the transgender student(s) the option to make use of a separate
              restroom and have their concerns addressed without stigmatizing any individual
              student."




                                                                                                         'A



                                                                                                          AR_293272
Case 4:24-cv-00461-O        Document 76           Filed 09/06/24    Page 176 of 290         PageID 3823



          •   The NYSED Guidance gives an example of accommodating all students' interest in
              privacy: "In one high school, a transgender female student was given access to the
              female changing facility, but the student was uncomfortable using the female
              changing facility with other female students because there were no private changing
              areas within the facility. The principal examined the changing facility and
              determined that curtains could easily be put up along one side of a row of benches
              near the group lockers, providing private changing areas for any students who
              wished to use them. After the school put up the curtains, the student was
              comfortable using the changing facility."


          •   Atherton High School, in Jefferson County, Kentucky, issued a policy that offers
              examples of accommodations to address any student's request for increased
              privacy: "use of a private area within the public area of the locker room facility (e.g.
              nearby restroom stall with a door or an area separated by a curtain); use of a nearby
              private area (e.g. nearby restroom); or a separate changing schedule."

          •   The DCPS Guidance recommends talking to students to come up with an acceptable
              solution: "Ultimately, if a student expresses discomfort to any member of the
              school staff, that staff member should review these options with the student and
              ask the student permission to engage the school LGBTQ liaison or another
              designated ally in the building."


      9. How do schools ensure transgender students have the opportunity to participate in
         physical education and athletics consistent with their gender identity?


  Some school policies explain the procedures for establishing transgender students' eligibility to
   participate in athletics consistent with their gender identity. Many of those policies refer to
   procedures established by state athletics leagues or associations.

          •   The NYSED Guidance explains that "physical education is a required part of the
              curriculum and an important part of many students' lives. Most physical education
              classes in New York's schools are coed, so the gender identity of students should not
              be an issue with respect to these classes. Where there are sex-segregated classes,
              students should be allowed to participate in a manner consistent with their gender
              identity."


          •   The LAUSD Policy provides that "participation in competitive athletics, intramural
              sports, athletic teams, competitions, and contact sports shall be facilitated in a


                                                                                                     8



                                                                                                         AR_293273
Case 4:24-cv-00461-O       Document 76        Filed 09/06/24      Page 177 of 290        PageID 3824


             manner consistent with the student's gender identity asserted at school and in
             accordance with the California Interscholastic Federation bylaws." The California
             Interscholastic Federation establishes a panel of professionals, including at least one
             person with training or expertise in gender identity health care or advocacy, to make
             eligibility decisions.

         •   The Rhode Island Interscholastic League's policy states that all students should have
             the opportunity to participate in athletics consistent with their gender identity,
             regardless of the gender listed on school records. The policy provides that the
             league will base its eligibility determination on the student's current transcript and
             school registration information, documentation of the student's consistent gender
             identification (e.g., affirmed written statements from student, parent/guardian, or
             health care provider), and any other pertinent information.


     10. How do schools treat transgender students when they participate in field trips and
         athletic trips that require overnight accommodations?

  Schools often separate students by sex when providing overnight accommodations. Some
  school policies provide that students must be treated consistent with their gender identity in
  making such assignments.

             • Colorado's Boulder Valley School District issued guidelines ("Boulder Valley
               Guidelines") providing that when a school plans overnight accommodations for a
               transgender student, it should consider "the goals of maximizing the student's
               social integration and equal opportunity to participate in overnight activity and
               athletic trips, ensuring the [transgender] student's safety and comfort, and
               minimizing stigmatization of the student."

             • The Chicago Guidelines remind school staff: "In no case should a transgender
               student be denied the right to participate in an overnight field trip because of
               the student's transgender status."




                                                                                                       AR_293274
Case 4:24-cv-00461-O       Document 76       Filed 09/06/24       Page 178 of 290       PageID 3825


  Additional Practices to Support Transgender Students

     11. What can schools do to make transgender students comfortable in the classroom?

  Classroom practices that do not distinguish or differentiate students based on their gender are
  the most inclusive for all students, including transgender students.

         •   The DCPS Guidance suggests that "[w]herever arbitrary gender dividers can be
             avoided, they should be eliminated."

         •   The Massachusetts Guidance states that "[a]s a general matter, schools should
             evaluate all gender-based policies, rules, and practices and maintain only those that
             have a clear and sound pedagogical purpose."

         •   Minneapolis Public Schools issued a policy providing that students generally should
             not be grouped on the basis of sex for the purpose of instruction or study, but rather
             on bases such as student proficiency in the area of study, student interests, or
             educational needs for acceleration or enrichment.

         •   The Maryland State Department of Education issued guidelines that include an
             example of eliminating gender-based sorting of students: "Old Practice: boys line up
             over here." New Practice: birthdays between January and June; everybody who is
             wearing something green, etc."


     12. How do school dress codes apply to transgender students?

  Dress codes that apply the same requirements regardless of gender are the most inclusive for
  all students and avoid unnecessarily reinforcing sex stereotypes. To the extent a school has a
  dress code that applies different standards to male and female students, some schools have
  policies that allow transgender students to dress consistent with their gender identity.

         •   Wisconsin's Shorewood School District issued guidelines ("Shorewood Guidelines")
             that allow students to dress in accordance with their gender identity and remind
             school personnel that they must not enforce a dress code more strictly against
             transgender and gender nonconforming students than other students.

         •   The Washington State Guidelines encourage school districts to adopt gender-neutral
             dress codes that do not restrict a student's clothing choices on the basis of gender:
             "Dress codes should be based on educationally relevant considerations, apply


                                                                                                   10



                                                                                                      AR_293275
Case 4:24-cv-00461-O       Document 76        Filed 09/06/24       Page 179 of 290        PageID 3826


             consistently to all students, include consistent discipline for violations, and make
             reasonable accommodations when the situation requires an exception."


     13. How do schools address bullying and harassment of transgender students?

  Unfortunately, bullying and harassment continue to be a problem facing many students, and
  transgender students are no exception. Some schools make clear in their nondiscrimination
  statements that prohibited sex discrimination includes discrimination based on gender identity
  and expression. Their policies also address this issue.

         •   The NYSED Guidance stresses the importance of protecting students from bullying
             and harassment because "[the] high rates experienced by transgender students
             correspond to adverse health and educational consequences," including higher rates
             of absenteeism, lower academic achievement, and stunted educational aspirations.

         •   The Shorewood Guidelines specify that harassment based on a student's actual or
             perceived transgender status or gender nonconformity is prohibited and notes that
             these complaints are to be handled in the same manner as other discrimination,
             harassment, and bullying complaints.

         •   The DCPS Guidance provides examples of prohibited harassment that transgender
             students sometimes experience, including misusing an individual's preferred name
             or pronouns on purpose, asking personal questions about a person's body or gender
             transition, and disclosing private information.


     14. How do school psychologists, school counselors, school nurses, and school social
         workers support transgender students?

  School counselors can help transgender students who may experience mental health disorders
  such as depression, anxiety, and posttraumatic stress. Mental health staff may also consult
  with school administrators to create inclusive policies, programs, and practices that prevent
  bullying and harassment and ensure classrooms and schools are safe, healthy, and supportive
  places where all students, including transgender students, are respected and can express
  themselves. Schools will be in a better position to support transgender students if they
  communicate to all students that resources are available, and that they are competent to
  provide support and services to any student who has questions related to gender identity.




                                                                                                    11



                                                                                                     AR_293276
Case 4:24-cv-00461-O       Document 76        Filed 09/06/24      Page 180 of 290        PageID 3827



         •   The NYSED Guidance suggests that counselors can serve as a point of contact for
             transgender students who seek to take initial steps to assert their gender identity in
             school.

         •   The Chicago Guidelines convene a student administrative support team to
             determine the appropriate supports for transgender students. The team consists of
             the school principal, the student, adults that the student trusts, and individuals the
             principal determines may have a legitimate interest in the safety and healthy
             development of the student.


     15. How do schools foster respect for transgender students among members of the
         broader school community?

  Developing a clear policy explaining how to support transgender students can help
  communicate the importance the school places on creating a safe, healthy, and
  nondiscriminatory school climate for all students. Schools can do this by providing educational
  programs aimed at staff, students, families, and other community members.

         •   The Massachusetts Guidance informs superintendents and principals that they
             "need to review existing policies, handbooks, and other written materials to ensure
             they are updated to reflect the inclusion of gender identity in the student
             antidiscrimination law, and may wish to inform all members of the school
             community, including school personnel, students, and families of the recent change
             to state law and its implications for school policy and practice. This could take the
             form of a letter that states the school's commitment to being a supportive, inclusive
             environment for all students."

         •   The NYSED Guidance states that "school districts are encouraged to provide this
             guidance document and other resources, such as trainings and information sessions,
             to the school community including, but not limited to, parents, students, staff and
             residents."


     16. What topics do schools address when training staff on issues related to transgender
         students?

  Schools can reinforce commitments to providing safe, healthy, and nondiscriminatory school
  climates by training all school personnel about appropriate and respectful treatment of all
  students, including transgender students.


                                                                                                 12



                                                                                                      AR_293277
Case 4:24-cv-00461-O       Document 76       Filed 09/06/24      Page 181 of 290       PageID 3828



         •   The Massachusetts Guidance suggests including the following topics in faculty and
             staff training "key terms related to gender identity and expression; the development
             of gender identity; the experiences of transgender and other gender nonconforming
             students; risks and resilience data regarding transgender and gender nonconforming
             students; ways to support transgender students and to improve school climate for
             gender nonconforming students; [and] gender-neutral language and practices."

         •   The El Rancho Regulation states that the superintendent or designee "shall provide
             to employees, volunteers, and parents/guardians training and information regarding
             the district's nondiscrimination policy; what constitutes prohibited discrimination,
             harassment, intimidation, or bullying; how and to whom a report of an incident
             should be made; and how to guard against segregating or stereotyping students
             when providing instruction, guidance, supervision, or other services to them. Such
             training and information shall include guidelines for addressing issues related to
             transgender and gender-nonconforming students."


     17. How do schools respond to complaints about the way transgender students are
         treated?

  School policies often provide that complaints from transgender students be handled under the
  same policy used to resolve other complaints of discrimination or harassment.

         •   The Boulder Valley Guidelines provide that "complaints alleging discrimination or
             harassment based on a person's actual or perceived transgender status or gender
             nonconformity are to be handled in the same manner as other discrimination or
             harassment complaints."

         •   The Anchorage Administrative Guidelines provide that "students may also use the
             Student Grievance Process to address any civil rights issue, including transgender
             issues at school."




                                                                                                  13



                                                                                                    AR_293278
Case 4:24-cv-00461-O       Document 76        Filed 09/06/24      Page 182 of 290       PageID 3829



  Terminology

     18. What terms are defined in current school policies on transgender students?

  Understanding the needs of transgender students includes understanding relevant terminology.
  Most school policies define commonly used terms to assist schools in understanding key
  concepts relevant to transgender students. The list below is not exhaustive, and only includes
  examples of some of the most common terms that school policies define.

         •   Gender identity refers to a person's deeply felt internal sense of being male or
             female, regardless of their sex assigned at birth. (Washington State Guidelines)

         •   Sex assigned at birth refers to the sex designation, usually "male" or "female,"
             assigned to a person when they are born. (NYSED Guidance)

         •   Gender expression refers to the manner in which a person represents or expresses
             gender to others, often through behavior, clothing, hairstyles, activities, voice or
             mannerisms. (Washoe County Regulation)

         •   Transgender or trans describes a person whose gender identity does not correspond
             to their assigned sex at birth. (Massachusetts Guidance)

         •   Gender transition refers to the process in which a person goes from living and
             identifying as one gender to living and identifying as another. (Washoe County
             Regulation)

         •   Cisgender describes a person whose gender identity corresponds to their assigned
             sex at birth. (NYSED Guidance)

         •   Gender nonconforming describes people whose gender expression differs from
             stereotypic expectations. The terms gender variant or gender atypical are also used.
             Gender nonconforming individuals may identify as male, female, some combination
             of both, or neither. (NYSED Guidance)

         •   Intersex describes individuals born with chromosomes, hormones, genitalia and/or
             other sex characteristics that are not exclusively male or female as defined by the
             medical establishment in our society. (DCPS Guidance)

         •   LGBTQ is an acronym that stands for "lesbian, gay, bisexual, transgender, and
             queer/questioning." (LAUSD Policy)



                                                                                                    14



                                                                                                     AR_293279
Case 4:24-cv-00461-O       Document 76       Filed 09/06/24       Page 183 of 290       PageID 3830




         •   Sexual orientation refers to a person's emotional and sexual attraction to another
             person based on the gender of the other person. Common terms used to describe
             sexual orientation include, but are not limited to, heterosexual, lesbian, gay, and
             bisexual. Sexual orientation and gender identity are different. (LAUSD Policy)


     19. How do schools account for individual preferences and the diverse ways that students
         describe and express their gender?

  Some students may use different terms to identify themselves or describe their situations. For
  example, a transgender male student may identify simply as male, consistent with his gender
  identity. The same principles apply even if students use different terms. Some school policies
  directly address this question and provide additional guidance.

         •   The Washington State Guidelines recognize how "terminology can differ based on
             religion, language, race, ethnicity, age, culture and many other factors."

         •   Washington's Federal Way School District issued a resource guide that states: "Keep
             in mind that the meaning of gender conformity can vary from culture to culture, so
             these may not translate exactly to Western ideas of what it means to be
             transgender. Some of these identities include Hijra (South Asia), Fa'afafine (Samoa),
             Kathoey (Thailand), Travesti (South America), and Two-Spirit (Native American/First
             Nations)."

         •   The Washoe County Regulation, responding to cultural diversity within the state,
             offers examples of "ways in which transgender and gender nonconforming youth
             describe their lives and gendered experiences: trans, transsexual, transgender,
             male-to-female (MTF), female-to-male (FTM), bi-gender, two-spirit, trans man, and
             trans woman."

         •   The DCPS Guidance provides this advice to staff: "If you are unsure about a
             student's preferred name or pronouns, it is appropriate to privately and tactfully ask
             the student what they prefer to be called. Additionally, when speaking about a
             student it is rarely necessary to label them as being transgender, as they should be
             treated the same as the rest of their peers."




                                                                                                   15



                                                                                                      AR_293280
Case 4:24-cv-00461-O      Document 76       Filed 09/06/24      Page 184 of 290       PageID 3831


                             Cited Policies on Transgender Students

  •   Anchorage School District (AK): Administrative Guidelines: Working with Transgender and
      Gender Nonconforming Students and Employees (2015) (on file with ED)

  •   Atherton High School, Jefferson County School District (KY), Policy on School Space (2014),
      www.iefferson.k12.ky.us/schools/high/atherton/SBDMDocuments/Policy%20500%20Draft
      %20Los%20Angeles%20Unified%20School%20District%20Revised%20Model.pdf

  •   Boulder Valley School District (CO), Guidelines Regarding the Support of Students and Staff
      Who Are Transgender and/or Gender Nonconforming (2016),
      http://www.bvsd.org/policies/Policies/AC-E3.pdf

  •   California Interscholastic Federation, Guidelines for Gender Identity Participation (2015),
      http://static.psbin.com/m/5/0ndg7wwfgh2em9/Guidelines for Gender IdentityParticipa
      tion.pdf

  •   Chicago Public Schools (IL), Guidelines Regarding the Support of Transgender and Gender
      Nonconforming Students (2016),
      cps.edu/SiteCollectionDocuments/TL_TransGenderNonconformingStudents_Guidelines.pd
      f

  •   District of Columbia Public Schools, Transgender and Gender-Nonconforming Policy
      Guidance (2015), dcps.dc.gov/publication/dcps-transgender-and-gender-non-conforming-
      policy-guidance

  •   El Rancho Unified School District, Transgender and Gender-Nonconforming Students (AR
      5145.3) (2014), www.erusd.org/pdf/board policies/5145 3.pdf

  •   Federal Way Public Schools (WA), Working with Transgender and Gender-Nonconforming
      Students and Staff (2014-2015), www.fwps.net/districtresources/wp-
      content/uploads/sites/32/2013/12/FWPS_Transgender3.pdf?7a385a

  •   Kansas City 33 School District (MO), Prohibition Against Discrimination, Harassment and
      Retaliation (Transgender and Gender Nonconforming Employee and Students) (2013),
      eboard.eboardsoIutions.com/ePolicy/policy.aspx?PC=AC-
      AP(1)&Sch=228&5=228&RevNo=1.01&C=A&Z=R

  •   Los Angeles Unified School District (CA), Transgender Students — Ensuring Equity and
      Nondiscrimination (2014),
      notebook.lausd.net/pls/ptl/docs/PAGE/CA LAUSD/FLDR ORGANIZATIONS/FLDR GENERAL
       COUNSEL/BUL-6224.1%20TRANSGENDER%20POLICY,%2008-15-14%20-
      %20ADDED%20ED%2000DE%20221%205.PDF




                                                                                                    AR_293281
Case 4:24-cv-00461-O      Document 76        Filed 09/06/24      Page 185 of 290       PageID 3832



  •   Maryland State Department of Education, Providing Safe Spaces for Transgender and
      Gender Non-Conforming Youth: Guidelines for Gender Identity Non-Discrimination (2015),
         rylandpublicschools.org/MSDE/divisions/studentschoolsvcs/student_ services_alt/docs/
      ma
      ProvidingSafeSpacesTransgenderp,enderNonConforminRYouth012016.pdf

  •   Massachusetts Department of Elementary and Secondary Education, Guidance for
      Massachusetts Public Schools Creating a Safe and Supportive School Environment
      Nondiscrimination on the Basis of Gender Identity (2014),
      www.doe.mass.edu/ssce/Genderldentity.pdf

  •   Matanuska-Susitna Borough School District (AK), Transgender Student Guidelines (2015),
      www.matsukl2.us/site/handlers/filedownload.ashx?moduleinstanceid=10846&dataid=41
      646&FileName=Title IX--Transgender Students Guidelines.pdf

  •   Minneapolis Public Schools (MN), Permissible Grouping Principles (2014),
      policy.mpls.k12.mn.us/uploads/regulation_6135_a.pdf

  •   New York State Education Department, Guidance to School Districts for Creating a Safe and
      Supportive School Environment for Transgender and Gender Nonconforming Students
      (2015), www.pl2.nysed.gov/dignityact/documents/Transg_GNCGuidanceFINAL.pdf

  •   Oregon Department of Education, Guidance to School Districts: Creating a Safe and
      Supportive School Environment for Transgender Students (2016),
      www.ode.state.or.us/groups/supportstaff/hklb/schoolnurses/transgenderstudentguidance
      .pdf.

  •   Rhode Island Interscholastic League, Rules & Regulations (Article I, Section 22 — Gender
      Identity), www.riil.org/files/8214/3861/6354/ARTICLE 1 ORGANIZATION 2015.pdf

  •   Shorewood School District (WI), Nondiscrimination Guidelines Related to Students Who Are
      Transgender and Students Nonconforming to Gender Role Stereotypes (2014),
      www.shorewood.kl2.wi.us/uploaded/Board Documents/Policies/411 Guidelines and Ex
      hibit.pdf?1393865642372

  •   Washington Office of State Superintendent of Public Instruction, Prohibiting Discrimination
      in Washington Public Schools (2012),
      www.kl2.wa.us/Equity/pubdocs/ProhibitingDiscriminationInPublicSchooIs.pdf

  •   Washoe County School District (NV), Gender Identity and Gender Non-Conformity —
      Students (2015), washoecountyschooIs.net/csi/pdf files/5161%20Reg%20-
      %20Gender%201dentity%20vl.pdf




                                                                                                 17



                                                                                                    AR_293282
Case 4:24-cv-00461-O     Document 76        Filed 09/06/24       Page 186 of 290        PageID 3833



                       Select Federal Resources on Transgender Students

        •   U.S. Department of Education

               o Office for Civil Rights and U.S. Department of Justice's Civil Rights Division,
                 Dear Colleague Letter: Transgender Students (May 13, 2016),
                 www.ed.gov/ocr/letters/colleague-201605-title-ix-transgender.pdf

               o Office for Civil Rights, Resources for Transgender and Gender-Nonconforming
                 Students, www.ed.gov/ocr/Igbt.html

               o Office for Civil Rights, Publications on Title IX,
                 www.ed.gov/about/offices/list/ocr/publications.html#TitlelX

               o Office for Civil Rights, How to File a Discrimination Complaint,
                 www.ed.gov/about/offices/list/ocr/docs/howto.htm

               o National Center on Safe Supportive Learning Environments,
                 safesupportivelearning.ed.gov

        •   U.S. Department of Health and Human Services

               o Administration for Children and Families, Resources for Serving Lesbian, Gay,
                 Bisexual and Transgender Youth, http://ncfy.acf.hhs.gov/features/serving-
                 lesbian-gay-bisexual-transeender-and-questioning-youth-open-
                 a rms/resources-serving

               o Centers for Disease Control and Prevention, LGBT Youth Resources,
                 www.cdc.gov/lgbthealth/vouth-resources.htm

               o Homelessness Resource Center, Homeless Populations: LGBTQI2-S Youth,
                 http://homeless.samhsa.gov/Channel/LGBTQ-153.aspx

               o StopbuIlying.gov, Bullying and LGBT Youth, http://www.stopbuIlying.gov/at-
                 risk/groups/lgbt

        •   U.S. Department of Housing and Urban Development

               o Community-Wide Prevention of LGBTQ Youth Homelessness (June 2015),
                 https://www.hudexchange.info/resources/documents/LGBTQ-Youth-
                 Homelessness-Prevention-Initiative-Overview.pdf




                                                                                                   18



                                                                                                    AR_293283
Case 4:24-cv-00461-O     Document 76       Filed 09/06/24      Page 187 of 290       PageID 3834


        •   U.S. Department of Labor

                  Office of Job Corps, Directive: Job Corps Program Instruction Notice No. 14-31
                  (May 1, 2015), https://supportservices.iobcorps.gov/Program Instruction
                  Notices/pi_14_31.pdf




                                                                                             IL']



                                                                                                   AR_293284
Case 4:24-cv-00461-O   Document 76   Filed 09/06/24   Page 188 of 290   PageID 3835




                                                                                AR_293285
Case 4:24-cv-00461-O              Document 76       Filed 09/06/24         Page 189 of 290   PageID 3836




                                     Early Insights:
                                 A Report of the 2022
                               U.S. Transgender Survey

                                                        by:


                                  Sandy E. James, Jody L. Herman, Laura E. Durso,
                                            and Rodrigo Heng-Lehtinen


                                                  February 2024




                                                      Nationalcenter for
                                                      TRANSGENDER
                                                      EQUALITY

                .G          N°•




           ................ .............
         TransLatn@




2022 U.S. TRANSGENDER SURVEY




                                                                                                     AR_293286
Case 4:24-cv-00461-O             Document 76          Filed 09/06/24         Page 190 of 290          PageID 3837




            HE 2022 U.S. Transgender Survey (USTS) team extends our gratitude to all the
       T    members of the transgender community who participated in the 2022 USTS and the
        hundreds of individuals and organizations who assisted with recruitment. We thank the
        Black Trans Advocacy Coalition, National Queer Asian Pacific Islander Alliance, and TransLatin@
       Coalition for partnering with the National Center for Transgender Equality (NCTE) to present
        the survey. We thank the members of the 2022 USTS Scientific Advisory Council and Outreach
       Council for their substantial guidance and contributions and without whom the survey would not
        have been successful. We thank the many experts who assisted with questionnaire development
       and countless other USTS volunteers who made contributions at every stage of the project. We
       also thank Chivita Espacial and Aldo Resendiz for providing translations, and we thank Burness,
        Pickaxe, Qualtrics, Teal Media, and the Williams Institute for their contributions to the project.
          Special thanks to Josie Caballero, Alex del Rosario, Sybastian Smith, Leroy Thomas, Tekla
       Taylor, Illyana Bocanegra and the following NCTE staff and contractors for their significant
       contributions to the project (in alphabetical order): Will Cole, Andrew Flores, Brendon Holloway,
       Olivia Hunt, Leesh Menard, Nikki Mia, Lisa Mottet, Devon Ojeda, Kathryn O'Neill, Dakota Strode,
        Luke Wegener, and Jami Westerhold.
          This project would not have been possible without the generous support of the Robert Wood
       Johnson Foundation and the TAWANI Foundation.




     Recommended Citation

James, S.E., Herman, J.L., Durso, L.E., & Heng-Lehtinen, R. (2024). Early Insights: A Report of the 2022 U.S.
Transgender Survey. National Center for Transgender Equality, Washington, DC.




© 2024 The National Center for Transgender Equality. We grant permission for the reproduction and distribution
of this publication in whole or in part, provided that it is done with attribution to the authors and the National
Center for Transgender Equality. Further written permission is not required.




F~~►Y1~      ii.Tli<>ti~3i:I1     '31I <1~11




                                                                                                                     AR_293287
Case 4:24-cv-00461-O                  Document 76                  Filed 09/06/24                Page 191 of 290                   PageID 3838




           HIS report provides a first look at the results of the 2022 U.S. Transgender Survey
     T     (LISTS), a study conducted by the National Center for Transgender Equality (NCTE)
      in partnership with the Black Trans Advocacy Coalition, National Queer Asian Pacific
      Islander Alliance, and TransLatin@ Coalition. The 2022 USTS is the follow up to the 2015
      USTS, which has been an essential source of data on the experiences of transgender people for
     advocates, educators, researchers, policymakers, and the general public since the publication
     of its report in 2016.' Building upon the success of the prior study, the 2022 USTS is now the
      largest survey ever conducted to examine the experiences of binary and nonbinary transgender
      people in the United States, with an unprecedented 92,329 respondents. The 2022 LISTS
      provides updated information to help the public better understand the lives and experiences
      of transgender people in the United States and the challenges that many transgender people
      face. As such, it is an invaluable resource for identifying and addressing issues that are of vital
      importance to binary and nonbinary transgender people in the United States.
        In the years since the 2015 USTS was conducted, the United States has experienced
      substantial social, political, legal, and other changes that have impacted the lives of binary and
      nonbinary transgender people. The 2022 USTS was designed to offer updated and expanded
      perspectives on the experiences of transgender people, including in the areas of education,
      employment, family life, health care, housing, life satisfaction, and public accommodations. By
      expanding the scope of the survey and filling the significant gaps in understanding about the
      lives and challenges faced by transgender people, the USTS will continue to serve as a crucial
      tool for research, education, advocacy, and policymaking.
        This report presents preliminary findings that provide an overview of the experiences of
      binary and nonbinary transgender people. The findings and information presented are high-
      level statistics and should be interpreted and contextualized accordingly. For example, although
      the survey was open to transgender people aged 16 and older, findings in this report are limited
      to respondents aged 18 and over unless otherwise noted. This report presents select findings
      from a range of survey topics, but it does not include findings from every issue area covered in
      the survey. This report also does not present differences in outcomes based on demographic
      and other characteristics or provide comparisons to the U.S. general population or the 2015
      USTS. This report does, however, provide important information and updated perspectives




     'James, S. E. Herman, J. L., Rankin, S., Keisling, M., Mottet, L., & Anafl, M. (2016). The Report of the 2075 U.S. Transgender Survey.
     Washington, DC: National Center for Tiansgendei Equality.




F~YYl~>~>iGT_IT>±~~31I1                 '31I~1~11




                                                                                                                                              AR_293288
Case 4:24-cv-00461-O          Document 76        Filed 09/06/24       Page 192 of 290        PageID 3839




       on some of the most substantial issues and experiences impacting transgender people in the
       United States. With these early insights from the 2022 USTS, readers can better understand
       some of the challenges that binary and nonbinary transgender adults face in the United States.
       The forthcoming full report of the 2022 U.S. Transgender Survey will present comprehensive
       findings of the survey and paint a more complete picture of the diversity, resilience, and
       strength of the transgender community.




i%~~►Y1~     .TI~lF~3~I1       '31I1~11




                                                                                                        AR_293289
Case 4:24-cv-00461-O                          Document 76                   Filed 09/06/24                  Page 193 of 290                    PageID 3840




     Overview

     The U.S. Transgender Survey (USTS) was administered online in English and Spanish and open to
binary and nonbinary transgender people aged 16 and older residing in the United States, a U.S. territory,
or on a U.S. military base overseas. The survey instrument included questions covering a wide range of
experiences and issues, such as those related to health care, employment, education, housing, and public
accommodations. The survey was hosted by Qualtrics and could be accessed exclusively through the USTS
website (USTransSurvey.org). Data were collected over a 48-day period, from October 19 through December
5, 2022. The sample included 92,329 respondents, including 84,170 adults (18 and older), from all fifty
states, the District of Columbia, American Samoa, Guam, the Northern Mariana Islands, Puerto Rico, the U.S.
Virgin Islands, and U.S. military bases overseas. The following sections provide an overview of the survey
methodology. While these sections provide general information about the USTS's methodology, they do not
include a detailed discussion of all aspects of the methodology. A detailed description of the methodology will
be included in the full report of the 2022 U.S. Transgender Survey.


     History of the U.S. Transgender Survey

  The 2022 USTS is the successor to the 2015 USTS, which was conducted by the National Center for
Transgender Equality (NCTE) and was previously the largest and most comprehensive survey about the
experiences of transgender people in the United States, with 27,715 respondents. The 2015 USTS was
developed as the follow-up to the National Transgender Discrimination Survey (NTDS), which was conducted
by NCTE and the National LGBTQ Task Force from late 2008 to early 2009. The NTDS was conducted to address
the significant lack of data about transgender people in the United States, particularly from federal surveys. The
NTDS became the first large, national survey to broadly examine the experiences of transgender people in the
United States and the NTDS report, published in 2011, provided groundbreaking findings.2
  Throughout the long history of developing, conducting, and reporting on the largest, most comprehensive
surveys about the experiences and life outcomes of transgender people in the U.S., USTS and NTDS
researchers and authors acknowledged the need to evolve and collect data to identify and address both
current and emerging needs of transgender people. This included improving upon on survey question design
and expanding substantive content to fill remaining knowledge gaps, examine new and underexplored issues,
investigate potential changes in experiences and outcomes over time, and improve comparisons between
the experiences of transgender people and the U.S. general population. The 2022 USTS was developed with
those considerations, and feedback received from researchers, practitioners, and advocates was continuously
assessed while constructing and finalizing the questionnaire.
z Grant, J. M., Mottet, L. A., Tanis, J., Harrison, J., Herman, J. L., & Keisling, M. {2011). Injustice at Every Turn: A Report of the Nat,onal Transgender
Discrimination Survey. DC: National Center for Transgender Equality and National Gay and Lesbian Task Force.


E'     1>t>~IiGT_IT~~~31I1                      '31I~1~11




                                                                                                                                                              AR_293290
Case 4:24-cv-00461-O           Document 76          Filed 09/06/24        Page 194 of 290         PageID 3841




  USTS Respondents

   The USTS documents the experiences of transgender people, which the project defines as anyone who
identifies with a different gender than they were assigned at birth. As such, the study was inclusive of those
with binary and nonbinary transgender identities and other identities on the transgender identity spectrum,
regardless of the terminology used by the respondent. The term "transgender" or "trans" was defined broadly
for the purposes of this study to include a wide range of identities, but some individuals for whom the study was
intended may have assumed that the term did not include them. Accordingly, promotional materials worked
to affirm that the survey was inclusive of a range of gender-expansive identities and was open to transgender
people at any stage of their lives, journey, or transition.
   The study included individuals aged 16 and older at the time of survey completion. This differed from the
2015 USTS sample, which was limited to respondents 18 and older. As with all survey research, it is important
to consider the context in which the study is being conducted, and the research team evaluated the context
of being transgender in the U.S. at the time of the study when deciding to expand the sample to 16- and
17-year-olds. Since the USTS was last conducted, there have been numerous social, political, and legal
developments that impact the experiences of transgender people of all ages in the United States, including
those that have had a profound impact on transgender youth. There have also been advancements in research
that have improved our understanding of the experiences of transgender youth. These cultural and research-
related changes underscored the importance of collecting data about the experiences of transgender youth.
Therefore, in consultation with the USTS Scientific Advisory Committee, the research team determined that
it was appropriate to include 16- and 17-year-olds in the USTS sample and developed the survey instrument
accordingly. As previously noted, however, findings presented in this preliminary report only include
respondents aged 18 and over unless otherwise noted.
  The study population was limited to individuals currently residing in a U.S. state or territory, or on a U.S.
military base overseas, to capture the experiences of transgender people who were subject to laws, policies,
and social and cultural environments in the U.S. at the time they completed the survey.


  Developing the Survey Instrument

  The 2022 USTS research team worked for more than a year to develop the survey instrument under the
advisement of a Scientific Advisory Committee and in collaboration with dozens of individuals with lived
experience, advocacy and research experience, and subject matter expertise. Using the 2015 USTS survey
instrument as the foundation, it was important to focus on the general goals of collecting updated data on a
wide range of topics and to address data collection gaps. It was also critical to develop a survey instrument
that expanded the range of topics presented, responded to changing social, environmental, and political
landscapes, and responded to feedback about the 2015 iteration. For example, given the unparalleled impact
of the COVID-19 pandemic, the research team had to consider how the pandemic might affect respondents'



F~>E►Y1~>     .Tli<1~~3i;I1     '31I;i1~11




                                                                                                                  AR_293291
Case 4:24-cv-00461-O            Document 76          Filed 09/06/24         Page 195 of 290          PageID 3842




experiences with respect to USTS-specific measures. Accordingly, the research focused on collecting data
that would be comparable to the 2015 USTS while expanding or adding topics and questions for context (e.g.,
COVID-19), to respond to issues in law and policy (e.g., health care, sports), and to yield new or improved
information (e.g., physical health, transition-related health care, education, life satisfaction).

  To further refine the survey, nearly 100 people participated in a pilot study to evaluate the questionnaire and
were offered a $25 gift card for their participation. Pilot study participants included individuals who were eligible
for the survey and who represented a wide range of characteristics and experiences that reflected the diversity
of the intended study sample. The pilot study was administered through an online test site using the same
platform and format in which the final survey later appeared, and its purpose was to evaluate the substantive
content and technical aspects of the survey. Pilot study participants were asked to provide general feedback on
individual questions and the entire questionnaire and to address specific questions from the research team as
part of their evaluation. Pilot study feedback was compiled, discussed, and used to inform final revisions to the
survey instrument.
  The final survey questionnaire contained a total of 605 possible questions presented in thirty-eight sections
addressing topics across a range of life experiences. This was a significant expansion over the 324 possible
questions in the 2015 USTS and reflects efforts to substantially increase knowledge in many issue areas.
The additional questions often sought a more nuanced understanding of an issue that only affected some
respondents rather than resulting in more questions for all respondents. No respondent received all possible
questions, and the online survey platform allowed respondents to move efficiently through the questionnaire
using skip logic to ensure that respondents only received questions that were appropriate based on their
previous answers. As a result, despite having nearly twice the number of possible questions as in the 2015
USTS, the 2022 USTS maintained an average completion time of 60 minutes, as verified by the pilot study. As
with both the 2015 USTS and the NTDS, evaluations of the USTS questionnaire confirmed that the length was
appropriate for such a comprehensive survey, and the need for data about the experiences of transgender
people outweighed concerns about the survey length.


  Outreach
  The primary outreach objective was to raise awareness of the survey and provide opportunities to complete
the survey for as many transgender people as possible across the U.S. and its territories. Outreach efforts also
focused on connecting with people who are often underrepresented in survey research and those with limited
access and opportunity to complete an online survey. This included, but was not limited to, people of color,
seniors, people residing in rural areas, and low-income individuals.

 The outreach team substantially improved on the 2015 USTS outreach model by expanding efforts on
multiple fronts and applying lessons learned, such as the benefits of a longer outreach period and diverse
approaches to community engagement. The outreach period began approximately one year before the survey
launch, and the outreach team used various strategies to connect with transgender people through multiple



2022 U.S. TRANSGENDER SURVEY                                                                                      s?




                                                                                                                 AR_293292
Case 4:24-cv-00461-O            Document 76         Filed 09/06/24       Page 196 of 290         PageID 3843




points of access, such as through transgender- or LGBTQ-specific organizations, support groups, health
centers, and online communities. The outreach team expanded on the eleven-person 2015 LISTS Advisory
Committee to assemble a USTS Outreach Council comprised of twenty-two organizations and individuals who
advised on and participated in outreach to transgender people in communities across the U.S. and in U.S.
territories throughout the outreach period. Working with the Outreach Council significantly increased outreach
engagement and served as the bedrock for outreach efforts. The outreach team also contacted nearly 1,900
organizations and individuals to request their support by sharing information about the survey with their
members and contacts. The team directly corresponded with more than 250 organizations during the outreach
period and while the survey was in the field, and countless other organizations promoted the survey to their
communities. The team worked to connect with potential respondents through a variety of methods, including
making thousands of phone calls and sending tens of thousands of text messages.

  Throughout the outreach period, the team conducted a survey pledge campaign, which was among the
most important methods for engaging and communicating with potential respondents. The campaign invited
potential participants and allies to pledge to take the survey and/or spread the word about the survey. The
survey pledge was designed to raise awareness about the survey and engage potential respondents for a
sustained period leading up to the survey launch. Individuals who completed pledge information received email
and text communications throughout the outreach period. The pledge was an important component of the
outreach and communications strategy in the 2015 USTS, and the large number of pledgers in 2015 (-14,000)
was thought to correspond to the eventual large number of respondents (27,715). The 2022 USTS outreach
team improved upon the survey pledge campaign to substantially increase connections and engagement,
resulting in 34,576 people who pledged to take the survey before it launched, 12,015 of whom also pledged to
share the survey with other transgender people in their life.

  As an incentive to complete the survey, participants were offered the opportunity to enter into a random
drawing for one of three cash prizes upon completion of the survey, including one $500 cash prize and two
$250 cash prizes. After completing and submitting their anonymous survey responses, USTS respondents were
re-directed away from the survey hosting site to a web page on the NCTE-hosted USTS website to sign up for
the random drawing.
  The outreach team worked with organizations to reduce barriers to accessing the survey and increase
opportunities to take the survey for people who may otherwise not have had access. One such method was by
working with organizations to organize "survey-taking events." These were events during which organizations
provided a location and resources for attendees to take the survey, such as computers or tablets. These events
were intended to provide access to individuals with limited or no computer or internet access, those who may have
needed assistance when completing the survey, or those who needed a safe place to take the survey. The team
also ran a tablet-loan program to provide another avenue through which organizations could offer survey access.




2022 U.S. TRANSGENDER SURVEY




                                                                                                              AR_293293
Case 4:24-cv-00461-O           Document 76         Filed 09/06/24        Page 197 of 290         PageID 3844




  Communications

  The communications strategy was implemented in coordination with outreach efforts with a goal of reaching
a wide range of transgender people, including those in populations that are traditionally underrepresented
in surveys. The communications team employed a range of methods to share information about the survey,
including email, social media, and print media, and created engaging materials to spread the word about the
survey. The LISTS website was redesigned to improve functionality and better share information with potential
respondents and organizations and individuals interested in promoting the survey. The website included a
description of the survey, information about the team working on the survey, frequently asked questions, and
an interactive map with information about organizations that supported the survey.

  The communications team created promotional materials and messaging to share through email, social
media, and other methods. They maintained communication with thousands of individuals and organizations,
including people who pledged to take or spread the word about the survey, organizations that committed
to support the survey through outreach efforts, and people who had signed up to be in communication with
NCTE about the organization's work and projects more generally. They also developed a `partner toolkit" with
materials for organizations to download and use, including key messaging, promotional graphics, video scripts,
social media posts, event materials, and language for emails. The team provided information through many
channels, resulting in the survey being promoted by influencers, organizations, and content creators through
social media platforms, such as Instagram, Twitter, Facebook, TikTok, and Tumblr. The team also commissioned
videos from key influencers to promote the survey prior to the survey launch and during the data-collection
period, including "progress videos" that were embedded in the survey to thank respondents and encourage
them to continue completing the survey. In addition to providing materials about the survey, the USTS team
held dozens of events to raise awareness about the survey, such as Instagram and Facebook Live events to
discuss the survey with influencers and organizations.


  Institutional Review Board and Confidentiality

  The USTS was approved by an Institutional Review Board (IRB), which is an entity intended to protect
the rights and welfare and ensure confidentiality of individuals participating in a research study. The study
underwent an extensive full-board review by the University of California, Los Angeles, North General IRB, which
included review and approval of the study design, questionnaire, and all recruitment materials leading up to
the launch of the survey and throughout the fielding period in English and Spanish. As required by the IRB, the
survey began with a study information sheet describing aspects of the study and participants' rights in the
study. Participants were required to consent to taking the survey at the end of the information sheet and before
beginning the questionnaire.

  The survey was anonymous, and maintaining privacy and confidentiality in the collection and maintenance of
survey data was an important component of preserving participants' anonymity. The IRB required the research team



2022 U.S. TRANSGENDER SURVEY




                                                                                                               AR_293294
Case 4:24-cv-00461-O                   Document 76         Filed 09/06/24         Page 198 of 290          PageID 3845




to ensure that confidentiality protections were in place for the study and demonstrate sufficiency of data security
protocols. The research team also obtained a Certificate of Confidentiality from the National Institutes of Health,
which could be used to legally refuse to disclose information that may identify respondents in any federal, state, or
local civil, criminal, administrative, legislative, or other proceedings, such as if there is a court subpoena.


  Survey Hosting, Data Collection, and Cleaning

  The survey was programmed and hosted by Qualtrics, and data collection was managed by Qualtrics
throughout the 48-day fielding period. Following the end of the survey data-collection period, the database was
securely transferred to the USTS research team for cleaning and analysis. The data then underwent cleaning
using standard practices and additional cleaning for eligibility to remove responses that did not belong in the
sample (e.g., duplicate responses, incomplete responses, illogical responses) and improve the quality of the
final sample. The data were then recoded as needed, including recoding of write-in responses for questions
with a "not listed above" answer choice. Write-in responses were recoded into existing answer choices when
possible, and in some cases, new answer categories were created for frequently repeated write-in responses.
  Several survey weights were developed for use in our analyses to reduce sampling biases and be more
representative of the U.S. transgender population with regard to age, race;ethnicity, education, and geographical
region. Findings in this report for these demographic characteristics reflect the weighted percentages. Separate
weights were developed for the full sample (ages 16+) and for the adult sample (ages 18+). The weights were
based on the Centers for Disease Control and Prevention's Behavioral Risk Factor Surveillance System (BRFSS),
which is one of the few sources of representative data for the U.S. trans population.

  As previously noted, the forthcoming full report of the 2022 U.S. Transgender Survey will contain a detailed
description of survey methodology, including more information about the cleaning and weighting processes.


  Presentation of Findings

   Findings in this early insights report of the 2022 USTS represent the overall findings for each topic examined,
presented as weighted percentages of the entire adult sample or of specified subgroups. Results are only
reported for respondents aged 18 and older, except as noted for findings that also include 16- and 17-year-olds.
This report does not include additional analyses to examine differences in outcomes based on demographic and
other characteristics. Comprehensive results, including those for 16- and 17-year-olds and broken down by a
variety of characteristics,          be reported in the full report of the 2022 U.S. Transgender Survey.
                              will
   Percentages are rounded to whole numbers, and results were rounded according to the following
convention: findings with 0.50 and above were rounded up, and findings with 0.49 and below were rounded
down (e.g., 1.50% rounded to 2% and 1.49% rounded to 1%). Findings of 0.49% or less were labeled "less than
1%" or "<1%." Findings presented in figures and tables may not always add up to 100% due to rounding.



                                                                                                                  ..............
2022 U.S. TRANSGENDER SURVEY                                                                                          I




                                                                                                                      AR_293295
Case 4:24-cv-00461-O            Document 76         Filed 09/06/24         Page 199 of 290         PageID 3846




   Throughout the survey, respondents answered questions about experiences that occurred within a certain
time period prior taking the survey, such as "in the last 12 months" or "in the last 30 days." When time periods
are noted in this report, they relate to when the respondent took the survey. For example, "in the last 12 months"
in this report means that the respondent had the experience in the 12 months prior to taking the survey.
   When interpreting the preliminary findings presented in this report, it is important to note that although the
team sought to recruit a sample that was as representative as possible of transgender people in the U.S. and
analytic weights reduce sample biases, study respondents were not drawn from a random sample. Therefore,
while this sample is a large one, the findings may not be representative of all transgender people.




F~~►Y1>•>    ii.Tli<~~3~I1       '31I1~11




                                                                                                                AR_293296
Case 4:24-cv-00461-O              Document 76             Filed 09/06/24              Page 200 of 290    PageID 3847




     Characteristics of USTS Respondents

■     Gender: Thirty-eight percent (38%) of                     ■      When considering sex assigned at birth, 35% of
      respondents identified as nonbinary, 35%                         respondents identified as a transgender woman,
      identified as a transgender woman, 25%                           30% identified as nonbinary (assigned female at
      identified as a transgender man, and 2%                          birth), 25% identified as a transgender man, 8%
      identified as a crossdresser.                                    identified as nonbinary (assigned male at birth),
                                                                       and 2% identified as a crossdresser.




                 Crossdressers
                                                                    Nonbinary People
                     (2%)                                           (Assigned Male At Birth)             Crossdressers
                                                                                                             (2%)
    Transgende
        Men                                      Nonbilnary
                                                  People
                                                                                                             Transgender
                                                  (38%)         Transge
                                                                                                               Women
                                                                    Mer
                                                                                                                (35%)
                                                                   (254:




                                                                                                             Nonbinary
                                                                                                              People
                                                                                                             .esigned Female
Transgender                                                                                                     At Birth)
  Women                                                                                                         (30%
   (35%)




■     Intersex Status. Five percent (5%) of respondents reported they were born with a variation in physical sex
      characteristics or had an intersex variation or Difference of Sex Development, 72% reported they were not,
      and 23% reported that they did not know.




F~~►Y1~          .TIT~~3~I1           '31I1~11




                                                                                                                         AR_293297
Case 4:24-cv-00461-O               Document 76     Filed 09/06/24                  Page 201 of 290              PageID 3848




                            ALAN (`6)                            . .... ... .... ... .... ... .... ... . M NA

                      As€an/NHPI i7%I
                            Black (3%)




                   Biracal/MuUira( i. I


                                                                                                 White (56%)




                  Latino(a)(x)(e)(i4%)




■ Race: One percent (1%) of respondents identified as American Indian or Alaska Native ("AIAN"), 7%
  identified as Asian/Asian American or Native Hawaiian/Pacific Islander ("Asian/NHPI"), 8% identified as
  Black/African American ("Black"), 14% identified as Latino(a)(x)(e)/Hispanic ("Latino(a)(x)(e)"), less than
  1% identified as Middle Eastern/North African ("MENA"), 56% identified as White/European American
  ("White"), and 13% identified as two or more races ("Biracial/Multiracial"). Additionally, less than 1%
  identified as "a racial or ethnic identity not listed above."




                                                              ■ Age: Forty-three percent (43%) of
                                                                respondents were age 18 to 24, 36% were
                                                                age 25 to 44, 9% were age 45 to 54, 6% were
                                           18-24                age 55 to 64, and 7% were over the age of 65.
                                           43%


                                                              ■ Parental Status: Seventeen percent
                                                                (17%) of respondents reported that they
                                                                were parents and 3% were parents of a
                                                                     transgender or nonbinary child (including
                                                                     adult children).




F~>E►Y1>>     .Tli<>~~3i.I1         '31I;i1~11




                                                                                                                        AR_293298
Case 4:24-cv-00461-O                  Document 76               Filed 09/06/24                    Page 202 of 290                   PageID 3849




■ Geographic location: USTS respondents were living in all fifty states, the District of Columbia, American
   Samoa, Guam, the Northern Mariana Islands, Puerto Rico, the U.S. Virgin Islands, and U.S. military bases
   overseas. Based on Census regions, 41% were living in the South, 23% lived in the West, 19% lived in the
   Northeast, and 17% lived in the Midwest. Census regional categories do not include U.S. territories or U.S.
   military bases overseas.




                                                                                                           a Citizenship Status: Nearly
                                                                                                                 all respondents were U.S.
                                                                                                                 citizens either by birth (95%)
                                                                                                                 or through naturalization
                                                                                                                 (3%), and 1% were
                                                            h
                                                                                                                 Permanent Residents. One
                                                                                                                 percent (1%) of respondents
                                                                                                                 held another immigration
                                                                                                                 status, such as visa holder
                                                                                                                 (including T, U, HB-1, or
                                                                                                                 other visa), undocumented,
                                                                                                                 Deferred Action for
                                                                                                                 Childhood Arrivals (DACA)
         South: AL, AR, DE, DC, FL, GA, KY LA, MD, MS, NC, OK, SC, TN, TX, VA, WV                                recipient, refugee, or asylee.
         West: AK, AZ, CA, CO, HI, ID, MT, NM, NV, OR, UT, WA, WY
         Northeast: CT, ME, MA, NH, NJ, NY, PA, RI, VT
         Midwest: IA, IN, IL, KS, MI, MN, MO, NE, ND, OH, SD, WI



■ Educational Attainment: Thirty-five (35%) percent of respondents had completed high school or obtained
   a GED, 26% had completed some college, 13% had not completed high school, 11% had a bachelor's
   degree, 7% had an associate's degree, and 7% had a master's degree or higher.




                                   33%

                                                         26%


             3 3'c
                                                                                                             1195
                                                                                    1%

                                                                                          ...............
      Have Not Completed    High School Diploma     Some College (No      Acsociote'sDegree              Eacttelor's Degree       Graduate Or
         High School              Or GED               Degree)                                                                Professional Degree




                                                                                                                                                    AR_293299
Case 4:24-cv-00461-O           Document 76         Filed 09/06/24        Page 203 of 290         PageID 3850




    Impact of the COVID-19 Pandemic

Respondents were asked questions about their experiences with the COVID- 19 pandemic to determine how it
impacted the ways in which they move through the world and interact with others.

■ Most respondents reported that, in the last 12 months, they went out in public places (such as a grocery
  store, restaurant, or shopping mall) less than they did before the COVID-19 pandemic, including 27% who
  went out "somewhat less" than before, 33% who went out "a lot less" than before, and 1% that did not go
  out at all. Twenty-seven percent (27%) of respondents went out "about the same amount" as before the
  pandemic, 7% went out "somewhat more" than before, and 5% went out "a lot more" than before.
■   Most respondents wore a mask at least some of the time when out in public in the last 12 months, including
    28% who wore a mask "all of the time," 33% who wore one "most of the time," and 24% who wore one "some
    of the time." Twelve percent (12%) wore a mask "a little of the time," and 4% wore a mask "none of the time."


    General Health and Experiences with Health Care Providers

■ Approximately two-thirds of respondents reported that their health status was "good" (36%), "very good"
  (24%), or "excellent" (6%). One-quarter (25%) rated their health status as "fair," and 9% said it was "poor."

■   More than one-quarter of respondents (28%) did not see a doctor when they needed to in the last 12
    months due to cost.

■ Nearly one-quarter of respondents (24%) did not see a doctor when they needed to in the last 12 months
  due to fear of mistreatment.

■ Forty-four percent (44%) of respondents experienced serious psychological distress in the last 30 days
  (based on the Kessler 6 Psychological Distress Scale).

■ Seventy-nine percent (79%) of respondents saw a doctor or health care provider within the last 12 months,
  and 9% saw a provider between 1 and 2 years ago.

■ Of those who saw a health care provider within the last 12 months, nearly one-half (48%) reported having
  at least one negative experience because they were transgender, such as being refused health care, being
  misgendered, having a provider use harsh or abusive language when treating them, or having a provider be
    physically rough or abusive when treating them.




F~>E►Y1>t>~   .TIT>~~3i<I1      '31I <1~11




                                                                                                              AR_293300
Case 4:24-cv-00461-O                   Document 76    Filed 09/06/24        Page 204 of 290           PageID 3851




  Health Insurance

■ Eighty-seven (87%) percent of respondents had health insurance coverage.

■ Approximately 1 in 4 respondents (26%) had at least one issue with their insurance company in the last
  12 months, such as being denied coverage for hormone therapy, surgery, or another type of health care
  related to their gender identity/transition; gender-specific health care because they were transgender; or
  routine health care because they were transgender.


  Gender Identity and Transition

■ Nearly all respondents (94%) who lived at least some of the time in a different gender than the one they
  were assigned at birth ("gender transition") reported that they were either "a lot more satisfied" (79%) or
  "a little more satisfied" (15%) with their life. Three percent (3%) reported that transitioning gender made
    them "neither more nor less satisfied" with their life, 1% were "a little less satisfied," and 2% were "a lot less
    satisfied" with their life.




  A Lot More Satisfei
              ......................
  A Little More Satisfied

 Neither More Nor Less Satisfied .3%


 A Little Less Satisfied                 1%


 A Lot Less Satisfied                     2%




F~>E►Y1>1>        .TIT>~~3i<I1         '31I;i1~11




                                                                                                                   AR_293301
Case 4:24-cv-00461-O                Document 76        Filed 09/06/24          Page 205 of 290          PageID 3852




■ Nearly all respondents (98%) who were currently receiving hormone treatment reported that receiving
   hormones for their gender identity/transition made them either "a lot more satisfied" (84%) or "a little more
   satisfied" (14%) with their life. One percent (1%) reported that hormones made them "neither more nor less
   satisfied" with their life, and less than 1% said that they were "a little less satisfied" or "a lot less satisfied"
   with their lives after receiving hormones.



    I

 A Lot More Satisfied


 A Little More Satisfied


 Neither More Nor Less Satisfied      I%


 A Little Or A Lot Less Satisfied   ' <1%




■ Nearly all respondents (97%) who had at least one form of surgery for their gender identity/ transition
   reported that they were either "a lot more satisfied" (88%) or "a little more satisfied" (9%) with their life. One
   percent (1%) reported that surgery made them "neither more nor less satisfied" with their life, less than 1%
   were "a little less satisfied," and 1% were "a lot less satisfied" with their life.




 A Lot More Satisfied


 A Little More Satisfied

 Neither More Nor Less Satisfied      t%


 A Little Less Satisfied            ' <1 %

 A Lot Less Satisfied                 1'Yo




2022 U.S. TRANSGENDER SURVEY




                                                                                                                      AR_293302
Case 4:24-cv-00461-O                Document 76            Filed 09/06/24            Page 206 of 290              PageID 3853




This section includes some data for 16- and 17-year-old respondents.

■ Thirty-six percent (36%) of adult respondents who said that some or all of their immediate family knew that
  they were transgender said their family members were "supportive" of them being transgender, and 31%
  said they were "very supportive." Eight percent (8%) said their immediate family was "unsupportive" of
    them being transgender, 4% had "very unsupportive" immediate families, and 22% reported that they were
    "neither supportive nor unsupportive."

■ Among 16- and 17-year-old respondents who said that some or all of their immediate family knew that they
  were transgender, 27% said their family members were "supportive" of them being transgender, and 17%
    said they were "very supportive." Fifteen percent (15%) said their immediate family was "unsupportive" of
    them being transgender, 14% had "very unsupportive" immediate families, and 28% reported that they were
    "neither supportive nor unsupportive."




   Very Supportive
          pP           Supportive
                         pP       •Neither Supportive
                                             pp       Pier tdrtsupPortive   i lin5upportive   Very unsupportive

16-17          17%


 16-24         24%


25-44          31%                                                                                                         3%


45-64          39%                                                                                                        3%


65+            3199a


Adults (16+)   31%




F~)E►Y1>t      >i.T_li<1;~3i:I1      '31I1~11




                                                                                                                          AR_293303
Case 4:24-cv-00461-O                                          Document 76                             Filed 09/06/24                     Page 207 of 290             PageID 3854




■ Thirty-five percent (35%) of adult respondents who said that some or all of their extended family members
  (such as grandparents, aunts, uncles, and cousins) knew that they were transgender said their family
       members were "supportive" of them being transgender, and 23% said they were "very supportive." Seven
       percent (7%) said their extended family was "unsupportive" of them being transgender, 3% had "very
       unsupportive" extended families, and 32% reported that they were "neither supportive nor unsupportive."

a       Among 16- and 17-year-old respondents who said that some or all of their extended family members (such as
       grandparents, aunts, uncles, and cousins) knew that they were transgender, 35% said their family members
       were "supportive" of them being transgender, and 13% said they were "very supportive." Seventeen percent
        (17%) said their extended family was "unsupportive" of them being transgender, 6°' had "very unsupportive"
        extended families, and 29% reported that they were "neither supportive nor unsupportive."


   0
6 It
    Very Supportive                  Supportive •             Neither Supportive Nor Unsupportive                               Unsupportive   vary Unsupportive

16 -17                  4°      °;€ >[ °;€> [ °;€>                                                                                                                 1:::1
                                                     a
. ... .. ... ... .. ... ... .. ... ... .. ... ... .. ... .. .. ... ... .. ... ... .. ... ... .. ... ... ... ... ... ... ... .
18-24                   T       ° >s ° > ;€°>                                                                                                                              1:::::::1:::::::1   S%

25 - 44                 21%                                   Sl V                                                                  cp                                                         196
                                                                                                                                                                                    1

                                                                                                                                                                             .:. :.. :.
                                                                                                                                                                                    ..1396




■ More than one in ten (11%) adult respondents who grew up in the same household with family, guardians, or
        foster parents said that a family member was violent towards them because they were transgender, and 8%
        were kicked out of the house because they were transgender.

■ Five percent (5%) of 16- and 17-year-old respondents who grew up in the same household with family,
       guardians, or foster parents said that a family member was violent towards them because they were
        transgender, and 1% were kicked out of the house because they were transgender.




                                                                                                                                                                                               ..............
2022 U.S. TRANSGENDER SURVEY                                                                                                                                                                    20




                                                                                                                                                                                                  AR_293304
Case 4:24-cv-00461-O           Document 76        Filed 09/06/24        Page 208 of 290         PageID 3855




    Income, Employment, Workplace Experiences,
    and Housing Stability

■ More than one-third (34%) of respondents were experiencing poverty.

■ The unemployment rate among USTS respondents was 18%.

■ More than one in ten (11%) respondents who had ever held a job said they had been fired, forced to resign,
  lost the job, or been laid off because of their gender identity or expression.

■ Nearly one-third (30%) of respondents had experienced homelessness in their lifetime.


    Experiences In Restrooms

■ Four percent (4%) of respondents were denied access to a restroom in a public place, at work, or at school
    in the last 12 months.

a   In the last 12 months, 6% of respondents had been verbally harassed, physically attacked. or experienced
    unwanted sexual contact when accessing or using a restroom.


    Harassment and Violence

•   Nearly one in ten (9%) respondents reported that they were denied equal treatment or service in the last 12
    months because of their gender identity or expression.

■ Nearly one-third (30%) of respondents reported that they were verbally harassed in the last 12 months
  because of their gender identity or expression.

■ More than one-third (39%) of respondents reported that they were harassed online in the last 12 months
  because of their gender identity or expression.

■ Three percent (3%) of respondents reported that they were physically attacked in the last 12 months
  because of their gender identity or expression.




F~T►Y1~>     If.TIT~~3itI1      '31I;i1~11




                                                                                                            AR_293305
Case 4:24-cv-00461-O            Document 76        Filed 09/06/24        Page 209 of 290         PageID 3856




    Comfort with Law Enforcement

■   Nearly half (47%) of respondents reported that they would feel "very uncomfortable" asking the police
    for help if they needed it, and 26% reported feeling "somewhat uncomfortable." Ten percent (10%) of
    respondents reported feeling "somewhat comfortable," 8% felt "very comfortable," and 10% felt "neutral"
    about asking the police for help when they needed it.

■ Sixty-two percent (62%) of respondents reported that they were "very uncomfortable" or "somewhat
    uncomfortable" asking for help from the police when needed because of their gender identity or expression.


    Identity Documents

■ Nearly half (48%) of respondents who had at least one form of identity document (such a birth certificate,
    passport, or driver's license) said that none of their IDs listed the name they wanted. Twenty percent (20%)
    had the name they wanted on some of their IDs, and 33% had the name they wanted on all their IDs.

U   Fifty-nine percent (59%) of respondents who had at least one ID said that none of their IDs listed the gender
    they wanted, 23% said some of their IDs listed the gender they wanted, and 19% said that all their IDs listed
    the gender they wanted.

a   Twenty-two percent (22%) of all respondents reported being verbally harassed, assaulted, asked to leave
    a location, or denied services when they have shown someone an ID with a name or gender that did not
    match their presentation.


    Experiences at School

This section includes some data for 16- and 17-year-old respondents.

■ More than three-quarters of adult respondents (80%) and nearly two-thirds of 16- and 17-year-old
    respondents (60%) who were out or perceived as transgender in K-12 experienced one or more form
    of mistreatment or negative experience, including verbal harassment, physical attacks, online bullying,
    being denied the ability to dress according to their gender identity/expression, teachers or staff refusing
    to use chosen name or pronouns, or being denied the use of restrooms or locker rooms matching their
    gender identity.




                                                                                                            ..............
2022 U.S. TRANSGENDER SURVEY                                                                                   22




                                                                                                                AR_293306
Case 4:24-cv-00461-O          Document 76        Filed 09/06/24     Page 210 of 290           PageID 3857




  Impact of                                                 ,,,
  Unequal Treatment                                         c         •• •
                                                                                         ..
■ Forty percent (40%) of respondents had
  thought about moving to another area because                    (Presented in alphabetical order)
  they experienced discrimination or unequal
  treatment where they were living, and 10% of                              Alabama
   respondents had actually moved to another area
                                                                             Arizona
   because of discrimination.

■ Nearly half (47%) of respondents had thought                               Florida
  about moving to another state because their state                          Georgia
   government considered or passed laws that target
   transgender people for unequal treatment (such                           Missouri
   as banning access to bathrooms, health care,                          North Carolina
   or sports), and 5% of respondents had actually
   moved out of state because of such state action.                            Ohio

■ The top 10 states from which respondents                                 Tennessee
  moved because of state laws targeting
                                                                              Texas
  transgender people for unequal treatment
  were (in alphabetical order): Alabama, Arizona,                            Virginia
  Florida, Georgia, Missouri, North Carolina, Ohio,
   Tennessee, Texas, and Virginia.




F~~►Y1~>    ;i.T1~;1`~3i<I1    '31I1~11




                                                                                                      AR_293307
Case 4:24-cv-00461-O      Document 76      Filed 09/06/24     Page 211 of 290      PageID 3858

  Superintendent Procedure 3210SP.0
  Nondiscrimination and Affirmative Action:
  Transgender and Gender-Expansive Student
                                                                                           L[ LTLE
  Rights and Supports
  Approved by:    s/Denise Juneau       Date: 3/5/2020                                       °°
              Denise Juneau, Superintendent
  This procedure is to advise District staff regarding the rights and supports Seattle Public
  Schools provides transgender and gender X, gender-expansive, students. Its purpose is
  to create a safe, welcoming, and inclusive learning environment for all students, and to
  ensure that every student has equal access to all components of their educational
  program.

  This procedure does not anticipate every situation that might occur. Rather, it offers
  suggested approaches to specific instances when there may be implications regarding
  the protection or the safety of transgender and gender X, gender-expansive, students.

  PRIMARY CONTACT

  The Manager of Health Education is designated as the District's primary contact
  regarding this procedure and its associated policy in relation to transgender and gender
  X students. The primary contact will receive copies of all informal and formal
  complaints regarding transgender students. As primary contact, the Manager of Health
  Education will receive training required by RCW 28A.642.080. All questions regarding
  the application of this procedure should be directed to the Manager of Health
  Education.

  DEFINITIONS

  Note: The following definitions provided are not meant to label students, but instead are
  intended as functional descriptors.

  "Assigned sex at birth" refers to the sex a person was given at birth, usually based on
  anatomy or chromosomes (e.g. male, female, intersex, or X).
  "Cisgender" is a term used to describe people whose assigned sex at birth matches
  their gender identity and/or gender expression (e.g., a person who was assigned female
  at birth and whose gender identity and/or gender expression is also female.
  "Gender identity" refers to a person's internal and deeply felt sense of being female,
  male, both, or neither. Persons may identify as nonbinary, gender-expansive, or other --
  regardless of their assigned sex at birth. The District records the gender identity of
  students one of three ways: male, female, or X.
  "Gender-Expansive" refers to a wider, more flexible range of gender identities than
  those typically associated with the binary (male or female) gender system. People who
  are gender-expansive may use a variety of terms including nonbinary or others to
  describe their gender identity. For the District, the gender X designation is inclusive of
  all identities associated with a gender-expansive identity.
  Superintendent Procedure 3210SP.0                                          Page i of 6




                                                                                                AR_293376
Case 4:24-cv-00461-O      Document 76     Filed 09/06/24     Page 212 of 290       PageID 3859
  "Gender expression" refers to the way a person expresses their gender, often through
  behavior, gestures, emotional expression, movement, dress and grooming.
  "Transgender" is a general term used to describe a person whose gender identity or
  expression is different from that traditionally associated with the person's assigned sex
  at birth.
  "Transitioning" is the process in which a person goes from living and identifying as
  one gender to living and identifying as another.

  ~Yi ►*Ilu/I. */

  Washington State law and District policy require that all programs, activities, and
  employment practices be conducted without discrimination based on sex, sexual
  orientation, gender expression, or gender identity. Furthermore, and as a general rule,
  decisions regarding assignment, participation, and use in Seattle Public Schools are
  determined pursuant to a student's gender identity and not their assigned sex at birth.

  Our schools are expected to implement Washington State law and District policy in the
  following ways:

     •   Names/Pronouns: Students have the right to be addressed by the name and
         pronoun that corresponds to their gender identity consistently asserted at school.
     •   Name on Educational Records: A parent/guardian or eligible student (i8 years of
         age or older) may request to have the legal name changed on their educational
         record at Enrollment Services located at John Stanford Center for Educational
         Excellence (JSCEE).
     •   Gender on Educational Records: A student or their parent/guardian may request
         to have the gender changed on their educational record at Enrollment Services
         located at JSCEE.
     •   Restroom Accessibility: Students have the right to use the restroom that
         corresponds to the gender identity they consistently assert at school. Students
         who identify as gender X have the right to use the restroom the student
         determines to best align with their gender identity.
     •   Locker Rooms: Students have the right to use the locker room that corresponds
         to the gender identity they consistently assert at school. Students who identify as
         gender X have the right to use the locker room the student determines to best
         align with their gender identity.
     •   Physical Education Courses and Club Sports: Students have the right to
         participate in physical education courses and club sports in a manner consistent
         with the gender identity they consistently assert at school.
     •   Interscholastic Athletic Teams: Transgender students have the right to
         participate on the interscholastic athletic team consistent with the gender
         identity they consistently assert at school.
     •   Student Dress: Students will not be contacted or disciplined for wearing clothing
         perceived to be not consistent with their gender identity. All student attire, and
         the enforcement of student attire is determined by Board Policy No. 3224 and its
         associated Superintendent Procedure.
     •   Overnight Field Trips: Students have the right to be assigned to overnight
         accommodations in accordance with the gender identity they consistently assert
         at school. Staff will never assign students to shared sleeping accommodations

  Superintendent Procedure 32ioSP.0                                         Page 2 of 6




                                                                                               AR_293377
Case 4:24-cv-00461-O Document 76 Filed 09/06/24               Page 213 of 290 PageID 3860
         when they are aware of a romantic interest or relationship between the students
         assigned.
         Gender Segregation in Other Areas: As a general rule, schools should consider
         options to avoid separating students by gender unless necessary. In
         circumstances where students are separated by gender in school activities,
         students have the right to participate in accordance with the gender identity they
         consistently assert at school.

   GUIDELINES

   Issues of Privacy:
   All persons have a right to privacy; this includes keeping a student's transgender or
   gender X status private. Information about a student's gender identity, legal name, or
   assigned sex at birth may constitute confidential medical or educational information.
   Disclosing this information to others may violate privacy laws, including the federal
   Family Education Rights and Privacy Act (FERPA) (20 U.S.C. s 1232g; 34 C.F.R. Part
   99). Therefore, to ensure student safety and well-being, and to provide identity-safe
   schools for all, staff should not disclose a student's transgender or gender X status to
   others unless (1) legally required to do so or (2) the student has authorized disclosure.

   Whenever speaking with a transgender or gender X student about a particular issue
   such as conduct, discipline, grades, attendance, or health, focus on the conduct or
   particular issue and avoid making assumptions regarding the student's actual or
   perceived gender identity. Further, when contacting the parents/guardians of a
   transgender or gender X student and it is unclear whether the student asserts the same
   gender identity at home, it is best practice to avoid using gender pronouns. For example,
   one could say, "I am concerned about P.J.'s attendance," rather than, "I am concerned
   about his attendance."

   Official Records:
   The District is required to maintain a permanent student education record which
   includes the legal name of the student and the student's gender. A parent/guardian (or
   eligible student over 18 years old) may request a change to a student's recorded legal
   name. A student or their parent/guardian may request a change to their recorded
   gender. Requests for name and gender changes are accepted and processed at JSCEE
   Enrollment Services.

          Legal Name: The District will change a student's legal name on their education
          record when a parent/guardian or eligible student (over age 18) provides
          documentation of a legal name change, such as documentation of a court-ordered
          name change or an affidavit of name change made pursuant to common law.
          Affidavit of name change templates are available from JSCEE Enrollment
          Services.
          Gender: A Seattle Public Schools student has the right to have the gender on their
          educational record reflect their gender identity consistently asserted at school.
          For educational purposes, there are no legal requirements surrounding gender.
          The District will change a student's gender on their education record upon
          request from the student or their parent/guardian upon completion of an
          enrollment form at JSCEE Enrollment Services.

   Superintendent Procedure 32ioSP.0                                          Page 3 of 6




                                                                                               AR_293378
Case 4:24-cv-00461-O      Document 76      Filed 09/06/24     Page 214 of 290      PageID 3861
  Upon the receipt of all required documentation, the Admissions Center will ensure that
  all student systems are updated to reflect changes in name and/or gender, e.g.
  PowerSchool and The Source.

  To the extent that the District is not legally required to use a student's legal name on
  school records or documents, the District will use the name by which the student
  identifies. In situations where school staff or administrators are required by law to use
  or report a student's legal name, such as for standardized testing, school staff should
  adopt practices to avoid the inadvertent disclosure of such confidential information.

  Names/Pronouns:
  Students have the right to be addressed by a name and pronoun corresponding to the
  gender identity they consistently assert at school. The District uses the term "preferred
  name" to reference names corresponding to gender identity that are different from a
  student's legal name on their educational record. A Student or their parent/guardian are
  not required to change their gender, and a parent/guardian is not required to legally
  change their student's name, as a prerequisite for the student to be addressed by the
  name and pronoun that corresponds to their gender identity.

  The District acknowledges that initially, inadvertent slips or honest mistakes in the use
  of the preferred names or pronouns might occur but will not condone an intentional and
  persistent refusal to respect a student's gender identity. The student's preferred name
  will be included in the electronic student record system along with the student's legal
  name to inform teachers of the name and pronoun to use when addressing the student.

  Restroom Accessibility:
  Students have the right to use the restroom that is consistent with the gender identity
  they consistently assert at school. Students who identify as X, gender-expansive, will be
  provided access to the restroom that the student determines to best align with their
  gender identity. Further, all students regardless of the underlying reason who have a
  need or desire for increased privacy should be provided access to an alternative
  restroom (e.g., staff restroom or health office restroom). This allows students who may
  feel uncomfortable sharing the facility with transgender or gender X student(s) the
  option to make use of a separate restroom and have their concerns addressed without
  stigmatizing any individual student. No student, however, should be required to use an
  alternative restroom because they are transgender or gender X.

  If school administrators have legitimate concerns about the safety or privacy of
  students, as related to a transgender or gender X (gender-expansive) student's use of the
  restroom or locker room, school building administrators should bring these concerns to
  the Manager of Health Education. Such privacy or safety issues should be immediate
  and reasonably foreseeable, not speculative. School building administrators and/or the
  Manager of Health Education should meet with the student and/or parents/guardians
  to determine if there is a need for an alternative facility. The decision to provide an
  alternative facility for any student will be determined on a case-by-case basis.

  Locker Room Accessibility:
  All students have the right to use the locker room that corresponds with the gender
  identity they consistently assert at school. Students who identify as X (gender-
  expansive) will be provided access to the locker room that the student determines to

  Superintendent Procedure 3210SP.0                                         Page 4 of 6




                                                                                              AR_293379
Case 4:24-cv-00461-O      Document 76      Filed 09/06/24     Page 215 of 290       PageID 3862
  best align with their gender identity. However, if there is a reason or desire for increased
  privacy and safety, regardless of the underlying reason, any student should be provided
  access to a reasonable alternative locker room. Reasonable alternative locker rooms
  include, but are not limited to:

     • Use of a private area (e.g., a nearby restroom stall with a door, an area separated
       by a curtain, an office in the locker room, or a nearby health office restroom).
     • A separate changing schedule (either utilizing the locker room before or after the
       other students).

  For transgender and gender X students, any alternative arrangement should be
  provided in a way that protects the student's ability to keep his or her transgender or
  gender X status private. However, no student should be required to use a locker room
  that conflicts with his or her gender identity.

  Physical Education, Club Sports, and Interscholastic Athletics:
  Students have the right to participate in physical education courses and club sports
  consistent with the gender identity they consistently assert at school. Further, subject to
  the participation polices of the Washington Interscholastic Activities Association
  (WIAA) for high school interscholastic athletics, transgender students have the right to
  participate on the interscholastic athletic team consistent with the gender identity they
  consistently assert at school.

  In circumstances where physical education courses and club sports are gender specific
  and there is not a gender X option, students who identify as gender X have the right to
  participate in the course and/or on the club sport team that the gender X student
  determines best aligns with their gender identity.

  Student Dress:
  Providing students an environment where they can express their identity through their
  attire is a value of the District and an important element in providing identity-safe
  spaces for students. Board Policy No. 3224, Student Dress, provides that all Seattle
  Public Schools' students have the right to be treated equitably and dress code
  enforcement will not be more strictly enforced against students because of their gender
  identity, gender expression, or gender nonconformity.

  Overnight Field Trips:
  In situations where students are separated by gender for overnight accommodations, all
  students will be assigned to accommodations in accordance with the gender identity
  they consistently assert at school (M, F, or X). In situations where there are not
  overnight accommodations identified for gender X students, the student will determine
  the gendered overnight accommodations that best align with their gender identity. A
  school will not require transgender or gender X students to stay in single-occupancy
  accommodations or disclose personal information when not required of other students.
  However, this does not prevent a school from honoring any student's voluntary request
  for single-occupancy accommodations if they so choose.

  Note: A staff member will never assign students to shared sleeping accommodations
  when they are aware of a romantic interest or relationship between the students
  assigned.
  Superintendent Procedure 3210SP.0                                          Page 5 of 6




                                                                                                 AR_293380
Case 4:24-cv-00461-O        Document 76         Filed 09/06/24       Page 216 of 290         PageID 3863
  Gender Segregation in Other Areas:
  Teachers/school employees should make every effort to separate students based on
  factors other than gender when possible. Listed below are examples of common
  situations where students are separated by gender where there are other reasonable
  alternatives:

         Class Discussions: Students can be divided by birth month or birth order instead
         of gender.
         Graduations: Students should be divided their color preference instead of
         assigned a graduation gown color based on their gender.
         Calling for Students' Attention: Instead of using gendered phrases to get
         students' attention such as "girls and boys," "you guys," and "ladies and
         gentlemen," it is recommended to use phrases such as "calling all readers," "could
         all the athletes/scholars/learners come here."

  Activities that may involve the need for accommodations to address student privacy
  concerns should be addressed on a case-by-case basis. In such circumstances, staff shall
  make reasonable efforts to provide an accommodation that addresses any such
  concerns.

  Variations:
  Recognizing that this procedure's goal is to provide for the safety and protection of
  transgender and gender X students, the rules provided may not always be appropriate to
  apply in every situation. Therefore, for any given situation, the parent/guardian of a
  transgender or gender X student, a transgender or gender X student, and/or school
  principal may request a procedure variation from the Manager of Health Education.
  Upon request for a procedure variation, the Manager of Health Education will consult
  with District legal counsel and determine whether to grant the variation. A decision to
  deny a procedure variation may be appealed to the Superintendent. The decision of the
  Superintendent is final.



  Approved: December 2012
  Revised: February 2015; August 2016; December 2016; June 2017; March 2020 (typo corrected April 14,
  2020)
  Cross Reference: Policy Nos. 2145; 3207; 3210; 3224; Supt Proc. 321oSP.A; Supt. Proc. 321oSP.B; Supt.
  Proc. 3224SP
  RCW 28A.642, Discrimination prohibition; WAC 392-190 WAC; RCW 49.60 RCW, Washington Law
  Against Discrimination; Prohibiting Discrimination in Washington Public Schools - OSPI Guidelines for
  school districts to implement Chapters 28A.64o and RCW 28A.642 and WAC 392-190 (February 2012);
  20 U.S.C. 1232g, Family Education Rights and Privacy Act; 34 C.F.R. Part 99; U.S. Department of
  Education Office for Civil Rights, Dear Colleague Letter: Transgender Students (May 2016).




  Superintendent Procedure 32105P.0                                                   Page 6 of 6




                                                                                                          AR_293381
Case 4:24-cv-00461-O    Document 76     Filed 09/06/24   Page 217 of 290     PageID 3864
           Sex-segregated) Bathrooms and Suicidal Ideation in Transgender Youth


     Sex-segregated Bathrooms and Suicidal Ideation
     in Transgender Youth
     Thea A. Schlieben




     Numerous studies (Craig & Pepler, 2003; Goldblum, Testa, Pflum, Hendricks,
     Bradford & Bongar, 2012; Mustanski & Liu, 2013) have found that lesbian,
     gay, bisexual, and transgender youth are at high risk for depression,
     anxiety, suicidal ideation, and suicide attempts. It is the view of the current
     author and others (McCarthy, 2003) that sexual and gender minority
     students, lesbian, gay, bisexual, and transgender persons (LGBTQ) are too
     often considered as a single group or entity. As a result, when addressing
     discrimination and the community needs for LGBTQ persons, the differences
     between sexual orientation and transgender issues may be ignored. By not
     having specific discussions about transgender issues, it may be assumed
     that transgender students have the same needs as lesbian, gay, and bisexual
     students (McCarthy, 2003). Even when teachers and researchers recognize
     inequality in sexual orientation, gender variance is an often-overlooked
     form of diversity (McCarthy, 2003).
             Transgender students are those whose gender expression does not
     conform to societal expectations and/or whose gender identity does not
     align entirely with the sex they were assigned at birth. In this context,
     transgender is used as an umbrella term that may include those who identify
     as transgender, gender non-conforming, genderqueer, agender, non-binary,
     queer, and any other non-cisgender individual. Cisgender refers to people
     whose gender identity aligns with the sex they were assigned at birth.
             Almost forty-five percent of transgender or gender non-conforming
     students report victimization in their schools from peers and teachers,
     versus 19.9 percent of the general population of students (Goldblum, et al.,
     2012). Gender minorities are even more likely to experience victimization


                                                                                 2?


                                                                            AR_293382
Case 4:24-cv-00461-O     Document 76     Filed 09/06/24    Page 218 of 290     PageID 3865
     Journal of Advanced Generalist Social Work .Practice

     in schools than cisgender (non-transgender) sexual minorities. Seventy-six
     percent of transgender students reported feeling unsafe in their schools
     because of their sexual or gender orientation as compared to the 52.9 percent
     of lesbian, gay, and bisexual students who reported the same feeling
     (Goldblum, et. al. 2012). If classrooms are going to be fully inclusive, they must
     allow for a range of gender identities and expressions.
             In February 2016, the South Dakota Senate passed a measure that
     would force schools to make students use bathrooms and locker rooms
     according to their chromosomes and anatomy (Steinmetz, 2016).
     The supporters of sex-segregated bathroom bills argue if people are allowed
     to use a bathroom according to their gender identity, instead of the sex
     they were assigned at birth, it will increase sexual harassment and voyeurism,
     especially in women's bathrooms. There is no evidence to support this
     claim. Those in opposition to this legislation do so with the concern that
     such laws will encourage further hostility, abuse, and aggression toward
     transgender people. This form of discrimination has been shown to negatively
     affect mental health (Wang, Solomaon, Durso, McBride & Cahill, 2016).
     In fact, it is this adverse impact on the mental health of young persons
     that makes sex-segregated bathrooms an important social work issue.
     Protecting and serving vulnerable populations, such as transgender and
     gender variant youth, are central to the core values and ethics of social work.

     REVIEW OF LITERATURE
             The freedom to access public bathrooms is a basic necessity for
     all people, and mandatory for equal access to education and employment
     (Wang, Solomon, Durso, McBride, & Cahill, 2016). When faced with
     consistent problems using gender segregated bathrooms, transgender
     people may experience a greater sense of stigmatization and discrimination
     (Herman, 2013). The federal Occupational Safety and Health Administration
     (2015) released guidelines identifying the risk of marginalization that can
     occur if transgender employees are forced to use separate bathroom facilities,
     or facilities inconsistent with their gender identity. Forcing people to use
     bathrooms inconsistent with their gender identity or separate from their
     peer group creates a negative environment, whether in the workplace or an
     educational setting.
              Unequal access. Anti-transgender bathroom bills, or laws that
     force people to use public bathrooms according to the gender they were
     assigned at birth, are written with the intention of increasing public safety.

     28

                                                                              AR_293383
Case 4:24-cv-00461-O    Document 76      Filed 09/06/24    Page 219 of 290    PageID 3866
            Sex-segregated Bathrooms and Suicidal .ideation in Transgender Youth

     Wang, et al. (2016) claim that rather than increasing public safety, these laws
     increase the risk of harassment and hostility toward transgender people.
     In 2015, Texas, Kentucky, Florida, Minnesota, and Missouri were consider-
     ing bills that would regulate transgender and gender non-conforming people's
     access to public bathrooms and locker rooms. The laws proposed in
     Minnesota and Kentucky were a reaction to schools in those states that
     had created transgender inclusive bathroom policies. Even though the bills
     in those two states were defeated, other states have similar legislation
     moving through their governing bodies (Wang, et.al, 2016). The legislation
     passed by South Dakota, similar to the bills in Minnesota and Kentucky,
     include an exception for gender non-conforming students. It states that if
     a student cannot use the facilities aligning with the sex they were assigned
     at birth, and they obtain parental consent, "reasonable accommodations"
     will be made. Those accommodations are restricted to single occupancy,
     unisex facilities, or faculty bathrooms (Wang, et al., 2016). Wang, et al. (2016)
     argue that rather than being an acceptable compromise, this rule
     requires the student to disclose their transgender status to people who
     may not be supportive of their gender identity. Furthermore, if the
     child had begun transitioning before they enrolled in school, they also
     would be forced to reveal their assigned sex to the school community.
     This type of forced disclosure leaves gender non-conforming and
     transgender students vulnerable to bullying and victimization by peers
     and faculty.
              Negative school environment, bullying and victimization.
     Studies have shown that improving the culture in schools around
     accepting and supporting LGBTQ students reduces both victimization
     and suicide attempts (DeCamp & Bakken, 2016). In turn, this finding
     suggests that a school environment that is not supportive of sexual and
     gender minority students increases the likelihood of victimization and
     suicidal behavior.
              Educational systems in this country have not made significant
     progress in exploring and meeting the needs of their LGBTQ students
     (Little, 2001). Data presented by Riley, Sitharthan, Clemson, and Diamond
     (2013) suggests that even when children try to adhere to stereotyped
     gender roles, they are often targeted as "the other" by those seeking
     to marginalize and victimize them. The surveyed parents of LGBTQ
     children spoke of having to watch their children struggle socially.
     One-third of parents reported that their children were sad, depressed,

                                                                                   2s)


                                                                             AR_293384
Case 4:24-cv-00461-O    Document 76     Filed 09/06/24    Page 220 of 290   PageID 3867
     Jowwr°nal of Advanced Generalist Social Work .Practice

     or suicidal (Riley, Sitharthan, Clemson, & Diamond, 2013).
              Victimization of LGBTQ students is widespread and comes from
     both peers and teachers (Russell, Ryan, Toomey, & Sanchez, 2011).
     As noted above (Goldblum et.al), nearly 49 percent of transgender
     students participating in a 2012 study reported having been subject to
     hostility or insensitivity due to their gender expression. Russell, et al.
     (2011) showed that even small successes in reducing LGBTQ victimization
     in middle and high school could significantly improve the long-term
     health of students. It is thought that the mental health consequences of
     bullying increase when the victimization is based on these factors
     (Russell, Ryan, Toomey, & Sanchez, 2011). Participants who reported
     victimization based on gender were four times as likely to have attempted
     suicide as those who did not, and 28.5 percent of all respondents reported
     past suicide attempts (Goldblum, et al., 2012). The findings of this study
     reinforce the need to promote safer school environments for transgender
     and gender non-conforming students.
              Craig and Pepler (2003) found children were most likely to be
     bullied at school, especially in areas that are not well supervised, such as
     school buses, playgrounds, hallways, bathrooms, and locker rooms.
     In recent years, the problem of school bullying appears to have intensified
     in severity and prevalence, and behaviors of students towards their peers
     have become more vicious. On a more hopeful note, more attention is
     being paid to the bullying of LGBTQ young people who are at a high risk
     of suicide (Russell, Ryan, Toomey, & Sanchez, 2011).
              Depression, anxiety, isolation, and hopelessness. There is
     recognition in the literature that pressuring children to conform to gender
     roles and stereotypes creates damage and suffering that persists through
     adolescence and adulthood (Riley, Sitharthan, Clemson, & Diamond, 2013).
              When young people are victimized, they report increased levels
     of anxiety and somatization, as well as problems with forming and
     maintaining good relationships (Craig & Pepler, 2003). Isolation for
     LGBTQ youth can be fatal. When isolated, LGBTQ young people are less
     likely to seek support for fear of rejection (Little, 2001).
              Children suffering from depression and anxiety are at increased
     risk of being victimized (Craig & Pepler, 2003). Forty-one percent of the
     respondents in the National Transgender Discrimination Survey reported hav-
     ing attempted suicide, compared to 4.6 percent of the general population and
     10.2 percent of lesbian, gay, and bisexual identified people. Among the group



     30

                                                                            AR_293385
Case 4:24-cv-00461-O    Document 76     Filed 09/06/24   Page 221 of 290     PageID 3868
           Sex-segregated Bathrooms and Suicidal .ideation in Transgender Youth

     of transgender respondents with histories of suicide attempts, several factors
     contributed to higher suicide rates: a previous attempted suicide, lower levels
     of education, and having experienced harassment or bullying at school.
             Mustanski and Liu (2013) found that hopelessness and depression
     are determinants of suicidal behavior. LGBTQ youth are not only more
     likely to attempt suicide, they also are more likely to succeed in their
     attempts (Little, 2001). Increased rates of depression, sadness, and
     hopelessness have a significant effect on self-injury and suicidal ideation
     in all young people, regardless of gender identity or sexual orientation
     (DeCamp & Bakken, 2016). However, there also are factors specific to
     LGBTQ youth that may account for higher rates of suicidal behavior in
     this population (Mustanski & Liu, 2013).
             In a longitudinal study examining the predictors of suicide attempts
     in LGBTQ youth, Mustanski and Liu (2013) found that when they exam-
     ined suicide attempts by gender, transgender youth had the highest reported
     rates of hopelessness, victimization, and childhood gender non-conformity.
     These three elements represent significant risk factors for suicidality.
     Transgender youth also had the highest rate of suicide attempts
     (Mustanski & Liu, 2013). The findings of this study also support the belief
     that thwarted belongingness and isolation are risk factors for suicidality.
             While some studies have found that concealing one's sexual
     orientation is detrimental to mental health for lesbian, gay, and bisexual
     people, the findings of the National Transgender Discrimination Survey,
     as reported by Haas, Rogers and Herman (2014), suggest that disclosing
     gender identity does not have the same effect for transgender people.
     The findings suggest that it serves as a protective factor and it is safer to
     be recognized as gender conforming. One-half of the respondents with
     a history of suicide attempts had previously disclosed their gender identity
     (Haas, Rodgers, & Herman, 2014).

     CONCLUSION
             Sex-segregated school bathroom laws impact transgender students
     and the entire school community negatively. The literature, reviewed in
     this paper, shows that sex-segregated bathrooms increase the likelihood of
     transgender students becoming depressed, anxious, isolated, and hope-
     less. They also establish a school environment that stigmatizes transgender
     students as "different" and "unusual," ultimately leading to social dynamics
     of being shamed and bullied. As the above literature demonstrates,




                                                                            AR_293386
Case 4:24-cv-00461-O    Document 76     Filed 09/06/24    Page 222 of 290   PageID 3869
     Jowwr°nal of Advanced Generalist Social Work .Practice

     elevated levels of depression and hopelessness may lead to suicidal ideation
     and attempts.
             Laws that require public schools to institute rules that all stu-
     dents must use the bathroom, shower, and locker room in accordance with
     their biological sex as determined at birth are unjust and discriminatory.
     Instead of focusing on sex-segregated bathrooms, students, parents,
     teachers, school administrators, and the entire school community are
     best served by tolerance and acceptance. Educators and mental health
     professionals must begin to teach about and fight against gender oppression
     in the same way they confront racial discrimination and have begun to
     normalize the conversation around homophobia (McCarthy, 2003).




     References

     Craig, W. M., & Pepler, D. J. (2003). Identifying and targeting risk for
             involvement in bullying and victimization.
             Canadian Journal of Psychiatry, 48(9), 577-5$2.
     DeCamp, W., & Bakken, N. W. (2016). Self-injury, suicide ideation,
             and sexual orientation: differences in causes and correlates among
             high school students. Journal of Injury & Violence Research, 8(1),
            15-24.
     Goldblum, P., Testa, R. J., Pflum, S., Hendricks, M. L., Bradford, J.,
            & Bongar, B. (2012). The relationship between gender-based
            victimization and suicide attempts in transgender people.
            Professional Psychology: Research and Practice, 43, 468-475.
     Haas, A., Rodgers, P., & Herman, J. (2014). Suicide attempts among
            transgender and gender non-conforming adults: Findings of the
            national transgender discrimination survey. American Foundation
            for Suicide Prevention and The Williams Institute, UCLA School
            of Law. Retrieved from http://williamsinstitute.law.ucla.edu/
            wp-content/uploads/AFSP-Williams-Suicide-Report-Final.pdf


     32


                                                                            AR_293387
Case 4:24-cv-00461-O    Document 76     Filed 09/06/24   Page 223 of 290    PageID 3870
           Sex-segregated Bathrooms and Suicidal .ideation in Transgender Youth

     Herman, J. L. (2013). Gendered restrooms and minority stress: The public
              regulation of gender and its impact on transgender people's lives.
              Journal of Public Management & Social Policy, 65-80.
     Little, J. N. (2001). Embracing gay, lesbian, bisexual and transgendered
              youth in school-based settings. Child & Youth Care Forum, 30(2),
            99-110.
     Mustanski, B., & Liu, R. T. (2013). A longitudinal study of predictors of
             suicide attempts among lesbian, gay, bisexual and transgender youth.
             Archives of Sexual Behavior, 42, 437-448 .
     Occupational Safety and Health Administration (2015).
             OSHA Trade Release. Retrieved from https://www.osha.gov/news/
             newsreleases/trade/06012015
     Riley, E. A., Sitharthan, G., Clemson, L., & Diamond, M. (2013).
             Recognising the needs of gender-varient children and their parents.
             Sex Education, 13(6), 644-659.
     Rogers, A., Rebbe, R., Gardella, C., Worlein, M., & Chamberlin, M.
             (2013, August). Older LGBT Adult Training Panels: An Opportunity
             to Educate About Issues Faced by the Older LGBT Community.
             Journal of Gerontological Social Work, 580-595.
     Russell, S. T., Ryan, C., Toomey, R. B., & Sanchez, J. (2011, May).
             Lesbian, gay, bisexual, and transgender adolescent school
             victimization: Implications for young adult health and adjustment.
             Journal of School Health, 81(5), 223-230.
     Wang, T., Solomon, D., Durso, L. E., McBride, S., & Cahill, S. (2016).
             State anti-transgender bathroom bills threaten transgender people's
             health and participation in public life [PDF file]. Policy Brief,
             Fenway Institute and Center for American Progress. Retrieved from
             http://fenwayhealth.org/wp-content/uploads/2015/12/COM-2485-
             Transgender-Bathroom-Bill-Brief v8-pages.pdf




                                                                           AR_293388
Case 4:24-cv-00461-O                Document 76              Filed 09/06/24              Page 224 of 290             PageID 3871
LGBT Health
Volume 6, Number 1, 2019
  Mary Ann Liebert, Inc.
DOI: 10.1089/lgbt.2018.0194




                    Sexual Orientation Enumeration in State
                    Antibullying Statutes in the United States:
                   Associations with Bullying, Suicidal Ideation,
                      and Suicide Attempts Among Youth

  Ilan H. Meyer, PhD,' Feijun Luo, PhD,2 Bianca D.M. Wilson, PhD, and Deborah M. Stone, ScD, MSW, MPH;




Abstract

Purpose: The aim was to assess the associations of antibullying U.S. state statutes that enumerate sexual orien-
tation with exposure to bullying and other stressors and with suicidal ideation and suicide attempts in sexual mi-
nority and non sexual minority youth.
Methods: We analyzed data from the 2015 national school-based Youth Risk Behavior Survey, representative of
9th through 12th grade students attending public and private schools in the United States. We reviewed each
state's antibullying statutes and classified them on enumeration.
Results: Antibullying state laws that enumerate sexual orientation were associated with lower risk for suicide
attempts and serious attempts requiring medical attention and lower risk for forced sexual intercourse. They
were also associated with feeling safe at school or on the way to or from school. Results did not differ by sexual
orientation.
Conclusions: Enumeration of sexual orientation was associated with reduced stressors and suicide attempts, but
it is insufficient to remove significant disparities based on sexual orientation. Additional policies and practices
are required to address persistent sexual orientation disparities in exposure to bullying and suicidal behavior.

Keywords: bullying, law and policy, schools, sexual minority youth, suicide attempts




Introduction                                                          hood of thinking about self-harm, actual self-harm, suicidal
                                                                      ideation, and attempted suicide.5

H    OMOPHOBIC AND TRANSPHOBIC VIOLENCE,              including          In the United States, by 2015, 50 states and the District
                                                                                                         al
                                                                                                              l
      bullying, is a challenge for educators and policy makers        of Columbia enacted laws aimed at reducing bullying.6 How-
internationally as shown by data from Africa, Asia, Europe,           ever, little research has tested the effectiveness of state anti-
Latin America and the Caribbean, North America, and the               bullying policies in reducing bullying and its ill effects; the
Pacific.' The United States has some of the highest rates of          research that is available has shown mixed results. One
homophobic and transphobic violence.' Bullying has been               study found lower odds of reported bullying behavior in
identified as a particular challenge in U.S. schools and is as-       states that were compliant with U.S. Department of Educa-
sociated with suicide risk factors, including physical and sex-       tion guidelines, such as having a clearly defined scope of
ual violence, feeling unsafe, depression, thoughts of suicide,        the law and stated requirements for districts to implement
and suicidal behavior.2-4 A comprehensive report by the               local policies.7 However, in another study of bullying prev-
United Nations Educational, Scientific and Cultural Organi-           alence in Iowa, researchers found no reduction from before
zation recommended a variety of policy approaches to ad-              to 3 years after the enactment of the antibullying law.8
dress homophobic and transphobic violence.' For example,                 Sexual and gender minorities are particularly targeted for
a study in Australia has shown that sexual and gender minor-          bullying and suffer its negative effects, including increased
ity students' perceptions of policies that protect them were          risk for suicidal ideation and behavior." In 2015, 34% of
associated with increased sense of safety and reduced likeli-         lesbian, gay, and bisexual (LGB) students had been bullied

  'The Williams Institute, School of Law, University of California Los Angeles, Los Angeles, California.
  Divisions of ZAnalysis, Research, and Practice Integration, 3Violence Prevention, National Center for Injury Prevention and Control,
Centers for Disease Control and Prevention, Atlanta, Georgia.

                                                                  9



                                                                                                                                    AR_293389
Case 4:24-cv-00461-O               Document 76             Filed 09/06/24           Page 225 of 290             PageID 3872
 10                                                                                                              MEYER ET AL.

 at school over a year, compared with 19% of heterosexual          sexual orientation specifically as a focus of the law (Supple-
 students. During this same time frame, 28% of LGB students        mentary Table 51; Supplementary Data are available online
 reported online bullying, compared with 14% of heterosex-         at www.liebertpub.com/lgbt).
 ual students; 43% had seriously considered attempting sui-
 cide, and 29% had attempted suicide, compared with 15%               Experienced bullying and related stressors. Two items
 and 6%, respectively, of heterosexual students.9                  assessed bullying, asking whether respondents were "bul-
    Advocates recommend that laws specifically enumerate           lied" on school property and "electronically bullied." We
 sexual orientation and gender identity—that is, specifically      also assessed five stressful experiences and indicators of vic-
 list these categories in the statute. The argument is that enu-   timization: felt unsafe at school or on their way to or from
 meration would impel school personnel to address these spe-       school in the past 30 days; threatened or injured with a
 cific forms of bullying, which can be otherwise ignored even      weapon such as a gun, knife, or club on school property; in
 in the presence of a general anti-bullying law.12-t5 In one       a physical fight; injured and had to be treated by a doctor
 study, researchers assessed the role of sexual orientation enu-   or nurse after being in a physical fight; and ever physically
 meration in Oregon school districts and found that counties       forced to have sexual intercourse. All responses were dichot-
 with more school districts that enumerated sexual orientation     omized as "yes," if the outcome occurred, or "no," if the
 in their antibullying policies had the lowest rates of suicide    outcome never occurred.
 attempts among lesbian and gay (but not bisexual) youth.16
    To fill the gap in understanding the effectiveness of enu-       Suicidal ideation and suicide attempts. Respondents an-
 merated antibullying laws, we assess whether youth in states      swered the following four items related to the year before
 that have such enumerated sexual orientation antibullying         the interview: seriously considered attempting suicide;
 statutes are exposed to fewer experiences of bullying and         made a plan for attempting suicide; actually attempted sui-
 other stressors at school and have less suicidal ideation and     cide; and made an attempt that resulted in an injury, poison-
 fewer suicide attempts compared with youth in states whose        ing, or overdose that had to be treated by a doctor or nurse.
 antibullying statutes do not enumerate sexual orientation.17      Responses were dichotomized as "yes," if this occurred,
 We further assess whether such an association, if it exists,      or "no," if it never occurred.
 is specific to sexual minority youth or whether it is general-
 ized across all students, regardless of sexual orientation.          Demographic characteristics. Sex (male or female),
                                                                   grade in school (9, 10, 11, or 12). and race/ethnicity (catego-
                                                                   rized as non-Hispanic American Indian/Alaska Native,
 Methods
                                                                   Asian, Black or African American, Native Hawaiian/other
 Sample                                                            Pacific Islander, or White; or Hispanic/Latino or non-
                                                                   Hispanic multiple races or Hispanic multiple races) were
    The national Youth Risk Behavior Survey (YRBS) is a
                                                                   self-reported by respondents.
 school-based survey conducted by the Centers for Disease
 Control and Prevention biannually.' $ Survey responses are        Data analysis
 representative of 9th through 12th grade students attending
 public and private schools in the United States. Although            We calculated frequencies to describe the sample and con-
 schools in all 50 states and the District of Columbia are in-     ducted logistic regression to test whether antibullying laws
 cluded in the sampling frame, because the survey uses a           that enumerated sexual orientation were associated with re-
 three-stage cluster sample design, not all states have schools    duced bullying, related stressors, and suicidal ideation and
 drawn into the sample.9 The 2015 national YRBS sample in-         suicide attempts, controlling for demographic characteris-
 cluded 15,624 respondents from 27 states. More detailed in-       tics. We calculated odds ratios and 95% confidence intervals
 formation about YRBS sampling and weighting is available          for youth attending schools in a state with enumerated anti-
 elsewhere.9 The study was exempt from institutional review        bullying statutes compared with youth attending schools in
 board review as the analyses involved a deidentified data set     states that do not have such enumeration, across all respon-
 that is available publicly.                                       dents, as well as among sexual minority youth compared
                                                                   with non sexual minority youth, across all states. We also
 Measures                                                          tested interactions to assess whether the associations be-
                                                                   tween enumerated antibullying state laws and bullying and
    Sexual minority status. We defined sexual minority             other stressors and suicidal ideation and suicide attempts dif-
 youth based on responses to two items: sexual identity and        fered based on sexual minority status.
 sexual contact. Youth who endorsed being "gay or lesbian,"           We used SAS software version 9.3 (SAS Institute Inc.,
 "bisexual," or "not sure" or who reported that they had any       Cary, NC) with survey procedures in all statistical analyses
 same-sex sexual contact during their lifetime were classified     to account for the complex sampling design of the YRBS.19
 as sexual minority youth. Youth not classified as sexual mi-      Missing data were handled using the SAS survey procedure
 nority were classified as non sexual minority youth. Sexual       option NOMCAR (not missing completely at random).20 A
 minority status was missing if sexual identity was missing        weight based on student sex, race/ethnicity, and grade was ap-
 and sexual contact was missing or none (N= 882).                  plied to each record to adjust for school and student nonre-
                                                                   sponse and oversampling of Black and Hispanic students.
    Enumerated antibullying law. States were coded as to           The overall weights were scaled so that the weighted count
 whether by 2015 they did or did not have an antibullying stat-    of students equals the total sample size, and the weighted pro-
 ute that enumerated sexual orientation. A statute was consid-     portions of students in each grade match the national
 ered to enumerate sexual orientation if the statute listed        population proportions. Therefore, weighted estimates are




                                                                                                                              AR_293390
Case 4:24-cv-00461-O                 Document 76             Filed 09/06/24              Page 226 of 290            PageID 3873
ANTIBULLYING STATUTES AND MENTAL HEALTH                                                                                           11

representative of all students in grades 9-12 attending public       merate sexual orientation. Youth in states with enumerated
and private schools in the United States.9                           statues also reported feeling safer at school or on the way
                                                                     to or from school, and were less likely to have been physi-
Results                                                              cally forced to have sexual intercourse. In considering the
                                                                     significant effects we found, it is important to recall that all
   The 2015 national YRBS sample included 15,624 respon-
                                                                     states have antibullying laws, which provide some baseline
dents from 27 states, in which 12 states had an antibullying
                                                                     protection. It is, thus, all the more noteworthy that even
statue that enumerated sexual orientation and 15 states did
                                                                     with the general antibullying laws, evidence shows an impact
not (Supplementary Table Si). The weighted percentages
                                                                     that is specific for enumerated statutes.
of male and female students were 51.3% and 48.7%, respec-
                                                                        Interestingly, our results show that the effects of having
tively, and percentages of 9th, 10th, 11th, and 12th grade stu-
                                                                     sexual orientation enumeration were the same for sexual
dents were 27.2%, 25.7%, 23.9%, and 23.1%, respectively.
                                                                     minority and non sexual minority youth. An explanation
White, Black/African American, multiple-Hispanic, and
                                                                     may be that actions taken along with enumeration, such
Hispanic/Latino were the leading four race/ethnicity catego-
                                                                     as enactment of specific policies and model programs,
ries, with weighted percentages of 54.5%, 13.6%, 12.3%, and
                                                                     have an impact that does not distinguish sexual minority
9.9%, respectively.
                                                                     and non sexual minority youth. Because we were limited
   Nationwide, 12.8% (standard error [SE]=0.8%) of stu-
                                                                     in testing mechanisms of the associations we detected,
dents met this study's definition of sexual minority youth. Sexual
                                                                     this could not be assessed.
minority youth were more likely than non sexual minority youth
                                                                        Thus, our findings show that while enumeration is effec-
to be female (68.8% vs. 45.7%, Rao—Scott chi square
                                                                     tive in reducing suicide attempts and other stressors, it is in-
[QRs]=74.6 [1], p<0.001), and were more likely to be
                                                                     sufficient at reducing disparities between sexual minority
Black/African American (16.9% vs. 13.1%, QRS= 5.7 [1]
                                                                     and non sexual minority youth in bullying, related stressors,
p=0.017). Sexual minority youth were less likely than non sex-
                                                                     and suicide attempts. That is, while fewer youth attempted
ual minority youth to be White (48.0% vs. 55.5%, QRs=6.5 [1]
                                                                     suicide in states with enumerated statutes compared with
p=0.011) and more likely to have multiple race/ethnicities (both
                                                                     states that do not have enumerated statutes, sexual minority
Hispanic and non-Hispanic, 14.7% vs. 12.1%, QRs=5.8 [1]
                                                                     youth have higher prevalence of suicide attempts than non-
p=0.015 and 6.8% vs. 4.2%, QRs= 16.7 [1] p<0.001, respec-
                                                                     sexual minority youth both in states with and without enu-
tively). Sexual minority and non sexual minority youth did
                                                                     merated statutes.
not differ in the grade they attended in school.
                                                                        Our results are consistent with advocates' and other re-
   Table 1 shows bullying and other stressors and suicidal
                                                                     searchers' assertions that sexual orientation enumeration is
ideation and suicide attempts among youth by antibullying
                                                                     merely a first step in addressing bullying and its ill effects.
law (sexual orientation enumerated vs. not enumerated)
                                                                     For example, Russell et al. suggested that enumeration is
and youth sexual orientation (sexual minority vs. non sexual
                                                                     "a foundation on which other lesbian, gay, bisexual, trans-
minority). First, across all respondents, regardless of sexual
                                                                     gender, and questioning (LGBTQ) safe school policies and
orientation, and controlling for sex, grade, and race/ethnicity,
                                                                     practices can be based." 12 In addition to enumeration, the
having an antibullying state law that enumerates sexual orien-
                                                                     authors recommended training of teachers on effective inter-
tation was associated with reduced odds of bullying, stressors,
                                                                     vention strategies, school-based support groups (e.g., Gay—
and suicidal ideation and suicide attempts (Table 1, Column
                                                                     Straight Alliances), inclusion of LGBTQ people or issues
C). Related to stressors, the relationship was significant for
                                                                     in school curricula, and improved access to information
feeling unsafe at school or on the way to or from school
                                                                     and resources. Other strategies and approaches to prevent
and ever having been physically forced to have sexual inter-
                                                                     risk of youth suicide include promoting social connectedness
course. Related to suicidal ideation and suicide attempts out-
                                                                     among youth and schools, parents/caregivers, and communi-
comes, the association was significant for attempting suicide
                                                                     ties; promoting protective school environments to improve
and making a suicide attempt that required being treated by a
                                                                     prosocial behaviors and help-seeking behavior; and teaching
doctor or nurse.
                                                                     coping and problem-solving skills to reduce bullying, vio-
   Second, across all states, compared with non sexual minor-
                                                                     lence, and suicide risk.21-23
ity youth, more sexual minority youth experienced each of
the bullying and other stressors we examined and they                Study limitations
were more likely than non sexual minority youth to have sui-
                                                                        Among our study limitations are that the cross-sectional
cidal ideation and suicide attempts (Table 1, Column D).
                                                                     data do not allow us to test whether state enumeration of
   A test of the interaction between sexual minority status
                                                                     sexual orientation was the cause of the observed differ-
and the presence of an enumerated antibullying state law
                                                                     ences or whether other correlated state-level factors were
was not significant for any of the outcomes we examined,
                                                                     at work. For example, states that included enumeration
suggesting that the effect of enumerated state laws on bully-
                                                                     by sexual orientation in their laws may also have made
ing, stressors, and suicide was similar for sexual minority
                                                                     other efforts to address bullying and to improve the social
and non sexual minority youth (not shown).
                                                                     environment. Also, we cannot state that sexual orientation
                                                                     enumeration per se explains the results as all states that
 Discussion
                                                                     enumerate sexual orientation also enumerate other charac-
  Our results show that enumeration of sexual orientation in         teristics, such as race or religion.
antibullying laws at the state level was associated with fewer          In addition, 27 states were randomly included in the
suicide attempts, including serious attempts requiring medi-         YRBS national sample; we do not know if results would
cal attention, compared with state statutes that do not enu-         have differed had other states been included. We used a




                                                                                                                                  AR_293391
Case 4:24-cv-00461-O        Document 76                     Filed 09/06/24                          Page 227 of 290                  PageID 3874




                                         t            N     't           r-          N                   00     N       0In
                                                                                                                                            00
                                                                                                                                            0
                            O            00           Ire                —               ~               00                 O               C0
                                         :.           :.    Cq       C4              —        —          CN     Mi      M.. cn          U
                            In           N            00    N        00              00       0          M      In      N N
                            (V           (V           N     m        (V              --;      cl         M      ri                          Cr




                                                                                                                                        0



                                                                                      -.
                            ON           O            O                  O~                   N          O              Q 011


                            O            O            O     O            O           O        O          O      0       00
                            N            00           00    O            N                    O          O\     C       N "D
                            O            0            0     •--.         O           0        N          O      0       00              .




                                                                                                                                        0.



                            M            N            N                              O        N          N              00—'

                            00           M            00                 •--.        O        00         In     In      NO
                                                                         —
                                         •--~         N                              M        N          M      m       N
                                                      vN                 Cl          tt-                        0
                                         N                  IIn                               M          00             M t-
                                                      N                  N           M        M           -         -   N

                                                      000
                                                        0   N        1%              —.       G'.        0
                                                                                                         000    O'.       M
                            O            O            O     O        O               —        O          O      O       00
                            .--..        m                                           IN       In         M      N       In 't
                                                                                                                        In

                            In           "O           01    N                        N        N          N                  N
                                         00                 M                        00                  -              .N
                                                                                                                         -i C4
                            M                         N     N                                 0          N      0
                                                      N                              N        N          N
                                                                         .•.
                            1%           "C           M                  N                    O~         0000   1%      N

                            —            In           N                  N                               Cl     N       C'100
                                                                         -           M—
                                                      M                                       Cl                M       N-

                                                      Cl    In                                                          -
                                                                                     Cl                  M      N       .r

                            N                                            N           N        N        '                IQ V)
                            O            O                  O            O           v        O      Cr 0       O       00
                                                      Ni
                                         N            00    In                       In       O          r      O       N h
                            In           1G                 Cl       '.0             00       M                 N       N cV
                                                      N                                              i

                                                                                     NN0
                       0 C1                           O                  Cl                   I      d\0        In      N N
                                                                                                                          O
                       Cr


                       i.           c0          cd    .y                             C        c
                                                                                              ci         'O •~ O O •p .~ .~      G
                                                                   ,~
                                                                    00          WO                             ~ O•^' U U        y
                                                                                                                                 n

                                                            ID~
                                                       ': ~...
                                                                                             o~o
                                                                                                 _                      aa~
                           o
                       b030'.            y° '        a
                       C                                                                         R O            •b O ."'.~ N N N .1 1
                                                     adC d ad a. ...                          ~~ o .:                   y y    y    C
                       ~w                ~•           3 3 3                          3        3 -~v,            ~       ¢¢
                                                                                                                                                 L


                                                                    12



                                                                                                                                                     AR_293392
Case 4:24-cv-00461-O                Document 76             Filed 09/06/24             Page 228 of 290              PageID 3875
ANTIBULLYING STATUTES AND MENTAL HEALTH                                                                                           13

broad definition of sexual minority status but do not know           2. Arseneault L, Bowes L, Shakoor S: Bullying victimization
if results would vary by other definitions of sexual orien-             in youths and mental health problems: "much ado about
tation or separately for sexual minority groups (e.g., bisex-           nothing"? Psychol Med 2010;40:717-729.
ual individuals). Another limitation of the study is the             3. Espelage DL, Basile KC, Hamburger ME: Bullying per-
potential increase in error introduced by including private             petration and subsequent sexual violence perpetration
school student participants of the YRBS in the study. Not               among middle school students. J Adolesc Health 2012;
all states with antibullying laws require private schools to            50:60-65.
adhere to them; although some private schools adopt such             4. Volk A, Craig W, Boyce W, King M: Adolescent risk cor-
state laws voluntarily, it is unclear how the voluntary                 relates of bullying and different types of victimization. Int
adoption of regulations among private schools differs be-               J Adolesc Med Health 2006;18:575-586.
                                                                     5. Jones TM, Hillier L: Sexuality education school policy for
tween states with and without enumerated antibullying
                                                                        Australian GLBTIQ students. Sex Educ 2012;12:437-454.
laws. As such, the inclusion of private school participants'         6. Stopbullying.gov: Laws & Policies. U.S. Department of Health
data likely adds misclassification error, potentially attenu-           and Human Services. n.d. Available at https://www.stop
ating true differences between states with and without                  bullying.gov/laws/mdex.html, Accessed December 22, 2017.
enumerated laws.                                                     7. Hatzenbuehler ML, Schwab-Reese L, Ranapurwala SI,
   We were also limited to explore sexual orientation but not           et al.: Associations between antibullying policies and bully-
gender identity and level of conformity to conventional gen-            ing in 25 states. JAMA Pediatr 2015;169:e152411.
der roles because, to date, YRBS has no data relevant to             8. Ramirez M, Ten Eyck P. Peek-Asa C, et al.: Evaluation of
transgender and gender nonbinary youth. Other research                  Iowa's anti-bullying law. Injury Epidemiol 2016;3:15.
has shown that gender nonconformity is strongly associated           9. Kann L, Olsen EO, McManus T, et al.: Sexual identity, sex
with exposure to victimization among both sexual and gen-               of sexual contacts, and health-related behaviors among stu-
der minority youth.15                                                   dents in grades 9-12 - United States and selected sites, 2015.
                                                                        MMWR Surveill Summ 2016;65:1-202.
Conclusions                                                         10. Eisenberg ME, Gower AL, McMorris BJ, et al.: Risk and pro-
                                                                        tective factors in the lives of transgender/gender nonconform-
    Despite improvement in the social environment for sexual            ing adolescents. J Adolesc Health 2017;61:521-526.
minority individuals in the United States, sexual orientation       11. Stone DM, Luo F, Ouyang L, et al.: Sexual orientation and
and gender identity disparities in exposure to bullying and its         suicide ideation, plans, attempts, and medically serious at-
ill effects persist.2 The results of this analysis show that enu-       tempts: Evidence from local Youth Risk Behavior Surveys,
meration of antibullying laws by sexual orientation is associ-          2001-2009, Am J Public Health 2014;104:262-271.
ated with significant reduction in exposure to some stressful       12. Russell ST, Kosciw JG, Horn S, Saewyc E: Safe schools
experiences and suicide attempts among all students. How-               policy for LGBTQ students. Soc Policy Rep 2010;24:1-25.
ever, enumeration alone has not been sufficient to remove           13. GLSEN: Enumeration. GISEN. n.d. Available at https://www
disparities based on sexual orientation in experiences of bul-          .glsen.org/sites/default/files/Enumeration-0.pdf, Accessed
lying and suicide attempts. Additional policies and practices           December 9, 2018.
to address persistent sexual orientation and gender identity        14. Thoreson R: "Like Walking Through a Hailstorm" Dis-
disparities in exposure to bullying and suicidal behavior are           crimination Against LGBT Youth in US Schools. Human
promising.14.21                                                         Rights Watch. 2016. Available at https://www.hrw.org/
                                                                        report/2016/12/07/walking-through-hailstoml/discrimination-
                                                                        against-Igbt-youth-us-schools#, Accessed December 9, 2018.
Acknowledgments                                                     15. Toomey RB, Ryan C, Diaz RM, et al.: Gender-
  The authors thank Christy Mallory, JD, Maxwell Patton,                nonconforming lesbian, gay, bisexual, and transgender
and Akiesha Anderson, JD, for producing Supplementary                   youth: School victimization and young adult psychosocial
Table Si, classifying state antibullying statutes. The authors          adjustment. Dev Psychol 2010;46:1580-1589.
thank Christy Mallory, JD, for her comments on an earlier           16. Hatzenbuehler ML, Keyes KM: Inclusive anti-bullying
version of this article.                                                policies and reduced risk of suicide attempts in lesbian
                                                                        and gay youth. J Adolesc Health 2013;53(1 Suppl):521-
                                                                        S26.
Disclaimer                                                          17. Meyer IF!: Prejudice, social stress, and mental health in les-
   The findings and conclusions in this report are those of the         bian, gay, and bisexual populations: Conceptual issues and
authors and do not necessarily represent the official position          research evidence. Psychol Bull 2003;129:674-697.
of the Centers for Disease Control and Prevention.                  18. Centers for Disease Control and Prevention: Youth Risk
                                                                        Behavior Surveillance System (YRBSS) Overview. 2017.
                                                                        Available at https://www.cdc.gov/healthyyouth/data/yrbs/
Author Disclosure Statement                                             overview.htm, Accessed March 21, 2018.
  No competing financial interests exist.                           19. Centers for Disease Control and Prevention: Software for
                                                                        Analysis of YRBS Data. Available at https://www.cdc
References                                                              .gov/healthyyouth/data/yrbs/pdf/2015/2015-YRBS-analysis-
                                                                        software.pdf, Accessed February 7, 2017.
 1. UNESCO: Out in the Open: Education Sector Responses to          20. Gorrell P: Survey Analysis: Options for Missing Data.
    Violence Based on Sexual Orientation and Gender Identi-             IMPAQ International, LLC. 2010. Available at https://
    ty/Expression. Paris, France: United Nations Educational,           www.lexjansen.com/nesug/nesugI0/sa/sal3.pdf, Accessed
    Scientific and Cultural Organization, 2016.                         December 21, 2017.




                                                                                                                                   AR_293393
Case 4:24-cv-00461-O               Document 76             Filed 09/06/24        Page 229 of 290          PageID 3876
 14                                                                                                        MEYER ET AL.

 21 Stone DM, Holland KM, Bartholow B, et al.: Preventing          24. Meyer IH: The elusive promise of LGBT Equality.
     Suicide: A Technical Package of Policies, Programs, and           Am J Public Health 2016;106:1356-1358.
     Practices. Atlanta, GA: National Center for Injury Preven-
     tion and Control, Centers for Disease Control and Preven-
     tion, 2017.                                                                               Address correspondence to:
 22. Burton CL, Bonanno GA, Hatzenbuehler ML: Familial so-                                            Ilan H. Meyer, PhD
     cial support predicts a reduced cortisol response to stress                                     The Williams Institute
     in sexual minority young adults. Psychoneuroendocrinology                                              School of Law
     2014;47:241-245.                                                                 University of California Los Angeles
 23. Stone DM, Luo F, Lippy C, McIntosh WL: The role of                                                        Box 951476
     social connectedness and sexual orientation in the pre-                                 Los Angeles, CA 90095-1476
     vention of youth suicide ideation and attempts among
     sexually active adolescents. Suicide Life Threat Behav
     2015;45:415-430.                                                                        E-mail: meyer@law.ucla.edu




                                                                                                                       AR_293394
Trausgender Adults Access to College Bathrooms and Housing and the Relationship to Suicidality: Journal of Homosexuality: Vol 63 No 10 - Get Access


                     Case 4:24-cv-00461-O                                  Document 76                             Filed 09/06/24               Page 230 of 290   PageID 3877
     a
             Journal of IIomosexuality C
             Volume 63, 2016 - Issue 10

          18.530 111                               402
          Views       CrossRet citations to date I' itmet'io
     ArtickL3

     Transgender Adults' Access to College Bathrooms and Housing and the Relationship to Suicidality
     Kristie L. Seelman -1 . PhD, MSW
         `sge:s 137i1-i399I Pu @shedor.t^.e:: 12 Apr 20113
                                                                                                 ....................................




     ❑ Cite this article         o https://doi.org/10.1080/00918369.2016.1157998




                                                                                             M




                      o Figures & data    ❑ References       ❑ Citations   ❑ Metrics   ❑ Reprints & Permissions




   ABSTRACT

   Transgender and gender non-conforming people frequently experience discrimination, harassment, and marginalization across
   college and university campuses (Bilodeau, 2007; Finger, 2010; Rankin et al., 2010; Seelman et al., 2012). The minority stress model
   (Meyer, 2007) posits that experiences of discrimination often negatively impact the psychological wellbeing of minority groups.
   However, few scholars have examined whether college institutional climate factors—such as being denied access to bathrooms or
   gender-appropriate campus housing—are significantly associated with detrimental psychological outcomes for transgender people.
   Using the National Transgender Discrimination Survey, this study analyzes whether being denied access to these spaces is
   associated with lifetime suicide attempts, after controlling for interpersonal victimization by students or teachers. Findings from



https://www.tandfonrme.com/doi/full/10.1080/00918369.2016.1157998[8/2/2024 6:01:20 PM]

                                                                                                                                                                          AR_293395
Transgender Adults' Access to College Bathrooms and Housing and the Relationship to Suicidality: Journal of Honrosexuality Vol 63 , No 10- Get Access


              Caseregression
   sequential logistic 4:24-cv-00461-O            Document
                             (N = 2,316) indicate that             76 to either
                                                       denial of access   Filed    09/06/24
                                                                                space had a significantPage     231toof
                                                                                                        relationship    290
                                                                                                                     suicidality,                        PageID 3878
   even after controlling for interpersonal victimization. This article discusses implications for higher education professionals and
   researchers.

               • ' a     Bs1t   O       cam iue h.IRIg      4Tarassrn~rw    hK,ltier cK4ucat an   esonty stress rnoriel   sicie~da9iy   icaznsgendee ;




   Acknowledgments

   Thanks to Dr. K. JurAe Capers for reviewing a draft of this article and offering constructive feedback.

   The author acknowledges the National LGBTQ Task Force and the National Center for Transgender Equality conducted the National
   Transgender Discrimination Survey, which generated the data analyzed within this study. Their report on the survey data is available




   Notes




   1• Within the present study, transgender encompasses those whose gender identity differs from predominant cultural expectations for

   their sex assigned at birth. This includes people who undergo medical treatment to transition from one gender to another, as well as
   those who have not or will not undergo such treatment, and is meant to match the definition used by the organizations that conducted
   the National Transgender Discrimination Survey (Grant et al., 2411). I will often use the term trans* to denote inclusion of a broader
   range of gender non-conforming identities, including those who may not use the term transgender for themselves.

   2. This statistic was calculated using the inverse odds ratio: 1/0.69 =1.45.



               Previous article           View issue table of contents              Next article




      Purchase options * Save for later

        P1W duwutload + Orrin' ucc y.
       . 48 hours access to article PDF & online version
       . Article PDF can be downloaded
       • Article PDF can be printed
        1151) Si.00




https:i%www.tandfonline.conr%doi.ful610.1080/00918369.2016.1157998[8/2/2024 6:01:20 PM]

                                                                                                                                                                 AR_293396
Transgender Adults Access to College Bathrooms and Housing and the Relationship to Suicidality: Journal of Homosexuality. Vol 63 , No 10- Get Access


                   Case 4:24-cv-00461-O
         Issue Purchase                                                  Document 76                        Filed 09/06/24                       Page 232 of 290    PageID 3879
       • 30 days online access to complete issue
       • Article PDFs can be downloaded
       • Article PDFs can be printed

         USI) 412.00




       Local tax will be added as applicable




                                                                                                                                                                   L 1



     Related Research
                                                                                                                   Cited by
                                                                                         Recorrmeneed articles       ttt




https:/%www.tandfonline.conVdoi.fulb10.1080/00918369.2016.1157998[8/2/2024 6:01:20 PM]

                                                                                                                                                                            AR_293397
Transgender Adults Access to College Bathrooms and Housing and the Relationship to Suicidality: Journal of Homosexuality. Vol 63 , No 10 - Get Access


                   Case 4:24-cv-00461-O                                  Document 76                        Filed 09/06/24                        Page 233 of 290   PageID 3880




https:/%www.tandfonline.conVdoi.ful610.1080/00918369.2016.1157998[8/2/2024 6:01:20 PM]

                                                                                                                                                                            AR_293398
Transgender Adults- Access to College Bathrooms and Housing and the Relationship to Suicidality: Journal of Homosexuality: Vol 63 , No 10 - Get Access


                   Case 4:24-cv-00461-O                                   Document 76                        Filed 09/06/24                        Page 234 of 290   PageID 3881




https:/%www.tandfonline.corn doi.ful610.1080/00918369.2016.1157998[8/2/2024 6:01:20 PM]

                                                                                                                                                                             AR_293399
Case 4:24-cv-00461-O                         Document 76            Filed 09/06/24                 Page 235 of 290                       PageID 3882
                                                                                           CL INICAL               PRACTICE                  GUIDEL INE




                                        Endocrine Treatment of Gender-Dysphoric/
                                        Gender-Incongruent Persons: An Endocrine Society*
                                        Clinical Practice Guideline

                                        Wylie C. Hembree,' Peggy T. Cohen-Kettenis,z Louis Gooren,3 Sabine E. Hannema,4
                                        Walter J. Meyer,' M. Hassan Murad,5 Stephen M. Rosenthal,' Joshua D. Safer,'
                                                                                                                                                                        W,
                                        Vin Tangpricha,9 and Guy G. T'Sjoen1°                                                                                           ;
                                                                                                                                                                        3
                                        'New York Presbyterian Hospital, Columbia University Medical Center, New York, New York 10032
                                        (Retired); 2VU University Medical Center, 1007 MB Amsterdam, Netherlands (Retired); 3VU University
                                        Medical Center, 1007 MB Amsterdam, Netherlands (Retired); 4Leiden University Medical Center, 2300 RC
                                        Leiden, Netherlands; 5University of Texas Medical Branch, Galveston, Texas 77555; °Mayo Clinic Evidence-
                                        Based Practice Center, Rochester, Minnesota 55905; 7University of California San Francisco, Benioff                             3
                                        Chi''dl ren's Hospital, San Francisco, California 94143; "Boston University School of Medicine, Boston,
                                                                                                                                                                        Y




                                                                                                                                                                        o
                                        Massachusetts 02118; 9Emory University School of Medicine and the Atlanta VA Medical Center, Atlanta,
                                        Georgia 30322; and 10 Ghent University Hospital, 9000 Ghent, Belgium




                                                                                                                                                                        o
                                                                      *Cosponsoring Associations: American Association of Clinical Endo-
                                                                       crinologists, American Society of Andrology, European Society for
                                                                       Pediatric Endocrinology, European Society of Endocrinology, Pedi-
                                                                       atric Endocrine Society, and World Professional Association for
                                                                       Transgender Health.

                                        Objective: To update the "Endocrine Treatment of Transsexual Persons: An Endocrine Society
                                        Clinical Practice Guideline," published by the Endocrine Society in 2009.

                                        Participants: The participants include an Endocrine Society—appointed task force of nine experts, a
                                        methodologist, and a medical writer.

                                        Evidence: This evidence-based guideline was developed using the Grading of Recommendations,
                                        Assessment, Development, and Evaluation approach to describe the strength of recommendations
                                        and the quality of evidence. The task force commissioned two systematic reviews and used the best
                                        available evidence from other published systematic reviews and individual studies.

                                        Consensus Process: Group meetings, conference calls, and e-mail communications enabled
                                        consensus. Endocrine Society committees, members and cosponsoring organizations reviewed
                                        and commented on preliminary drafts of the guidelines.

                                        Conclusion: Gender affirmation is multidisciplinary treatment in which endocrinologists play an
                                        important role. Gender-dysphoric/gender-incongruent persons seek and/or are referred to
                                        endocrinologists to develop the physical characteristics of the affirmed gender. They require a
                                        safe and effective hormone regimen that will (1) suppress endogenous sex hormone
                                        secretion determined by the person's genetic/gonadal sex and (2) maintain sex hormone
                                        levels within the normal range for the person's affirmed gender. Hormone treatment is not
                                        recommended for prepubertal gender-dysphoric/gender-incongruent persons. Those clinicians
                                        who recommend gender-affirming endocrine treatments—appropriately trained diagnosing
                                        clinicians (required), a mental health provider for adolescents (required) and mental health


ISSN Print 0021-972X ISSN Online 1945-7197                                     Abbreviations: BMD, bone mineral density; DSD, disorder/difference of sex development;
Printed in USA                                                                 DSM, Diagnostic and Statistical Manual of Mental Disorders; GD, gender dysphoria;
Copyright ® 2017 Endocrine Society                                             GnRH, gonadotropin-releasing hormone; ICD, International Statistical Classification of
Received 24 July 2017. Accepted 24 August 2017.                                Diseases and Related Health Problems; MHP, mental health professional; VIE, venous
First Published Online 13 September 2017                                       thromboembolism.



doi: 10.1210lc.2017-01658                    J Clin Endocrinel Metab, November 2017, 102(11):3869-3903             https://academic.oup.com/jcem              3869




                                                                                                                                                        AR_293400
 CaseHembree
3870
      4:24-cv-00461-O              Document 76 Filed 09/06/24                            Page 236 of 290 PageID 3883
             et al Guidelines on Gender-Dysphoric/Gender-Incongruent Persons J Clin Endocrinol Metab, November 2017, 102(11):3869-3903


                               professional for adults (recommended)—should be knowledgeable about the diagnostic criteria
                               and criteria for gender-affirming treatment, have sufficient training and experience in assessing
                               psychopathology, and be willing to participate in the ongoing care throughout the endocrine
                               transition. We recommend treating gender-dysphoridgender-incongruent adolescents who have
                               entered puberty at Tanner Stage G2/B2 by suppression with gonadotropin-releasing hormone
                               agonists. Clinicians may add gender-affirming hormones after a multidisciplinary team has
                               confirmed the persistence of gender dysphoria/gender incongruence and sufficient mental
                               capacity to give informed consent to this partially irreversible treatment. Most adolescents
                               have this capacity by age 16 years old. We recognize that there may be compelling reasons to
                               initiate sex hormone treatment prior to age 16 years, although there is minimal published
                               experience treating prior to 13.5 to 14 years of age. For the care of peripubertal youths and
                               older adolescents, we recommend that an expert multidisciplinary team comprised of medical
                               professionals and mental health professionals manage this treatment. The treating physician
                               must confirm the criteria for treatment used by the referring mental health practitioner and
                               collaborate with them in decisions about gender-affirming surgery in older adolescents. For adult
                               gender-dysphoridgender-incongruent persons, the treating clinicians (collectively) should have
                               expertise in transgender-specific diagnostic criteria, mental health, primary care, hormone
                               treatment, and surgery, as needed by the patient. We suggest maintaining physiologic
                               levels of gender-appropriate hormones and monitoring for known risks and complications.
                               When high doses of sex steroids are required to suppress endogenous sex steroids and/or in
                               advanced age, clinicians may consider surgically removing natal gonads along with reducing sex
                               steroid treatment. Clinicians should monitor both transgender males (female to male) and
                               transgender females (male to female) for reproductive organ cancer risk when surgical removal
                               is incomplete. Additionally, clinicians should persistently monitor adverse effects of sex steroids. For
                               gender-affirming surgeries in adults, the treating physician must collaborate with and confirm the
                               criteria for treatment used by the referring physician. Clinicians should avoid harming individuals (via
                               hormone treatment) who have conditions other than gender dysphoria/gender incongruence and
                               who may not benefit from the physical changes associated with this treatment. (J Clin Endocrinol
                               Metab 102: 3869-3903, 2017)


Summary of Recommendations                                              1.2. We advise that only MHPs who meet the fol-
                                                                             lowing criteria should diagnose GD/gender in-
1.0 Evaluation of youth and adults
                                                                             congruence in children and adolescents: (1)
  1.1. We advise that only trained mental health pro-                        training in child and adolescent developmental
       fessionals (MHPs) who meet the following cri-                         psychology and psychopathology, (2) competence
       teria should diagnose gender dysphoria (GD)/                          in using the DSM and/or the ICD for diagnostic
       gender incongruence in adults: (1) competence                         purposes, (3) the ability to make a distinction
       in using the Diagnostic and Statistical Manual                        between GD/gender incongruence and conditions
       of Mental Disorders (DSM) and/or the In-                              that have similar features (e.g., body dysmorphic
       ternational Statistical Classification of Diseases                    disorder), (4) training in diagnosing psychiatric
       and Related Health Problems (ICD) for di-                             conditions, (5) the ability to undertake or refer for
       agnostic purposes, (2) the ability to diagnose GD/                    appropriate treatment, (6) the ability to psycho-
       gender incongruence and make a distinction                            socially assess the person's understanding and
       between GD/gender incongruence and conditions                         social conditions that can impact gender-affirming
       that have similar features (e.g., body dysmorphic                     hormone therapy, (7) a practice of regularly at-
       disorder), (3) training in diagnosing psychiatric                     tending relevant professional meetings, and (8)
       conditions, (4) the ability to undertake or refer                     knowledge of the criteria for puberty blocking and
       for appropriate treatment, (5) the ability to                         gender-affirming hormone treatment in adoles-
       psychosocially assess the person's understanding,                     cents. (Ungraded Good Practice Statement)
       mental health, and social conditions that can                    1.3. We advise that decisions regarding the social
       impact gender-affirming hormone therapy, and                          transition of prepubertal youths with GD/gender
       (6) a practice of regularly attending relevant                        incongruence are made with the assistance of
       professional meetings. (Ungraded Good Practice                        an MHP or another experienced professional.
       Statement)                                                            (Ungraded Good Practice Statement).


                                                                                                                               AR_293401
Case    4:24-cv-00461-O
doi: 10.1210/c.2017-01658
                                  Document 76           Filed 09/06/24       Page 237   of 290 PageID 3884
                                                                                    https://academic.oup.comfjcem 3871


   1.4. We recommend against puberty blocking and                      the criteria for the endocrine phase of gender
        gender-affirming hormone treatment in pre-                     transition before beginning treatment. (1 I®@®O)
        pubertal children with GD/gender incongruence.            3.2. We recommend that clinicians evaluate and ad-
        (1 l   OO)                                                     dress medical conditions that can be exacerbated
   1.5. We recommend that clinicians inform and                        by hormone depletion and treatment with sex
        counsel all individuals seeking gender-affirming               hormones of the affirmed gender before begin-
        medical treatment regarding options for fertility              ning treatment. (1 I®®®O)
        preservation prior to initiating puberty sup-             3.3. We suggest that clinicians measure hormone
        pression in adolescents and prior to treating with             levels during treatment to ensure that endog-
        hormonal therapy of the affirmed gender in both                enous sex steroids are suppressed and admin-
        adolescents and adults. (1 I®®®O)                              istered sex steroids are maintained in the
                                                                       normal physiologic range for the affirmed
                                                                       gender. (2 I®®OO)
2.0 Treatment of adolescents
                                                                  3.4. We suggest that endocrinologists provide edu-
   2.1. We suggest that adolescents who meet diagnostic                cation to transgender individuals undergoing
        criteria for GD/gender incongruence, fulfill cri-              treatment about the onset and time course of
        teria for treatment, and are requesting treatment              physical changes induced by sex hormone
        should initially undergo treatment to suppress                 treatment. (2 I®000)
        pubertal development. (2 l        OO)
   2.2. We suggest that clinicians begin pubertal hor-
                                                                4.0 Adverse outcome prevention and long-term care
        mone suppression after girls and boys first exhibit
        physical changes of puberty. (2 l        OO)              4.1. We suggest regular clinical evaluation for phys-
   2.3. We recommend that, where indicated, GnRH                       ical changes and potential adverse changes in
        analogues are used to suppress pubertal hor-                   response to sex steroid hormones and laboratory
        mones. (1 I®®OO)                                               monitoring of sex steroid hormone levels every
   2.4. In adolescents who request sex hormone treat-                  3 months during the first year of hormone
        ment (given this is a partly irreversible treatment),          therapy for transgender males and females and
        we recommend initiating treatment using a                      then once or twice yearly. (2 l      OO)
        gradually increasing dose schedule after a mul-           4.2. We suggest periodically monitoring prolactin
        tidisciplinary team of medical and MHPs has                    levels in transgender females treated with estro-
        confirmed the persistence of GD/gender in-                     gens. (2 I®®OO)
        congruence and sufficient mental capacity to give         4.3. We suggest that clinicians evaluate transgender
        informed consent, which most adolescents have                  persons treated with hormones for cardiovas-
        by age 16 years. (1 I®eOO).                                    cular risk factors using fasting lipid profiles, di-
   2.5. We recognize that there may be compelling                      abetes screening, and/or other diagnostic tools.
        reasons to initiate sex hormone treatment prior                (2 l    OO)
        to the age of 16 years in some adolescents with GD/       4.4. We recommend that clinicians obtain bone
        gender incongruence, even though there are                     mineral density (BMD) measurements when risk
        minimal published studies of gender-affirming                  factors for osteoporosis exist, specifically in those
        hormone treatments administered before age 13.5                who stop sex hormone therapy after gonadec-
        to 14 years. As with the care of adolescents                   tomy. (1 I®®OO)
        >_16 years of age, we recommend that an ex-               4.5. We suggest that transgender females with no
        pert multidisciplinary team of medical and                     known increased risk of breast cancer follow
        MHPs manage this treatment. (1 I®000)                          breast-screening guidelines recommended for
   2.6. We suggest monitoring clinical pubertal devel-                 non-transgender females. (2 l       OO)
        opment every 3 to 6 months and laboratory                 4.6. We suggest that transgender females treated
        parameters every 6 to 12 months during sex                     with estrogens follow individualized screening
        hormone treatment. (2 l         OO)                            according to personal risk for prostatic disease
                                                                       and prostate cancer. (2 l OOO)
                                                                  4.7. We advise that clinicians determine the medical
3.0 Hormonal therapy for transgender adults
                                                                       necessity of including a total hysterectomy and
   3.1. We recommend that clinicians confirm the di-                   oophorectomy as part of gender-affirming sur-
        agnostic criteria of GD/gender incongruence and                gery. (Ungraded Good Practice Statement)


                                                                                                                  AR_293402
 CaseHembree
3872
      4:24-cv-00461-O              Document 76 Filed 09/06/24                            Page 238 of 290 PageID 3885
             et al Guidelines on Gender-DysphoriclGender-Incongruent Persons J Clin Endocrinol Metab, November 2017, 102(11):3869-3903



5.0 Surgery for sex reassignment and                                 clinical evaluation of both youth and adults, defines in
gender confirmation                                                  detail the professional qualifications required of those
                                                                     who diagnose and treat both adolescents and adults.
   5.1. We recommend that a patient pursue genital
                                                                     We advise that decisions regarding the social transition
        gender-affirming surgery only after the MHP and
                                                                     of prepubertal youth are made with the assistance of a
        the clinician responsible for endocrine transition
                                                                     mental health professional or similarly experienced
        therapy both agree that surgery is medically
                                                                     professional. We recommend against puberty blocking
        necessary and would benefit the patient's overall
                                                                     followed by gender-affirming hormone treatment of pre-
        health and/or well-being. (1 I®®OO)
                                                                     pubertal children. Clinicians should inform pubertal
   5.2. We advise that clinicians approve genital gender-
                                                                     children, adolescents, and adults seeking gender-
        affirming surgery only after completion of at least
                                                                     confirming treatment of their options for fertility preser-
        1 year of consistent and compliant hormone
                                                                     vation. Prior to treatment, clinicians should evaluate the
        treatment, unless hormone therapy is not desired
                                                                     presence of medical conditions that may be worsened
        or medically contraindicated. (Ungraded Good
                                                                     by hormone depletion and/or treatment. A multidis-
        Practice Statement)
                                                                     ciplinary team, preferably composed of medical and
   5.3. We advise that the clinician responsible for en-
                                                                     mental health professionals, should monitor treat-
        docrine treatment and the primary care provider
                                                                     ments. Clinicians evaluating transgender adults for
        ensure appropriate medical clearance of trans-
                                                                     endocrine treatment should confirm the diagnosis of
        gender individuals for genital gender-affirming
                                                                     persistent gender dysphoria/gender incongruence.
        surgery and collaborate with the surgeon re-
                                                                     Physicians should educate transgender persons re-
        garding hormone use during and after surgery.
                                                                     garding the time course of steroid-induced physical
        (Ungraded Good Practice Statement)
                                                                     changes. Treatment should include periodic monitoring of
   5.4. We recommend that clinicians refer hormone-
                                                                     hormone levels and metabolic parameters, as well as as-
        treated transgender individuals for genital sur-
                                                                     sessments of bone density and the impact upon prostate,
        gery when: (1) the individual has had a satisfactory
                                                                     gonads, and uterus. We also make recommendations for
        social role change, (2) the individual is satisfied
                                                                     transgender persons who plan genital gender-affirming
        about the hormonal effects, and (3) the individual
                                                                     surgery.
        desires definitive surgical changes. (1 ICOOO)
   5.5. We suggest that clinicians delay gender-affirming
        genital surgery involving gonadectomy and/or                 Method of Development of Evidence-Based
        hysterectomy until the patient is at least 18                Clinical Practice Guidelines
        years old or legal age of majority in his or her             The Clinical Guidelines Subcommittee (CGS) of the Endocrine
        country. (2 1@@00).                                          Society deemed the diagnosis and treatment of individuals with
   5.6. We suggest that clinicians determine the timing of           GD/gender incongruence a priority area for revision and
        breast surgery for transgender males based upon              appointed a task force to formulate evidence-based recom-
        the physical and mental health status of the in-             mendations. The task force followed the approach recom-
                                                                     mended by the Grading of Recommendations, Assessment,
        dividual. There is insufficient evidence to rec-
                                                                     Development, and Evaluation group, an international group
        ommend a specific age requirement. (2 I®OOO)                 with expertise in the development and implementation of
                                                                     evidence-based guidelines (1). A detailed description of the
                                                                     grading scheme has been published elsewhere (2). The task force
Changes Since the Previous Guideline                                 used the best available research evidence to develop the rec-
                                                                     ommendations. The task force also used consistent language
Both the current guideline and the one published in 2009             and graphical descriptions of both the strength of a recom-
contain similar sections. Listed here are the sections               mendation and the quality of evidence. In terms of the strength
contained in the current guideline and the corresponding             of the recommendation, strong recommendations use the phrase
                                                                     "we recommend" and the number 1, and weak recommenda-
number of recommendations: Introduction, Evaluation                  tions use the phrase "we suggest" and the number 2. Cross-filled
of Youth and Adults (5), Treatment of Adolescents (6),               circles indicate the quality of the evidence, such that ®OOO
Hormonal Therapy for Transgender Adults (4), Adverse                 denotes very low—quality evidence; ®®OO, low quality;
Outcomes Prevention and Long-term Care (7), and                      ®®®O, moderate quality; and ®®®®, high quality. Thetask
Surgery for Sex Reassignment and Gender Confirmation                 force has confidence that persons who receive care according to
(6). The current introduction updates the diagnostic                 the strong recommendations will derive, on average, more
                                                                     benefit than harm. Weak recommendations require more
classification of "gender dysphoria/gender incongru-                 careful consideration of the person's circumstances, values, and
ence." It also reviews the development of "gender identity"          preferences to determine the best course of action. Linked to
and summarizes its natural development. The section on               each recommendation is a description of the evidence and the


                                                                                                                              AR_293403
Case    4:24-cv-00461-O
doi: 10.1210/c.2017-01658
                                     Document 76             Filed 09/06/24        Page 239   of 290 PageID 3886
                                                                                          https://academic.oup.comfjcem 3873


values that the task force considered in making the recom-           quality of the evidence was low. The second review
mendation. In some instances, there are remarks in which the         summarized the available evidence regarding the effect of
task force offers technical suggestions for testing conditions,      sex steroids on bone health in transgender individuals
dosing, and monitoring. These technical comments reflect the
best available evidence applied to a typical person being treated.   and identified 13 studies. In transgender males, there was
Often this evidence comes from the unsystematic observations         no statistically significant difference in the lumbar spine,
of the task force and their preferences; therefore, one should       femoral neck, or total hip BMD at 12 and 24 months
consider these remarks as suggestions.                               compared with baseline values before initiating mascu-
    In this guideline, the task force made several statements to     linizing hormone therapy. In transgender females, there
emphasize the importance of shared decision-making, general
preventive care measures, and basic principles of the treatment      was a statistically significant increase in lumbar spine
of transgender persons. They labeled these "Ungraded Good            BMD at 12 months and 24 months compared with
Practice Statement." Direct evidence for these statements was        baseline values before initiation of feminizing hormone
either unavailable or not systematically appraised and consid-       therapy. There was minimal information on fracture
ered out of the scope of this guideline. The intention of these      rates. The quality of evidence was also low.
statements is to draw attention to these principles.
    The Endocrine Society maintains a rigorous conflict-of-
interest review process for developing clinical practice guide-      Introduction
lines. All task force members must declare any potential
conflicts of interest by completing a conflict-of-interest form.     Throughout recorded history (in the absence of an en-
The CGS reviews all conflicts of interest before the Society's       docrine disorder) some men and women have experi-
Council approves the members to participate on the task force        enced confusion and anguish resulting from rigid, forced
and periodically during the development of the guideline. All
others participating in the guideline's development must also        conformity to sexual dimorphism. In modern history,
disclose any conflicts of interest in the matter under study, and    there have been numerous ongoing biological, psycho-
most of these participants must be without any conflicts of          logical, cultural, political, and sociological debates over
interest. The CGS and the task force have reviewed all disclo-       various aspects of gender variance. The 20th century
sures for this guideline and resolved or managed all identified      marked the emergence of a social awakening for men and
conflicts of interest.                                               women with the belief that they are "trapped" in the
    Conflicts of interest are defined as remuneration in any
amount from commercial interests; grants; research support;          wrong body (3). Magnus Hirschfeld and Harry Benja-
consulting fees; salary; ownership interests [e.g., stocks and       min, among others, pioneered the medical responses to
stock options (excluding diversified mutual funds)]; honoraria       those who sought relief from and a resolution to their
and other payments for participation in speakers' bureaus,           profound discomfort. Although the term transsexual
advisory boards, or boards of directors; and all other financial     became widely known after Benjamin wrote "The
benefits. Completed forms are available through the Endocrine
Society office.                                                      Transsexual Phenomenon" (4), it was Hirschfeld who
    The Endocrine Society provided the funding for this              coined the term "transsexual" in 1923 to describe people
guideline; the task force received no funding or remuneration        who want to live a life that corresponds with their ex-
from commercial or other entities.                                   perienced gender vs their designated gender (5). Magnus
                                                                     Hirschfeld (6) and others (4, 7) have described other types
Commissioned Systematic Review                                       of trans phenomena besides transsexualism. These early
                                                                     researchers proposed that the gender identity of these
The task force commissioned two systematic reviews to                people was located somewhere along a unidimensional
support this guideline. The first one aimed to summarize             continuum. This continuum ranged from all male
the available evidence on the effect of sex steroid use in           through "something in between" to all female. Yet such a
transgender individuals on lipids and cardiovascular                 classification does not take into account that people may
outcomes. The review identified 29 eligible studies at               have gender identities outside this continuum. For in-
moderate risk of bias. In transgender males (female to               stance, some experience themselves as having both a male
male), sex steroid therapy was associated with a statis-             and female gender identity, whereas others completely
tically significant increase in serum triglycerides and              renounce any gender classification (8, 9). There are also
low-density lipoprotein cholesterol levels. High-density             reports of individuals experiencing a continuous and
lipoprotein cholesterol levels decreased significantly               rapid involuntary alternation between a male and female
across all follow-up time periods. In transgender females            identity (10) or men who do not experience themselves as
(male to female), serum triglycerides were significantly             men but do not want to live as women (11, 12). In some
higher without any changes in other parameters. Few                  countries, (e.g., Nepal, Bangladesh, and Australia), these
myocardial infarction, stroke, venous thromboembolism                nonmale or nonfemale genders are officially recognized
(VTE), and death events were reported. These events were             (13). Specific treatment protocols, however, have not yet
more frequent in transgender females. However, the                   been developed for these groups.



                                                                                                                        AR_293404
 CaseHembree
3874
      4:24-cv-00461-O              Document 76 Filed 09/06/24                            Page 240 of 290 PageID 3887
             et al Guidelines on Gender-DysphoriclGender-Incongruent Persons J Clin Endocrinol Metab, November 2017, 102(11):3869-3903



   Instead of the term transsexualism, the current                   studies across countries that use the same diagnostic and
classification system of the American Psychiatric As-                inclusion criteria, medications, assay methods, and re-
sociation uses the term gender dysphoria in its di-                  sponse assessment tools        the European Network for




                                                                                                   (e.g.,
agnosis of persons who are not satisfied with their                  the Investigation of Gender Incongruence) (17, 18).
designated gender (14). The current version of the                      Terminology and its use vary and continue to evolve.
World Health Organization's ICD-10 still uses the term               Table 1 contains the definitions of terms as they are used
transsexualism when diagnosing adolescents and                       throughout this guideline.
adults. However, for the ICD-11, the World Health
Organization has proposed using the term "gender in-                 Biological Determinants of Gender
congruence" (15).                                                    Identity Development
   Treating persons with GD/gender incongruence (15)
was previously limited to relatively ineffective elixirs or          One's self-awareness as male or female changes
creams. However, more effective endocrinology-based                  gradually during infant life and childhood. This pro-
treatments became possible with the availability of                  cess of cognitive and affective learning evolves with
testosterone in 1935 and diethylstilbestrol in 1938.                 interactions with parents, peers, and environment. A
Reports of individuals with GD/gender incongruence                   fairly accurate timetable exists outlining the steps in
who were treated with hormones and gender-affirming                  this process (19). Normative psychological literature,
surgery appeared in the press during the second half of              however, does not address if and when gender identity
the 20th century. The Harry Benjamin International                   becomes crystallized and what factors contribute to
Gender Dysphoria Association was founded in Sep-                     the development of a gender identity that is not con-
tember 1979 and is now called the World Professional                 gruent with the gender of rearing. Results of studies
Association for Transgender Health (WPATH). WPATH                    from a variety of biomedical disciplines—genetic,
published its first Standards of Care in 1979. These                 endocrine, and neuroanatomic—support the concept
standards have since been regularly updated, providing               that gender identity and/or gender expression (20)
guidance for treating persons with GD/gender in-                     likely reflect a complex interplay of biological, envi-
congruence (16).                                                     ronmental, and cultural factors (21, 22).
   Prior to 1975, few peer-reviewed articles were pub-                  With respect to endocrine considerations, studies
lished concerning endocrine treatment of transgender                 have failed to find differences in circulating levels of sex
persons. Since then, more than two thousand articles                 steroids between transgender and nontransgender in-
about various aspects of transgender care have appeared.             dividuals (23). However, studies in individuals with a
   It is the purpose of this guideline to make detailed              disorder/difference of sex development (DSD) have in-
recommendations and suggestions, based on existing                   formed our understanding of the role that hormones
medical literature and clinical experience, that will enable         may play in gender identity outcome, even though most
treating physicians to maximize benefit and minimize risk            persons with GD/gender incongruence do not have
when caring for individuals diagnosed with GD/gender                 a DSD. For example, although most 46,XX adult in-
incongruence.                                                        dividuals with virilizing congenital adrenal hyperplasia
   In the future, we need more rigorous evaluations of the           caused by mutations in CYP21A2 reported a female
effectiveness and safety of endocrine and surgical pro-              gender identity, the prevalence of GD/gender in-
tocols. Specifically, endocrine treatment protocols for              congruence was much greater in this group than in the
GD/gender incongruence should include the careful as-                general population without a DSD. This supports the
sessment of the following: (1) the effects of prolonged              concept that there is a role for prenatal/postnatal an-
delay of puberty in adolescents on bone health, gonadal              drogens in gender development (24-26), although some
function, and the brain (including effects on cognitive,             studies indicate that prenatal androgens are more likely
emotional, social, and sexual development); (2) the ef-              to affect gender behavior and sexual orientation rather
fects of treatment in adults on sex hormone levels; (3)              than gender identity           (27, 28).
                                                                                             per
                                                                                                            se
the requirement for and the effects of progestins and                   Researchers have made similar observations regarding
other agents used to suppress endogenous sex ste-                    the potential role of androgens in the development of gender
roids during treatment; and (4) the risks and benefits               identity in other individuals with DSD. For example, a
of gender-affirming hormone treatment in older trans-                review of two groups of 46,XY persons, each with an-
gender people.                                                       drogen synthesis deficiencies and female raised, reported
   To successfully establish and enact these protocols,              transgender male (female-to-male) gender role changes in
a commitment of mental health and endocrine investi-                 56% to 63% and 39% to 64% of patients, respectively
gators is required to collaborate in long-term, large-scale          (29). Also, in 46,XY female-raised individuals with cloacal


                                                                                                                              AR293405
Case    4:24-cv-00461-O
doi: 10.1210/jc.2017-01658
                                      Document 76               Filed 09/06/24             Page 241   of 290 PageID 3888
                                                                                                  https://academic.oup.com/jcem 3875



Table 1. Definitions of Terms Used in This Guideline
Biological sex, biological male or female: These terms refer to physical aspects of maleness and femaleness. As these may not be in line
  with each other (e.g., a person with XY chromosomes may have female-appearing genitalia), the terms biological sex and biological
  male or female are imprecise and should be avoided.
Cisgender: This means not transgender. An alternative way to describe individuals who are not transgender is "non-transgender
  people."
Gender-affirming (hormone) treatment: See "gender reassignment"
Gender dysphoria: This is the distress and unease experienced if gender identity and designated gender are not completely congruent                0
  (see Table 2). In 2013, the American Psychiatric Association released the fifth edition of the DSM-5, which replaced "gender identity
  disorder" with "gender dysphoria" and changed the criteria for diagnosis.                                                                        0
Gender expression: This refers to external manifestations of gender, expressed through one's name, pronouns, clothing, haircut,                    r0.
                                                                                                                                                    0

  behavior, voice, or body characteristics. Typically, transgender people seek to make their gender expression align with their gender              cx.
  identity, rather than their designated gender.
Gender identity/experienced gender: This refers to one's internal, deeply held sense of gender. For transgender people, their gender
  identity does not match their sex designated at birth. Most people have a gender identity of man or woman (or boy or girl). For some
  people, their gender identity does not fit neatly into one of those two choices. Unlike gender expression (see below), gender identity is
  not visible to others.
Gender identity disorder: This is the term used for GD/gender incongruence in previous versions of DSM (see "gender dysphoria"). The
  ICD-10 still uses the term for diagnosing child diagnoses, but the upcoming ICD-11 has proposed using "gender incongruence of
  childhood."
Gender incongruence: This is an umbrella term used when the gender identity and/or gender expression differs from what is typically
  associated with the designated gender. Gender incongruence is also the proposed name of the gender identity—related diagnoses in
  ICD-11. Not all individuals with gender incongruence have gender dysphoria or seek treatment.
Gender variance: See "gender incongruence"
Gender reassignment: This refers to the treatment procedure for those who want to adapt their bodies to the experienced gender by
  means of hormones and/or surgery. This is also called gender-confirming or gender-affirming treatment.
Gender-reassignment surgery (gender-confirming/gender-affirming surgery): These terms refer only to the surgical part of gender-
  confirming/gender-affirming treatment.
Gender role: This refers to behaviors, attitudes, and personality traits that a society (in a given culture and historical period) designates as
  masculine or feminine and/or that society associates with or considers typical of the social role of men or women.
Sex designated at birth: This refers to sex assigned at birth, usually based on genital anatomy.
Sex: This refers to attributes that characterize biological maleness or femaleness. The best known attributes include the sex-determining
  genes, the sex chromosomes, the H-Y antigen, the gonads, sex hormones, internal and external genitalia, and secondary sex
  characteristics.
Sexual orientation: This term describes an individual's enduring physical and emotional attraction to another person. Gender identity and
  sexual orientation are not the same. Irrespective of their gender identity, transgender people may be attracted to women (gynephilic),
  attracted to men (androphilic), bisexual, asexua''i, or queer.
Transgender: This is an umbrella term for people whose gender identity and/or gender expression differs from what is typically associated
  with their sex designated at birth. Not all transgender individuals seek treatment.
Transgender male (also: trans man, female-to-male, transgender male): This refers to individuals assigned female at birth but who
  identify and live as men.
Transgender woman (also: trans woman, male-to female, transgender female): This refers to individuals assigned male at birth but who
  identify and live as women.
Transition: This refers to the process during which transgender persons change their physical, social, and/or legal characteristics
  consistent with the affirmed gender identity. Prepubertal children may choose to transition socially.
Transsexual: This is an older term that originated in the medical and psychological communities to refer to individuals who have
  permanently transitioned through medical interventions or desired to do so.


exstrophy and penile agenesis, the occurrence of trans-                    specific genes associated with GD/gender incongruence,
gender male changes was significantly more prevalent                       such studies have been inconsistent and without strong
than in the general population (30, 31). However, the fact                 statistical significance (34-38).
that a high percentage of individuals with the same                           Studies focusing on brain structure suggest that the
conditions did not change gender suggests that cultural                    brain phenotypes of people with GD/gender incongru-
factors may play a role as well.                                           ence differ in various ways from control males and fe-
   With respect to genetics and gender identity, several                   males, but that there is not a complete sex reversal in
studies have suggested heritability of GD/gender in-                       brain structures (39).
congruence (32, 33). In particular, a study by Heylens                        In summary, although there is much that is still
et al. (33) demonstrated a 39.1% concordance rate for                      unknown with respect to gender identity and its ex-
gender identity disorder (based on the DSM-IV criteria) in                 pression, compelling studies support the concept that
23 monozygotic twin pairs but no concordance in 21                         biologic factors, in addition to environmental fac-
same-sex dizygotic or seven opposite-sex twin pairs.                       tors, contribute to this fundamental aspect of human
Although numerous investigators have sought to identify                    development.



                                                                                                                                     AR_293406
 CaseHembree
3876
      4:24-cv-00461-O              Document 76 FiledPersons
             et al Guidelines on Gender-DysphoriclGender-Incongruent 09/06/24        Page
                                                                         J Clin Endocrinol    242
                                                                                           Metab,   of 290
                                                                                                  November       PageID 3889
                                                                                                           2017, 102(11):3869-3903



Natural History of Children With                                        this improves their quality of life. Although the focus of
GD/Gender Incongruence                                                  this guideline is gender-affirming hormone therapy, col-
                                                                        laboration with appropriate professionals responsible for
With current knowledge, we cannot predict the psy-                      each aspect of treatment maximizes a successful outcome.
chosexual outcome for any specific child. Prospective
follow-up studies show that childhood GD/gender in-                     Diagnostic assessment and mental health care
congruence does not invariably persist into adolescence                    GD/gender incongruence may be accompanied with
and adulthood (so-called "desisters"). Combining all                    psychological or psychiatric problems (43-51). It is
outcome studies to date, the GD/gender incongruence                     therefore necessary that clinicians who prescribe hor-
of a minority of prepubertal children appears to persist                mones and are involved in diagnosis and psychosocial
in adolescence (20, 40). In adolescence, a significant                  assessment meet the following criteria: (1) are competent
number of these desisters identify as homosexual or                     in using the DSM and/or the ICD for diagnostic pur-
bisexual. It may be that children who only showed some                  poses, (2) are able to diagnose GD/gender incongruence
gender nonconforming characteristics have been in-                      and make a distinction between GD/gender incongru-
cluded in the follow-up studies, because the DSM-IV                     ence and conditions that have similar features (e.g., body
text revision criteria for a diagnosis were rather broad.               dysmorphic disorder), (3) are trained in diagnosing
However, the persistence of GD/gender incongruence                      psychiatric conditions, (4) undertake or refer for ap-
into adolescence is more likely if it had been extreme in               propriate treatment, (5) are able to do a psychosocial
childhood (41, 42). With the newer, stricter criteria of                assessment of the patient's understanding, mental
the DSM-5 (Table 2), persistence rates may well be                      health, and social conditions that can impact gender-
different in future studies.                                            affirming hormone therapy, and (6) regularly attend
                                                                        relevant professional meetings.
1.0 Evaluation of Youth and Adults                                         Because of the psychological vulnerability of many
                                                                        individuals with GD/gender incongruence, it is important
Gender-affirming treatment is a multidisciplinary effort.               that mental health care is available before, during, and
After evaluation, education, and diagnosis, treatment may               sometimes also after transitioning. For children and
include mental health care, hormone therapy, and/or                     adolescents, an MHP who has training/experience in
surgical therapy. Together with an MHP, hormone-                        child and adolescent gender development (as well as child
prescribing clinicians should examine the psychosocial                  and adolescent psychopathology) should make the di-
impact of the potential changes on people's lives, including            agnosis, because assessing GD/gender incongruence in
mental health, friends, family, jobs, and their role in so-             children and adolescents is often extremely complex.
ciety. Transgender individuals should be encouraged to                     During assessment, the clinician obtains information from
experience living in the new gender role and assess whether             the individual seeking gender-affirming treatment. In the case

Table 2.      DSM-5 Criteria for Gender Dysphoria in Adolescents and Adults
A. A marked incongruence between one's experienced/expressed gender and natal gender of at least 6 mo in duration, as manifested by
   at least two of the following:
  1. A marked incongruence between one's experienced/expressed gender and primary and/or secondary sex characteristics (or in
      young adolescents, the anticipated secondary sex characteristics)
  2. A strong desire to be rid of one's primary and/or secondary sex characteristics because of a marked incongruence with one's
      experienced/expressed gender (or in young adolescents, a desire to prevent the development of the anticipated secondary sex
      characteristics)
  3. A strong desire for the primary and/or secondary sex characteristics of the other gender
  4. A strong desire to be of the other gender (or some alternative gender different from one's designated gender)
  5. A strong desire to be treated as the other gender (or some alternative gender different from one's designated gender)
  6. A strong conviction that one has the typical feelings and reactions of the other gender (or some alternative gender different from
     one's designated gender)
B. The condition is associated with clinically significant distress or impairment in social, occupational, or other important areas of
   functioning.
Specify if:
  1. The condition exists with a disorder of sex development.
   2. The condition is posttransitional, in that the individual has transitioned to full-time living in the desired gender (with or without
      legalization of gender change) and has undergone (or is preparing to have) at least one sex-related medical procedure or treatment
      regimen—namely, regular sex hormone treatment or gender reassignment surgery confirming the desired gender (e.g.,
      penectomy, vaginoplasty in natal males; mastectomy or phalloplasty in natal females).
Reference: American Psychiatric Association (14).


                                                                                                                                   AR293407
Case    4:24-cv-00461-O
doi: 10.1210/c.2017-01658
                                  Document 76            Filed 09/06/24           Page 243   of 290 PageID 3890
                                                                                         https://academic.oup.comrcem 3877


of adolescents, the clinician also obtains informa-                start gender-affirming hormone treatment to make social
tion from the parents or guardians regarding various               transitioning easier, but individuals increasingly start
aspects of the child's general and psychosexual devel-             social transitioning long before they receive medically
opment and current functioning. On the basis of this               supervised, gender-affirming hormone treatment.
information, the clinician:
                                                                   Criteria
   • decides whether the individual fulfills criteria for             Adolescents and adults seeking gender-affirming
     treatment (see Tables 2 and 3) for GD/gender in-              hormone treatment and surgery should satisfy certain
     congruence (DSM-5) or transsexualism (DSM-5                   criteria before proceeding (16). Criteria for gender-
     and/or ICD-10);                                               affirming hormone therapy for adults are in Table 4,
   • informs the individual about the possibilities and            and criteria for gender-affirming hormone therapy for
     limitations of various kinds of treatment (hormonal/          adolescents are in Table 5. Follow-up studies in adults
     surgical and nonhormonal), and if medical treat-              meeting these criteria indicate a high satisfaction rate
     ment is desired, provides correct information to              with treatment (59). However, the quality of evidence is
     prevent unrealistically high expectations;                    usually low. A few follow-up studies on adolescents who
   • assesses whether medical interventions may result in          fulfilled these criteria also indicated good treatment
     unfavorable psychological and social outcomes.                results (60-63).
    In cases in which severe psychopathology, circumstances,
or both seriously interfere with the diagnostic work or make       Recommendations for Those Involved
satisfactory treatment unlikely, clinicians should assist the      in the Gender-Affirming Hormone
adolescent in managing these other issues. Literature on           Treatment of Individuals With
postoperative regret suggests that besides poor quality of         GD/Gender Incongruence
surgery, severe psychiatric comorbidity and lack of support
may interfere with positive outcomes (52-56).                         1.1. We advise that only trained MHPs who meet the
    For adolescents, the diagnostic procedure usually                      following criteria should diagnose GD/gender
includes a complete psychodiagnostic assessment (57)                       incongruence in adults: (1) competence in using
and an assessment of the decision-making capability of                     the DSM and/or the ICD for diagnostic purposes,
the youth. An evaluation to assess the family's ability to                 (2) the ability to diagnose GD/gender incongru-
endure stress, give support, and deal with the complex-                    ence and make a distinction between GD/gender
ities of the adolescent's situation should be part of the                  incongruence and conditions that have similar
diagnostic phase (58).                                                     features (e.g., body dysmorphic disorder), (3)
                                                                           training in diagnosing psychiatric conditions, (4)
Social transitioning                                                       the ability to undertake or refer for appropriate
   A change in gender expression and role (which may                       treatment, (5) the ability to psychosocially assess
involve living part time or full time in another gender role               the person's understanding, mental health, and
that is consistent with one's gender identity) may test the                social conditions that can impact gender-affirming
person's resolve, the capacity to function in the affirmed                 hormone therapy, and (6) a practice of regularly
gender, and the adequacy of social, economic, and psy-                     attending relevant professional meetings. (Un-
chological supports. It assists both the individual and the                graded Good Practice Statement)
clinician in their judgments about how to proceed (16).               1.2. We advise that only MHPs who meet the fol-
During social transitioning, the person's feelings about                   lowing criteria should diagnose GD/gender in-
the social transformation (including coping with the re-                   congruence in children and adolescents: (1)
sponses of others) is a major focus of the counseling.                     training in child and adolescent developmental
The optimal timing for social transitioning may differ                     psychology and psychopathology, (2) compe-
between individuals. Sometimes people wait until they                      tence in using the DSM and/or ICD for diagnostic


Table 3.    ICD-10 Criteria for Transsexualism

Transsexualism (F64.0) has three criteria:
1. The desire to live and be accepted as a member of the opposite sex, usually accompanied by the wish to make his or her body as
   congruent as possible with the preferred sex through surgery and hormone treatments.
2. The transsexual identity has been present persistently for at least 2 y.
3. The disorder is not a symptom of another mental disorder or a genetic, DSD, or chromosomal abnormality.



                                                                                                                       AR293408
 CaseHembree
3878
      4:24-cv-00461-O              Document 76 Filed 09/06/24                            Page 244 of 290 PageID 3891
             et al Guidelines on Gender-Dysphoric/Gender-Incongruent Persons J Clin Endocrinol Metab, November 2017, 102(11):3869-3903



Table 4. Criteria for Gender-Affirming Hormone Therapy for Adults
1. Persistent, well-documented gender dysphoria/gender incongruence
2. The capacity to make a fully informed decision and to consent for treatment
3. The age of majority in a given country (if younger, follow the criteria for adolescents)
4. Mental health concerns, if present, must be reasonably well controlled
Reproduced from World Professional Association for Transgender Health (16).

         purposes, (3) the ability to make a distinction                   Evidence
         between GD/gender incongruence and conditions                        Individuals with gender identity issues may have
         that have similar features (e.g., body dysmorphic                 psychological or psychiatric problems (43-48, 50, 51, 64,               0,
         disorder), (4) training in diagnosing psychiatric                 65). It is therefore necessary that clinicians making the
         conditions, (5) the ability to undertake or refer for             diagnosis are able to make a distinction between GD/
         appropriate treatment, (6) the ability to psycho-                 gender incongruence and conditions that have similar                    Y

         socially assess the person's understanding and                    features. Examples of conditions with similar features are                  ,
         social conditions that can impact gender-affirming                body dysmorphic disorder, body identity integrity dis-
         hormone therapy, (7) a practice of regularly at-                  order (a condition in which individuals have a sense that




                                                                                                                                                   o
         tending relevant professional meetings, and (8)                   their anatomical configuration as an able-bodied person                 Y'

         knowledge of the criteria for puberty blocking
         and gender-affirming hormone treatment in ad-
                                                                           is somehow wrong or inappropriate) (66), or certain
                                                                           forms of eunuchism (in which a person is preoccupied
                                                                                                                                                   0
         olescents. (Ungraded Good Practice Statement)                     with or engages in castration and/or penectomy for

Table 5.     Criteria for Gender-Affirming Hormone Therapy for Adolescents
Adolescents are eligible for GnRH agonist treatment if:
  1. A qualified MHP has confirmed that:
  •the adolescent has demonstrated a long-lasting and intense pattern of gender nonconformity or gender dysphoria (whether
   suppressed or expressed),
  •gender dysphoria worsened with the onset of puberty,
  •any coexisting psychological, medical, or social problems that could interfere with treatment (e.g., that may compromise treatment
   adherence) have been addressed, such that the adolescent's situation and functioning are stable enough to start treatment,
  •the adolescent has sufficient mental capacity to give informed consent to this (reversible) treatment,
  2. And the adolescent:
  •has been informed of the effects and side effects of treatment (including potential loss of fertility if the individual subsequently
   continues with sex hormone treatment) and options to preserve fertility,
  •has given informed consent and (particularly when the adolescent has not reached the age of legal medical consent, depending on
   applicable legislation) the parents or other caretakers or guardians have consented to the treatment and are involved in supporting
   the adolescent throughout the treatment process,
  3. And a pediatric endocrinologist or other clinician experienced in pubertal assessment
  •agrees with the indication for GnRH agonist treatment,
  •has confirmed that puberty has started in the adolescent (Tanner stage =G2/B2),
  •has confirmed that there are no medical contraindications to GnRH agonist treatment.

Adolescents are eligible for subsequent sex hormone treatment if:
  1. A qualified MHP has confirmed:
  •the persistence of gender dysphoria,
  •any coexisting psychological, medical, or social problems that could interfere with treatment (e.g., that may compromise treatment
    adherence) have been addressed, such that the adolescent's situation and functioning are stable enough to start sex hormone
    treatment,
  •the adolescent has sufficient mental capacity (which most adolescents have by age 16 years) to estimate the consequences of this
    (partly) irreversible treatment, weigh the benefits and risks, and give informed consent to this (partly) irreversible treatment,
  2. And the adolescent:
  • has been informed of the (irreversible) effects and side effects of treatment (including potential loss of fertility and options to preserve
    fertility),
  •has given informed consent and (particularly when the adolescent has not reached the age of legal medical consent, depending on
    applicable legislation) the parents or other caretakers or guardians have consented to the treatment and are involved in supporting
    the adolescent throughout the treatment process,
  3. And a pediatric endocrinologist or other clinician experienced in pubertal induction:
  •agrees with the indication for sex hormone treatment,
  •has confirmed that there are no medical contraindications to sex hormone treatment.
Reproduced from World Professional Association for Transgender Health (16).



                                                                                                                                        AR_293409
Case    4:24-cv-00461-O
doi: 10.1210/c.2017-01658
                                 Document 76            Filed 09/06/24       Page 245   of 290 PageID 3892
                                                                                    https://academic.oup.comfjcem 3879


reasons that are not gender identity related) (11). Clini-     GD/gender-incongruent children to whom this applies.
cians should also be able to diagnose psychiatric condi-       At the present time, clinical experience suggests that per-
tions accurately and ensure that these conditions are          sistence of GD/gender incongruence can only be reliably
treated appropriately, particularly when the conditions        assessed after the first signs of puberty.
may complicate treatment, affect the outcome of gender-
affirming treatment, or be affected by hormone use.            Values and preferences
                                                                  The task force placed a high value on avoiding harm
Values and preferences                                         with gender-affirming hormone therapy in prepubertal
   The task force placed a very high value on avoiding         children with GD/gender incongruence. This justifies
harm from hormone treatment in individuals who have            the strong recommendation in the face of low-quality
conditions other than GD/gender incongruence and who           evidence.
may not benefit from the physical changes associated
with this treatment and placed a low value on any po-            1.5. We recommend that clinicians inform and
tential benefit these persons believe they may derive from            counsel all individuals seeking gender-affirming
hormone treatment. This justifies the good practice                   medical treatment regarding options for fertility
statement.                                                            preservation prior to initiating puberty sup-
                                                                      pression in adolescents and prior to treating with
   1.3. We advise that decisions regarding the social                 hormonal therapy of the affirmed gender in both
        transition of prepubertal youths with GD/gender               adolescents and adults. (1 I®®®O)
        incongruence are made with the assistance of
        an MHP or another experienced professional.
                                                               Remarks
        (Ungraded Good Practice Statement).
                                                                   Persons considering hormone use for gender affir-
   1.4. We recommend against puberty blocking and
                                                               mation need adequate information about this treatment
        gender-affirming hormone treatment in pre-
                                                               in general and about fertility effects of hormone treatment
        pubertal children with GD/gender incongruence.
                                                               in particular to make an informed and balanced decision
        (1 l    OO)
                                                               (67, 68). Because young adolescents may not feel qual-
                                                               ified to make decisions about fertility and may not fully
                                                               understand the potential effects of hormonal interven-
Evidence                                                       tions, consent and protocol education should include
   In most children diagnosed with GD/gender in-               parents, the referring MHP(s), and other members of the
congruence, it did not persist into adolescence. The           adolescent's support group. To our knowledge, there are
percentages differed among studies, probably dependent         no formally evaluated decision aids available to assist
on which version of the DSM clinicians used, the patient's     in the discussion and decision regarding the future fertil-
age, the recruitment criteria, and perhaps cultural factors.   ity of adolescents or adults beginning gender-affirming
However, the large majority (about 85%) of prepubertal         treatment.
children with a childhood diagnosis did not remain GD/             Treating early pubertal youth with GnRH analogs will
gender incongruent in adolescence (20). If children have       temporarily impair spermatogenesis and oocyte matu-
completely socially transitioned, they may have great          ration. Given that an increasing number of transgender
difficulty in returning to the original gender role upon       youth want to preserve fertility potential, delaying or
entering puberty (40). Social transition is associated with    temporarily discontinuing GnRH analogs to promote
the persistence of GD/gender incongruence as a child           gamete maturation is an option. This option is often not
progresses into adolescence. It may be that the presence of    preferred, because mature sperm production is associated
GD/gender incongruence in prepubertal children is the          with later stages of puberty and with the significant de-
earliest sign that a child is destined to be transgender as    velopment of secondary sex characteristics.
an adolescent/adult (20). However, social transition (in           For those designated male at birth with GD/gender
addition to GD/gender incongruence) has been found to          incongruence and who are in early puberty, sperm pro-
contribute to the likelihood of persistence.                   duction and the development of the reproductive tract are
   This recommendation, however, does not imply that           insufficient for the cryopreservation of sperm. However,
children should be discouraged from showing gender-            prolonged pubertal suppression using GnRH analogs is
variant behaviors or should be punished for exhibiting         reversible and clinicians should inform these individuals
such behaviors. In individual cases, an early complete         that sperm production can be initiated following pro-
social transition may result in a more favorable out-          longed gonadotropin suppression. This can be accom-
come, but there are currently no criteria to identify the      plished by spontaneous gonadotropin recovery after


                                                                                                                 AR_293410
 CaseHembree
3880
      4:24-cv-00461-O              Document 76 Filed 09/06/24                            Page 246 of 290 PageID 3893
             et al Guidelines on Gender-DysphoriclGender-Incongruent Persons J Clin Endocrinol Metab, November 2017, 102(11):3869-3903



cessation of GnRH analogs or by gonadotropin treat-                  psychological harm, various clinics have decided to start
ment and will probably be associated with physical                   treating young adolescents with GD/gender incongruence
manifestations of testosterone production, as stated                 with puberty-suppressing medication (a GnRH analog).
above. Note that there are no data in this population                As compared with starting gender-affirming treatment
concerning the time required for sufficient spermato-                long after the first phases of puberty, a benefit of pubertal
genesis to collect enough sperm for later fertility. In males        suppression at early puberty may be a better psycho-
treated for precocious puberty, spermarche was reported              logical and physical outcome.
0.7 to 3 years after cessation of GnRH analogs (69). In                  In girls, the first physical sign of puberty is the budding
adult men with gonadotropin deficiency, sperm are noted              of the breasts followed by an increase in breast and fat
in seminal fluid by 6 to 12 months of gonadotropin                   tissue. Breast development is also associated with the
treatment. However, sperm numbers when partners of                   pubertal growth spurt, and menarche occurs —2 years
these patients conceive are far below the "normal range"             later. In boys, the first physical change is testicular
(70, 71).                                                            growth. A testicular volume >_4 mL is seen as consistent
    In girls, no studies have reported long-term, adverse            with the initiation of physical puberty. At the beginning
effects of pubertal suppression on ovarian function after            of puberty, estradiol and testosterone levels are still low
treatment cessation (72, 73). Clinicians should inform               and are best measured in the early morning with an ul-
adolescents that no data are available regarding either              trasensitive assay. From a testicular volume of 10 mL,
time to spontaneous ovulation after cessation of GnRH                daytime testosterone levels increase, leading to viriliza-
analogs or the response to ovulation induction following             tion (83). Note that pubic hair and/or axillary hair/odor
prolonged gonadotropin suppression.                                  may not reflect the onset of gonadarche; instead, it may
    In males with GD/gender incongruence, when medical               reflect adrenarche alone.
treatment is started in a later phase of puberty or in
                                                                        2.1. We suggest that adolescents who meet diagnostic
adulthood, spermatogenesis is sufficient for cryopreser-
                                                                             criteria for GD/gender incongruence, fulfill cri-
vation and storage of sperm. In vitro spermatogenesis is
                                                                             teria for treatment (Table 5), and are requesting
currently under investigation. Restoration of spermato-
                                                                             treatment should initially undergo treatment to
genesis after prolonged estrogen treatment has not
                                                                             suppress pubertal development. (2 l      OO)
been studied.
                                                                        2.2. We suggest that clinicians begin pubertal hor-
    In females with GD/gender incongruence, the effect of
                                                                             mone suppression after girls and boys first ex-
prolonged treatment with exogenous testosterone on
                                                                             hibit physical changes of puberty (Tanner stages
ovarian function is uncertain. There have been reports of
                                                                             G2/B2). (2 I®®OO)
an increased incidence of polycystic ovaries in trans-
gender males, both prior to and as a result of androgen
treatment (74-77), although these reports were not                   Evidence
confirmed by others (78). Pregnancy has been reported in                Pubertal suppression can expand the diagnostic phase
transgender males who have had prolonged androgen                    by a long period, giving the subject more time to explore
treatment and have discontinued testosterone but have                options and to live in the experienced gender before
not had genital surgery (79, 80). A reproductive endo-               making a decision to proceed with gender-affirming sex
crine gynecologist can counsel patients before gender-               hormone treatments and/or surgery, some of which is ir-
affirming hormone treatment or surgery regarding                     reversible (84, 85). Pubertal suppression is fully reversible,
potential fertility options (81). Techniques for cryo-               enabling full pubertal development in the natal gender,
preservation of oocytes, embryos, and ovarian tissue                 after cessation of treatment, if appropriate. The experience
continue to improve, and oocyte maturation of immature               of full endogenous puberty is an undesirable condition for
tissue is being studied (82).                                        the GD/gender-incongruent individual and may seri-
                                                                     ously interfere with healthy psychological functioning
2.0 Treatment of Adolescents                                         and well-being. Treating GD/gender-incongruent ad-
                                                                     olescents entering puberty with GnRH analogs has
During the past decade, clinicians have progressively                been shown to improve psychological functioning in
acknowledged the suffering of young adolescents with                 several domains (86).
GD/gender incongruence. In some forms of GD/gender                      Another reason to start blocking pubertal hormones
incongruence, psychological interventions may be useful              early in puberty is that the physical outcome is improved
and sufficient. However, for many adolescents with GD/               compared with initiating physical transition after puberty
gender incongruence, the pubertal physical changes are               has been completed (60, 62). Looking like a man or
unbearable. As early medical intervention may prevent                woman when living as the opposite sex creates difficult


                                                                                                                              AR_293411
Case    4:24-cv-00461-O
doi: 10.1210/c.2017-01658
                                   Document 76             Filed 09/06/24           Page 247   of 290 PageID 3894
                                                                                           https://academic.oup.comrcem 3881


barriers with enormous life-long disadvantages. We                   ranges for sex steroids by Tanner stage may vary
therefore advise starting suppression in early puberty to            depending on the assay used. Ultrasensitive sex steroid
prevent the irreversible development of undesirable sec-             and gonadotropin assays will help clinicians document
ondary sex characteristics. However, adolescents with                early pubertal changes.
GD/gender incongruence should experience the first                      Irreversible and, for GD/gender-incongruent adoles-
changes of their endogenous spontaneous puberty, be-                 cents, undesirable sex characteristics in female puberty
cause their emotional reaction to these first physical               are breasts, female body habitus, and, in some cases,
changes has diagnostic value in establishing the persis-             relative short stature. In male puberty, they are a
tence of GD/gender incongruence (85). Thus, Tanner                   prominent Adam's apple; low voice; male bone config-
stage 2 is the optimal time to start pubertal suppression.           uration, such as a large jaw, big feet and hands, and tall
However, pubertal suppression treatment in early pu-                 stature; and male hair pattern on the face and extremities.
berty will limit the growth of the penis and scrotum,
                                                                        2.3. We recommend that, where indicated, GnRH
which will have a potential effect on future surgical
                                                                             analogues are used to suppress pubertal hor-
treatments (87).
                                                                             mones. (1 I®®00)
   Clinicians can also use pubertal suppression in ado-
lescents in later pubertal stages to stop menses in trans-
gender males and prevent facial hair growth in
                                                                     Evidence
transgender females. However, in contrast to the effects
                                                                        Clinicians can suppress pubertal development and
in early pubertal adolescents, physical sex characteristics          gonadal function most effectively via gonadotropin
(such as more advanced breast development in trans-
                                                                     suppression using GnRH analogs. GnRH analogs are
gender boys and lowering of the voice and outgrowth of
                                                                     long-acting agonists that suppress gonadotropins by
the jaw and brow in transgender girls) are not reversible.
                                                                     GnRH receptor desensitization after an initial increase of
                                                                     gonadotropins during —10 days after the first and (to a
Values and preferences                                               lesser degree) the second injection (89). Antagonists
   These recommendations place a high value on                       immediately suppress pituitary gonadotropin secretion
avoiding an unsatisfactory physical outcome when sec-                (90, 91). Long-acting GnRH analogs are the currently
ondary sex characteristics have become manifest and                  preferred treatment option. Clinicians may consider long-
irreversible, a higher value on psychological well-being,            acting GnRH antagonists when evidence on their safety
and a lower value on avoiding potential harm from early              and efficacy in adolescents becomes available.
pubertal suppression.                                                   During GnRH analog treatment, slight development
                                                                     of secondary sex characteristics may regress, and in a
Remarks                                                              later phase of pubertal development, it will stop. In girls,
   Table 6 lists the Tanner stages of breast and male                breast tissue will become atrophic, and menses will stop.
genital development. Careful documentation of hall-                  In boys, virilization will stop, and testicular volume may
marks of pubertal development will ensure precise timing             decrease (92).
when initiating pubertal suppression once puberty has                    An advantage of using GnRH analogs is the reversibility
started. Clinicians can use pubertal LH and sex steroid              of the intervention. If, after extensive exploration of his/her
levels to confirm that puberty has progressed sufficiently           transition wish, the individual no longer desires transition,
before starting pubertal suppression (88). Reference                 they can discontinue pubertal suppression. In subjects with

Table 6.    Tanner Stages of Breast Development and Male External Genitalia

The description of Tanner stages for breast development:
  1. Prepubertal
  2. Breast and papilla elevated as small mound; areolar diameter increased
  3. Breast and areola enlarged, no contour separation
  4. Areola and papilla form secondary mound
  5. Mature; nipple projects, areola part of general breast contour
For penis and testes:
  1. Prepubertal, testicular volume <4 mL
  2. Slight enlargement of penis; enlarged scrotum, pink, texture altered, testes 4-6 mL
  3. Penis longer, testes larger (8-12 mL)
  4. Penis and glans larger, including increase in breadth; testes larger (12-15 ml), scrotum dark
  5. Penis adult size; testicular volume > 15 ml
Adapted from Lawrence (56).



                                                                                                                          AR293412
 CaseHembree
3882
      4:24-cv-00461-O              Document 76 FiledPersons
             et al Guidelines on Gender-DysphoriclGender-Incongruent 09/06/24        Page
                                                                         J Clin Endocrinol    248
                                                                                           Metab,   of 290
                                                                                                  November       PageID 3895
                                                                                                           2017, 102(11):3869-3903



precocious puberty, spontaneous pubertal development               years for a median duration of 5.8 years (3.0 to 8.0 years)
has been shown to resume after patients discontinue taking         in transgender females and from age 16.4 (±2.3) years for
GnRH analogs (93).                                                 5.4 years (2.8 to 7.8 years) in transgender males. Little is
   Recommendations 2.1 to 2.3 are supported by a                   known about more prolonged use of GnRH analogs.
prospective follow-up study from The Netherlands. This             Researchers reported normal BMD z scores at age 35
report assessed mental health outcomes in 55 transgender           years in one individual who used GnRH analogs from age
adolescents/young adults (22 transgender females and 33            13.7 years until age 18.6 years before initiating sex
transgender males) at three time points: (1) before the            hormone treatment (65).
start of GnRH agonist (average age of 14.8 years at start              Additional data are available from individuals with
of treatment), (2) at initiation of gender-affirming hor-          late puberty or GnRH analog treatment of other in-
mones (average age of 16.7 years at start of treatment),           dications. Some studies reported that men with consti-
and (3) 1 year after "gender-reassignment surgery"                 tutionally delayed puberty have decreased BMD in
(average age of 20.7 years) (63). Despite a decrease in            adulthood (95). However, other studies reported that
depression and an improvement in general mental health             these men have normal BMD (96, 97). Treating adults
functioning, GD/gender incongruence persisted through              with GnRH analogs results in a decrease of BMD (98). In
pubertal suppression, as previously reported (86). How-            children with central precocious puberty, treatment with
ever, following sex hormone treatment and gender-                  GnRH analogs has been found to result in a decrease of
reassignment surgery, GD/gender incongruence was                   BMD during treatment by some (99) but not others (100).
resolved and psychological functioning steadily improved           Studies have reported normal BMD after discontinuing
(63). Furthermore, well-being was similar to or better than        therapy (69, 72, 73, 101, 102). In adolescents treated
that reported by age-matched young adults from the                 with growth hormone who are small for gestational age
general population, and none of the study participants             and have normal pubertal timing, 2-year GnRH analog
regretted treatment. This study represents the first long-         treatments did not adversely affect BMD (103). Calcium
term follow-up of individuals managed according to                 supplementation may be beneficial in optimizing bone
currently existing clinical practice guidelines for trans-         health in GnRH analog-treated individuals (104). There
gender youth, and it underscores the benefit of the mul-           are no studies of vitamin D supplementation in this
tidisciplinary approach pioneered in The Netherlands;              context, but clinicians should offer supplements to vi-
however, further studies are needed.                               tamin D-deficient adolescents. Physical activity, espe-
                                                                   cially during growth, is important for bone mass in
Side effects                                                       healthy individuals (103) and is therefore likely to be
   The primary risks of pubertal suppression in GD/                beneficial for bone health in GnRH analog-treated
gender-incongruent adolescents may include adverse ef-             subjects.
fects on bone mineralization (which can theoretically be               GnRH analogs did not induce a change in body
reversed with sex hormone treatment), compromised                  mass index standard deviation score in GD/gender-
fertility if the person subsequently is treated with sex           incongruent adolescents (94) but caused an increase in
hormones, and unknown effects on brain development.                fat mass and decrease in lean body mass percentage (92).
Few data are available on the effect of GnRH analogs on            Studies in girls treated for precocious puberty also
BMD in adolescents with GD/gender incongruence. Ini-               reported a stable body mass index standard deviation
tial data in GD/gender-incongruent subjects demon-                 score during treatment (72) and body mass index and
strated no change of absolute areal BMD during 2 years             body composition comparable to controls after treat-
of GnRH analog therapy but a decrease in BMD z scores              ment (73).
(85). A recent study also suggested suboptimal bone                    Arterial hypertension has been reported as an adverse
mineral accrual during GnRH analog treatment. The                  effect in a few girls treated with GnRH analogs for
study reported a decrease in areal BMD z scores and of             precocious/early puberty (105, 106). Blood pressure
bone mineral apparent density z scores (which takes the            monitoring before and during treatment is recommended.
size of the bone into account) in 19 transgender males                 Individuals may also experience hot flashes, fatigue,
treated with GnRH analogs from a mean age of 15.0                  and mood alterations as a consequence of pubertal
years (standard deviation = 2.0 years) for a median du-            suppression. There is no consensus on treatment of these
ration of 1.5 years (0.3 to 5.2 years) and in 15 transgender       side effects in this context.
females treated from 14.9 (±1.9) years for 1.3 years (0.5              It is recommended that any use of pubertal blockers
to 3.8 years), although not all changes were statistically         (and subsequent use of sex hormones, as detailed below)
significant (94). There was incomplete catch-up at age 22          include a discussion about implications for fertility (see
years after sex hormone treatment from age 16.6 (±1.4)             recommendation 1.3). Transgender adolescents may


                                                                                                                          AR293413
Case    4:24-cv-00461-O
doi: 10.1210/c.2017-01658               Document 76               Filed 09/06/24              Page 249  of 290 PageID 3896
                                                                                                     https://academic.oup.comrcem 3883



want to preserve fertility, which may be otherwise                           Remarks
compromised if puberty is suppressed at an early stage                           Measurements of gonadotropin and sex steroid levels
and the individual completes phenotypic transition with                      give precise information about gonadal axis suppression,
the use of sex hormones.                                                     although there is insufficient evidence for any specific
   Limited data are available regarding the effects of                       short-term monitoring scheme in children treated with
GnRH analogs on brain development. A single cross-                           GnRH analogs (88). If the gonadal axis is not completely
sectional study demonstrated no compromise of execu-                         suppressed—as evidenced by (for example) menses, erec-
tive function (107), but animal data suggest there may be                    tions, or progressive hair growth—the interval of GnRH
an effect of GnRH analogs on cognitive function (108).                       analog treatment can be shortened or the dose increased.
                                                                             During treatment, adolescents should be monitored for
Values and preferences                                                       negative effects of delaying puberty, including a halted
    Our recommendation of GnRH analogs places a higher                       growth spurt and impaired bone mineral accretion. Table 7
value on the superior efficacy, safety, and reversibility of                 illustrates a suggested clinical protocol.
the pubertal hormone suppression achieved (as compared                           Anthropometric measurements and X-rays of the left
with the alternatives) and a relatively lower value on                       hand to monitor bone age are informative for evaluating
limiting the cost of therapy. Of the available alternatives,                 growth. To assess BMD, clinicians can perform dual-
depot and oral progestin preparations are effective. Ex-                     energy X-ray absorptiometry scans.
perience with this treatment dates back prior to the
emergence of GnRH analogs for treating precocious pu-                            2.4. In adolescents who request sex hormone treat-
berty in papers from the 1960s and early 1970s (109-112).                             ment (given this is a partly irreversible treatment),
These compounds are usually safe, but some side effects                               we recommend initiating treatment using a
have been reported (113-115). Only two recent studies                                 gradually increasing dose schedule (see Table 8)
involved transgender youth (116, 117). One of these                                   after a multidisciplinary team of medical and
studies described the use of oral lynestrenol monotherapy                             MHPs has confirmed the persistence of GD/
followed by the addition of testosterone treatment in                                 gender incongruence and sufficient mental ca-
transgender boys who were at Tanner stage B4 or further                               pacity to give informed consent, which most
at the start of treatment (117). They found lynestrenol safe,                         adolescents have by age 16 years (Table 5).
but gonadotropins were not fully suppressed. The study                                (1 I&DOO)
reported metrorrhagia in approximately half of the in-                           2.5. We recognize that there may be compelling
dividuals, mainly in the first 6 months. Acne, headache,                              reasons to initiate sex hormone treatment prior to
hot flashes, and fatigue were other frequent side effects.                            the age of 16 years in some adolescents with GD/
Another progestin that has been studied in the United                                 gender incongruence, even though there are
States is medroxyprogesterone. This agent is not as ef-                               minimal published studies of gender-affirming
fective as GnRH analogs in lowering endogenous sex                                    hormone treatments administered before age
hormones either and may be associated with other side                                 13.5 to 14 years. As with the care of adolescents
effects (116). Progestin preparations may be an acceptable                            >_16 years of age, we recommend that an expert
treatment for persons without access to GnRH analogs or                               multidisciplinary team of medical and MHPs
with a needle phobia. If GnRH analog treatment is not                                 manage this treatment. (1 I®OOO)
available (insurance denial, prohibitive cost, or other                          2.6. We suggest monitoring clinical pubertal devel-
reasons), postpubertal, transgender female adolescents                                opment every 3 to 6 months and laboratory
may be treated with an antiandrogen that directly sup-                                parameters every 6 to 12 months during sex
presses androgen synthesis or action (see adult section).                             hormone treatment (Table 9). (2 I&DOO)


Table 7. Baseline and Follow-Up Protocol During Suppression of Puberty
Every 3-6 mo
  Anthropometry: height, weight, sitting height, blood pressure, Tanner stages
Every 6-12 mo
  Laboratory: LH, FSH, E2/T, 250H vitamin D
Every 1-2 y
  Bone density using DXA
  Bone age on X-ray of the left hand (if clinically indicated)
Adapted from Hembree et aL (118).
Abbreviations: DXA, dual-energy X-ray absorptiometry; E2, estradiol; FSH, follicle stimulating hormone; LH, luteinizing hormone; T, testosterone;


                                                                                                                                          AR293414
  CaseHembree
3884
       4:24-cv-00461-O              Document 76 Filed 09/06/24                            Page 250 of 290 PageID 3897
              et al Guidelines on Gender-DysphoriclGender-Incongruent Persons J Clin Endocrinol Metab, November 2017, 102(11):3869-3903



Table 8. Protocol Induction of Puberty

Induction of female puberty with oral 17/3-estradiol, increasing the dose every 6 mo:
  5 µg/kg/d
  10 µg/kg/d
  15 µg/kg/d
  20 µg/kg/d
  Adult dose = 2-6 mg/d
  In postpubertal transgender female adolescents, the dose of 17(3-estradiol can be increased more rapidly:
     1 mg/d for 6 mo
     2 mg/d
Induction of female puberty with transdermal 17/3-estradiol, increasing the dose every 6 mo (new patch is placed every 3.5 d):
  6.25-12.5 µg/24 h (cut 25-µg patch into quarters, then halves)
  25 µg24 h
  37.5 µg24 h
  Adult dose = 50-200 µg24 h
  For alternatives once at adult dose, see Table 11.
  Adjust maintenance dose to mimic physiological estradiol levels (see Table 15).
Induction of male puberty with testosterone esters increasing the dose every 6 mo (IM or SC):
  25 mg/m22 wk (or alternatively, half this dose weekly, or double the dose every 4 wk)
  50 mg/m22 wk
  75 mg/m22 wk
  100 mg/m22 wk
  Adult dose = 100-200 mg every 2 wk
  In postpubertal transgender male adolescents the dose of testosterone esters can be increased more rapidly:
     75 mg/2 wk for 6 mo
     125 mg/2 wk
  For alternatives once at adult dose, see Table 11.
  Adjust maintenance dose to mimic physiological testosterone levels (see Table 14).
Adapted from Hembree et aL (118).
Abbreviations: IM, intramuscularly; SC, subcutaneously.


Evidence                                                              assessment) do not develop until well after 18 years (121).
   Adolescents develop competence in decision making at               They suggest that health care procedures should be di-
their own pace. Ideally, the supervising medical pro-                 vided along a matrix of relative risk, so that younger
fessionals should individually assess this competence,                adolescents can be allowed to decide about low-risk
although no objective tools to make such an assessment                procedures, such as most diagnostic tests and common
are currently available.                                              therapies, but not about high-risk procedures, such as
   Many adolescents have achieved a reasonable level of               most surgical procedures (121).
competence by age 15 to 16 years (119), and in many                      Currently available data from transgender adolescents
countries 16-year-olds are legally competent with regard              support treatment with sex hormones starting at age 16
to medical decision making (120). However, others be-                 years (63, 122). However, some patients may incur po-
lieve that although some capacities are generally achieved            tential risks by waiting until age 16 years. These include
before age 16 years, other abilities (such as good risk               the potential risk to bone health if puberty is suppressed


Table 9.     Baseline and Follow-up Protocol During Induction of Puberty

Every 3-6 mo
  •Anthropometry: height, weight, sitting height, blood pressure, Tanner stages
Every 6-12 mo
  •In transgender males: hemoglobin/hematocrit, lipids, testosterone, 250H vitamin D
  'In transgender females: prolactin, estradiol, 250H vitamin D
Every 1-2 y
  •BMD using DXA
  'Bone age on X-ray of the left hand (if clinically indicated)
BMD should be monitored into adulthood (until the age of 25-30 y or until peak bone mass has been reached).
For recommendations on monitoring once pubertal induction has been completed, see Tables 14 and 15.
Adapted from Hembree et al. (118).
Abbreviation: DXA, dual-energy X-ray absorptiometry.



                                                                                                                               AR_293415
Case    4:24-cv-00461-O
doi: 10.1210/c.2017-01658
                                   Document 76                   Filed 09/06/24       Page 251   of 290 PageID 3898
                                                                                             https://academic.oup.comrcem 3885


for 6 to 7 years before initiating sex hormones             if          adult dose of testosterone has been reached and the in-




                                                        (e.g.,
someone reached Tanner stage 2 at age 9-10 years old).                  dividual is well virilized. If uterine bleeding occurs, a
Additionally, there may be concerns about inappropriate                 progestin can be added. However, the combined use of a
height and potential harm to mental health (emotional                   GnRH analog (for ovarian suppression) and testosterone
and social isolation) if initiation of secondary sex char-              may enable phenotypic transition with a lower dose of
acteristics must wait until the person has reached 16 years             testosterone in comparison with testosterone alone. If
of age. However, only minimal data supporting earlier                   there is a wish or need to discontinue GnRH analog
use of gender-affirming hormones in transgender ado-                    treatment in transgender female adolescents, they may be
lescents currently exist (63). Clearly, long-term studies               treated with an antiandrogen that directly suppresses
are needed to determine the optimal age of sex hormone                  androgen synthesis or action (see section 3.0 "Hormonal
treatment in GD/gender-incongruent adolescents.                         Therapy for Transgender Adults").
   The MHP who has followed the adolescent during
GnRH analog treatment plays an essential role in                        Values and preferences
assessing whether the adolescent is eligible to start sex                  The recommendation to initiate pubertal induction
hormone therapy and capable of consenting to this                       only when the individual has sufficient mental capacity
treatment (Table 5). Support of the family/environment is               (roughly age 16 years) to give informed consent for this
essential. Prior to the start of sex hormones, clinicians               partly irreversible treatment places a higher value on the
should discuss the implications for fertility (see recom-               ability of the adolescent to fully understand and oversee
mendation 1.5). Throughout pubertal induction, an                       the partially irreversible consequences of sex hormone
MHP and a pediatric endocrinologist (or other clinician                 treatment and to give informed consent. It places a lower
competent in the evaluation and induction of pubertal                   value on the possible negative effects of delayed puberty.
development) should monitor the adolescent. In addition                 We may not currently have the means to weigh ade-
to monitoring therapy, it is also important to pay at-                  quately the potential benefits of waiting until around age
tention to general adolescent health issues, including                  16 years to initiate sex hormones vs the potential risks/
healthy life style choices, such as not smoking, con-                   harm to BMD and the sense of social isolation from
traception, and appropriate vaccinations             human              having the timing of puberty be so out of sync with
                                               (e.g.,
papillomavirus).                                                        peers (128).
   For the induction of puberty, clinicians can use a similar
dose scheme for hypogonadal adolescents with GD/gender                  Remarks
incongruence as they use in other individuals with                          Before starting sex hormone treatment, effects on fer-
hypogonadism, carefully monitoring for desired and un-                  tility and options for fertility preservation should be dis-
desired effects (Table 8). In transgender female adoles-                cussed. Adult height may be a concern in transgender
cents, transdermal 17j3-estradiol may be an alternative for             adolescents. In a transgender female adolescent, clinicians
oral 17/3-estradiol. It is increasingly used for pubertal               may consider higher doses of estrogen or a more rapid
induction in hypogonadal females. However, the absence                  tempo of dose escalation during pubertal induction. There
of low-dose estrogen patches may be a problem. As a                     are no established treatments yet to augment adult height
result, individuals may need to cut patches to size them-               in a transgender male adolescent with open epiphyses
selves to achieve appropriate dosing (123). In transgender              during pubertal induction. It is not uncommon for
male adolescents, clinicians can give testosterone injections           transgender adolescents to present for clinical services after
intramuscularly or subcutaneously (124, 125).                           having completed or nearly completed puberty. In such
   When puberty is initiated with a gradually increasing                cases, induction of puberty with sex hormones can be done
schedule of sex steroid doses, the initial levels will not              more rapidly (see Table 8). Additionally, an adult dose of
be high enough to suppress endogenous sex steroid se-                   testosterone in transgender male adolescents may suffice to
cretion. Gonadotropin secretion and endogenous pro-                     suppress the gonadal axis without the need to use a sep-
duction of testosterone may resume and interfere with                   arate agent. At the appropriate time, the multidisciplinary
the effectiveness of estrogen treatment, in transgender                 team should adequately prepare the adolescent for tran-
female adolescents (126, 127). Therefore, continuation of               sition to adult care.
GnRH analog treatment is advised until gonadectomy.
Given that GD/gender-incongruent adolescents may opt                    3.0 Hormonal Therapy for
not to have gonadectomy, long-term studies are necessary                Transgender Adults
to examine the potential risks of prolonged GnRH analog
treatment. Alternatively, in transgender male adolescents,              The two major goals of hormonal therapy are (1) to
GnRH analog treatment can be discontinued once an                       reduce endogenous sex hormone levels, and thus reduce


                                                                                                                            AR_293416
 CaseHembree
3886
      4:24-cv-00461-O              Document 76 Filed 09/06/24                            Page 252 of 290 PageID 3899
             et al Guidelines on Gender-DysphoriclGender-Incongruent Persons J Clin Endocrinol Metab, November 2017, 102(11):3869-3903


the secondary sex characteristics of the individual's                Evidence
designated gender, and (2) to replace endogenous sex                    It is the responsibility of the treating clinician to
hormone levels consistent with the individual's gender               confirm that the person fulfills criteria for treatment.
identity by using the principles of hormone re-                      The treating clinician should become familiar with the
placement treatment of hypogonadal patients. The                     terms and criteria presented in Tables 1-5 and take a
timing of these two goals and the age at which to begin              thorough history from the patient in collaboration with
treatment with the sex hormones of the chosen gender                 the other members of the treatment team. The treating
is codetermined in collaboration with both the person                clinician must ensure that the desire for transition is
pursuing transition and the health care providers. The               appropriate; the consequences, risks, and benefits of
treatment team should include a medical provider                     treatment are well understood; and the desire for
knowledgeable in transgender hormone therapy, an                     transition persists. They also need to discuss fertil-
MHP knowledgeable in GD/gender incongruence and                      ity preservation options (see recommendation 1.3)
the mental health concerns of transition, and a primary              (67, 68).
care provider able to provide care appropriate for
                                                                     Transgender males
transgender individuals. The physical changes in-
                                                                        Clinical studies have demonstrated the efficacy of
duced by this sex hormone transition are usually ac-
                                                                     several different androgen preparations to induce mas-
companied by an improvement in mental well-being
                                                                     culinization in transgender males (Appendix A) (113,
(129, 130).
                                                                     114, 131-134). Regimens to change secondary sex
   3.1. We recommend that clinicians confirm the di-                 characteristics follow the general principle of hormone
        agnostic criteria of GD/gender incongruence                  replacement treatment of male hypogonadism (135).
        and the criteria for the endocrine phase of                  Clinicians can use either parenteral or transdermal
        gender transition before beginning treatment.                preparations to achieve testosterone values in the normal
        (1 I®®®O)                                                    male range (this is dependent on the specific assay, but is
   3.2. We recommend that clinicians evaluate and ad-                typically 320 to 1000 ng/dL) (Table 11) (136). Sustained
        dress medical conditions that can be exacerbated             supraphysiologic levels of testosterone increase the risk
        by hormone depletion and treatment with sex                  of adverse reactions (see section 4.0 "Adverse Out-
        hormones of the affirmed gender before begin-                come Prevention and Long-Term Care") and should
        ning treatment (Table 10). (1 I®®®O)                         be avoided.
   3.3. We suggest that clinicians measure hormone                      Similar to androgen therapy in hypogonadal men,
        levels during treatment to ensure that endogenous            testosterone treatment in transgender males results in
        sex steroids are suppressed and administered sex             increased muscle mass and decreased fat mass, increased
        steroids are maintained in the normal physiologic            facial hair and acne, male pattern baldness in those ge-
        range for the affirmed gender. (2 I®®OO)                     netically predisposed, and increased sexual desire (137).


Table 10.    Medical Risks Associated With Sex Hormone Therapy

Transgender female: estrogen
  Very high risk of adverse outcomes:
    •Thromboembolic disease
  Moderate risk of adverse outcomes:
    •Macroprolactinoma
    •Breast cancer
    •Coronary artery disease
    •Cerebrovascular disease
    •Cholelithiasis
    •Hypertriglyceridemia

Transgender male: testosterone
  Very high risk of adverse outcomes:
    •Erythrocytosis (hematocrit > 50%)
  Moderate risk of adverse outcomes:
    •Severe liver dysfunction (transaminases > threefold upper limit of normal)
    •Coronary artery disease
    •Cerebrovascular disease
    •Hypertension
    •Breast or uterine cancer



                                                                                                                              AR293417
Case    4:24-cv-00461-O
doi: 10.1210/c.2017-01658
                                        Document 76               Filed 09/06/24               Page 253  of 290 PageID 3900
                                                                                                      https://academic.oup.comrcem 3887



Table 11. Hormone Regimens in Transgender Persons
Transgender females'
  Estrogen
    Oral
       Estradiol                                                                                          2.0-6.0 mg/d
    Transdermal
       Estradiol transdermal patch                                                                       0.025-0.2 mg/d
       (New patch placed every 3-5 d)
    Parenteral
       Estradiol valerate or cypionate                                                               5-30 mg IM every 2 wk
                                                                                                     2-10 mg IM every week
  Anti-androgens
    Spironolactone                                                                                       100-300 mg/d
    Cyproterone acetateb                                                                                  25-50 mg/d
  GnRH agonist                                                                                      3.75 mg SQ (SC) monthly
                                                                                                   11.25 mg SQ (SC) 3-monthly
Transgender males
  Testosterone
    Parenteral testosterone
      Testosterone enanthate or cypionate                                              100-200 mg SQ (IM) every 2 wk or SQ (SC) 50% per week
      Testosterone undecanoate`                                                                      1000 mg every 12 wk
    Transdermal testosterone
      Testosterone gel 1.6%d                                                                              50-100 mg/d
      Testosterone transdermal patch                                                                      2.5-7.5 mg/d
Abbreviations: IM, intramuscularly; SQ, sequentially; SC, subcutaneously.
'Estrogens used with or without antiandrogens or GnRH agonist.
bNot available in the United States.
`One thousand milligrams initially followed by an injection at 6 wk then at 12-wk intervals.
dAvoid cutaneous transfer to other individuals.


   In transgender males, testosterone will result in clit-                    receptor (114, 133, 142). It may also have estrogenic
oromegaly, temporary or permanent decreased fertility,                        activity (143). Cyproterone acetate, a progestational
deepening of the voice, cessation of menses (usually),                        compound with antiandrogenic properties (113, 132,
and a significant increase in body hair, particularly on the                  144), is widely used in Europe. 5a-Reductase inhibitors
face, chest, and abdomen. Cessation of menses may occur                       do not reduce testosterone levels and have adverse ef-
within a few months with testosterone treatment alone,                        fects (145).
although high doses of testosterone may be required. If                          Dittrich et al. (141) reported that monthly doses of the
uterine bleeding continues, clinicians may consider the                       GnRH agonist goserelin acetate in combination with
addition of a progestational agent or endometrial abla-                       estrogen were effective in reducing testosterone levels
tion (138). Clinicians may also administer GnRH analogs                       with a low incidence of adverse reactions in 60 trans-
or depot medroxyprogesterone to stop menses prior to                          gender females. Leuprolide and transdermal estrogen
testosterone treatment.                                                       were as effective as cyproterone and transdermal estrogen
                                                                              in a comparative retrospective study (146).
Transgender females                                                              Patients can take estrogen as oral conjugated estro-
   The hormone regimen for transgender females is more                        gens, oral 17/3-estradiol, or transdermal 17/3-estradiol.
complex than the transgender male regimen (Appendix                           Among estrogen options, the increased risk of throm-
B). Treatment with physiologic doses of estrogen alone is                     boembolic events associated with estrogens in general
insufficient to suppress testosterone levels into the normal                  seems most concerning with ethinyl estradiol specifically
range for females (139). Most published clinical studies                      (134,140,141), which is why we specifically suggest that
report the need for adjunctive therapy to achieve tes-                        it not be used in any transgender treatment plan. Data
tosterone levels in the female range (21, 113, 114,                           distinguishing among other estrogen options are less well
132-134, 139, 140).                                                           established although there is some thought that oral
   Multiple adjunctive medications are available, such as                     routes of administration are more thrombogenic due to
progestins with antiandrogen activity and GnRH ago-                           the "first pass effect" than are transdermal and paren-
nists (141). Spironolactone works by directly blocking                        teral routes, and that the risk of thromboembolic events
androgens during their interaction with the androgen                          is dose-dependent. Injectable estrogen and sublingual


                                                                                                                                  AR293418
 CaseHembree
3888
      4:24-cv-00461-O              Document 76 Filed 09/06/24                            Page 254 of 290 PageID 3901
             et al Guidelines on Gender-DysphoriclGender-Incongruent Persons J Clin Endocrinol Metab, November 2017, 102(11):3869-3903


estrogen may benefit from avoiding the first pass effect,            cessation of menses, increased sexual desire, increased
but they can result in more rapid peaks with greater                 facial and body hair, increased oiliness of skin, increased
overall periodicity and thus are more difficult to monitor           muscle, and redistribution of fat mass. Changes that
(147, 148). However, there are no data demonstrating                 occur within the first year of testosterone therapy include
that increased periodicity is harmful otherwise.                     deepening of the voice (152, 153), clitoromegaly, and
   Clinicians can use serum estradiol levels to monitor              male pattern hair loss (in some cases) (114, 144, 154,
oral, transdermal, and intramuscular estradiol. Blood                155) (Table 12).
tests cannot monitor conjugated estrogens or synthetic
estrogen use. Clinicians should measure serum estra-                 Transgender females
diol and serum testosterone and maintain them at the                     Physical changes that may occur in transgender fe-
level for premenopausal females (100 to 200 pg/mL                    males in the first 3 to 12 months of estrogen and anti-
and <50 ng/dL, respectively). The transdermal preparations           androgen therapy include decreased sexual desire,
and injectable estradiol cypionate or valerate preparations          decreased spontaneous erections, decreased facial and
may confer an advantage in older transgender females who             body hair (usually mild), decreased oiliness of skin, in-
may be at higher risk for thromboembolic disease (149).              creased breast tissue growth, and redistribution of fat
                                                                     mass (114, 139, 149, 154, 155, 161) (Table 13). Breast
Values                                                               development is generally maximal at 2 years after initi-
   Our recommendation to maintain levels of gender-                  ating hormones (114, 139, 149, 155). Over a long
affirming hormones in the normal adult range places a                period of time, the prostate gland and testicles will
high value on the avoidance of the long-term complica-               undergo atrophy.
tions of pharmacologic doses. Those patients receiving                   Although the time course of breast development in
endocrine treatment who have relative contraindications              transgender females has been studied (150), precise in-
to hormones should have an in-depth discussion with their            formation about other changes induced by sex hormones
physician to balance the risks and benefits of therapy.              is lacking (141). There is a great deal of variability among
                                                                     individuals, as evidenced during pubertal development.
Remarks                                                              We all know that a major concern for transgender fe-
   Clinicians should inform all endocrine-treated in-                males is breast development. If we work with estro-
dividuals of all risks and benefits of gender-affirming              gens, the result will be often not what the transgender
hormones prior to initiating therapy. Clinicians should              female expects.
strongly encourage tobacco use cessation in transgender                  Alternatively, there are transgender females who re-
females to avoid increased risk of VTE and cardiovas-                port an anecdotal improved breast development, mood,
cular complications. We strongly discourage the un-                  or sexual desire with the use of progestogens. However,
supervised use of hormone therapy (150).                             there have been no well-designed studies of the role of
   Not all individuals with GD/gender incongruence seek              progestogens in feminizing hormone regimens, so the
treatment as described (e.g., male-to-eunuchs and in-                question is still open.
dividuals seeking partial transition). Tailoring current                 Our knowledge concerning the natural history and
protocols to the individual may be done within the                   effects of different cross-sex hormone therapies on breast
context of accepted safety guidelines using a multidisci-
plinary approach including mental health. No evidence-
                                                                     Table 12. Masculinizing Effects in Transgender
based protocols are available for these groups (151). We
                                                                     Males
need prospective studies to better understand treatment
options for these persons.                                           Effect                                     Onset           Maximum
                                                                     Skin oilinesslacne                        1-6 mo             1-2 y
  3.4. We suggest that endocrinologists provide edu-                 Facial/body hair growth                   6-12 mo           4-5 y
       cation to transgender individuals undergoing                  Scalp hair loss                           6-12 mo               —a

       treatment about the onset and time course of                  Increased muscle mass/strength            6-12 mo             2-5 y
       physical changes induced by sex hormone                       Fat redistribution                        1-6 mo              2-5~y
                                                                     Cessation of menses                       1-6 mo               _
       treatment. (2 I®OOO)                                          Clitoral enlargement                      1-6 mo              1-2 y
                                                                     Vaginal atrophy                           1-6 mo              1-2 y
                                                                     Deepening of voice                        6-12 mo             1-2 y
Evidence
                                                                     Estimates represent clinical observations: Toorians etal. (149), Assche-
Transgender males                                                    man etal. (156), Gooren et al. (157), Wierckx et al. (158).
   Physical changes that are expected to occur during                'Prevention and treatment as recommended for biological men.
the first 1 to 6 months of testosterone therapy include              bMenorrhagia requires diagnosis and treatment by a gynecologist.



                                                                                                                                     AR_293419
Case    4:24-cv-00461-O
doi: 10.12101c.2017-C1 658
                                        Document 76                Filed 09/06/24       Page 255  of 290 PageID 3902
                                                                                               https://academic.oup.comrcem 3889



Table 13.       Feminizing Effects in Transgender                                 3 months during the first year of hormone
Females                                                                           therapy for transgender males and females and
                                                                                  then once or twice yearly. (2 I®®OO)
Effect                                Onset Maximum
Redistribution of body fat           3-6 mo    2-3 y
Decrease in muscle mass and strength 3-6 mo    1-2 y                      Evidence
Softening of skin/decreased oiliness 3-6 mo Unknown                          Pretreatment screening and appropriate regular
Decreased sexual desire              1-3 mo   3-6 mo                      medical monitoring are recommended for both trans-
Decreased spontaneous erections      1-3 mo   3-6 mo
Male sexual dysfunction              Variable Variable                    gender males and females during the endocrine transition
Breast growth                        3-6 mo    2-3 y                      and periodically thereafter (26, 155). Clinicians should
Decreased testicular volume          3-6 mo    2-3 y                      monitor weight and blood pressure, conduct physical
Decreased sperm production           Unknown   >3 y
                                                                          exams, and assess routine health questions, such as to-
Decreased terminal hair growth       6-12 mo   >3(
Scalp hair                           Variable   —                         bacco use, symptoms of depression, and risk of adverse
Voice changes                          None     —`                        events such as deep vein thrombosis/pulmonary embo-
 Estimates represent clinical observations: Toorians etal. (149),         lism and other adverse effects of sex steroids.
Asscheman etal. (156), Gooren etal. (157).
'Complete removal of male sexual hair requires electrolysis or laser      Transgender males
treatment or both.                                                           Table 14 contains a standard monitoring plan for
bFamilial scalp hair loss may occur if estrogens are stopped.             transgender males on testosterone therapy (154, 159).
`Treatment by speech pathologists for voice training is most effective.   Key issues include maintaining testosterone levels in the
                                                                          physiologic normal male range and avoiding adverse
development in transgender females is extremely sparse                    events resulting from excess testosterone therapy, par-
and based on the low quality of evidence. Current evi-                    ticularly erythrocytosis, sleep apnea, hypertension, ex-
dence does not indicate that progestogens enhance breast                  cessive weight gain, salt retention, lipid changes, and
development in transgender females, nor does evidence                     excessive or cystic acne (135).
prove the absence of such an effect. This prevents us from                   Because oral 17-alkylated testosterone is not recom-
drawing any firm conclusion at this moment and dem-                       mended, serious hepatic toxicity is not anticipated with
onstrates the need for further research to clarify these                  parenteral or transdermal testosterone use (163, 164).
important clinical questions (162).                                       Past concerns regarding liver toxicity with testosterone
                                                                          have been alleviated with subsequent reports that indicate
Values and preferences                                                    the risk of serious liver disease is minimal (144, 165, 166).
   Transgender persons have very high expectations re-
                                                                          Transgender females
garding the physical changes of hormone treatment and
                                                                             Table 15 contains a standard monitoring plan for
are aware that body changes can be enhanced by sur-
                                                                          transgender females on estrogens, gonadotropin suppres-
gical procedures (e.g., breast, face, and body habitus).
                                                                          sion, or antiandrogens (160). Key issues include avoiding
Clear expectations for the extent and timing of sex
                                                                          supraphysiologic doses or blood levels of estrogen that may
hormone-induced changes may prevent the potential
harm and expense of unnecessary procedures.                               lead to increased risk for thromboembolic disease, liver
                                                                          dysfunction, and hypertension. Clinicians should monitor
                                                                          serum estradiol levels using laboratories participating in
4.0 Adverse Outcome Prevention and                                        external quality control, as measurements of estradiol in
Long-Term Care                                                            blood can be very challenging (167).
                                                                             VTE may be a serious complication. A study re-
Hormone therapy for transgender males and females
                                                                          ported a 20-fold increase in venous thromboembolic
confers many of the same risks associated with sex
                                                                          disease in a large cohort of Dutch transgender subjects
hormone replacement therapy in nontransgender per-
                                                                          (161). This increase may have been associated with the use
sons. The risks arise from and are worsened by in-
                                                                          of the synthetic estrogen, ethinyl estradiol (149). The in-
advertent or intentional use of supraphysiologic doses of
                                                                          cidence decreased when clinicians stopped administering
sex hormones, as well as use of inadequate doses of sex
                                                                          ethinyl estradiol (161). Thus, the use of synthetic estrogens
hormones to maintain normal physiology (131, 139).
                                                                          and conjugated estrogens is undesirable because of the
   4.1. We suggest regular clinical evaluation for phys-                  inability to regulate doses by measuring serum levels and
        ical changes and potential adverse changes in                     the risk of thromboembolic disease. In a German gender
        response to sex steroid hormones and laboratory                   clinic, deep vein thrombosis occurred in 1 of 60 of
        monitoring of sex steroid hormone levels every                    transgender females treated with a GnRH analog and oral


                                                                                                                             AR293420
  CaseHembree
3890
       4:24-cv-00461-O              Document 76 Filed 09/06/24                            Page 256 of 290 PageID 3903
              et al Guidelines on Gender-DysphoriclGender-Incongruent Persons J Clin Endocrinol Metab, November 2017, 102(11):3869-3903


Table 14.      Monitoring of Transgender Persons on Gender-Affirming Hormone Therapy: Transgender Male

1. Evaluate patient every 3 mo in the first year and then one to two times per year to monitor for appropriate signs of virilization and for
   development of adverse reactions.
2. Measure serum testosterone every 3 mo until levels are in the normal physiologic male range:'
   a. Fortestosterone enanthate/cypionate injections, the testosterone level should be measured midway between injections. The target
      level is 400-700 ng/dL to 400 ng/dL. Alternatively, measure peak and trough levels to ensure levels remain in the normal male range.
   b. For parenteral testosterone undecanoate, testosterone should be measured just before the following injection. If the level is
      <400 ng/dL, adjust dosing interval.
   c. Fortransdermal testosterone, the testosterone level can be measured no soonerthan after 1 wk of daily application (at least 2 h after
      application).
3. Measure hematocrit or hemoglobin at baseline and every 3 mo for the first year and then one to two times a year. Monitor weight,
   blood pressure, and lipids at regular intervals.
4. Screening for osteoporosis should be conducted in those who stop testosterone treatment, are not compliant with hormone therapy,
   or who develop risks for bone loss.
5. If cervical tissue is present, monitoring as recommended by the American College of Obstetricians and Gynecologists.
6. Ovariectomy can be considered after completion of hormone transition.
7. Conduct sub- and periareolar annual breast examinations if mastectomy performed. If mastectomy is not performed, then consider
   mammograms as recommended by the American Cancer Society.
'Adapted from Lapauw et al. (154) and Ott et al. (159).

estradiol (141). The patient who developed a deep vein                   estrogen therapy (170-173). Up to 20% of transgender
thrombosis was found to have a homozygous C677 T                         females treated with estrogens may have elevations in
mutation in the methylenetetrahydrofolate reductase                      prolactin levels associated with enlargement of the pi-
gene. In an Austrian gender clinic, administering gender-                tuitary gland (156). In most cases, the serum prolactin
affirming hormones to 162 transgender females and 89                     levels will return to the normal range with a reduction or
transgender males was not associated with VTE, despite                   discontinuation of the estrogen therapy or discontinua-
an 8.0% and 5.6% incidence of thrombophilia (159). A                     tion of cyproterone acetate (157, 174, 175).
more recent multinational study reported only 10 cases                      The onset and time course of hyperprolactinemia
of VTE from a cohort of 1073 subjects (168). Throm-                      during estrogen treatment are not known. Clinicians
bophilia screening of transgender persons initiating                     should measure prolactin levels at baseline and then at
hormone treatment should be restricted to those with                     least annually during the transition period and every 2
a personal or family history of VTE (159). Monitor-                      years thereafter. Given that only a few case studies
ing D-dimer levels during treatment is not recom-                        reported prolactinomas, and prolactinomas were not
mended (169).                                                            reported in large cohorts of estrogen-treated persons,
                                                                         the risk is likely to be very low. Because the major
   4.2. We suggest periodically monitoring prolactin
                                                                         presenting findings of microprolactinomas (hypo-
        levels in transgender females treated with estro-
                                                                         gonadism and sometimes gynecomastia) are not ap-
        gens. (2 I®®OO)
                                                                         parent in transgender females, clinicians may perform
                                                                         radiologic examinations of the pituitary in those pa-
Evidence                                                                 tients whose prolactin levels persistently increase
   Estrogen therapy can increase the growth of pituitary                 despite stable or reduced estrogen levels. Some trans-
lactrotroph cells. There have been several reports of                    gender individuals receive psychotropic medications that
prolactinomas occurring after long-term, high-dose                       can increase prolactin levels (174).


Table 15.      Monitoring of Transgender Persons on Gender-Affirming Hormone Therapy: Transgender Female

1. Evaluate patient every 3 mo in the first year and then one to two times per year to monitor for appropriate signs of feminization and for
   development of adverse reactions.
2. Measure serum testosterone and estradiol every 3 mo.
   a. Serum testosterone levels should be <50 ng/dL.
   b. Serum estradiol should not exceed the peak physiologic range: 100-200 pg/mL.
3. For individuals on spironolactone, serum electrolytes, particularly potassium, should be monitored every 3 mo in the first year and
   annually thereafter.
4. Routine cancer screening is recommended, as in nontransgender individuals (all tissues present).
5. Consider BMD testing at baseline (160). In individuals at low risk, screening for osteoporosis should be conducted at age 60 years or in
   those who are not compliant with hormone therapy.
This table presents strong recommendations and does not include lower level recommendations.



                                                                                                                                    AR293421
Case    4:24-cv-00461-O
doi: 10.1210/c.2017-01658        Document 76            Filed 09/06/24       Page 257  of 290 PageID 3904
                                                                                    https://academic.oup.comfjcem 3891



   4.3. We suggest that clinicians evaluate transgender        monitor and manage glucose and lipid metabolism
        persons treated with hormones for cardiovas-           and blood pressure regularly according to established
        cular risk factors using fasting lipid profiles, di-   guidelines (186).
        abetes screening, and/or other diagnostic tools.
                                                                  4.4. We recommend that clinicians obtain BMD
        (2 I®®OO)
                                                                       measurements when risk factors for osteoporosis
                                                                       exist, specifically in those who stop sex hormone
Evidence                                                               therapy after gonadectomy. (1 I®®OO)
Transgender males
   Administering testosterone to transgender males re-
                                                               Evidence
sults in a more atherogenic lipid profile with lowered
high-density lipoprotein cholesterol and higher tri-           Transgender males
glyceride and low-density lipoprotein cholesterol values          Baseline bone mineral measurements in transgender
(176-179). Studies of the effect of testosterone on insulin    males are generally in the expected range for their pre-
sensitivity have mixed results (178, 180). A randomized,       treatment gender (188). However, adequate dosing of
open-label uncontrolled safety study of transgender            testosterone is important to maintain bone mass in
males treated with testosterone undecanoate demon-             transgender males (189, 190). In one study (190), serum
strated no insulin resistance after 1 year (181, 182).         LH levels were inversely related to BMD, suggesting that
Numerous studies have demonstrated the effects of sex          low levels of sex hormones were associated with bone
hormone treatment on the cardiovascular system (160,           loss. Thus, LH levels in the normal range may serve as an
179, 183, 184). Long-term studies from The Netherlands         indicator of the adequacy of sex steroid administration to
found no increased risk for cardiovascular mortality           preserve bone mass. The protective effect of testosterone
(161). Likewise, a meta-analysis of 19 randomized trials       may be mediated by peripheral conversion to estradiol,
in nontransgender males on testosterone replacement            both systemically and locally in the bone.
showed no increased incidence of cardiovascular events
(185). A systematic review of the literature found that        Transgender females
data were insufficient (due to very low—quality evidence)         A baseline study of BMD reported T scores less
to allow a meaningful assessment of patient-important          than —2.5 in 16% of transgender females (191). In aging
outcomes, such as death, stroke, myocardial infarction,        males, studies suggest that serum estradiol more posi-
or VTE in transgender males (176). Future research is          tively correlates with BMD than does testosterone (192,
needed to ascertain the potential harm of hormonal             193) and is more important for peak bone mass (194).
therapies (176). Clinicians should manage cardiovascular       Estrogen preserves BMD in transgender females who
risk factors as they emerge according to established           continue on estrogen and antiandrogen therapies (188,
guidelines (186).                                              190, 191, 195, 196).
                                                                  Fracture data in transgender males and females are
Transgender females                                            not available. Transgender persons who have undergone
   A prospective study of transgender females found            gonadectomy may choose not to continue consistent sex
favorable changes in lipid parameters with increased           steroid treatment after hormonal and surgical sex reas-
high-density lipoprotein and decreased low-density li-         signment, thereby becoming at risk for bone loss. There
poprotein concentrations (178). However, increased             have been no studies to determine whether clinicians
weight, blood pressure, and markers of insulin resis-          should use the sex assigned at birth or affirmed gender for
tance attenuated these favorable lipid changes. In a           assessing osteoporosis (e.g., when using the FRAX tool).
meta-analysis, only serum triglycerides were higher            Although some researchers use the sex assigned at birth
at >-24 months without changes in other parameters             (with the assumption that bone mass has usually peaked
(187). The largest cohort of transgender females (mean         for transgender people who initiate hormones in early
age 41 years, followed for a mean of 10 years) showed no       adulthood), this should be assessed on a case-by-case
increase in cardiovascular mortality despite a 32% rate of     basis until there are more data available. This assumption
tobacco use (161).                                             will be further complicated by the increasing prevalence
   Thus, there is limited evidence to determine whether        of transgender people who undergo hormonal transition
estrogen is protective or detrimental on lipid and glucose     at a pubertal age or soon after puberty. Sex for com-
metabolism in transgender females (176). With aging,           parison within risk assessment tools may be based on the
there is usually an increase of body weight. Therefore,        age at which hormones were initiated and the length
as with nontransgender individuals, clinicians should          of exposure to hormones. In some cases, it may be


                                                                                                                 AR293422
 CaseHembree
3892
      4:24-cv-00461-O              Document 76 Filed 09/06/24                            Page 258 of 290 PageID 3905
             et al Guidelines on Gender-DysphoriclGender-Incongruent Persons J Clin Endocrinol Metab, November 2017, 102(11):3869-3903



reasonable to assess risk using both the male and female             transgender females, studies have reported cases of be-
calculators and using an intermediate value. Because all             nign prostatic hyperplasia in transgender females treated
subjects underwent normal pubertal development, with                 with estrogens for 20 to 25 years (208, 209). Studies have
known effects on bone size, reference values for birth sex           also reported a few cases of prostate carcinoma in
were used for all participants (154).                                transgender females (210-214).
                                                                        Transgender females may feel uncomfortable sched-
   4.5. We suggest that transgender females with no
                                                                     uling regular prostate examinations. Gynecologists are
        known increased risk of breast cancer follow
                                                                     not trained to screen for prostate cancer or to monitor
        breast-screening guidelines recommended for
                                                                     prostate growth. Thus, it may be reasonable for trans-
        those designated female at birth. (2 I®eOO)
                                                                     gender females who transitioned after age 20 years to have
   4.6. We suggest that transgender females treated
                                                                     annual screening digital rectal examinations after age
        with estrogens follow individualized screening
                                                                     50 years and prostate-specific antigen tests consistent
        according to personal risk for prostatic disease
                                                                     with U.S. Preventive Services Task Force Guidelines
        and prostate cancer. (2 I®OOO)
                                                                     (215).
                                                                        4.7. We advise that clinicians determine the medical
Evidence
                                                                             necessity of including a total hysterectomy and
   Studies have reported a few cases of breast cancer in
                                                                             oophorectomy as part of gender-affirming sur-
transgender females (197-200). A Dutch study of 1800
                                                                             gery. (Ungraded Good Practice Statement)
transgender females followed for a mean of 15 years
(range of 130 years) found one case of breast cancer. The
Women's Health Initiative study reported that females                Evidence
taking conjugated equine estrogen without progesterone                  Although aromatization of testosterone to estradiol in
for 7 years did not have an increased risk of breast cancer          transgender males has been suggested as a risk factor for
as compared with females taking placebo (137).                       endometrial cancer (216), no cases have been reported.
   In transgender males, a large retrospective study                 When transgender males undergo hysterectomy, the
conducted at the U.S. Veterans Affairs medical health                uterus is small and there is endometrial atrophy (217,
system identified seven breast cancers (194). The authors            218). Studies have reported cases of ovarian cancer (219,
reported that this was not above the expected rate of                220). Although there is limited evidence for increased risk
breast cancers in cisgender females in this cohort. Fur-             of reproductive tract cancers in transgender males, health
thermore, they did report one breast cancer that de-                 care providers should determine the medical necessity of
veloped in a transgender male patient after mastectomy,              a laparoscopic total hysterectomy as part of a gender-
supporting the fact that breast cancer can occur even                affirming surgery to prevent reproductive tract can-
after mastectomy. Indeed, there have been case reports               cer (221).
of breast cancer developing in subareolar tissue in
transgender males, which occurred after mastectomy                   Values
(201, 202).                                                             Given the discomfort that transgender males experi-
   Women with primary hypogonadism (Turner syn-                      ence accessing gynecologic care, our recommendation for
drome) treated with estrogen replacement exhibited a                 the medical necessity of total hysterectomy and oopho-
significantly decreased incidence of breast cancer as                rectomy places a high value on eliminating the risks of
compared with national standardized incidence ratios                 female reproductive tract disease and cancer and a lower
(203, 204). These studies suggest that estrogen therapy              value on avoiding the risks of these surgical procedures
does not increase the risk of breast cancer in the short             (related to the surgery and to the potential undesir-
term (<20 to 30 years). We need long-term studies to                 able health consequences of oophorectomy) and their
determine the actual risk, as well as the role of screening          associated costs.
mammograms. Regular examinations and gynecologic
advice should determine monitoring for breast cancer.                Remarks
   Prostate cancer is very rare before the age of 40,                    The sexual orientation and type of sexual practices will
especially with androgen deprivation therapy (205).                  determine the need and types of gynecologic care required
Childhood or pubertal castration results in regression of            following transition. Additionally, in certain countries,
the prostate and adult castration reverses benign prostate           the approval required to change the sex in a birth cer-
hypertrophy (206). Although van Kesteren et al. (207)                tificate for transgender males may be dependent on
reported that estrogen therapy does not induce hyper-                having a complete hysterectomy. Clinicians should help
trophy or premalignant changes in the prostates of                   patients research nonmedical administrative criteria and


                                                                                                                              AR293423
Case    4:24-cv-00461-O
doi: 10.1210/c.2017-01658           Document 76            Filed 09/06/24            Page 259   of 290 PageID 3906
                                                                                            https://academic.oup.comrcem 3893


provide counseling. If individuals decide not to undergo              reported on outcomes (227). Sometimes there is in-
hysterectomy, screening for cervical cancer is the same as            adequate tissue to form a full neovagina, so clinicians
all other females.                                                    have revisited using intestine and found it to be successful
                                                                      (87,228, 229). Some newer vaginoplasty techniques may
5.0 Surgery for Sex Reassignment and                                  involve autologuous oral epithelial cells (230, 231).
Gender Confirmation                                                      The scrotum becomes the labia majora. Surgeons
                                                                      use reconstructive surgery to fashion the clitoris and
For many transgender adults, genital gender-affirming                 its hood, preserving the neurovascular bundle at the
surgery may be the necessary step toward achieving their              tip of the penis as the neurosensory supply to the
ultimate goal of living successfully in their desired gender          clitoris. Some surgeons are also creating a sensate
role. The type of surgery falls into two main categories:             pedicled-spot adding a G spot to the neovagina to
(1) those that directly affect fertility and (2) those that do        increase sensation (232). Most recently, plastic sur-
not. Those that change fertility (previously called sex               geons have developed techniques to fashion labia
reassignment surgery) include genital surgery to remove               minora. To further complete the feminization, uterine
the penis and gonads in the male and removal of the                   transplants have been proposed and even attempted
uterus and gonads in the female. The surgeries that effect            (233).
fertility are often governed by the legal system of the state            Neovaginal prolapse, rectovaginal fistula, delayed
or country in which they are performed. Other gender-                 healing, vaginal stenosis, and other complications do
conforming surgeries that do not directly affect fertility            sometimes occur (234, 235). Clinicians should strongly
are not so tightly governed.                                          remind the transgender person to use their dilators to
   Gender-affirming surgical techniques have improved                 maintain the depth and width of the vagina throughout
markedly during the past 10 years. Reconstructive genital             the postoperative period. Genital sexual responsivity and
surgery that preserves neurologic sensation is now the                other aspects of sexual function are usually preserved
standard. The satisfaction rate with surgical reassignment            following genital gender-affirming surgery (236, 237).
of sex is now very high (187). Additionally, the mental                  Ancillary surgeries for more feminine or masculine
health of the individual seems to be improved by par-                 appearance are not within the scope of this guideline.
ticipating in a treatment program that defines a pathway              Voice therapy by a speech language pathologist is
of gender-affirming treatment that includes hormones                  available to transform speech patterns to the affirmed
and surgery (130, 144) (Table 16).                                    gender (148). Spontaneous voice deepening occurs dur-
   Surgery that affects fertility is irreversible. The World          ing testosterone treatment of transgender males (152,
Professional Association for Transgender Health Stan-                 238). No studies have compared the effectiveness
dards of Care (222) emphasizes that the "threshold of 18              of speech therapy, laryngeal surgery, or combined
should not be seen as an indication in itself for active              treatment.
intervention." If the social transition has not been sat-                Breast surgery is a good example of gender-confirming
isfactory, if the person is not satisfied with or is ambiv-           surgery that does not affect fertility. In all females, breast
alent about the effects of sex hormone treatment, or if the           size exhibits a very broad spectrum. For transgender
person is ambivalent about surgery then the individual                females to make the best informed decision, clinicians
should not be referred for surgery (223, 224).                        should delay breast augmentation surgery until the pa-
   Gender-affirming genital surgeries for transgender                 tient has completed at least 2 years of estrogen therapy,
females that affect fertility include gonadectomy,                    because the breasts continue to grow during that time
penectomy, and creation of a neovagina (225, 226).                    (141, 155).
Surgeons often invert the skin of the penis to form the                  Another major procedure is the removal of facial and
wall of the vagina, and several literatures reviews have              masculine-appearing body hair using either electrolysis or


Table 16. Criteria for Gender-Affirming Surgery, Which Affects Fertility
1. Persistent, well-documented gender dysphoria
2. Legal age of majority in the given country
3. Having continuously and responsibly used gender-affirming hormones for 12 mo (if there is no medical contraindication to receiving
   such therapy)
4. Successful continuous full-time living in the new gender role for 12 mo
5. If significant medical or mental health concerns are present, they must be well controlled
6. Demonstrable knowledge of all practical aspects of surgery (e.g., cost, required lengths of hospitalizations, likely complications,
   postsurgical rehabilitation)



                                                                                                                            AR_293424
 CaseHembree
3894
      4:24-cv-00461-O              Document 76 FiledPersons
             et al Guidelines on Gender-DysphoriclGender-Incongruent 09/06/24        Page
                                                                         J Clin Endocrinol    260
                                                                                           Metab,   of 290
                                                                                                  November       PageID 3907
                                                                                                           2017, 102(11):3869-3903



laser treatments. Other feminizing surgeries, such as that                 necessary and would benefit the patient's overall
to feminize the face, are now becoming more popular                        health and/or well-being. (1 I®®OO)
(239-241).                                                            5.2. We advise that clinicians approve genital gender-
    In transgender males, clinicians usually delay                         affirming surgery only after completion of at least
gender-affirming genital surgeries until after a few                       1 year of consistent and compliant hormone
years of androgen therapy. Those surgeries that affect                     treatment, unless hormone therapy is not desired
fertility in this group include oophorectomy, vagi-                        or medically contraindicated. (Ungraded Good
nectomy, and complete hysterectomy. Surgeons can                           Practice Statement)
safely perform them vaginally with laparoscopy. These                 5.3. We advise that the clinician responsible for en-
are sometimes done in conjunction with the creation                        docrine treatment and the primary care provider
of a neopenis. The cosmetic appearance of a neopenis is                    ensure appropriate medical clearance of trans-
now very good, but the surgery is multistage and very                      gender individuals for genital gender-affirming
expensive (242, 243). Radial forearm flap seems to be                      surgery and collaborate with the surgeon re-
the most satisfactory procedure (228, 244). Other flaps                    garding hormone use during and after surgery.
also exist (245). Surgeons can make neopenile erections                    (Ungraded Good Practice Statement)
possible by reinervation of the flap and subsequent                   5.4. We recommend that clinicians refer hormone-
contraction of the muscle, leading to stiffening of the                    treated transgender individuals for genital
neopenis (246, 247), but results are inconsistent (248).                   surgery when: (1) the individual has had a sat-
Surgeons can also stiffen the penis by imbedding some                      isfactory social role change, (2) the individual is
mechanical device (e.g., a rod or some inflatable ap-                      satisfied about the hormonal effects, and (3) the
paratus) (249, 250). Because of these limitations, the                     individual desires definitive surgical changes.
creation of a neopenis has often been less than satis-                     (1 I®000)
factory. Recently, penis transplants are being pro-                   5.5. We suggest that clinicians delay gender-affirming
posed (233).                                                               genital surgery involving gonadectomy and/or
    In fact, most transgender males do not have any                        hysterectomy until the patient is at least 18
external genital surgery because of the lack of access,                    years old or legal age of majority in his or her
high cost, and significant potential complications. Some                   country. (2 I®®OO).
choose a metaoidioplasty that brings forward the cli-                 5.6. We suggest that clinicians determine the timing of
toris, thereby allowing them to void in a standing po-                     breast surgery for transgender males based upon
sition without wetting themselves (251, 252). Surgeons                     the physical and mental health status of the in-
can create the scrotum from the labia majora with good                     dividual. There is insufficient evidence to rec-
cosmetic effect and can implant testicular prosthe-                        ommend a specific age requirement. (2 I®000)
ses (253).
    The most important masculinizing surgery for the
transgender male is mastectomy, and it does not affect             Evidence
fertility. Breast size only partially regresses with androgen         Owing to the lack of controlled studies, incomplete
therapy (155). In adults, discussions about mastectomy             follow-up, and lack of valid assessment measures,
usually take place after androgen therapy has started.             evaluating various surgical approaches and techniques
Because some transgender male adolescents present after            is difficult. However, one systematic review including a
significant breast development has occurred, they may              large numbers of studies reported satisfactory cosmetic
also consider mastectomy 2 years after they begin an-              and functional results for vaginoplasty/neovagina con-
                                                                   struction (257). For transgender males, the outcomes are
drogen therapy and before age 18 years. Clinicians
                                                                   less certain. However, the problems are now better
should individualize treatment based on the physical and
                                                                   understood (258). Several postoperative studies report
mental health status of the individual. There are now
                                                                   significant long-term psychological and psychiatric
newer approaches to mastectomy with better outcomes
                                                                   pathology (259-261). One study showed satisfaction
(254, 255). These often involve chest contouring (256).
                                                                   with breasts, genitals, and femininity increased signifi-
Mastectomy is often necessary for living comfortably in
                                                                   cantly and showed the importance of surgical treatment
the new gender (256).
                                                                   as a key therapeutic option for transgender females
   5.1. We recommend that a patient pursue genital                 (262). Another analysis demonstrated that, despite the
        gender-affirming surgery only after the MHP and            young average age at death following surgery and the
        the clinician responsible for endocrine transition         relatively larger number of individuals with somatic
        therapy both agree that surgery is medically               morbidity, the study does not allow for determination of


                                                                                                                          AR293425
Case    4:24-cv-00461-O
doi: 10.1210/c.2017-01658
                                   Document 76            Filed 09/06/24        Page 261   of 290 PageID 3908
                                                                                       https://academic.oup.comrcem 3895


causal relationships between, for example, specific types        interest or leadership position: none declared. Sabine E.
of hormonal or surgical treatment received and somatic           Hannema—financial or business/organizational in-
morbidity and mortality (263). Reversal surgery in               terests: none declared, significant financial interest
regretful male-to-female transsexuals after sexual               or leadership position: Ferring Pharmaceuticals
reassignment surgery represents a complex, multistage            Inc. (lecture/conference), Pfizer (lecture). Walter
procedure with satisfactory outcomes. Further insight            J. Meyer—financial or business/organizational in-
into the characteristics of persons who regret their de-         terests: none declared, significant financial interest
cision postoperatively would facilitate better future se-        or leadership position: none declared. M. Hassan
lection of applicants eligible for sexual reassignment           Murad**—financial or business/organizational inter-
surgery. We need more studies with appropriate controls          ests: Mayo Clinic, Evidence-based Practice Center, sig-
that examine long-term quality of life, psychosocial             nificant financial interest or leadership position:
outcomes, and psychiatric outcomes to determine the              none declared. Stephen M. Rosenthal—financial or
long-term benefits of surgical treatment.                        business/organizational interests: AbbVie (consul-
   When a transgender individual decides to have gender-         tant), National Institutes of Health (grantee), signifi-
affirming surgery, both the hormone prescribing clinician        cant financial interest or leadership position: Pediatric
and the MHP must certify that the patient satisfies criteria     Endocrine Society (immediate past president). Joshua
for gender-affirming surgery (Table 16).                         D. Safer, FACP—financial or business/organizational
   There is some concern that estrogen therapy may               interests: none declared, significant financial inter-
cause an increased risk for venous thrombosis during or          est or leadership position: none declared. Vin
following surgery (176). For this reason, the surgeon            Tangpricha—financial or business/organizational inter-
and the hormone-prescribing clinician should collabo-            ests: Cystic Fibrosis Foundation (grantee), National In-
rate in making a decision about the use of hormones              stitutes of Health (grantee), significant financial interest
before and following surgery. One study suggests that            or leadership position, Elsevier Journal of Clinical
preoperative factors (such as compliance) are less im-           and Translational Endocrinology (editor). Guy G.
portant for patient satisfaction than are the physical           T'Sjoen—financial or business/organizational inter-
postoperative results (56). However, other studies and           ests: none declared, significant financial interest or lead-
clinical experience dictate that individuals who do not          ership position: none declared.* Financial, business, and
follow medical instructions and do not work with their           organizational disclosures of the task force cover the
physicians toward a common goal do not achieve                   year prior to publication. Disclosures prior to this time
treatment goals (264) and experience higher rates of             period are archived.**Evidence-based reviews for this
postoperative infections and other complications (265,           guideline were prepared under contract with the
266). It is also important that the person requesting            Endocrine Society.
surgery feels comfortable with the anatomical changes
that have occurred during hormone therapy. Dissatis-
faction with social and physical outcomes during the             Acknowledgments
hormone transition may be a contraindication to sur-             Correspondence and Reprint Requests: The Endocrine So-
gery (223).                                                      ciety, 2055 L Street NW, Suite 600, Washington, DC 20036.
   An endocrinologist or experienced medical provider            E-mail: publications@endocrine.org; Phone: 202971-3636.
should monitor transgender individuals after surgery.               Disclosure Summary: See Financial Disclosures.
Those who undergo gonadectomy will require hormone                   Disclaimer: The Endocrine Society's clinical practice
replacement therapy, surveillance, or both to prevent            guidelines are developed to be of assistance to endocrinologists
adverse effects of chronic hormone deficiency.                   by providing guidance and recommendations for particular
                                                                 areas of practice. The guidelines should not be considered in-
                                                                 clusive of all proper approaches or methods, or exclusive of
Financial Disclosures of the Task Force*                         others. The guidelines cannot guarantee any specific outcome,
Wylie C. Hembree (chair)—financial or business/                  nor do they establish a standard of care. The guidelines are
                                                                 not intended to dictate the treatment of a particular patient.
organizational interests: none declared, significant
                                                                 Treatment decisions must be made based on the independent
financial interest or leadership position: none de-              judgement of healthcare providers and each patient's indivi-
clared. Peggy T. Cohen-Kettenis—financial or                     dual circumstances.
business/organizational interests: none declared, sig-              The Endocrine Society makes no warranty, express or im-
nificant financial interest or leadership position: none         plied, regarding the guidelines and specifically excludes any
declared. Louis Gooren—financial or business/                    warranties of merchantability and fitness for a particular use or
organizational interests: none declared, significant financial   purpose. The Society shall not be liable for direct, indirect,


                                                                                                                        AR_293426
  CaseHembree
3896
       4:24-cv-00461-O              Document 76 Filed 09/06/24                           Page 262 of 290 PageID 3909
              et al Guidelines on Gender-Dysphodc/Gender-Incongruent Persons J Clin Endocrinol Metab, November 2017, 102(11):3869-3903



special, incidental, or consequential damages related to the use                 18. Dekker MJ, Wierckx K, Van Caenegem E, Klaver M, Kreukels BP,
of the information contained herein.                                                 Elaut E, Fisher AD, van Trotsenburg MA, Schreiner T, den Heijer
                                                                                     M, T'Sjoen G. A European network for the investigation of gender
                                                                                     incongruence: endocrine part. J Sex Med. 2016;13(6):994-999.
                                                                                 19. Ruble DN, Martin CL, Berenbaum SA. Gender development. In:
References                                                                           Damon WL, Lerner RM, Eisenberg N, eds. Handbook of Child
                                                                                     Psychology: Social, Emotional, and Personality Development.
  1. Atkins D, Best D, Briss PA, Eccles M, Falck-Ytter Y, Flottorp S,                Vol. 3. 6th ed. New York, NY: Wiley; 2006;858-931.
     Guyatt GH, Harbour RT, Haugh MC, Henry D, Hill S, Jaeschke                  20. Steensma TD, Kreukels BP, de Vries AL, Cohen-Kettenis PT.
     R, Leng G, Liberati A, Magrini N, Mason J, Middleton P,                         Gender identity development in adolescence. Horm Behay. 2013;
     Mrukowicz J, O'Connell D, Oxman AD, Phillips B, Schiinemann                     64(2):288-297.
     HJ, Edejer T, Varonen H, Vist GE, Williams JW, Jr, Zaza S;                  21. Rosenthal SM. Approach to the patient: transgender youth: en-
     GRADE Working Group. Grading quality of evidence and                            docrine considerations. J Clin Endocrinol Metab. 2014;99(12):
     strength of recommendations. BMJ. 2004;328(7454):1490.                          4379-4389.
  2. Swiglo BA, Murad MH, Schdnemann HJ, Kunz R, Vigersky RA,                    22. Saraswat A, Weinand JD, Safer JD. Evidence supporting the bi-
     Guyatt GH, Montori VM. A case for clarity, consistency, and                     ologic nature of gender identity. Endocr Pract. 2015;21(2):
     helpfulness: state-of-the-art clinical practice guidelines in endo-             199-204.
     crinology using the grading of recommendations, assessment,                 23. Gooren L. The biology of human psychosexual differentiation.
     development, and evaluation system. J Clin Endocrinol Metab.                    Horm Behay. 2006;50(4):589-601.
     2008;93(3):666-673.                                                         24. Berenbaum SA, Meyer-Bahlburg HF. Gender development and
  3. Bullough VL. Transsexualism in history. Arch Sex Behay. 1975;                   sexuality in disorders of sex development. Horm Metab Res. 2015;
     4(5):561-571.                                                                   47(5):361-366.
  4. Benjamin H. The transsexual phenomenon. Trans N Y Acad Sci.                 25. Dessens AB, Slijper FME, Drop SLS. Gender dysphoria and gender
     1967;29(4):428-430.                                                             change in chromosomal females with congenital adrenal hyper-
  5. Meyerowirz J. How Sex Changed: A History Transsexuality in                      plasia. Arch Sex Behay. 2005;34(4):389-397.
                                                         of
     the United States. Cambridge, MA: Harvard University Press;                 26. Meyer-Bahlburg HFL, Dolezal C, Baker SW, Ehrhardt AA, New
     2002.                                                                           MI. Gender development in women with congenital adrenal hy-
  6. Hirschfeld M. Was muss das Volk vom Dritten Geschlecht wissen.                  perplasia as a function of disorder severity. Arch Sex Behay. 2006;
     Verlag Max Spohr, Leipzig; 1901.                                                35(6):667-684.
  7. Fisk NM. Editorial: Gender dysphoria syndrome-the concep-                   27. Frisen L, Nordenstrom A, Falhammar H, Filipsson H, Holmdahl
     tualization that liberalizes indications for total gender re-                   G, Janson PO, Thoren M, Hagenfeldt K, Muller A, Nordenskjiild
     orientation and implies a broadly based multi-dimensional                       A. Gender role behavior, sexuality, and psychosocial adaptation in
     rehabilitative regimen. West J Med. 1974;120(5):386-391.                        women with congenital adrenal hyperplasia due to CYP21A2
  8. Diamond L. Transgender experience and identity. In: Schwartz SJ,                deficiency. J Clin Endocrinol Metab. 2009;94(9):3432-3439.
     Luyckx K, Vignoles VL, eds. Handbook               Identity Theory and      28. Meyer-Bahlburg HFL, Dolezal C, Baker SW, Carlson AD, Obeid
                                                    of
     Research. New York, NY: Springer; 2011:629-647.                                 JS, New MI. Prenatal androgenization affects gender-related be-
  9. Queen C, Schimel L, eds. PoMoSexuals: Challenging Assumptions                   havior but not gender identity in 5-12-year-old girls with con-
     About Gender and Sexuality. San Francisco, CA: Cleis Press;                     genital adrenal hyperplasia. Arch Sex Behay. 2004;33(2):97-104.
     1997.                                                                       29. Cohen-Kettenis PT. Gender change in 46,XY persons with 5a-
 10. Case LK, Ramachandran VS. Alternating gender incongruity:                       reductase-2 deficiency and 17(3-hydroxysteroid dehydrogenase-3
     a new neuropsychiatric syndrome providing insight into the dy-                  deficiency. Arch Sex Behay. 2005;34(4):399-410.
     namic plasticity of brain-sex. Med Hypotheses. 2012;78(5):                  30. Reiner WG, Gearhart JP. Discordant sexual identity in some
     626-631.                                                                        genetic males with cloacal exstrophy assigned to female sex at
 11. Johnson TW, Wassersug RJ. Gender identity disorder outside the                  birth. N Engl J Med. 2004;350(4):333-341.
     binary: when gender identity disorder-not otherwise specified is            31. Meyer-Bahlburg HFL. Gender identity outcome in female-raised
     not good enough. Arch Sex Behay. 2010;39(3):597-598.                            46,XY persons with penile agenesis, cloacal exstrophy of the
 12. Wibowo E, Wassersug R, Warkentin K, Walker L, Robinson J,                       bladder, or penile ablation. Arch Sex Behay. 2005;34(4):423-438.
     Brotto L, Johnson T. Impact of androgen deprivation therapy on              32. Coolidge FL, Thede LL, Young SE. The heritability of gender
     sexual function: a response. Asian J Androl. 2012;14(S):793-794.                identity disorder in a child and adolescent twin sample. Behav
 13. Pasquesoone V. 7 countries giving transgender people fundamental                Genet. 2002;32(4):251-257.
     rights the U.S. still won't. 2014. Available at: httpsJ/mic.com/articlest   33. Heylens G, De Cuypere G, Zucker KJ, Schelfaut C, Elaut E,
     87149/7-countries-giving-transgender-people-fundamental-rights-the-             Vanden Bossche H, De Baere E, T'Sjoen G. Gender identity dis-
     u-sstill-won-t. Accessed 26 August 2016.                                        order in twins: a review of the case report literature. J Sex Med.
 14. American Psychiatric Association. Diagnostic and Statistical                    2012;9(31:751-757.
     Manual       Mental Disorders. 5th ed. Arlington, VA: American              34. Fernandez R, Esteva I, Gomez-Gil E, Rumbo T, Almaraz MC,
               of
     Psychiatric Association Publishing.                                             Rode E, Haro-Mora J-J, Guillambn A, Pasaro E. Association
 15. Drescher J, Cohen-Kettenis P, Winter S. Minding the body: sit-                  study of ER(3, AR, and CYP19A1 genes and MtF transsexualism.
     uating gender identity diagnoses in the ICD-11. Int Rev Psychi-                 J Sex Med. 2014;11(12):2986-2994.
     atry. 2012;24(6):568-577.                                                   35. Henningsson S, Westberg L, Nilsson S, Lundstrom B, Ekselius L,
 16. World Professional Association for Transgender Health. Stan-                    Bodlund 0, Lindstrom E, Hellstrand M, Rosmond R, Eriksson E,
     dards of care for the health of transsexual, transgender, and                   Landen M. Sex steroid-related genes and male-to-female trans-
     gender nonconforming people. Available at: httpJ/www.wpath.                     sexualism. Psychoneuroendocrinology. 2005;30(7):657-664.
     org/site_page.cfm?pk-association_webpage_menu=1351&pk_                      36. Hare L, Bernard P, Sanchez FJ, Baird PN, Vilain E, Kennedy T,
     association_webpage-3926. Accessed 1 September 2017.                            Harley VR. Androgen receptor repeat length polymorphism as-
 17. Kreukels BP, Haraldsen IR, De Cuypere G, Richter-Appelt H, Gijs                 sociated with male-to-female transsexualism. Biol Psychiatry.
     L, Cohen-Kettenis PT. A European network for the investigation                  2009;65(1):93-96.
     of gender incongruence: the ENIGI initiative. Eur Psychiatry.               37. Lombardo F, Toselli L, Grassetti D, Paoli D, Masciandaro P,
     2012;27(6):445-450.                                                             Valentini F, Lenzi A, Gandini L. Hormone and genetic study in




                                                                                                                                                AR_293427
Case     4:24-cv-00461-O
doi: 10.12101jc.2017-01658
                                         Document 76                 Filed 09/06/24         Page 263  of 290 PageID 3910
                                                                                                   https://academic.oup.comfjcem 3897


     male to female transsexual patients. J Endocrinol Invest. 2013;         57. Cohen-Kettenis PT, Pfafflin F. Transgenderism and Intersexuality
     36(8):550-557.                                                              in Childhood and Adolescence: Making Choices. Thousand Oaks,
 38. Ujike H, Otani K, Nakatsuka M, Ishii K, Sasaki A, Oishi T, Sato T,          CA: SAGE Publications; 2003.
     Okahisa Y, Matsumoto Y, Namba Y, Kimata Y, Kuroda S. As-                58. Di Ceglie D, Freedman D, McPherson S, Richardson P. Children
     sociation study of gender identity disorder and sex hormone-                and adolescents referred to a specialist gender identity devel-
     related genes. Prog Neuropsychopharmacol Biol Psychiatry.                   opment service: clinical features and demographic character-
     2009;33(7):1241-1244.                                                       istics. Available at: htrps://www.researchgate.net/publication/
 39. Kreukels BP, Guillamon A. Neuroimaging studies in people                    276061306_Children_and_Adolescents_Referred_to_a_Specialist_
     with gender incongruence. Int Rev Psychiatry. 2016;28(1):                   Gender_Identity_Development_Service_Clinical_Features_and_
     120-128.                                                                    Demographic_Characteristics. Accessed 20 July 2017.
 40. Steensma TD, Biemond R, de Boer F, Cohen-Kettenis PT.                   59. Gijs L, Brewaeys A. Surgical treatment of gender dysphoria in
     Desisting and persisting gender dysphoria after childhood:                  adults and adolescents: recent developments, effectiveness, and
     a qualitative follow-up study. Clin Child Psychol Psychiatry.               challenges. Annu Rev Sex Res. 2007;18:178-224.
     2011;16(4):499-516.                                                     60. Cohen-Kettenis PT, van Goozen SHM. Sex reassignment of ad-
 41. Wallien MSC, Cohen-Kettenis PT. Psychosexual outcome of                     olescent transsexuals: a follow-up study. J Am Acad Child Adolesc
     gender-dysphoric children. J Am Acad Child Adolesc Psychiatry.              Psychiatry. 1997;36(2):263-271.
     2008;47(12):1413-1423.                                                  61. Smith YLS, van Goozen SHM, Cohen-Kettenis PT. Adolescents
 42. Steensma TD, McGuire JK, Kreukels BPC, Beekman AJ, Cohen-                   with gender identity disorder who were accepted or rejected for
     Kettenis PT. Factors associated with desistence and persistence of          sex reassignment surgery: a prospective follow-up study. J Am
     childhood gender dysphoria: a quantitative follow-up study. J Am            Acad Child Adolesc Psychiatry. 2001;40(4):472-481.
     Acad Child Adolesc Psychiatry. 2013;52(6):582-590.                      62. Smith YLS, Van Goozen SHM, Kuiper AJ, Cohen-Kettenis PT. Sex
 43. Cohen-Kettenis PT, Owen A, Kaijser VG, Bradley SJ, Zucker KJ.               reassignment: outcomes and predictors of treatment for adolescent
     Demographic characteristics, social competence, and behavior                and adult transsexuals. Psychol Med. 2005;35(1):89-99.
     problems in children with gender identity disorder: a cross-            63. de Vries ALC, McGuire JK, Steensma TD, Wagenaar ECF,
     national, cross-clinic comparative analysis. J Abnorm Child                 Doreleijers TAH, Cohen-Kettenis PT. Young adult psychological
     Psychol. 2003;31(1):41-53.                                                  outcome after puberty suppression and gender reassignment.
 44. Dhejne C, Van Vlerken R, Heylens G, ArcelusJ. Mental health and             Pediatrics. 2014;134(4):696-704.
     gender dysphoria: a review of the literature. Int Rev Psychiatry.       64. Cole CM, O'Boyle M, Emory LE, Meyer Will!. Comorbidity of
     2016;28(1):44-57.                                                           gender dysphoria and other major psychiatric diagnoses. Arch Sex
 45. Pasterski V, Gilligan L, Curtis R. Traits of autism spectrum dis-           Behay. 1997;26(1):13-26.
     orders in adults with gender dysphoria. Arch Sex Behay. 2014;           65. Cohen-Kettenis P'1', Schagen SEE, Steensma '1'D, de Vries ALC,
     43(2):387-393.                                                              Delemarre-van de Waal HA. Puberty suppression in a gender-
 46. Spack NP, Edwards-Leeper L, Feldman HA, Leibowitz S, Mandel                 dysphoric adolescent: a 22-year follow-up. Arch Sex Behay. 2011;
     F, Diamond DA, Vance SR. Children and adolescents with gender               40(4):843-847.
     identity disorder referred to a pediatric medical center. Pediatrics.   66. First MB. Desire for amputation of a limb: paraphilia, psychosis,
     2012;129(3):418-425.                                                        or a new type of identity disorder. Psychol Med. 2005;35(6):
 47. Terada S, Matsumoto Y, Sato T, Okabe N, Kishimoto Y, Uchitomi               919-928.
     Y. Factors predicting psychiatric co-morbidity in gender-               67. Wierckx K, Van Caenegem E, Pennings G, Elaut E, Dedecker D,
     dysphoric adults. Psychiatry Res. 2012;200(2-3):469-474.                    Van de Peer F, Weyers S, De Sutter P, rSjoen G. Reproductive
 48. VanderLaan DP, Leef JH, Wood H, Hughes SK, Zucker KJ.                       wish in transsexual men. Hum Reprod. 2012;27(2):483-487.
     Autism spectrum disorder risk factors and autistic traits in gender     68. Wierckx K, Stuyver I, Weyers S, Hamada A, Agarwal A, De Sutter
     dysphoric children. J Autism Dev Disord. 2015;45(6):1742-1750.              P, TSjoen G. Sperm freezing in transsexual women. Arch Sex
 49. de Vries ALC, Doreleijers TAH, Steensma TD, Cohen-Kettenis PT.              Behay. 2012;41(5):1069-1071.
     Psychiatric comorbidity in gender dysphoric adolescents. J Child        69. Bertelloni S, Baroncelli GI, Ferdeghini M, Menchini-Fabris F,
     Psychol Psychiatry. 2011;52(11):1195-1202.                                  Saggese G. Final height, gonadal function and bone mineral
 50. de Vries ALC, Noens ILJ, Cohen-Kettenis PT, van Berckelaer-                 density of adolescent males with central precocious puberty after
     Onnes IA, Doreleijers TA. Autism spectrum disorders in gender               therapy with gonadotropin-releasing hormone analogues. Eur J
     dysphoric children and adolescents. J Autism Dev Disord. 2010;              Pediatr. 2000;159(S):369-374.
     40(8):930-936.                                                          70. BGchter D, Behre HM, Kliesch S, Nieschlag E. Pulsatile GnRH or
 51. Wallien MSC, Swaab H, Cohen-Kettenis PT. Psychiatric comorbidity            human chorionic gonadotropin/human menopausal gonadotro-
     among children with gender identity disorder. J Am Acad Child               pin as effective treatment for men with hypogonadotropic
     Adolesc Psychiatry. 2007;46(10):1307-1314.                                  hypogonadism: a review of 42 cases. Eur J Endocrinol. 1998;
 52. Kuiper AJ, Cohen-Kettenis PT. Gender role reversal among                    139(3):298-303.
     postoperative transsexuals. Available at: httpsJ/www.atria.nl/          71. Liu PY, Turner L, Rushford D, McDonald J, Baker HW, Conway
     ezines/web/IJT/97-03/numbers/symposion/ijtc0502.htm.                        AJ, Handelsman DJ. Efficacy and safety of recombinant human
     Accessed 26 August 2016.                                                    follicle stimulating hormone (Gonal-F) with urinary human
 53. Landen M, Walinder J, Hambert G, Lundstr6m B. Factors pre-                  chorionic gonadotrophin for induction of spermatogenesis and
     dictive of regret in sex reassignment. Acta Psychiatr Scand. 1998;          fertility in gonadotrophin-deficient men. Hum Reprod. 1999;
     97(4):284-289.                                                              14(6):1540-1545.
 54. Olsson S-E, Moller A. Regret after sex reassignment surgery in a        72. Pasquino AM, Pucarelli I, Accardo F, Demiraj V, Segni M, Di
     male-to-female transsexual: a long-term follow-up. Arch Sex                 Nardo R. Long-term observation of 87 girls with idiopathic
     Behay. 2006;35(4):501-506.                                                  central precocious puberty treated with gonadotropin-releasing
 55. Pfafflin F, Junge A, eds. Geschlechtsumwandlung: Abhand-                    hormone analogs: impact on adult height, body mass index, bone
     lungen zur Transsexualitat. Stuttgart, Germany: Schattauer;                 mineral content, and reproductive function. J Clin Endocrinol
     1992.                                                                       Metab. 2008;93(1):190-195.
 56. Lawrence AA. Factors associated with satisfaction or regret fol-        73. Magiakou MA, Manousaki D, Papadaki M, Hadjidakis D,
     lowing male-to-female sex reassignment surgery. Arch Sex Behay.             Levidou G, Vakaki M, Papaefstathiou A, Lalioti N, Kanaka-
     2003;32(4):299-315.                                                         Gantenbein C, Piaditis G, Chrousos GP, Dacou-Voutetakis C. The




                                                                                                                                       AR_293428
 CaseHembree
3898
      4:24-cv-00461-O              Document 76 Filed 09/06/24                            Page 264 of 290 PageID 3911
             et al Guidelines on Gender-DysphoriclGender-Incongruent Persons J Clin Endocrinol Metab, November 2017, 102(11):3869-3903


    efficacy and safety of gonadotropin-releasing hormone analog           90. Roth C. Therapeutic potential of GnRH antagonists in the
    treatment in childhood and adolescence: a single center, long-term         treatment of precocious puberty. Expert Opin Investig Drugs.
    follow-up study. J Clin Endocrinol Metab. 2010;95(1):109-117.              2002;11(9):1253-1259.
74. Baba T, Endo T, Honnma H, Kitajima Y, Hayashi T, Ikeda H,              91. Tuvemo T. Treatment of central precocious puberty. Expert Opin
    Masumori N, Kamiya H, Moriwaka 0, Saito T. Association                     Investig Drugs. 2006;15(5):495-505.
    between polycystic ovary syndrome and female-to-male trans-            92. Schagen SE, Cohen-Kettenis PT, Delemarre-van de Waal HA,
    sexuality. Hum Reprod. 2007;22(4):1011-1016.                               Hannema SE. Efficacy and safety of gonadotropin-releasing
75. Spinder T, Spijkstra JJ, van den Tweel JG, Burger CW, van Kessel           hormone agonist treatment to suppress puberty in gender dys-
    H, Hompes PGA, Gooren LJG. The effects of long term testos-                phoric adolescents. J Sex Med. 2016;13(7):1125-1132.
    terone administration on pulsatile luteinizing hormone secretion       93. Manasco PK, Pescovitz OH, Feuillan PP, Hench KD, Barnes KM,
    and on ovarian histology in eugonadal female to male transsexual           Jones J, Hill SC, Loriaux DL, Cutler GB, Jr. Resumption of pu-
    subjects. J Clin Endocrinol Metab. 1989;69(1):151-157.                     berty after long term luteinizing hormone-releasing hormone
76. Baba T, Endo T, Ikeda K, Shimizu A, Honnma H, Ikeda H,                     agonist treatment of central precocious puberty. J Clin Endocrinol
    Masumori N, Ohmura T, Kiya T, Fujimoto T, Koizumi M, Saito                 Metab. 1988;67(2):368-372.
    T. Distinctive features of female-to-male transsexualism and           94. Klink D, Caris M, Heijboer A, van Trotsenburg M, Rotteveel J.
    prevalence of gender identity disorder in Japan. J Sex Med. 2011;          Bone mass in young adulthood following gonadotropin-releasing
    8(6):1686-1693.                                                            hormone analog treatment and cross-sex hormone treatment in
77. Vujovic S, Popovic S, Sbutega-Milosevic G, Djordjevic M, Gooren            adolescents with gender dysphoria. J Clin Endocrinol Metab.
    L. Transsexualism in Serbia: a twenty-year follow-up study. J Sex          2015;100(2):E270-E275.
    Med. 20096(4):1018-1023.                                               95. Finkelstein JS, Klibanski A, Neer RM. A longitudinal evaluation of
78. Ikeda K, Baba T, Noguchi H, Nagasawa K, Endo T, Kiya T, Saito              bone mineral density in adult men with histories of delayed pu-
    T. Excessive androgen exposure in female-to-male transsexual               berty. J Clin Endocrinol Metab. 1996;81(3):1152-1155.
    persons of reproductive age induces hyperplasia of the ovarian         96. Bertelloni S, Baroncelli GI, Ferdeghini M, Perri G, Saggese G.
                                                                               Normal volumetric bone mineral density and bone turnover in
    cortex and stroma but not polycystic ovary morphology. Hum
                                                                               young men with histories of constitutional delay of puberty. J Clin
    Reprod. 201328(2):453-461.
                                                                               Endocrinol Metab. 1998;83(12):4280-4283.
79. Trebay G. He's pregnant. You're speechles. New York Times. 22
                                                                           97. Darelid A, Ohlsson C, Nilsson M, Kindblom JM, Mellstrom D,
    June 2008.
                                                                               Lorentzon M. Catch up in bone acquisition in young adult men
80. Light AD, Obedin-Maliver J, Sevelius JM, Kerns JL. Transgender
    men who experienced pregnancy after female-to-male gender                  with late normal puberty. J Bone Miner Res. 2012;27(10):
                                                                               2198-2207.
    rransitioning. Ohstet Gynerol. 2014;124(6):1120-1127.
                                                                           98. Mittan D, Lee S, Miller E, Perez RC, Basler JW, Bruder JM. Bone
81. De Sutter P. Donor inseminations in parmers of female-to-male
                                                                               loss following hypogonadism in men with prostate cancer treated
    transsexuals: should the question be asked? Reprod Biomed
                                                                               with GnRH analogs. J Clin Endocrinol Metab. 2002;87(8):
    Online. 2003;6(3):382, author reply 282-283.
                                                                               3656-3661.
82. De Roo C, Tilleman K, T'Sjoen G, De Sutter P. Fertility options in
                                                                           99. Saggese G, Bertelloni S, Baroncelli GI, Battini R, Franchi G. Re-
    transgender people. Int Rev Psychiatry. 2016;28(1):112-119.
                                                                               duction of bone density: an effect of gonadotropin releasing
83. Wennink JMB, Delemarre-van de Waal HA, Schoemaker R,
    Schoemaker H, Schoemaker J. Luteinizing hormone and follicle               hormone analogue treatment in central precocious puberty. EurJ
                                                                               Pediatr. 1993;152(9):717-720.
    stimulating hormone secretion patterns in boys throughout pu-
                                                                          100. Neely EK, Bachrach LK, Hintz RL, Habiby RL, Slemenda CW,
    berty measured using highly sensitive immunoradiometric assays.
                                                                               Feezle L, Pescovitz OH. Bone mineral density during treatment of
    Clin Endocrinol (Ox/9. 1989;31(5):551-564.
                                                                               central precocious puberty. J Pediatr. 1995;127(5):819-822.
84. Cohen-Kettenis PT, Delemarre-van de Waal HA, Gooren LJG.
                                                                          101. Bertelloni S, Baroncelli GI, Sorrentino MC, Perri G, Saggese G.
    The treatment of adolescent transsexuals: changing insights. J Sex
                                                                               Effect of central precocious puberty and gonadotropin-releasing
    Med. 2008;5(8):1892-1897.
                                                                               hormone analogue treatment on peak bone mass and final height
85. Delemarre-van de Waal HA, Cohen-Kettenis PT. Clinical man-
                                                                               in females. EurJ Pediatr. 1998;157(5):363-367.
    agement of gender identity disorder in adolescents: a protocol on
                                                                          102. Thornton P, Silverman LA, Geffner ME, Neely EK, Gould E,
    psychological and paediatric endocrinology aspects. Eur J                  Danoff TM. Review of outcomes after cessation of gonadotropin-
    Endocrinol. 2006;155:5131-5137.                                            releasing hormone agonist treatment of girls with precocious
86. de Vries ALC, Steensma TD, Doreleijers TAR, Cohen-Kettenis PT.             puberty. Pediatr Endocrinol Rev. 2014;11(3):306-317.
    Puberty suppression in adolescents with gender identity disorder:     103. Lem AJ, van der Kaay DC, Hokken-Koelega AC. Bone mineral
    a prospective follow-up study. J Sex Med. 2011;8(8):2276-2283.             density and body composition in short children born SGA during
87. Bouman MB, van Zeijl MCT, Buncamper ME, Meijerink WJHJ,                    growth hormone and gonadotropin releasing hormone analog
    van Bodegraven AA, Mullender MG. Intestinal vaginoplasty                   treatment. J Clin F.ndorrinnl Metab. 2013;98(1):77-86.
    revisited: a review of surgical techniques, complications, and        104. Antoniazzi F, Zamboni G, Bertoldo F, Lauriola S, Mengarda F,
    sexual function. J Sex Med. 2014;11(7):1835-1847.                          Pietrobelli A, Tatd L. Bone mass at final height in precocious
88. Caret JC, Eugster EA, Rogol A, Ghizzoni L, Palmert MR,                     puberty after gonadotropin-releasing hormone agonist with and
    Antoniazzi F, Berenbaum S, Bourguignon JP, Chrousos GP, Coste              without calcium supplementation. J Clin Endocrinol Metab.
    J, Deal S, de Vries L, Foster C, Heger S, Holland J, Jahnukainen K,        2003;88(3):1096-1101.
    Juul A, Kaplowitz P, Lahlou N, Lee MM, Lee P, Merke DP, Neely         105. Calcaterra V, Mannarino S, Corana G, Codazzi AC, Mazzola A,
    EK, Oostdijk W, Phillip M, Rosenfield RL, Shulman D, Styne D,              Brambilla P, Larizza D. Hypertension during therapy with trip-
    Tauber M, Wit JM; ESPE-LWPES GnRH Analogs Consensus                        torelin in a girl with precocious puberty. Indian J Pediatr. 2013;
    Conference Group. Consensus statement on the use of                        80(10):884-885.
    gonadotropin-releasing hormone analogs in children. Pediatrics.       106. Siomou E, Kosmeri C, Pavlou M, Vlahos AP, Argyropoulou MI,
    2009;123(4):e752-e762.                                                     Siamopoulou A. Arterial hypertension during treatment with
89. Roth CL, Brendel L, Ruckert C, Hartmann K. Antagonistic and                triptorelin in a child with Williams-Beuren syndrome. Pediatr
    agonistic GnRH analogue treatment of precocious puberty:                   Nephrol. 201429(9):1633-1636.
    tracking gonadotropin concentrations in urine. Horm Res. 2005;        107. Staphorsius AS, Kreukels BPC, Cohen-Kettenis PT, Veltman DJ,
    63(5):257-262.                                                             Burke SM, Schagen SEE, Wouters FM, Delemarre-van de Waal




                                                                                                                                          AR_293429
Case    4:24-cv-00461-O
doi: 10.1210/c.2017-01658
                                         Document 76                Filed 09/06/24           Page 265  of 290 PageID 3912
                                                                                                    https://academic.oup.comfjcem 3899


     HA, Bakker J. Puberty suppression and executive functioning: an        126. Eisenegger C, von Eckardstein A, Fehr E, von Eckardstein S.
     fMRI-study in adolescents with gender dysphoria. Psychoneur-                Pharmacokinetics of testosterone and estradiol gel preparations in
     oendocrinnology. 2015;56:190-199.                                           healthy young men. Psychoneuroendocrinology. 2013;38(2):
108. Hough D, Bellingham M, Haraldsen IR, McLaughlin M, Rennie                   171-178.
     M, Robinson JE, Solbakk AK, Evans NP. Spatial memory is                127. de Ronde W, ten Kulve J, Woerdeman J, Kaufman J-M, de Jong
     impaired by peripubertal GnRH agonist treatment and testos-                 FH. Effects of oestradiol on gonadotrophin levels in normal and
     terone replacement in sheep. Psychoneuroendocrinology. 2017;                castrated men. Gin Endocrinol (Oxf). 2009;71(6):874-879.
     75:173-182.                                                            128. Money J, Ehrhardt A. Man & woman, boy & girl: differentiation
109. Collipp PJ, Kaplan SA, Boyle DC, Plachte F, Kogut MD. Con-                  and dimorphism of gender identity from conception to maturity.
     stitutional Isosexual Precocious Puberty. Am J Dis Child. 1964;             Baltimore, MD: Johns Hopkins University Press; 1972:202-206.
     108:399-405.                                                           129. Heylens G, Verroken C, De Cock S, T'Sjoen G, De Cuypere G.
110. Hahn HB, Jr, Hayles AB, Albert A. Medroxyprogesterone and                   Effects of different steps in gender reassignment therapy on
     constitutional precocious puberty. Mayo Clin Proc. 1964;39:                 psychopathology: a prospective study of persons with a gender
     182-190.                                                                    identity disorder. J Sex Med. 2014;11(1):119-126.
111. Kaplan SA, Ling SM, Irani NG. Idiopathic isosexual precocity.          130. Costa R, Colizzi M. The effect of cross-sex hormonal treatment on
     Am J Dis Child. 1968;116(6):591-598.                                        gender dysphoria individuals' mental health: a systematic review.
112. Schoen EJ. Treatment of idiopathic precocious puberty in boys.              Neuropsychiatr Dis Treat. 2016;12:1953-1966.
     J Clin Endocrinol Metab. 1966;26(4):363-370.                           131. Gooren LJG, Giltay EJ. Review of studies of androgen treatment
113. Gooren L. Hormone treatment of the adult transsexual patient.               of female-to-male transsexuals: effects and risks of administration
     Horm Res. 2005;64(Suppl 2):31-36.                                           of androgens to females. J Sex Med. 2008;5(4):765-776.
114. Moore E, Wisniewski A, Dobs A. Endocrine treatment of trans-           132. Levy A, Crown A, Reid R. Endocrine intervention for trans-
     sexual people: a review of treatment regimens, outcomes, and                sexuals. Clin Endocrinol (Oxfl. 2003;59(4):409-418.
     adverse effects. J Clin EndocrinolMetab. 2003;88(8):3467-3473.         133. Tangpricha V, Ducharme SH, Barber TW, Chipkin SR. Endo-
115. Krueger RB, Hembree W, Hill M. Prescription of medrox-                      crinologic treatment of gender identity disorders. Endocr Pract.
     yprogesterone acetate to a patient with pedophilia, resulting in            2003;9(1):12-21.
     Cushing's syndrome and adrenal insufficiency. Sex Abuse. 2006;         134. Meriggiola MC, Gava G. Endocrine care of transpeople part I. A
     18(2):227-228.                                                              review of cross-sex hormonal treatments, outcomes and adverse
116. Lynch MM, Khandheria MM, Meyer WJ. Retrospective study of                   effects in transmen. Clin Endocrinol (Ox19. 2015;83(5):597-606.
     the management of childhood and adolescent gender identity             135. Bhasin S, Cunningham GR, Hayes FJ, Matsumoto AM, Snyder
     disorder using medroxyprogesterone acetate. Int J Trans-                    PJ, Swerdloff RS, Montori VM. Testosterone therapy in adult
     genderism. 2015;16:201-208.                                                 men with androgen deficiency syndromes: an endocrine society
117. Tack LJW, Craen M, Dhondt K, Vanden Bossche H, Laridaen J,                  clinical practice guideline. J Clin Endocrinol Metab. 2006;91(6):
     Cools M. Consecutive lynestrenol and cross-sex hormone treat-               1995-2010.
     ment in biological female adolescents with gender dysphoria:           136. Pelusi C, Costantino A, Martelli V, Lambertini M, Bazzocchi A,
     a retrospective analysis. Biol Sex Differ. 2016;7:14.                       Ponti F, Battista G, Venturoli S, Meriggiola MC. Effects of three
118. Hembree WC, Cohen-Kettenis P, Delemarre-van de Waal HA,                     different testosterone formulations in female-to-male transsexual
     Gooren LJ, Meyer WJ 3rd, Spack NP, Tangpricha V, Montori                    persons. J Sex Med. 2014;11(12):3002-3011.
     VM; Endocrine Society. Endocrine treatment of transsexual              137. Anderson GL, Limacher M, Assaf AR, Bassford T, Beresford SA,
     persons: an Endocrine Society clinical practice guideline. J Clin           Black H, Bonds D, Brunner R, Brzyski R, Caan B, Chlebowski R,
     Endocrinol Metab. 2009;94(9):3132-3154.                                     Curb D, Gass M, Hays J, Heiss G, Hendrix S, Howard BV, Hsia J,
119. Mann L, Harmoni R, Power C. Adolescent decision-making: the                 Hubbell A, Jackson R, Johnson KC, Judd H, Kotchen JM, Kuller
     development of competence. J Adolesc. 1989;12(3):265-278.
                                                                                 L, LaCroix AZ, Lane D, Langer RD, Lasser N, Lewis CE, Manson
120. Stultiens L, Goffin T, Borry P, Dierickx K, Nys H. Minors and
                                                                                 J, Margolis K, Ockene J, O'Sullivan MJ, Phillips L, Prentice RL,
     informed consent: a comparative approach. Eur J Health Law.
                                                                                 Ritenbaugh C, Robbins J, Rossouw JE, Sarto G, Stefanick ML,
     2007;14(1):21-46.
121. Arshagouni P. "But I'm an adult now ... sort of". Adolescent consent        Van Horn L, Wactawski-Wende J, Wallace R, Wassertheil-
     in health care decision-making and the adolescent brain. Available          Smoller S; Women's Health Initiative Steering Committee. Effects
     at: httpJ/digiralcommons.law.umaryland.edu/cgi/viewcontent.cgi?             of conjugated equine estrogen in postmenopausal women with
     article=1124&context=jhclp. Accessed 25 June 2017.                          hysterectomy: the Women's Health Initiative randomized con-
122. NHS. Prescribing of cross-sex hormones as part of the gender                trolled trial. JAMA. 2004;291(14):1701-1712.
     identity development service for children and adolescents.             138. Dickersin K, Munro MG, Clark M, Langenberg P, Scherer R,
     Available at: https://www.england.nhs.uk/commissioning/                     Frick K, Zhu Q, Hallock L, Nichols J, Yalcinkaya TM; Surgical
     wp-content/uploads/sites/12/2016/08/clinical-com-pol-16046p.                Treatments Outcomes Project for Dysfunctional Uterine Bleed-
     pdf. Accessed 14 June 2017.                                                 ing (STOP-DUB) Research Group. Hysterectomy compared
123. Ankarberg-Lindgren C, Kristrom B, Norjavaara E. Physiological               with endometrial ablation for dysfunctional uterine bleeding:
     estrogen replacement therapy for puberty induction in girls:                a randomized controlled trial. Obstet Gynecol. 2007;110(6):
     a clinical observational study. Horm Res Paediatr. 2014;81(4):              1279-1289.
     239-244.                                                               139. Gooren LJ, Giltay EJ, Bunch MC. Long-term treatment of
124. Olson J, Schrager SM, Clark LF, Dunlap SL, Belzer M. Sub-                   transsexuals with cross-sex hormones: extensive personal expe-
     cutaneous testosterone: an effective delivery mechanism for                 rience. J Clin Endocrinol Metab. 2008;93(1):19-25.
     masculinizing young transgender men. LGBT Health. 2014;1(3):           140. Prior JC, Vigna YM, Watson D. Spironolactone with physio-
     165-167.                                                                    logical female steroids for presurgical therapy of male-to-female
125. Spratt DI, Stewart I, Savage C, Craig W, Spack NP, Chandler DW,             transsexualism. Arch Sex Behay. 1989;18(1):49-57.
     Spratt LV, Eimicke T, Olshan JS. Subcutaneous injection of tes-        141. Dittrich R, Binder H, Cupisti S, Hoffmann I, Beckmann MW,
     tosterone is an effective and preferred alternative to intramuscular        Mueller A. Endocrine treatment of male-to-female transsexuals
     injection: demonstration in female-to-male transgender patients.            using gonadotropin-releasing hormone agonist. Exp Clin Endo-
     J abs Endocrinol Metab. 2017. doi:10.1210/jc.2017-00359                     crinol Diabetes. 2005;113(10):586-592.




                                                                                                                                         AR_293430
  CaseHembree
3900
       4:24-cv-00461-O              Document 76 Filed 09/06/24                            Page 266 of 290 PageID 3913
              et al Guidelines on Gender-DysphoriclGender-Incongruent Persons J Clin Endocrinol Metab, November 2017, 102(11):3869-3903


142. Stripp B, Taylor AA, Bartter FC, Gillette JR, Loriaux DL, Easley      159. Ott J, Kaufmann U, Bentz EK, Huber JC, Tempfer CB. Incidence
     R, Menard RH. Effect of spironolactone on sex hormones in man.             of thrombophilia and venous thrombosis in transsexuals under
     J Clin Endocrinol Metab. 1975;41(4):777-781.                               cross-sex hormone therapy. Fertil Steril. 2010;93(4):1267-1272.
143. Levy J, Burshell A, Marbach M, Afllalo L, Glick SM. Interaction of    160. Giltay EJ, Hoogeveen EK, Elbers JMH, Gooren LJG, Asscheman
     spironolactone with oestradiol receptors in cytosol. J Endocrinol.         H, Stehouwer CDA. Effects of sex steroids on plasma total
     1980;84(3):371-379.                                                        homocysteine levels: a study in transsexual males and females.
144. Wierckx K, Elaut E, Van Hoorde B, Heylens G, De Cuypere G,                 J Clin Endocrinol Metab. 1998;83(2):550-553.
     Monstrcy S, Wcycrs S, Hocbckc P, T'Sjocn G. Sexual desire in          161. van Kcstcrcn PJM, Asschcman H, Mcgcns JAJ, Gooren LJG.
     trans persons: associations with sex reassignment treatment. J Sex         Mortality and morbidity in transsexual subjects treated with
     Med. 2014;11(1):107-118.                                                   cross-sex hormones. Clin Endocrinol (Oxf). 1997;47(3):
145. Chiriac6 G, Cauci S, Mazzon G, Trombetta C. An observational               337-343.
     retrospective evaluation of 79 young men with long-term adverse       162. Wierckx K, Gooren L, T'Sjoen G. Clinical review: breast devel-
     effects after use of finasteride against androgenetic alopecia.            opment in trans women receiving cross-sex hormones. J Sex Med.
     Andrology. 2016;4(2):245-250.                                              2014;11(5):1240-1247.
146. Gava G, Cerpolini S, Martelli V, Battista G, Seracchioli R,           163. Bird D, Vowles K, Anthony PP. Spontaneous rupture of a liver cell
     Meriggiola MC. Cyproterone acetate vs leuprolide acetate in                adenoma after long term methyltestosterone: report of a case
     combination with transdermal oestradiol in transwomen: a com-              successfully treated by emergency right hepatic lobectomy. Br J
     parison of safety and effectiveness. Clin Endocrinol (Oxfl. 2016;          Surg. 1979;66(3):212-213.
     85(2):239-246.                                                        164. Westaby D, Ogle SJ, Paradinas FJ, Randell JB, Murray-Lyon IM.
147. Casper RF, Yen SS. Rapid absorption of micronized estradiol-17             Liver damage from long-term methyltestosterone. Lancet. 1977;
     beta following sublingual administration. Obstet Gynecol. 1981;            2(8032):262-263.
     57(1):62-64.                                                          165. Weinand JD, Safer JD. Hormone therapy in transgender adults is
148. Price TM, Blauer KL, Hansen M, Stanczyk F, Lobo R, Bates GW.               safe with provider supervision; a review of hormone therapy
     Single-dose pharmacokinetics of sublingual versus oral adminis-            sequelae for transgender individuals. J Gin Transl Endocrinol.
     tration of micronized 17(3-estradiol. Obstet Gynecol. 1997;89(3):          2015;2(2):55-60.
     340-345.                                                              166. Roberts TK, Kraft CS, French D, Ji W, Wu AH, Tangpricha V,
149. Toorians AWFT, Thomassen MCLGD, Zweegman S, Magdeleyns                     Fantz CR. Interpreting laboratory results in transgender patients
     EJP, Tans G, Gooren LJG, Rosing J. Venous thrombosis and                   on hormone therapy. Am J Med. 2014;127(2):159-162.
     changes of hemostatic variables during cross-sex hormone treat-       167. Vesper HW, Botelho JC, Wang Y. Challenges and improvements
                                                                                in testosterone and estradiol testing. Asian J Androl. 2014;16(2):
     ment in transsexual people. J Clin Endocrinol Metab. 2003;88(12):
                                                                                178-184.
     5723-5729.
                                                                           168. Asscheman H, T'Sjoen G, Lemaire A, Mas M, Meriggiola MC,
150. Mepham N, Bouman WP, Arcelus J, Hayter M, Wylie KR. People
                                                                                Mueller A, Kuhn A, Dhejne C, Morel-Joumel N, Gooren U.
     with gender dysphoria who self-prescribe cross-sex hormones:
                                                                                Venous thrombo-embolism as a complication of cross-sex hor-
     prevalence, sources, and side effects knowledge. J Sex Med. 2014;
                                                                                mone treatment of male-to-female transsexual subjects: a review.
     11(12):2995-3001.
                                                                                Andrologia. 2014;46(7):791-795.
151. Richards C, Bouman WP, Seal L, Barker MJ, Nieder TO, T'Sjoen
                                                                           169. Righini M, Perrier A, De Moerloose P, Bounameaux H. D-dimer
     G. Non-binary or genderqueer genders. Int Rev Psychiatry. 2016;
                                                                                for venous thromboembolism diagnosis: 20 years later. J Thromb
     28(1):95-102.
                                                                                Haemost. 2008,6(7):1059-1071.
152. Cosyns M, Van Borsel J, Wierckx K, Dedecker D, Van de Peer F,
                                                                           170. Gooren LJ, Assies J, Asscheman H, de Slegte R, van Kessel H.
     Daelman T, Laenen S, T'Sjoen G. Voice in female-to-male
                                                                                Estrogen-induced prolactinoma in a man. .1 Clin Endocrinol
     transsexual persons after long-term androgen therapy. Laryn-
                                                                                Metab. 1988;66(2):444-446.
     goscope. 2014;124(6):1409-1414.                                       171. Kovacs K, Stefaneanu L, Ezzat S, Smyth HS. Prolactin-producing
153. Deuster D, Matulat P, Knief A, Zitzmann M, Rosslau K, Szukaj               pituitary adenoma in a male-to-female transsexual patient with
     M, am Zehnhoff-Dinnesen A, Schmidt CM. Voice deepening
                                                                                protracted estrogen administration. A morphologic study. Arch
     under testosterone treatment in female-to-male gender dysphoric            Pathol Lab Med. 1994;118(5):562-565.
     individuals. Fur Arch Otorhinolaryngol. 2016;273(4):959-965.          172. Serri 0, Noiseux D, Robert F, Hardy J. Lactotroph hyperplasia in
154. Lapauw B, Taes Y, Simoens S, Van Caenegem E, Weyers S,                     an estrogen treated male-to-female transsexual patient. J Clin
     Goemaere S, Toye K, Kaufman J-M, T'Sjoen GG. Body compo-                   Endocrinol Metab. 1996;81(9):3177-3179.
     sition, volumetric and areal bone parameters in male-to-female        173. Cunha FS, Domenice S, Camara VL, Sircili MH, Gooren LJ,
     transsexual persons. Bone. 2008;43(6):1016-1021.                           Mendonca BB, Costa EM. Diagnosis of prolactinoma in two male-
155. Meyer III WJ, Webb A, Stuart CA, Finkelstein JW, Lawrence B,               to-female transsexual subjects following high-dose cross-sex
     Walker PA. Physical and hormonal evaluation of transsexual                 hormone therapy. Andrologia. 2015;47(6):680-684.
     patients: a longitudinal study. Arch Sex Behay. 1986;15(2):           174. Nota NM, Dekker MJHJ, Klaver M, Wiepjes CM, van Trot-
     121-138.                                                                   senburg MA, Heijboer AC, den Heijer M. Prolactin levels during
156. Asscheman H, Gooren LJ, Assies J, Smits JP, de Slegte R. Prolactin         short- and long-term cross-sex hormone treatment: an observa-
     levels and pituitary enlargement in hormone-treated male-to-               tional study in transgender persons. Andrologia. 2017;49(6).
     female transsexuals. Clin Endocrinol (Ox9.1988;28(6):583-588.         175. Bunck MC, Debono M, Giltay EJ, Verheijen AT, Diamant M,
157. Gooren LJ, Harmsen-Louman W, van Kessel H. Follow-up of                    Gooren U. Autonomous prolactin secretion in two male-to-
     prolactin levels in long-term oestrogen-treated male-to-female             female transgender patients using conventional oestrogen dos-
     transsexuals with regard to prolactinoma induction. Clin Endo-             ages. BMJ Case Rep. 2009;2009:bcr0220091589.
     crinol (Oxfl. 198522(2):201-207.                                      176. Elamin MB, Garcia MZ, Murad MH, Erwin PJ, Montori VM.
158. Wierckx K, Van Caenegem E, Schreiner T, Haraldsen I, Fisher                Effect of sex steroid use on cardiovascular risk in transsexual
     AD, Toye K, Kaufman JM, T'Sjoen G. Cross-sex hormone therapy               individuals: a systematic review and meta-analyses. Clin Endo-
     in trans persons is safe and effective at short-time follow-up: re-        crinol (Oxfl. 2010;72(1):1-10.
     sults from the European network for the investigation of gender       177. Berra M, Armillotta F, D'Emidio L, Costantino A, Martorana G,
     incongruence. J Sex Med. 2014;11(8):1999-2011.                             Pelusi G, Meriggiola MC. Testosterone decreases adiponectin




                                                                                                                                          AR_293431
Case     4:24-cv-00461-O
doi: 10.12101jc.2017-01658
                                        Document 76                Filed 09/06/24           Page 267  of 290 PageID 3914
                                                                                                   https://academic.oup.comfjcem 3901


     levels in female to male transsexuals. Asian J Androl. 2006;8(6):          estradiol levels with bone mineral density in elderly men from the
     725-729.                                                                   Framingham study. Ann Intern Med. 2000;133(12):951-963.
178. Elbers JMH, Giltay EJ, Teerlink T, Scheffer PG, Asscheman H,          193. Gennari L, Khosla S, Bilezikian JP. Estrogen and fracture risk in
     Seidell JC, Gooren LJG. Effects of sex steroids on components of           men. J Bone Miner Res. 2008;23(10):1548-1551.
     the insulin resistance syndrome in transsexual subjects. Clin         194. Khosla S, Melton LJ III, Atkinson EJ, O'Fallon WM, Klee GG,
     Endocrinol (Ox19. 2003;58(5):562-571.                                      Riggs BL. Relationship of serum sex steroid levels and bone
179. Giltay EJ, Lambert J, Gooren LJG, Elbers JMH, Steyn M, Ste-                turnover markers with bone mineral density in men and women:
     houwer CDA. Sex steroids, insulin, and arterial stiffness in women         a key role for bioavailable estrogen. J Clin Endocrinol Metab.
     and men. Hypertension. 1999;34(4 Pt 1):590-597.                            1998;83(7):2266-2274.
180. Polderman KH, Gooren LJ, Asscheman H, Bakker A, Heine RJ.             195. Mueller A, Dittrich R, Binder H, Kuehnel W, Maltaris T, Hoff-
     Induction of insulin resistance by androgens and estrogens. J Clin         mann 1, Beckmann MW. High dose estrogen treatment increases
     Endocrinol Metab. 1994;79(1):265-271.                                      bone mineral density in male-to-female transsexuals receiving
181. Maraka S. Effect of sex steroids on lipids, venous thromboembolism,        gonadotropin-releasing hormone agonist in the absence of tes-
     cardiovascular disease and mortality in transgender individuals:
                                                                                tosterone. Eur J Endocrinol. 2005;153(1):107-113.
     a systematic review and meta-analysis. Available at: httpJ/press.
                                                                           196. Ruetsche AG, Kneubuehl R, Birkhaeuser MH, Lippuner K.
     endocrine.org/doi/abs/10.1210/endo-meetings.2016.RE.15.FRI-136.            Cortical and trabecular bone mineral density in transsexuals after
     Accessed 3 July 2017.
                                                                                long-term cross-sex hormonal treatment: a cross-sectional study.
182. Meriggiola MC, Armillotta F, Costantino A, Altieri P, Saad F,
                                                                                Osteoporos Int. 2005;16(7):791-798.
     Kalhorn T, Perrone AM, Chi T, Pelusi C, Pelusi G. Effects of
                                                                           197. Ganly 1, Taylor EW. Breast cancer in a trans-sexual man receiving
     testosterone undecanoate administered alone or in combination
                                                                                hormone replacement therapy. BrJ Surg. 1995;82(3):341.
     with letrozole or dutasteride in female to male transsexuals. J Sex
                                                                           198. Pritchard TJ, Pankowsky DA, Crowe JP, Abdul-Karim FW. Breast
     Med. 2008;5(10):2442-2453.                                                 cancer in a male-to-female transsexual. A case report. JAMA.
183. Giltay EJ, Toorians AW, Sarabdjitsingh AR, de Vries NA, Gooren
                                                                                1988;259(15):2278-2280.
     U. Established risk factors for coronary heart disease are un-
                                                                           199. Symmers WS. Carcinoma of breast in trans-sexual individuals
     related to androgen-induced baldness in female-to-male trans-
                                                                                after surgical and hormonal interference with the primary and
     sexuals. J Endocrinol. 2004;180(1):107-112.
                                                                                secondary sex characteristics. BMJ. 1968;2(5597):83-85.
184. Giltay EJ, Verhoef P, Gooren LJG, Geleijnse JM, Schouten EG,
                                                                           200. Brown GR. Breast cancer in transgender veterans: a ten-case se-
     Stehouwer CDA. Oral and transdermal estrogens both lower
                                                                                ries. LGBT Health. 2015;2(1):77-80.
     plasma total homocysteine in male-to-female transsexuals. Ath-
                                                                           201. Shao T, Grossbard ML, Klein P. Breast cancer in female-to-male
     erosclerosis. 2003;168(1):139-146.                                         transsexuals: two cases with a review of physiology and man-
185. Calof OM, Singh AB, Lee ML, Kenny AM, Urban RJ, TenoverJL,
                                                                                agement. Clin Breast Cancer. 2011;11(6):417-419.
     Bhasin S. Adverse events associated with testosterone replacement
                                                                           202. Nikolic DV, Djordjevic ML, Granic M, Nikolic AT, Stanimirovic
     in middle-aged and older men: a meta-analysis of randomized,
                                                                                VV, Zdravkovic D, Jelic S. Importance of revealing a rare case of
     placebo-controlled trials. J Gerontol A Biol Sci Med Sci. 2005;
                                                                                breast cancer in a female to male transsexual after bilateral
     60(11):1451-1457.
186. Expert Panel on Detection, Evaluation, and Treatment of High               mastectomy. World J Surg Oncol. 2012;10:280.
                                                                           203. Bosze P, Toth A, Torok M. Hormone replacement and the risk of
     Blood Cholesterol in Adults. Executive summary of the Third
                                                                                breastcancer in Turner's syndrome. N EnglJ Med. 2006;355(24):
     Report of the National Cholesterol Education Program (NCEP)
                                                                                2599-2600.
     Expert Panel on Detection, Evaluation, and Treatment of High
                                                                           204. Schoemaker MJ, Swerdlow AJ, Higgins CD, Wright AF, Jacobs
     Blood Cholesterol in Adults (Adult Treatment Panel III). JAMA.
                                                                                PA; UK Clinical Cytogenetics Group. Cancer incidence in women
     2001;285(19):2486-2497.
                                                                                with Turner syndrome in Great Britain: a national cohort study.
187. Murad MH, Elamin MB, Garcia MZ, Mullan RJ, Murad A,
     Erwin PJ, Montori VM. Hormonal therapy and sex reassignment:               Lancet Oncol. 2008;9(3):239-246.
     a systematic review and meta-analysis of quality of life and          205. Smith RA, Cokkinides V, Eyre HJ. American Cancer Society
                                                                                guidelines for the early detection of cancer, 2006. CA Cancer J
     psychosocial outcomes. Clin Endocrinol (Ox19. 2010;72(2):
     214-231.                                                                   Clin. 2006;56(1):11-25, quiz 49-50.
188. Van Caenegem E, Wierckx K, Taes Y, Schreiner T, Vandewalle S,         206. Wilson JD, Roehrborn C. Long-term consequences of castration
     Toye K, Lapauw B, Kaufman JM, T'Sjoen G. Body composition,                 in men: lessons from the Skoptzy and the eunuchs of the Chinese
     bone turnover, and bone mass in trans men during testosterone              and Ottoman courts. J Clin Endocrinol Metab. 1999;84(12):
     treatment: 1-year follow-up data from a prospective case-                  4324-4331.
     controlled study (ENIGI). Eur J Endocrinol. 2015;172(2):              207. van Kesteren P, Meinhardt W, van der Valk P, Geldof A, Megens J,
     163-171.                                                                   Gooren L. Effects of estrogens only on the prostates of aging men.
189. Turner A, Chen TC, Barber TW, Malabanan AO, Holick MF,                     J Urol. 1996;156(4):1349-1353.
     Tangpricha V. Testosterone increases bone mineral density in          208. Brown JA, Wilson TM. Benign prostatic hyperplasia requiring
     female-to-male transsexuals: a case series of 15 subjects. Clin            transurethral resection of the prostate in a 60-year-old male-to-
     Endocrinol (Ox19. 2004;61(5):560-566.                                      female transsexual. Br J Urol. 1997;80(6):956-957.
190. van Kesteren P, Lips P, Gooren LJG, Asscheman H, Megens J.            209. Casella R, Bubendorf L, Schaefer DJ, Bachmann A, Gasser TC,
     Long-term follow-up of bone mineral density and bone meta-                 Sulser T. Does the prostate really need androgens to grow?
     bolism in transsexuals treated with cross-sex hormones. Clin               Transurethral resection of the prostate in a male-to-female
     Endocrinol (Oxf). 1998;48(3):347-354.                                      transsexual 25 years after sex-changing operation. Urol Int.
191. Van Caenegem E, Taes Y, Wierckx K, Vandewalle S, Toye K,                   2005;75(3):288-290.
     Kaufman JM, Schreiner T, Haraldsen I, T'Sjoen G. Low bone             210. Dorff TB, Shazer RL, Nepomuceno EM, Tucker SJ. Successful
     mass is prevalent in male-to-female transsexual persons before the         treatment of metastatic androgen-independent prostate carci-
     start of cross-sex hormonal therapy and gonadectomy. Bone.                 noma in a transsexual patient. Clin Genitourin Cancer. 2007;5(5):
     2013;54(1):92-97.                                                          344-346.
192. Amin S, Zhang Y, Sawin CT, Evans SR, Hannan MT, Kiel DP,              211. Thurston AV. Carcinoma of the prostate in a transsexual. Br J
     Wilson PW, Felson DT. Association of hypogonadism and                      Urol. 1994;73(2):217.




                                                                                                                                       AR_293432
  CaseHembree
3902
       4:24-cv-00461-O              Document 76 Filed 09/06/24                            Page 268 of 290 PageID 3915
              et al Guidelines on Gender-DysphoriclGender-Incongruent Persons J Clin Endocrinol Metab, November 2017, 102(11):3869-3903


212. van Harst EP, Newling DW, Gooren LJ, Asscheman H, Prenger            230. Dessy LA, Mazzocchi M, Corrias F, Ceccarelli S, Marchese C,
     DM. Metastatic prostatic carcinoma in a male-to-female trans-             Scuderi N. The use of cultured autologous oral epithelial cells for
     sexual. BJU Int. 1998;81:776.                                             vaginoplasty in male-to-female transsexuals: a feasibility, safety,
213. Turo R, Jallad S, Prescott S, Cross WR. Metastatic prostate cancer        and advantageousness clinical pilot study. Plast Reconstr Surg.
     in transsexual diagnosed after three decades of estrogen therapy.         2014;133(1):158-161.
     Can Urol Assoc J. 2013;7(7-8):E544-E546.                             231. Li FY, Xu YS, Zhou CD, Zhou Y, Li SK, Li Q. Long-term out-
214. Miksad RA, Bubley G, Church P, Sanda M, Rofsky N, Kaplan I,               comes of vaginoplasty with autologous buccal micromucosa.
     Cooper A. Prostate cancer in a transgender woman 41 years after           Obstet Gynecol. 2014;123(5):951-956.
     initiation of feminization. JAMA. 2006;296(19):2316-2317.            232. Kanhai RC. Sensate vagina pedicled-spot for male-to-female
215. Moyer VA; U.S. Preventive Services Task Force. Screening for              transsexuals: the experience in the first 50 patients. Aesthetic
     prostate cancer: U.S. Preventive Services Task Force recommen-            Plast Surg. 2016;40(2):284-287.
     dation statement. Ann Intern Med. 2012;157(2):120-134.               233. Straayer C. Transplants for transsexuals? Ambitions, concerns,
216. Futterweit W. Endocrine therapy of transsexualism and potential           ideology. Paper presented at: Trans*Studies: An International
     complications of long-term treatment. Arch Sex Behay. 1998;               Transdisciplinary Conference on Gender, Embodiment, and
     27(2):209-226.                                                            Sexuality; 7-10 September 2016; University of Arizona, Tucson,
217. Miller N, Bedard YC, Cooter NB, Shaul DL. Histological changes            AZ.
     in the genital tract in transsexual women following androgen         234. Bucci S, Mazzon G, Liguori G, Napoli R, Pavan N, Bormioli S,
     therapy. Histopathology. 1986;10(7):661-669.                              011andini G, De Concilio B, Trombetta C. Neovaginal prolapse in
218. O'Hanlan KA, Dibble SL, Young-Spint M. Total laparoscopic                 male-to-female transsexuals: an 18-year-long experience. Biomed
     hysterectomy for female-to-male transsexuals. Obstet Gynecol.             Res Int. 2014;2014:240761.
     2007;110(5):1096-1101.                                               235. Raigosa M, Avvedimento S, Yoon TS, Cruz-Gimeno J, Rodriguez
219. Dizon DS, Tejada-Berges T, Koelliker S, Steinhoff M, Granai CO.           G, Fontdevila J. Male-to-female genital reassignment surgery:
     Ovarian cancer associated with testosterone supplementation in a          a retrospective review of surgical technique and complications in
     female-to-male transsexual patient. Gynecol Obstet Invest. 2006;          60 patients. J Sex Med. 2015;12(8):1837-1845.
     62(4):226-228.                                                       236. Green R. Sexual functioning in post-operative transsexuals: male-
220. Hage JJ, Dekker JJML, Karim RB, Verheijen RHM, Bloemena E.                to-female and female-to-male. Int J Impot Res. 1998;10(Suppl 1):
     Ovarian cancer in female-to-male transsexuals: report of two              522-524.
     cases. Gynecol Oncol. 2000;76(3):413-415.                            237. Hess J, Rossi Neto R, Panic L, Riibben H, Senf W. Satisfaction
221. Mueller A, Gooren L. Hormone-related tumors in transsexuals               with male-to-female gender reassignment surgery. Dtsch Arztebl
     receiving treatment with cross-sex hormones. Eur J Endocrinol.            Int. 2014;111(47):795-801.
     2008;159(3):197-202.                                                 238. Nygren U, Nordenskjold A, Arver S, Sodersten M. Effects on voice
222. Coleman E, Bockting W, Botzer M, Cohen-Kettenis P, DeCuypere              fundamental frequency and satisfaction with voice in trans men
     G, Feldman J, Fraser L, Green J, Knudson G, Meyer WJ, Monstrey            during testosterone treatmenta longitudinal study. J Voice.
     S, Adler RK, Brown GR, Devor AH, Ehrbar R, Ettner R, Eyler E,             2016;30(6):766.e23-766.e34.
     Garofalo R, Karasic DH, Lev Al, Mayer G, Meyer-Bahlburg H,           239. Becking AG, Tuinzing DB, Hage JJ, Gooren LJG. Transgender
     Hall BP, Pfaefflin F, Rachlin K, Robinson B, Schechter LS,                feminization of the facial skeleton. Clin Plast Surg. 2007;34(3):
     Tangpricha V, van Trotsenburg M, Vitale A, Winter S, Whittle S,           557-564.
     Wylie KR, Zucker K. Standards of care for the health of trans-       240. Giraldo F, Esteva I, Bergero T, Cano G, Gonzalez C, Salinas P,
     sexual, transgender, and gender-nonconforming people, version             Rivada E, Lara JS, Soriguer F; Andalusia Gender Team. Corona
     7. Intl Transgenderism. 2012;13:165-232.                                  glans clitoroplasty and urethropreputial vestibuloplasty in male-
223. Colebunders B, D'Arpa S, Weijers S, Lumen N, Hoebeke P,                   to-female transsexuals: the vulval aesthetic refinement by the
     Monstrey S. Female-to-male gender reassignment surgery. In:               Andalusia Gender Team, Plast Reconstr Surg. 2004;114(6):
     Ettner R, Monstrey S, Coleman E, eds. Principles of Transgender           1543-1550.
     Medicine and Surgery. 2nd ed. New York, NY: Routledge Taylor         241. Goddard JC, Vickery RM, Terry TR. Development of feminizing
     & Francis Group; 2016:279-317.                                            genitoplasty for gender dysphoria. J Sex Med. 2007;4(4 Pt 1):
224. Monstrey S, Hoebeke P, Dhont M, De Cuypere G, Rubens R,                   981-989.
     Moerman M, Hamdi M, Van Landuyt K, Blondeel P. Surgical              242. Hage JJ, de Graaf FH, Bouman FG, Bloem JJAM. Sculpturing the
     therapy in transsexual patients: a multi-disciplinary approach.           glans in phalloplasty. Plast Reconstr Surg. 1993;92(1):157-161,
     Acta Chir Belg. 2001;101(5):200-209.                                      discussion 162.
225. Selvaggi G, Ceulemans P, De Cuypere G, VanLanduyt K, Blondeel        243. Thiagaraj D, Gunasegaram R, Loganath A, Peh KL, Kottegoda
     P, Hamdi M, Bowman C, Monstrey S. Gender identity disorder:               SR, Ratnam SS. Histopathology of the testes from male trans-
     general overview and surgical treatment for vaginoplasty in               sexuals on oestrogen therapy. Ann Acad Med Singapore. 1987;
     male-to-female transsexuals. Plast Reconstr Surg. 2005;116(6):            16(2):347-348.
     135e-145e.                                                           244. Monstrey SJ, Ceulemans P, Hoebeke P. Sex reassignment surgery
226. Tugnet N, Goddard JC, Vickery RM, Khoosal D, Terry TR.                    in the female-to-male transsexual. Semin Plast Surg. 2011;25(3):
     Current management of male-to-female gender identity disorder             229-244.
     in the UK. Postgrad Med J. 2007;83(984):638-642.                     245. Perovic SV, Djinovic R, Bumbasirevic M, Djordjevic M, Vukovic
227. Horbach SER, Bouman M-B, Smit JM, Ozer M, Buncamper ME,                   P. Total phalloplasty using a musculocutaneous latissimus dorsi
     Mullender MG. Outcome of vaginoplasty in male-to-female                   flap. BJU Int. 2007;100(4):899-905, discussion 905.
     transgenders: a systematic review of surgical techniques. J Sex      246. Vesely J, Hyza P, Ranno R, Cigna E, Monni N, Stupka 1, Justan I,
     Med. 2015;12(6):1499-1512.                                                Dvorak Z, Novak P, Ranno S. New technique of total phalloplasty
228. Wroblewski P, Gustafsson J, Selvaggi G. Sex reassignment surgery          with reinnervated latissimus dorsi myocutaneous free flap in
     for transsexuals. Curt Opin Endocrinol Diabetes Obes. 2013;               female-to-male transsexuals. Ann Plast Surg. 2007;58(5):
     20(6):570-574.                                                            544-550.
229. Morrison SD, Satterwhite T, Grant DW, Kirby J, Laub DR, Sr,          247. Ranno R, Vesely J, Hyza P, Stupka 1, Justan I, Dvorak Z, Monni
     VanMaasdam J. Long-term outcomes of rectosigmoid neo-                     N, Novak P, Ranno S. Neo-phalloplasty with re-innervated lat-
     colporrhaphy in male-to-female gender reassignment surgery.               issimus dorsi free flap: a functional study of a novel technique.
     Plast Reconstr Surg. 2015;136(2):386-394.                                 Acta Chir Plast. 2007;49(1):3-7.




                                                                                                                                          AR_293433
Case     4:24-cv-00461-O
doi: 10.12101jc.2017-01658
                                        Document 76               Filed 09/06/24           Page 269  of 290 PageID 3916
                                                                                                  https://academic.oup.comfjcem 3903


248. Garcia MM, Christopher NA, De Luca F, Spilotros M, Ralph DJ.              procedures for sex reassignment: a systematic review. J Plast
     Overall satisfaction, sexual function, and the durability of neo-         ReconstrAesthetSurg. 2009;62(3):294-306, discussion 306-308.
     phallus dimensions following staged female to male genital gender    258. Selvaggi G, Elander A. Penile reconstruction/formation. Curr
     confirming surgery: the Institute of Urology, London U.K. ex-             Opin Urol. 2008;18(6):589-597.
     perience. Trani Androl Urol. 2014;3(2):156-162.                      259. Dhejne C, Lichtenstein P, Boman M, Johansson ALV, Liingstrom
249. Chen H-C, Gedebou TM, Yazar S, Tang Y-B. Prefabrication of the            N, Landen M. Long-term follow-up of transsexual persons un-
     free fibula osteocutaneous flap to create a functional human penis        dergoing sex reassignment surgery: cohort study in Sweden. PLoS
     using a controlled fistula method. J Reconstr Microsurg. 2007;            One. 2011;6(2):e16885.
     23(3):151-154.                                                       260. Kuhn A, Bodmer C, Stadlmayr W, Kuhn P, Mueller MD,
250. Hoebeke PB, Decaestecker K, Beysens M, Opdenakker Y, Lumen                Birkhauser M. Quality of fife 15 years after sex reassignment
     N, Monstrey SM. Erectile implants in female-to-male trans-                surgery for transsexualism. Fertil Steril. 2009;92(5):1685-1689.e3.
     sexuals: our experience in 129 patients. Eur Urol. 2010;57(2):       261. Papadopulos NA, Lelle JD, Zavlin D, Herschbach P, Henrich G,
     334-341.                                                                  Kovacs L, Ehrenberger B, Kluger AK, Machens HG, Schaff J.
251. Hage JJ. Metaidoioplasty: an alternative phalloplasty technique in        Quality of life and patient satisfaction following male-to-female
     transsexuals. Plast Reconstr Surg. 1996;97(1):161-167.                    sex reassignment surgery. J Sex Med. 2017;14(5):721-730.
252. Cohanzad S. Extensive metoidioplasty as a technique capable of       262. Simonsen RK, Hald GM, Kristensen E, Giraldi A. Long-term
     creating a compatible analogue to a natural penis in female               follow-up of individuals undergoing sex-reassignment surgery:
     transsexuals. Aesthetic Plast Surg. 2016;40(1):130-138.                   somatic morbidity and cause of death. Sex Med. 2016;4(1):
253. Selvaggi G, Hoebeke P, Ceulemans P, Hamdi M, Van Landuyt K,               e60-e68.
     Blondeel P, De Cuypere G, Monstrey S. Scrotal reconstruction in      263. Djordjevic ML, Bizic MR, Duisin D, Bouman MB, Buncamper M.
     female-to-male transsexuals: a novel scrotoplasty. Plast Reconstr         Reversal Surgery in regretful male-to-female transsexuals after sex
     Surg. 2009;123(6):1710-1718.                                              reassignment surgery.) Sex Med. 2016;13(6):1000-1007.
254. Bjerrome Ahlin H, Kolby L, Elander A, Selvaggi G. Improved           264. Liberopoulos EN, Florentin M, Mikhailidis DP, Elisaf MS.
     results after implementation of the Ghent algorithm for sub-              Compliance with lipid-lowering therapy and its impact on car-
     cutaneous mastectomy in female-to-male transsexuals. J Plast              diovascular morbidity and mortality. Expert Opin Drug Sal.
     Surg Hand Surg. 2014;48(6):362-367.                                       2008;7(6):717-725.
255. Wolter A, Diedrichson J, Scholz T, Arens-Landwehr A, Liebau J.       265. Forbes SS, Stephen WJ, Harper WL, Loeb M, Smith R, Chris-
     Sexual reassignment surgery in female-to-male transsexuals: an            toffersen EP, McLean RF. Implementation of evidence-based
     algorithm for subcutaneous mastectomy. J Plast Reconstr Aesthet           practices for surgical site infection prophylaxis: results of a pre-
     Surg. 2015;68(2):184-191.                                                 and postintervention study. J Am Coll Surg. 2008;207(3):
256. Richards C, Barrett J. The case for bilateral mastectomy and male         336-341.
     chest contouring for the female-to-male transsexual. Ann R Coll      266. Davis PJ, Spady D, de Gara C, Forgie SE. Practices and attitudes of
     Surg Engl. 2013;95(2):93-95.                                              surgeons toward the prevention of surgical site infections: a pro-
257. Sutcliffe PA, Dixon S, Akehurst RL, Wilkinson A, Shippam A,               vincial survey in Alberta, Canada. Infect Control Hosp Epidemiol.
     White S, Richards R, Caddy CM. Evaluation of surgical                     2008;29(12):1164-1166.




                                                                                                                                       AR293434
Case 4:24-cv-00461-O   Document 76   Filed 09/06/24   Page 270 of 290   PageID 3917




                                                                                AR_300195
Case 4:24-cv-00461-O   Document 76   Filed 09/06/24   Page 271 of 290   PageID 3918



if 1:1U,1IO1II4li




    Introduction
•   SukkleEtMentalHeatth
    FiindingSupport: MentalHealthcare
    Finding Support: crisis Services
•   cVI -19                                                                  7
•   Supporting Transgender NonbnaryYouth                                    10
                           a
    Food Insecurity                                                         11
    Conversion Therapy                                                      12
•   Discrimination                                                          13
•    ffirmingSpaces                                                         14
    Findingloy                                                              15
•   Research                                                                16
•   Methodology                                                             17




                                                                                 AR_300196
Case 4:24-cv-00461-O                  Document 76             Filed 09/06/24                Page 272 of 290                 PageID 3919



   INTRODUCTON




    The past year has been incredibly difficult    •   48% of LGBTQ youth reported they             This data underscores many of the serious
   for so many, but we also know that lesbian,         wanted counseling from a mental              challenges experienced by LGBTQ youth
   gay, bisexual, transgender, queer and               health professional but were unable to       over the last year and should serve as an
   questioning (LGBTQ) youth have faced                receive it in the past year.                 urgent call to action. But it also speaks to
   unique challenges. The Trevor f>ro ect's                                                         the diversity and resiliency of LGBTQ youth
   2021 National Surveyor: LGBTQ Youth             •   30% of LGBTQ youth experienced food          and provides valuable insights into their
   Mental Health sheds light on many of these          insecurity in the past month, including      everyday sources of strength and positivity.
   challenges by capturing the experiences of          half of all Native/Indigenous LGBTQ
   nearly 35.000 LGBTQ youth ages 13••24               youth.                                       We hope these findings will be used by
   across the United States.                                                                        fellow researchers, policymakers, and
                                                   •   75% of LGBTQ youth reported that             other youth-sewing organizations to better
   Our third annual survey provides brand              they had experienced discrimination          support LGBTQ youth across the country
   new data on the impacts of the COVI1.)•19           based on their sexual orientation or         and around the globe.
   pandemic, mental health care disparities,           gender identity at least once in their
   discrimination, rood insecurity, conversion         lifetime.                                    Over the next year,Rie Trevor Project
   therapy, and suicide in addition to the                                                          will release new data from this national
   benefits of LGBTQ-affirming spaces and          •   Half of all LGBTQ youth of color             survey sample in the form of monthly
   respecting the pronouns of transgender and          reported discrimination based on their       research briefs and quarterly reports
   nonbinary youth.                                    race:ethnicity in the past year. including   related to LGBTQ youth mental health and
                                                       67% of Black LGBTQ youth and 60% of          suicide prevention. Through our research,
   We are also proud that this sample is our           Asian/Pacific
                                                               acifrc Islander LGBTQ youth.         education, advocacy and direct services, we
   most diverse yet, with 45% being LGT5TTQ                                                         strive to amplify the experiences of LGBTQ
   youth of color and 38% being transgender        •   13% of LGBTQ youth reported being            youth and to facilitate the implementation
   or nonbinary.                                       subjected to conversion therapy, with        of comprehensive, intersectional policy
                                                       83% reporting it occurred when they          solutions.
   Among some of the key findings of the               were under age 18.
   survey:                                                                                          And as always, we will continue to do all
                                                   •   Transgender and nonbinary youth who          we can to remind LGBTQ youth that they
   •    42% of LGBTQ youth seriously                   reported having pronouns respected           deserve love and support and the ability to
        considered attempting uicic`:e in the          by all of the people they lived with         live their lives without fear, discrimination,
        past year, including more than half of         attempted suicide at half the rate of        and violence. If you are an LGBTQ young
        transgender and nonbinary youth.               those who did not have their pronouns        person, please know that you are never
                                                       respected by anyone with whom they           alone and The Trevor Project is here to
   •    12% of white youth attempted                   lived.                                       support you 24;7.
        suicide compared to 31% of Native
        Indigenous youth, 21% of Black youth,      •   Transgender and nonbinary youth who
        21% of multiracial youth, 18% of               were able to change their name and!
        Latinx youth. and 12% of Asian/Pacific         or gender marker on legal documents,
        Islander youth.                                such as driver's licenses and birth
                                                       certificates, reported lower rates of
   •    94%of LGBTQ youth reported that                attempting suicide.
        recent politics negatively impacted
        their mental health.                       •   LGBTQ youth who had access to
                                                       spaces that affirmed their sexiial
   •    More than 80%of LGBTQ youth                    orientation and gender identity
        stated that COVID-19 made their living         reported lower rates of attempting
        situation more stressful — and only 1 in       suicide.
        3 LGBTQ youth found their home to be
        I.GKI'Q• affir fining.                     •   An overwhelming majority of LGBTQ
                                                       youth said that social media has both
   •    70%of LGBTQ youth stated that their            positive (96%) and negative (88%)
        mental health was "poor" most of the           impacts on their mental health and
        time or alwaysduring COVlD-19.                 well-being.




                                                                                                                                         p.2




                                                                                                                                               AR_300197
Case 4:24-cv-00461-O     Document 76            Filed 09/06/24                             Page 273 of 290        PageID 3920



SWODE& MENTALHEALTH




LGBTQ youth who:
 Considered suicide   Attempted suicide
                                                       y
                                                                   e
                                       Cisgender                                                           Asian/Padfic Islander




                                                    'ffff   ffff"r::

                         Trarssgende:r& nonbinary                                                                         Black



Hi
                                                                                                                          Laeinx




                                          13-1.7                                                              Native!indigenoifs




                                          1.8--24                                                                        White




                                                                                                    More than one race/ethnicity

                                                                       .................




    9

                                                                                                                                   AR_300198
Case 4:24-cv-00461-O   Document 76     Filed 09/06/24   Page 274 of 290     PageID 3921



   SIJKDE&
   SUICIDE MENTALHEALTH

  72% of LGBTQ youth reported symptoms of generalized
   anxiety disorder in the past two weeks, incLuding




   LGBTQ youth who experienced symptoms of:
    Generalized anxiety disorder Major depressive disorder




                                        13-1.7                                    Native/ nd genoifs
                                                 r
                                                             --
                                                                              i
                                       1.i--2.                                               White




                                                                     More than one race/ethniciiy




                                                                                        FE




                                                                                             AR_300199
 Case 4:24-cv-00461-O      Document 76        Filed 09/06/24                                            Page 275 of 290                               PageID 3922



FINDS           SUPPORT: MENTAL HEALTHCARE

In the pastyear nearlyhaif of LGBTQyouth have
wanted counseling from a mental health professional,
but did not receive it.



                                                 LGBTQyourth who wanted counseling from a
                                                 mental health professional in the past year:
                                                   Wanted mental health care, but didn't get it
                                                 • Received mental health care
Received rner                 nted rneni:al
health care                   lth care, but
36%                            didn'tgetit        :>y; .;~; •rtt :rt€€'ii
                                      48%        .........::::::::.:  ......... .:::::::.:.:::::::....
                                                          ...........:::::::.... ....................,:::::::::.  ......... .::::..
                                                                                                       ...........::::::::.. .....~,.          Asian/Pacific Islander




                                                                                                                                                               Black


Dirt riot want
mental health care                                                             21
16%
                                                                                                                                                              Latinx




                                                                                                                                                  Native/Indigenous




                                                 VA                               aW
                                                                                                                                                              White




                                                                                                                                        More than one race ethnicity




                                                                                                                                                                        AR_300200
Case 4:24-cv-00461-O     Document 76     Filed 09/06/24       Page 276 of 290            PageID 3923



   ANDNG SUPPORT:CRISIS SERVICES

   More than 80% of LGBTQ youth of all races/ethnicities
   saki twas important that a crisis line Include a focus
    n L T youth. should they need it.

   LGBTQ youth who say a focus on LGBTQ youth would be important if
   they needed to use a crisis line:

                           Transgender
                           &nonbina                                                  18-24
                .ender
         Cris
                                                Features LGBTQ youth said would be important
                                                if they needed to contact a crisis line:




                                                 (e.g. WhatsApp or Facebook Messenger)
                                                                                              a
                                                                                                  AR_300201
Case 4:24-cv-00461-O   Document 76            Filed 09/06/24   Page 277 of 290       PageID 3924



COVD49




                       Transgender & non binary                                             Black




                                                                                            Latinx




                                        13-17                                    Native;Indigenous




                                                                            7{:i%,




   p.7




                                                                                                     AR_300202
Case 4:24-cv-00461-O    Document 76      Filed 09/06/24            Page 278 of 290                     PageID 3925



   COVE -,9

   Nearly l f LGBTQ youth said that COVID-19
   impacted their ability to express
   their sexual orientation.

   Nearly 60% of transgender and nonbinary
   youth said that COVID-I9 impacted their ability
   to express their gender identity.

   LGBTQ youth who said COVID-19 impacted their ability to express their:
    Sexual orientation  Gender identity




                                          15-24                                                                       Black




                                                                                                                      Latina

                                                                                    ---------

                                                  ~0000~0000~000i~0000~0000~0000~000i~000ii 000i~oo.

                                                                                                          Nativetlndigenous




                                                                                                                     White




                                                                                                More than ore raceiethnicity




                                                                                                                     AR_300203
Case 4:24-cv-00461-O       Document 76     Filed 09/06/24                          Page 279 of 290                                    PageID 3926



COWD19

Nearly 40% of LGBTQ youth who had ajob
reported that they lost it during COVE 4 .

More than 80% of LGBTQ youth stated that
COVDI9 made their living situation more
stressfuL


LGBTQ youth who, due to COVID- .9:
•Lost ajob (if they had one) Experienced a more stressful living situation




                                                                                                                                            Latinx

                                                                                                                                  F
                                               ioo~0000~0000~0000~000i~0000~0000~0000~000i~000ii 000i~000iiior.


          g.;




                                                ,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,,
                                                                                                                      ,,,,,,,,,,,,,,,,,,,
                                                                                                             More than one race/ethnicity




    p.9




                                                                                                                                                     AR_300204
Case 4:24-cv-00461-O       Document 76       Filed 09/06/24         Page 280 of 290            PageID 3927



   SUPPORTING TRANSGENDER&NONNARYY                             T




   Transgender & nonbinary youth who wanted to change their             Transgender & nonbinary
   legal documents, such as driver's licenses and birth certificates: youth who attempted suicide
                                                                        in the past year, comparison
              Changed                               Not le ally able to
                                                                        across ability to change legal
      legal documents                               change. legal docu- documents:
                    7%                               rnents                 Not legally able
                                                     57%




    Planningtochange
      legal documents
                 36%




   If you live with other people, how many of them respect                Transgender & nonbinary
   your pronouns?                                                         youth who attempted suicide
                                                                          in the past year, comparison
      Al I of the people                             None of the people
                                                                          across the number of people
                    29%                              49%                  they live with who respected
                                                                          their pronouns:
                                                                                 None




    Some of the people
                  22%




                                                                                                    p.10




                                                                                                           AR_300205
 Case 4:24-cv-00461-O                     Document 76    Filed 09/06/24                Page 281 of 290            PageID 3928



FOOD INSECURITY




27% of LGBTQ youth said they worried that food
at home would run out in the East month before
they or theirfamily had money to buy more.


LGBTQ youth who had trouble affording enough food in the                               LGBTQ youth who attempted
past month:                                                                            suicide in the past year,
                                                                                       comparison across experiences
                           'rransgender                                                of foot insecurity:
                           & nonbinary
                                              131?                 1824
Cisgender                                                                                   Had
                                                                                         trouble


                                                                                                                  Didn't have
                                                                                                                  trouble

         By gender                                   By age                                       Affording enough lood
                                                                                                    in the Past € :onth
By raci %ethsn c t'
                                                              Asian/Pacific Islander

                                                                              Black

                                                                             Latinx    I9%ofLGTQyuthsaidthatin
                           36                                                          the fast month, they were hungry
                                      50%
                                                                 Native/indigenous     but didn't eat becausetheyor
                                                                                       their        didn't have enough
                                                                                                    in=y
                                                                             White
                                                                                             fa
                      27                                                               food.
                                                     More than one race/ethnicity




                                                                                                                                AR_300206
Case 4:24-cv-00461-O             Document 76   Filed 09/06/24          Page 282 of 290   PageID 3929



   CON VERSON THERAPY




   LGBTQ youth who reported being subjected to conversion therapy:

                            Transgender
                            & nonbinary        By race/ethnicity

   Cisgender



            By gender identity


                            18-24
      13-1.7




                 By age




   LGBTQ youth who attempted                                                                    a
   suicide in the past year,
   comparison across those                                         o
   subjected to conversion therapy:

 Subjected to                                  ISBTQ youth who reported being subjected to
  conversion
     therapy
                                               conversion therapy were an average of 15 years otd
                                               at the time, with %ofL T youthreporting that it
                            Not subjected
                                               occurred when they were younger than 18.
                            to conversion
                            therapy




                                                                                              p.12




                                                                                                     AR_300207
     Case 4:24-cv-00461-O                 Document 76         Filed 09/06/24                  Page 283 of 290              PageID 3930
 r
 [ifeti me.




 LGBTQ youth who attempted suicide, comparison across those who have
 been discriminated against in the past year:

                                             Discriminated
                                                                                              Discriminated
Discriminated                                       against
                                                                                                     against
       against

                                                                                                                            Not been
                                                                            Not been                                        discriminated
                             Not been                                       discriminated                                   against
                             discriminated                                  against
                             against

     On the basis of sexual orientation          On the basis of gender identity                 On the basis of race, ethnicity, or na.
                                              among transgencer & nori inaryyouth               tionai ty among LGBTQ yo€at i of cnior


 LGBTQ youth who attempted suicide in the past year,                                            Half of LGBTQ youth of color
 comparison across the number of types of discrimination                                        reported discrimination based
 experienced:                                                                                   on their race/ethnicity in the
 By number of types
                                                                                                past ear, inctr,rding     otBtack
                                                                                                                               c
                                                                                                LGBTQ youth and % ofsian/
                                                              3 types of discrimination
                                                                                                Pacific is der L TQ youth.
                                                              2 types otdiscrimination

                                                               . type of discrimination

                                                              0t;rpcsczfdiscsirrair ati:ar:




        p.1.3




                                                                                                                                           AR_300208
Case 4:24-cv-00461-O               Document 76    Filed 09/06/24      Page 284 of 290                 PageID 3931



   AFHRMNG SPACES

                                                     M



   Where LGBTQ youth access                L BTQyourth who attempted suicide in the past year,
   LGBTQ-affirming spaces:                 comparison across access to LGBTQ-affirming spaces:
         Online                                                                               Affirrning online cormunities

                                                                              No access to affirming onfine CommUriities
                  5chooi


                                                                                                            Affirrnfng school




                           I                                                                           School not fiirrning


                                                                                                             Affirming home

                                                                                                         -onE not iirn ng




                                           Social media has both positive and negative impacts on LBTQyouth.
                                           96% of L BTQyouthsaidsociatmediapositivelyimpactedtheir
                                           well-being, and % of L Tyoth said it negatively impacted their
                                           well-being.

   Where transgender and                   Transgender & nonbinary youth who attempted suicide in
   nonbinary youth access                  the past year, comparison across access tO gender-affirming
   gender-affirming spaces:                spaces:
         Online                                                                           Affirming online communities

                                                                              No access Et5       77iErgt rsl ne coirirnunitEe:s
                  School

                           Horne                                                                            Affirming school




                           I                                                                           School not affil Erring


                                                                                                            Afflrmi.l home
                                                                                                                      a
                                                                                                        Home not 3l u nung
   Most L BTQ youth had access to
   onlinespaces that affirmed their
   sexual orientation and gender             Affirming
   identity.                                 Not affirming


                                                                                                                  p.14




                                                                                                                          AR_300209
Case 4:24-cv-00461-O   Document 76   Filed 09/06/24   Page 285 of 290   PageID 3932


   t      ~<




   p.15




                                                                                AR_300210
Case 4:24-cv-00461-O                   Document 76          Filed 09/06/24               Page 286 of 290            PageID 3933



   RESEARCH




   To address this mission we:
   Advance Scientific Inquiry                   Support The Trevor Project's                  Inform Public Knowledge
   Providing empirical data to better           Life-Saving Work                              Ensuring our research and evaluation
   understand the lives of LGBTQ youth          Using internal and external data and          findings are applicable and widely
   and suicidality including risk factors,      research findings to advance The Trevor       communicated to the broader public
   protective factors, and outcomes.            Project's crisis services and peer support    including LGBTQ youth-serving agencies
                                                programs as well as advc'cacr and             andmental health organizations.
   • The Trevor Project will be a leading       education initiatives.
     source of scientific information on the                                                  • The Trevor Project will serve as a
     needs and strengths of LGBTQ youth         • TheTrevor Project's advocacy and training     national model on how to integrate the
   • The Trevor Project will collaborate          activities will be supported by data          best research evidence into its practices,
     with key national and international          collected directly by The Trevor Project      programs, and policies
     research teams and agencies to               as well as evidence gathered from the       • The Trevor Project will be a leading
     improve the lives of LGBTQ youth             broader research literature                   resource on terminology related
                                                • The Trevor Project will embody an             to LGBTQ youth
                                                  evidence-informed culture in which
                                                  all staff are supported and recognized
                                                  in the use of research evidence




   Recommended Citation
   The Trevor Project. (2021).
   2021National Survey on LGBTQ Youth Mental Health.
   West Hollywood, California: The Trevor Project.
   For additional information please contact:
   Research@a;TheTrevorProject.org




                                                                                                                              p.16




                                                                                                                                     AR_300211
 Case 4:24-cv-00461-O                     Document 76              Filed 09/06/24               Page 287 of 290              PageID 3934



METHODOLOGY




A quantitative cross-sectional design was       Participation was voluntary and informed        itief natanatyt csa:rl iecons st.edof
used to collect data through an online survey   consent was obtained. No names or
platform between October 12, 2020 and           personal details were included to ensure        34;759 LGBTQ youth between the ages
December 31, 2020. A sample or individuals      anonymity. A total of 82,147 youth from         of 13-24 resi irl; in the United States
ages 13-24 who resided in the United            unique IP addresses consented to complete
States was recruited via targeted ads or!       the survey. Eligible youth included those       who provided vatic( and reliable
social media. No recruitment was conducted      between the ages of 13-24 who identified        responses to survey cjuestioas.
via The Trevor Project website or any of        as LGBTQ and resided in the U.S.
The Trevor Project's social media sites.                                                        This report uses "transgender and
Respondents were defined as being LGBTQ         Additionaily, in order to develop a sample      nonbinary" as an umbrella term to
if they identified with a sexual orientation    that more closely approximated the race and     encompass non-cisgender youth, which
other than straight/heterosexual, a gender      ethnicity composition of the United States,     includes young people who identify as
identity other than cisgender. or both.         quota limits were set for race/ethnicity        transgender and nonbinary as well as other
In order to ensure representativeness           categories. After providing demographic         labels outside of the cisgender binary,
of the sample, targeted recruitment was         information — including their age, state, sex   including genderqueer, agender, genderfluid,
conducted to ensure adequate sample sizes       assigned at birth, gender identity, sexual      gender neutral, bigender. androgynous, and
with respect to geography, gender identity,     orientation, and race./ethnicity —2,158         gender non-conforming, among others.
and race/ethnicity. Qualified respondents       youth were screened out based on ages
completed a secure online questionnaire         outside of the sample range and residency
that included a maximum of 142 questions.       outside of the United States. Additionally,
Questions on considering and attempting         27,588 youth were screened out of the
suicide in the past 12 months were taken        survey due to quotas for race/ethnicity
from the Centers for Disease Control and        already being met, resulting in an eligible
Prevention's Youth Risk Behavior Survey         sample of 54.554 respondents. A validity
to allow for comparisons to their nationally    check was placed midway through the
representative sample. Each question            survey which asked participants to select
related to mental health and suicide was        `agree" from a five-point statement with
preceded by a message stating,                  answers ranging from "strongly disagree" to
                                                "strongly agree:' Youth who did not select
If at any time you need to talk to              `agree" (n=804) or who did not reach the
                                                validity question in the mid-point of the
someone about your mental health                survey (18,365) were removed from the
or tlioughtsof suicide, please catt'tfle        analytic sample. More detailed screening
                                                of response consistency and quality
Trevor Pro e::° at 1-866-488-7386."             resulted in the removal of an additional 631
                                                respondents.




       p.17




                                                                                                                                               AR_300212
Case 4:24-cv-00461-O                                                                      Document 76    Filed 09/06/24         Page 288 of 290                PageID 3935




                                                                                                                In order to better understand how our sample compares to a national
   Comparability to 2019 Youth Risk Behavior                                                                    probabilistic sample, we included questions regarding considering
                                                                                                                and attempting suicide that were identical to those used by the
   Survey by the Centers -for Disease Control and                                                               Centers for Disease Control and Prevention (CDC) in their Youth Risk
   Prevention (CDC):                                                                                            Behavior Surveillance System (YRBS).

                                                                                                                Analyses were conducted to compare rates of seriously considering
                                                                                                                suicide and attempting suicide in the past 1.2 months among youth
                                                                                                                ages 13-18 in our sample to the 2019 YRBS sample of lesbian, gay,
                                          >:::>:::>:::>.
                                                              ,::::::>:::>:::>:::s::z:a
         20`21.1-revor                   4Th`'_> "4Th`'_< Most recent                                           and bisexual (LGB) high school students.
       Project Survey                                     CDC YRBS
             "1.3
             t     18                                     Survey
                                                              >.
                                                                                                                YRBSprevalence rates amongg 1.f8youth for seriouslY cc)nside:ring
                              )
                                                                                                                suicide 47%• were comparable to rates arnongthe same age range  E in
                                                                                                                our sample (47%).
                                  C onside rinw. uk iAe'.
                                                                                                                Additionally, 23% of LGB youth in the 2019 YRBS reported a suicide
                                                                         Most recent                            attempt In the past 12 months compared to 19% in our sample of
         2021.Trevor
                                   „««                     «« „««««««««« CDC  YRBS                              youth ages 13-18.
       Project Survey                                                    Survey
               1.3-18                                                                                           Our analytical sample has representation from over 7,500 Latinx
                                                                                                                L.GB-1-Qyouth, over 3,7(X) Asian/Pacific Islander LGB T'Qyouth, over
                                                                                                                3,400 Black LGB-TQ youth, and over 1,700 Native:/Indigenous I..GB-TQ
                                                                                                                youth who reported their €ace/ethnicityeither exclusively or as part
                                                                                                                of a multiracial identity.


                                                           Sexual Orientation                                                                Region
                                                             Bisexual                                   31%                                 *South                        35%
                                                            'Gay or kbEan                               28%                                   Wt st                       26%
       IL                                                    Pansexual                                  19%                                   M idwest                    23%
              .............                                *Queer                                       12%                                   Northeast                   16%
                                                             I am not sure                               4%
                                                             Straight or heterosexual                    1%




                                                                                                                                                                        pA8




                                                                                                                                                                              AR_300213
Case 4:24-cv-00461-O                Document 76                Filed 09/06/24              Page 289 of 290                  PageID 3936




 Need ep,
 We are here for you 24:'7
 For over 20 years, we have
 worked to save young lives by
 providing support through our
 free and confidential crisis
 services programs, including
 TrevorLifeline,TrevorChat,
 and TrevorText. We also run                                  Crisis services.                     Peer support.
 TrevorSpace, the world's largest                     Direct suicide prevention and        The world's largest safe space
 safe space social networking                          crisis intervention services to     social networking community
 site for LGBTQ youth, and                            support LGBTQ youth 24,7 via                for LGBTQ youth
 operate innovative advocacy,                               phone, text, and chat
 research, and education
 programs across the country.

 TheireorProjectorg
   @TrevorProject
   @TheTrevorProject
   @TrevorProject



                                              Research.                            Advocacy.                       Education and public.
                                       Evaluations and external          Advocacy at the federal, state,
                                      research that support The           and local levels to fight for    Programs, trainings, and content
                                    Trevor Project in significantly      policies and laws that protect     promoting awareness around
                                     improving its services while                LGBTQ youth                issues and policies relevart to
                                    maintaining preeminence in                                             LGBTQ youth and the adults who
                                          scientific inquiry                                                        support them




                                                                                                                                           AR_300214
    Case 4:24-cv-00461-O            Document 76           Filed 09/06/24         Page 290 of 290           PageID 3937
Message

Sent:         6/23/20213:44:30 PM
Subject:      Title IX Anniversary - Dear Educator Letter and Fact Sheet on Anti-LGBTQI+ Harassment in Schools


Dear Colleagues:

It is a pleasure to mark today's 49th anniversary of Title IX with a Deer Educator Letter focused on Title IX and in
conjunction with the U.S. Department of Justice's Civil Rights Division, a new resource for students and families
on Confronting Kati'•GBTQI+ Harassment in Schools. The Secretary has also issued a statement recognizing the power
of Title IX in supporting equal opportunity for students.

The letter highlights the importance and broad scope of Title IX, with resources available to help ensure schools are free
from sex discrimination, including last week's notice related to Bostock and Title IX. The fact sheet includes examples of
harassment and discrimination against LGBTQI+ students and information about steps students and families can take if
they believe that students have been treated unfairly because of their sexual orientation or gender identity.

As we celebrate Title IX's anniversary and Pride Month, today's letter and fact sheet continue OCR's efforts to provide
supportive resources and accessible information to promote safe and inclusive schools for LGBTQI+ students, as
underscored by President Biden's Executive Orders on Guaranteeing an Educational Environment Free from
Discrimination on the Basis of Sex including Sexual Orientation or Gender Identity and Preventing and Combating
Discrimination on the Basis of Gender Identit y or .Sexual P. i tabor.

I would appreciate your sharing the letter and fact sheet with your networks and thank you, again, for the work you do
every day to ensure that all students are taught in safe, supportive, and welcoming school environments.

Sincerely,

Suzanne

Suzanne B. Goldberg
Acting Assistant Secretary for Civil Rights
Deputy Assistant Secretary for Strategic Operations and Outreach
U.S. Department of Education




                                                                                                                   AR_300218
